  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 1 of 277

                                                                                                        38978112




                                                                                                    Jul 28 2011
                                                                                                     11:33PM




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig      *    MDL No. 2179
       ³'HHSZDWHU+RUL]RQ´LQWKH*XOI*
       of Mexico, on April 20, 2010   *   SECTION: J
                                     *
      Applies to: All Cases           *   JUDGE BARBIER
                                     *    MAGISTRATE SHUSHAN
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *


           75$162&($1¶66(9(17+6833/(0(17$/35,9,/(*(/2*

       TRITON      ASSET      LEASING       GMBH,      TRANSOCEAN          HOLDINGS          LLC,

TRANSOCEAN         OFFSHORE       DEEPWATER         DRILLING      INC.   and    TRANSOCEAN

DEEPWATER INC. (collectively, ³7UDQVRFHDQ´  KHUHE\ VXEPLW WKHLU 6HYHQWK 6XSSOHPHQWDO

3ULYLOHJH/RJIRU3ODLQWLIIV¶'LVFRYHU\5HTXHVWV3HU3UH-Trial Order No. 14, Transocean is not

required to identify and has not identified post-April 20, 2010 communications exchanged

between Transocean and its counsel, or communications exchanged between or among counsel

for Defendants.   Transocean has also not individually logged drafts of the Macondo Well

Incident Transocean Investigation Report reviewed by or commented on by attorneys. See Entry

UHJDUGLQJ7UDQVRFHDQ¶VSULYLOHJHFODLPVZLWKUHVSHFWWRWKLVFDWHJRU\RIGRFXPHQWV
        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 2 of 277




      Respectfully submitted,


By:           /s/ Steven L. Roberts                         By:            /s/ Kerry J. Miller
      Steven L. Roberts (Texas, No. 17019300)               Kerry J. Miller (Louisiana, No. 24562)
      Rachel Giesber Clingman (Texas, No. 00784125)         Frilot, L.L.C.
      Kent C. Sullivan (Texas, No. 19487300)                1100 Poydras Street, Suite 3700
      Teri L. Donaldson (Florida, No. 784310)               New Orleans, Louisiana 70163
      Sutherland Asbill & Brennan LLP                       Telephone: (504) 599-8169
      1001 Fannin Street, Suite 3700                        Facsimile: (504) 599-8154
      Houston, Texas 77002                                  Email: kmiller@frilot.com
      Telephone: (713) 470-6100                                            -and-
      Facsimile: (713) 654-1301
      Email: steven.roberts@sutherland.com,           By:          /s/ Edwin G. Preis, Jr.
      rachel.clingman@sutherland.com,                       Edwin G. Preis, Jr. (Louisiana, No. 10703)
      kent.sullivan@sutherland.com,                         Edward F. Kohnke, IV (Louisiana, No. 07824)
      teri.donaldson@sutherland.com                         Preis & Roy PLC
                                                            102 Versailles Boulevard, Suite 400
                                                            Lafayette, Louisiana 70501
                                                            Telephone: (337) 237-6062
                                                            Facsimile: (337) 237-9129
                                                                   -and-
                                                            601 Poydras Street, Suite 1700
                                                            New Orleans, Louisiana 70130
                                                            Telephone: (504) 581-6062
                                                            Facsimile: (504) 522-9129
                                                            Email: egp@preisroy.com,
                                                            efk@preisroy.com
      Of Counsel:
      Daniel O. Goforth (Texas, No. 08064000)
      Goforth Geren Easterling LLP
      4900 Woodway, Suite 750
      Houston, Texas 77056
      Telephone: (713) 650-0022
      Facsimile: (713) 650-1669
      Email: dangoforth@goforthlaw.com
  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 3 of 277




John M. Elsley (Texas, No. 0591950)
Royston, Rayzor, Vickery & Williams LLP
711 Louisiana Street, Suite 500
Houston, Texas 77002
Telephone: (713) 224-8380
Facsimile: (713) 225-9945
Email: john.elsley@roystonlaw.com

Brad D. Brian (California, No. 79001)
Allen M. Katz (California, No. 054933)
Munger Tolles & Olson LLP
355 South Grand Avenue, 35th Floor
Los Angeles, California 90071
Telephone: (213) 683-9100
Facsimile: (213) 683-5180, (213) 683-4018
Email: brad.brian@mto.com, allen.katz@mto.com

                                           Counsel for Triton Asset Leasing GmbH.,
                                           Transocean Holdings LLC, Transocean Offshore
                                           Deepwater Drilling Inc. and Transocean
                                           Deepwater Inc.


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, on this 28th day of July, 2011.

                                                   s/Kerry J. Miller___________
                                  In re: Oil Spill by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico, on April 20, 2010
                                                                      MDL No. 2179
                                                  TRANSOCEAN'S PRIVILEGE LOG (as of July 28, 2011)
No.   Date        Document       Author(s)                Recipient(s)                                  Description                                   Privilege   Withheld/   Attachment(s)
                  Type                                                                                                                                Basis       Redacted    Privileged?
1     8-Sep-00    Email          Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Communication with counsel providing         AC          Withheld    Yes
                                                        Esq.; Michael Acuff                              information/reports requested by Rufus
                                                                                                         Oliver, Esq. re: worldwide fleet
1a    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

1b    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

1c    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

1d    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

1e    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

2     8-Sep-00    Email          Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Communication with counsel providing         AC          Withheld    Yes
                                                        Esq.; Michael Acuff                              information/reports requested by Rufus
                                                                                                         Oliver, Esq. re: worldwide fleet
2a    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

2b    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

2c    8-Sep-00    Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

3     12-Sep-00   Email          Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Providing information/reports requested by   AC          Withheld    Yes
                                                        Esq.; Michael Acuff                              Rufus Oliver, Esq. re: worldwide fleet

3a    11-Sep-00   Draft report   Jon Cole               Rufus Oliver, Esq.; Curt Jernigan; Eric Brown,   Draft report re: worldwide fleet             AC          Withheld    N/A
                                                        Esq.; Michael Acuff

4     13-Sep-00   Email          Rufus Oliver, Esq.     John Beerbower, Esq.; Thomas Janssens, Esq.; Communication with counsel relating to legal AC              Withheld    Yes
                                                        Eric Brown, Esq.; Bruce McDonald, Esq.; Paul advice re: worldwide fleet
                                                        Stancil, Esq.; Curtis Jernigan
                                                                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 4 of 277
4a   13-Sep-00   Draft report   Rufus Oliver, Esq.     John Beerbower, Esq.; Thomas Janssens, Esq.; Draft report re: worldwide fleet                   AC   Withheld   N/A
                                                       Eric Brown, Esq.; Bruce McDonald, Esq.; Paul
                                                       Stancil, Esq.; Curtis Jernigan


4b   13-Sep-00   Draft report   Rufus Oliver, Esq.     John Beerbower, Esq.; Thomas Janssens, Esq.; Draft report re: worldwide fleet                   AC   Withheld   N/A
                                                       Eric Brown, Esq.; Bruce McDonald, Esq.; Paul
                                                       Stancil, Esq.; Curtis Jernigan


5    21-Sep-00   Email          Jon Cole               Rufus Oliver, Esq.; Eric Brown, Esq.            Communication with counsel providing            AC   Withheld   Yes
                                                                                                       information/reports requested by Rufus
                                                                                                       Oliver, Esq. re: worldwide fleet
5a   21-Sep-00   Draft report   Jon Cole               Rufus Oliver, Esq.; Eric Brown, Esq.            Draft report re: worldwide fleet                AC   Withheld   N/A

5b   21-Sep-00   Draft report   Jon Cole               Rufus Oliver, Esq.; Eric Brown, Esq.            Draft report re: worldwide fleet                AC   Withheld   N/A

5c   21-Sep-00   Draft report   Jon Cole               Rufus Oliver, Esq.; Eric Brown, Esq.            Draft report re: worldwide fleet                AC   Withheld   N/A

5d   21-Sep-00   Draft report   Jon Cole               Rufus Oliver, Esq.; Eric Brown, Esq.            Draft report re: worldwide fleet                AC   Withheld   N/A

5e   21-Sep-00   Draft report   Jon Cole               Rufus Oliver, Esq.; Eric Brown, Esq.            Draft report re: worldwide fleet                AC   Withheld   N/A

6    10-Nov-00   Email          Peter Broadhurst, Esq.; Jon Cole; Eric Brown, Esq.; Simon Bishop       Legal advice re: Draft letter re: Acquisition   AC   Withheld   Yes
                                Tony Woodgate, Esq.                                                    Agreement between R&B Falcon and TO

6a   10-Nov-00   Draft letter   Peter Broadhurst, Esq.; Jon Cole; Eric Brown, Esq.; Simon Bishop       Draft letter re: Acquisition Agreement          AC   Withheld   N/A
                                Tony Woodgate, Esq.                                                    between R&B Falcon and TO

7    15-Dec-00   Email          Peter Broadhurst , Esq. Eric Brown, Esq.;                            Communications with counsel relating to legal AC       Withheld   Yes
                                                        Jon Cole; Colin Fairweather; Jane Whittaker; advice re: TO acquisition of R&B Falcon
                                                        Oskar Ekstrom; Simon Bishop; Morven Hadden;
                                                        Piergiorgio Pepe


7a   25-Sep-00   Draft          Peter Broadhurst , Esq. Eric Brown, Esq.;                            Draft application to UK Office of Fair Trading    AC   Withheld   N/A
                 application                            Jon Cole; Colin Fairweather; Jane Whittaker;
                                                        Oskar Ekstrom; Simon Bishop; Morven Hadden;
                                                        Piergiorgio Pepe


7b   29-Nov-00   Draft          Peter Broadhurst , Esq. Eric Brown, Esq.;                            Draft responses to UK Office of Fair Trading      AC   Withheld   N/A
                 responses                              Jon Cole; Colin Fairweather; Jane Whittaker;
                                                        Oskar Ekstrom; Simon Bishop; Morven Hadden;
                                                        Piergiorgio Pepe
                                                                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 5 of 277
8     16-Jan-01   Email          Eric Brown, Esq.   Chris Bright, Esq.; Tony Vlasto, Esq.          Communications providing documents             AC   Withheld   N/A
                                                                                                   requested by counsel re TO's acquisition of
                                                                                                   R&B Falcon
8a    29-Nov-00   Draft          Eric Brown, Esq.   Chris Bright, Esq.; Tony Vlasto, Esq.          Draft responses to UK Office of Fair Trading   AC   Withheld   N/A
                  responses
9     7-Feb-01    Email          John Rouse         Eric Brown, Esq.; Pete Fougere, Michel         Communications with counsel relating to legal AC    Withheld   No
                                                    Legrand; Jean Cahuzac                          advice re: press releases

10    7-Feb-01    Email          Eric Brown, Esq.   Don Ray                                        Communications with counsel relating to legal AC    Withheld   No
                                                                                                   advice re: press releases
11    6-Mar-01    Email          Jon Cole           Eric Brown, Esq.                               Communications with counsel relating to legal AC    Withheld   No
                                                                                                   advice re: worldwide fleet
11a   13-Dec-00   Draft report   Jon Cole           Eric Brown, Esq.                               Draft report re: worldwide fleet              AC    Withheld   N/A
12    7-Mar-01    Email          Eric Brown, Esq    Texcott@aol.com'; Michael Acuff;               Communications with counsel relating to legal AC    Withheld   Yes
                                                    mfogler@mfml.com'                              advice re: worldwide fleet

12a   7-Mar-01    Draft report   Jon Cole           Eric Brown, Esq.                               Draft report re: worldwide fleet               AC   Withheld   N/A
13    7-Mar-01    Email          Eric Brown, Esq    'mfogler@mfml.com'                             Communication with counsel relating to legal   AC   Withheld   Yes
                                                                                                   advice re: worldwide fleet
13a   7-Mar-01    Draft report   Eric Brown, Esq    'mfogler@mfml.com'                             Draft report re: worldwide fleet               AC   Withheld   N/A
14    7-Mar-01    Email          Eric Brown, Esq    'Texcott@aol.com'                              Communication with counsel relating to legal   AC   Withheld   Yes
                                                                                                   advice re: worldwide fleet
14a   7-Mar-01    Draft report   Eric Brown, Esq    'Texcott@aol.com'                              Draft report re: worldwide fleet               AC   Withheld   N/A
15    27-Mar-01   Email          Michael Acuff      Francisco Todorov, Esq.; Eric Brown, Esq.;     Communications related to legal advice re:     AC   Withheld   Yes
                                                    Luciano Costa, Esq.; Tulio Coelho, Esq.        responses to Brazil's SEAE

15a   27-Mar-01   Draft report   Michael Acuff      Francisco Todorov, Esq.; Eric Brown, Esq.;     Draft report re: worldwide fleet               AC   Withheld   N/A
                                                    Luciano Costa, Esq.; Tulio Coelho, Esq.

15b   27-Mar-01   Draft          Michael Acuff      Francisco Todorov, Esq.; Eric Brown, Esq.;     Draft of responses to Brazil's SEAE            AC   Withheld   N/A
                  responses                         Luciano Costa, Esq.; Tulio Coelho, Esq.

16    25-Sep-03   Email          Chris Young        John Keeton; Larry McMahan; Eric Brown, Esq.; Communications related to legal advice re:      AC   Withheld   N/A
                                                    Mike Roth; Jurgen Sager                       contract interpretation and Horizon LMRP
                                                                                                  emergency disconnect

17    25-Sep-03   Email          Chris Young        Eric Brown, Esq                               Communications related to legal advice re:      AC   Withheld   N/A
                                                                                                  contract interpretation and Horizon LMRP
                                                                                                  emergency disconnect
18    26-Sep-03   Email          Mike Roth          John Keeton; Larry McMahan; Eric Brown, Esq.; Communications related to legal advice re:      AC   Withheld   N/A
                                                    Mike Roth; Jurgen Sager                       contract interpretation and Horizon LMRP
                                                                                                  emergency disconnect

19    20-May-04   Email          Lisa Newburn       Eric Brown, Esq.                               Communications related to legal advice re:     AC   Withheld   N/A
                                                                                                   Transocean entities
                                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 6 of 277
20    20-Sep-04   Email          Mike Roth              Eric Brown, Esq.; Chris Young; John Keeton;     Communications related to legal advice re:    AC     Withheld   N/A
                                                        Jurgen Sager; Steve Woelfel                     Transocean entities

21    21-Sep-04   Email          Woelfel, Steve         Eric Brown, Esq.;                               Communications related to legal advice re:    AC     Withheld   N/A
                                                        Mike Roth;                                      contract interpretation and Horizon LMRP
                                                        Chris Young; John Keeton; Jurgen Sager          emergency disconnect

22    21-Sep-04   Email          Roth, Mike             Eric Brown, Esq.; Steve Woelfel; Chris Young;   Communications related to legal advice re:     AC    Withheld   N/A
                                                        John Keeton; Jurgen Sager                       contract interpretation and Horizon LMRP
                                                                                                        emergency disconnect
23    8-Oct-04    Email          Bill Pearce, Esq.      Susan Musch; Eric Brown, Esq.; Daniel Farr;     Communications related to legal advice re: rig AC    Withheld   Yes
                                                        Robert Kemp; Lori                               transfers
                                                        Masterson; Lisa Newburn; Giovanni
                                                        Pacelli; Jim Van Winkle


24    8-Oct-04    Draft checklist Bill Pearce, Esq.     Susan Musch; Eric Brown, Esq.; Daniel Farr;     Draft checklist re: rig transfers             AC     Withheld   N/A
                                                        Robert Kemp; Lori
                                                        Masterson; Lisa Newburn; Giovanni
                                                        Pacelli; Jim Van Winkle


25    3-Feb-10    Email chain    Sergio Alarcon, Esq.   Robert Johnson; Nick Patterson; Bill Pearce,    Communications with counsel relating to legal AC     Withheld   NO
                                                        Esq.; Jess Richards                             advice re: amendment to BP DWH contract.

26    3-May-10    Email chain    Eddy Redd              Arnaud Bobillier; Pharr Smith; Paul Tranter     Communication re: information requested by    WP     Withheld   YES
                                                                                                        counsel in anticipatation for litigation.

26a   3-May-10    Draft memo     Daniel Husted          Eddy Redd                                       Draft memo prepared at direction of counsel   WP     Withheld   N/A
                                                                                                        in anticipation of litigation.
27    3-May-10    Email          Ibukun Ajayi           Jimmy Moore; Patricia Howard                    Communication re: information requested by    WP     Withheld   YES
                                                                                                        counsel in anticipation of litigation.

27a   3-May-10    Draft chart    Ibukun Ajayi           Jimmy Moore; Patricia Howard                    Draft chart prepared at direction of counsel in WP   Withheld   N/A
                                                                                                        anticipation of litigation.
28    4-May-10    Email          Steve Hand             Serge Schultz                                   Communication re: information requested by WP        Withheld   NO
                                                                                                        counsel in anticipation of litigation.
29    4-May-10    Email          John MacKay            Steve Hand; Paul J. King; John Kozicz; Eddy     Communication re: information requested by    WP     Withheld   NO
                                                        Redd; Serge Schultz                             counsel in anticipation of litigation.

30    4-May-10    Email          John MacKay            Steve Hand; Paul J. King; John Kozicz; Eddy     Communication re: information requested by    WP     Withheld   NO
                                                        Redd; Serge Schultz                             counsel in anticipation of litigation.

31    4-May-10    Email          Steve Hand             Eddy Redd                                       Communication re: information requested by    WP     Withheld   NO
                                                                                                        counsel in anticipation of litigation.
                                                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 7 of 277
32    4-May-10   Email        Tom Shackelford     Daun Winslow                                    Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.
33    5-May-10   Email        Rodney Manning      Bill Ambrose; Jean Paul Buisine; Paul Tranter   Communications re: information requested by WP     Withheld   NO
                                                                                                  counsel in anticipation of litigation.


34    5-May-10   Email        Larry McMahan       Reyna Allen; Guy Cantwell; Adrian Rose          Communication re: information requested by   WP    Withheld   YES
                                                                                                  counsel in anticipation of litigation.

34a   5-May-10   Draft memo   Larry McMahan       Reyna Allen; Guy Cantwell; Adrian Rose          Draft memo prepared at the direction of an   WP    Withheld   N/A
                                                                                                  attorney in anticipation of litigation.
35    5-May-10   Email        Robert Tiano        James Kent                                      Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.
36    5-May-10   Email        James Kent          Sergio Alarcon, Esq.                            Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.
37    5-May-10   Email        Robert Tiano        James Kent                                      Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.

38    5-May-10   Email        Jean Paul Buisine   Paul Tranter; Eddy Redd                         Communication re: information requested by   WP    Withheld   N/A
                                                                                                  counsel in anticipation of litigation.

39    6-May-10   Email        Larry McMahan       Guy Cantwell; Lou Colasuonno; Adrian Rose       Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.

40    6-May-10   Email        Paul Johnson        Jean Paul Buisine; James Kent                   Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.

41    6-May-10   Email        Paul Johnson        Jean Paul Buisine; James Kent                   Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.
42    6-May-10   Email        Paul Johnson        Jewel Revis                                     Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.

43    6-May-10   Email        Paul Johnson        Jean Paul Buisine; James Kent                   Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.

44    7-May-10   Email        Rodney Manning      Jean Paul Buisine; Bill Ambrose; Jeff Jones     Communication re: information requested by   WP    Withheld   NO
                                                                                                  counsel in anticipation of litigation.
46    8-May-10   Email        Derek Hart          Bill Ambrose; Wesley Bell; Derek Hart; Steve    Communication re: information requested by   WP    Withheld   YES
                                                  Myers; Robert Scott; Simon Watson               counsel in anticipation of litigation.
48    8-May-10   Email        Derek Hart          Robert Scott; Wesley Bell                       Communication re: information relating to     WP   Withheld   NO
                                                                                                  DWH Investigation prepared in anticipation of
                                                                                                  litigation.
49    8-May-10   Email        Neal Pedersen       Guy Cantwell; Fraser Douglas; Gregory           Communication re: information requested by WP      Withheld   NO
                                                  Panagos; Robert Johnson; Roddie Mackenzie;      counsel in anticipation of litigation.
                                                  Neal Pedersen; Jess Richards; Bill Sannan
                                                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 8 of 277
50    8-May-10    Email         James Kent       Paul Tranter                                  Communication re: information requested by    WP   Withheld   NO
                                                                                               counsel in anticipation of litigation.

51    9-May-10    Email         Paul Tranter     Steven Newman                                 Communication re: information requested by    WP   Withheld   NO
                                                                                               counsel in anticipation of litigation.

54    10-May-10   Email         Barry Braniff    Michael Markey; Michael Llewellyn             Communication re: information requested by    WP   Withheld   YES
                                                                                               counsel in anticipation of litigation.

55    10-May-10   Email         James Kent       Geoff Boughton; Paul Johnson; Bill Sannan;    Communication re: information requested by    WP   Withheld   NO
                                                 Robert Tiano                                  counsel in anticipation of litigation.
56    10-May-10   Email         Robert Tiano     Geoff Boughton; Paul Johnson; James Kent; Bill Communication re: information requested by   WP   Withheld   NO
                                                 Sannan                                         counsel in anticipation of litigation.
57    10-May-10   Email         Bill Sannan      Paul Johnson                                  Communication re: information requested by    WP   Withheld   NO
                                                                                               counsel in anticipation of litigation.
58    10-May-10   Email         James Kent       Geoff Boughton; Paul Johnson; Bill Sannan;    Communication re: information requested by    WP   Withheld   NO
                                                 Robert Tiano                                  counsel in anticipation of litigation.

60    12-May-10   Email         Bill Sannan      Eddy Redd; Simon Watson                       Communication re: information requested by    WP   Withheld   YES
                                                                                               counsel in anticipation of litigation.

60a   12-May-10   Spreadsheet   Bill Sannan      Eddy Redd; Simon Watson                       Spreadsheet prepared at direction of counsel WP    Withheld   N/A
                                                                                               in anticipation of litigation.

61    12-May-10   Email         Bill Sannan      Eddy Redd; Simon Watson                       Communication re: information requested by    WP   Withheld   YES
                                                                                               counsel in anticipation of litigation.

61a   12-May-10   Spreadsheet   Bill Sannan      Eddy Redd; Simon Watson                       Spreadsheet prepared at direction of counsel WP    Withheld   N/A
                                                                                               in anticipation of litigation.
62    12-May-10   Email         Bill Sannan      Eddy Redd; Simon Watson                       Communication re: information requested by WP      Withheld   YES
                                                                                               counsel in anticipation of litigation.

62a   12-May-10   Spreadsheet   Bill Sannan      Eddy Redd; Simon Watson                       Spreadsheet prepared at direction of counsel WP    Withheld   N/A
                                                                                               in anticipation of litigation.

63    12-May-10   Email         Bill Sannan      Eddy Redd; Simon Watson                       Communication re: information requested by    WP   Withheld   YES
                                                                                               counsel in anticipation of litigation.

63a   12-May-10   Spreadsheet   Bill Sannan      Eddy Redd; Simon Watson                       Spreadsheet prepared at direction of counsel WP    Withheld   N/A
                                                                                               in anticipation of litigation.
64b   12-May-10   Email         Jerry Canducci   Eddy Redd; Simon Watson                       Communication re: information requested by WP      Withheld   NO
                                                                                               counsel in anticipation of litigation.

65    13-May-10   Email         Bill Sannan      Paul Johnson; James Kent; Eddy Redd; Dan      Communication re: information requested by    WP   Withheld   NO
                                                 Reudelhuber                                   counsel in anticipation of litigation.
                                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 9 of 277
66    16-May-10   Email          Derek Hart     Steve Myers                                  Communication prepared in connection with WP           Withheld   YES
                                                                                             DWH investigation in anticipation of litigation.

66a   16-May-10   Draft      Derek Hart         Steve Myers                                  Draft memorandum re DWH investigation in          WP   Withheld   N/A
                  memorandum                                                                 anticipated of litigation.
66b   16-May-10   Draft      Derek Hart         Steve Myers                                  Draft memorandum re DWH investigation in          WP   Withheld   N/A
                  memorandum                                                                 anticipated of litigation.
67    16-May-10   Email          Park10 ERC     Jerry Canducci; Derek Hart                   Communication re: DWH investigation               WP   Withheld   NO
                                                                                             prepared in anticipation of litigation.




68    17-May-10   Email          Simon Watson   Bill Ambrose                                 Communication re: information requested by        WP   Withheld   Yes
                                                                                             counsel in anticipation of litigation.

68a   17-May-10   Draft          Simon Watson   Bill Ambrose                                 Draft presentation re DWH maintenance             WP   Withheld   N/A
                  Presentation                                                               prepared for counsel in anticipation of
                                                                                             litigation.

68b   17-May-10   Draft          Simon Watson   Bill Ambrose                                 Draft presentation re DWH maintenance             WP   Withheld   N/A
                  Presentation                                                               prepared for counsel in anticipation of
                                                                                             litigation.
68c   17-May-10   Draft          Simon Watson   Bill Ambrose                                 Draft presentation re DWH maintenance             WP   Withheld   N/A
                  Presentation                                                               prepared for counsel in anticipation of
                                                                                             litigation.

68d   17-May-10   Draft          Simon Watson   Bill Ambrose                                 Draft presentation re DWH maintenance             WP   Withheld   N/A
                  Presentation                                                               prepared for counsel in anticipation of
                                                                                             litigation.

68e   17-May-10   Draft          Simon Watson   Bill Ambrose                                 Draft presentation re DWH maintenance             WP   Withheld   N/A
                  Presentation                                                               prepared for counsel in anticipation of
                                                                                             litigation.
70    17-May-10   Email          James Kent     Dan Reudelhuber; Bill Sannan; Simon Watson   Email regarding the collection of information     WP   Withheld   Yes
                                                                                             at the direction of an attorney in anticipation
                                                                                             of litigation.

70a   17-May-10   Presentation   James Kent     Dan Reudelhuber; Bill Sannan; Simon Watson   Powerpoint presentation prepared at the           WP   Withheld   N/A
                                                                                             direction of an attorney in anticipation of
                                                                                             litigation.
70b   17-May-10   Presentation   James Kent     Dan Reudelhuber; Bill Sannan; Simon Watson   Powerpoint presentation prepared at the           WP   Withheld   N/A
                                                                                             direction of an attorney in anticipation of
                                                                                             litigation.
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 10 of 277
70c   17-May-10   Presentation   James Kent         Dan Reudelhuber; Bill Sannan; Simon Watson   Powerpoint presentation prepared at the       WP   Withheld   N/A
                                                                                                 direction of an attorney in anticipation of
                                                                                                 litigation.

70d   17-May-10   Presentation   James Kent         Dan Reudelhuber; Bill Sannan; Simon Watson   Powerpoint presentation prepared at the       WP   Withheld   N/A
                                                                                                 direction of an attorney in anticipation of
                                                                                                 litigation.
70e   17-May-10   Presentation   James Kent         Dan Reudelhuber; Bill Sannan; Simon Watson   Powerpoint presentation prepared at the       WP   Withheld   N/A
                                                                                                 direction of an attorney in anticipation of
                                                                                                 litigation.
70f   17-May-10   Spreadsheet    James Kent         Dan Reudelhuber; Bill Sannan; Simon Watson   Spreadsheet prepared at the direction of an   WP   Withheld   N/A
                                                                                                 attorney in anticipation of litigation.

70g   17-May-10   Presentation   James Kent         Dan Reudelhuber; Bill Sannan; Simon Watson   Powerpoint presentation prepared at the       WP   Withheld   N/A
                                                                                                 direction of an attorney in anticipation of
                                                                                                 litigation.

71    17-May-10   Email          Silvestru Bondar   Simon Watson                                 Communication regarding the DWH               WP   Withheld   NO
                                                                                                 investigation prepared in anticipation of
                                                                                                 litigation.
72    17-May-10   Email          Silvestru Bondar   Simon Watson                                 Communication regarding the DWH               WP   Withheld   NO
                                                                                                 investigation prepared in anticipation of
                                                                                                 litigation.
73    17-May-10   Email          Bill Sannan        Simon Watson                                 Communication regarding the DWH               WP   Withheld   NO
                                                                                                 investigation prepared in anticipation of
                                                                                                 litigation.
74    17-May-10   Email          Bill Sannan        Dan Reudelhuber; Simon Watson                Communication regarding the DWH               WP   Withheld   YES
                                                                                                 investigation prepared in anticipation of
                                                                                                 litigation.

74a   17-May-10   Spreadsheet    Bill Sannan        Dan Reudelhuber; Simon Watson                Spreadsheet prepared for DWH investigation WP      Withheld   N/A
                                                                                                 in anticipation of litigation.

75    17-May-10   Email          Steve Myers        Chad Crain                                   Communication regarding the DWH               WP   Withheld   NO
                                                                                                 investigation prepared in anticipation of
                                                                                                 litigation.

76    18-May-10   Email          Steve Hand         Larry McMahan                                Communication re: information requested by    WP   Withheld   N/A
                                                                                                 counsel in anticipation of litigation.

77    18-May-10   Email          Bill Ambrose       Simon Watson                                 Communication regarding the DWH               WP   Withheld   NO
                                                                                                 investigation prepared in anticipation of
                                                                                                 litigation.

79    18-May-10   Email          Derek Hart         Keith Lamb                                   Communication regarding the DWH               WP   Withheld   YES
                                                                                                 investigation prepared in anticipation of
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 11 of 277




                                                                                                 litigation.
79a    18-May-10   Draft      Derek Hart            Keith Lamb                                      Draft memorandum re: DWH investigation            WP   Withheld   N/A
                   memorandum                                                                       prepared in anticipation of litigation.

80     18-May-10   Email          Dan Reudelhuber   Barry Braniff                                   Communication re: information requested by        WP   Withheld   NO
                                                                                                    counsel in anticipated of litigation.

81     19-May-10   Email          James Kent        Simon Watson                                    Communication re: DWH investigation               WP   Withheld   NO
                                                                                                    prepared in anticipation of litigation.


87     19-May-10   Email          Larry McMahan     Ibukun Ajayi; Reyna Allen; William Bankston;  Email regarding the collection of information       WP   Withheld   NO
                                                    Jasmin Begagic; Barry Braniff; Dave Cameron; at the direction of an attorney in anticipation
                                                    Wade Cornelson; Joseph Coym; David E.         of litigation.
                                                    Foster; Alan Gauld; Steve Hand; Ian Hudson;
                                                    John Kozicz; Doug Lacroix; Michael Llewellyn;
                                                    John MacKay; Michael Markey; Garry Murdoch;
                                                    Steve Myers; Shanta Reed; Serge
                                                    Schultz; Karma G. Slusarchuk; Iain Sneddon;
                                                    Anna Williams
90     19-May-10   Email          James Kent        Robert Scott                                    Communication re: DWH investigation               WP   Withheld   NO
                                                                                                    prepared in anticipation of litigation.

92     20-May-10   Email          Michael Fry       Simon Watson                                    Communication re: DWH investigation               WP   Withheld   NO
                                                                                                    prepared in anticipation of litigation.
96     24-May-10   Email          Ray Cantu         Simon Watson                                    Communication re: DWH investigation               WP   Withheld   NO
                                                                                                    prepared in anticipation of litigation.

97     24-May-10   Email          Michael Fry       Simon Watson                                    Communication re: DWH investigation               WP   Withheld   NO
                                                                                                    prepared in anticipation of litigation.

98     24-May-10   Email          Simon Watson      Greg Childs                                     Communication re: DWH investigation               WP   Withheld   NO
                                                                                                    prepared in anticipation of litigation.

99     24-May-10   Email          Simon Watson      Eric Leslie                                     Communication re: DWH investigation               WP   Withheld   NO
                                                                                                    prepared in anticipation of litigation.

100    24-May-10   Email          Keith Lamb        Derek Hart                                      Communication re: DWH investigation               WP   Withheld   YES
                                                                                                    prepared in anticipation of litigation.
101    25-May-10   Email          Derek Hart        Bill Ambrose; Wesley Bell; Robert Scott         Communication re: events of April 20              WP   Withheld   YES
                                                                                                    prepared in anticipation of litigation.


101a   25-May-10   Draft report   Derek Hart        Bill Ambrose; Wesley Bell; Robert Scott         Draft report re: solenoid testing prepared in     WP   Withheld   N/A
                                                                                                    anticipation of litigation.
103    26-May-10   Email          Bill Ambrose      James Kent                                      Email regarding the collection of information     WP   Withheld   NO
                                                                                                    at the direction of an attorney in anticipation
                                                                                                    of litigation.
                                                                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 12 of 277
104    26-May-10   Email          Bill Ambrose            Derek Hart; Wesley Bell; Robert Scott   Email regarding the collection of information     WP   Withheld   N/A
                                                                                                  at the direction of an attorney in anticipation
                                                                                                  of litigation.
105    26-May-10   Email          Bill Ambrose            Derek Hart; Wesley Bell; Robert Scott   Email regarding the collection of information     WP   Withheld   N/A
                                                                                                  at the direction of an attorney in anticipation
                                                                                                  of litigation.
106    26-May-10   Email          Bill Ambrose            Derek Hart; Wesley Bell; Robert Scott   Email regarding the collection of information     WP   Withheld   N/A
                                                                                                  at the direction of an attorney in anticipation
                                                                                                  of litigation.
107    26-May-10   Email          James Kent              Simon Watson                            Communication re: DWH investigation               WP   Withheld   NO
                                                                                                  prepared in anticipation of litigation.
108    26-May-10   Email          Ewen Florence           Simon Watson                            Communication re: DWH investigation               WP   Withheld   YES
                                                                                                  prepared in anticipation of litigation.

108a   26-May-10   Draft report   Ewen Florence           Simon Watson                            Draft report sent in connection with the root     WP   Withheld   N/A
                                                                                                  cause analysis.
109    6-Jun-10    Email          Bill Ambrose            Wesley Bell                             Email regarding collection of information at      WP   Withheld   YES
                                                                                                  direction of attorney in anticipation of
                                                                                                  litigation.
113    9-Jun-10    Email          Bill Ambrose            Simon Watson                            Email regarding collection of information at      WP   Withheld   YES
                                                                                                  direction of attorney in anticipation of
                                                                                                  litigation.
114    9-Jun-10    Email          Larry McMahan           Bill Ambrose                            Email regarding collection of information at      WP   Withheld   NO
                                                                                                  direction of attorney in anticipation of
                                                                                                  litigation.
115    9-Jun-10    Email          Derek Hart              Diane Willey; Buddy Trahan              Communication re: DWH investigation               WP   Withheld   NO
                                                                                                  prepared in anticipation of litigation.

116    9-Jun-10    Email          Derek Hart              Perrin Roller                           Communication re: DWH investigation               WP   Withheld   NO
                                                                                                  prepared in anticipation of litigation.
119    22-Jun-10   Email          Derek Hart              Stephen Ward                            Communication re: DWH investigation               WP   Withheld   NO
                                                                                                  prepared in anticipation of litigation.

120    22-Jun-10   Email          Stephen Ward            Christopher Shifflett; Derek Hart       Communication re: DWH investigation               WP   Withheld   YES
                                                                                                  prepared in anticipation of litigation.


120a   22-Jun-10   Draft          Stephen Ward            Christopher Shifflett; Derek Hart       Draft timeline prepared for DWH investigation WP       Withheld   NA
                                                                                                  in anticipation of litigation.


121    22-Jun-10   Email          Christopher Shifflett   Derek Hart; Stephen Ward                Communication re: DWH investigation               WP   Withheld   YES
                                                                                                  prepared in anticipation of litigation.
                                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 13 of 277
121a   22-Jun-10   Draft          Christopher Shifflett   Derek Hart; Stephen Ward   Draft timeline prepared in connection with the WP    Withheld   NA
                                                                                     root cause analysis.


122    19-Nov-10   Diagram        DWH Investigation                                  Work flow diagram prepared for DWH              WP   Withheld   NA
                                  Team                                               investigation in anticipation of litigation.

123    5-Aug-10    Draft          Art Nordholm                                       Draft presentation re: DWH incident prepared WP      Withheld   NA
                   presentation                                                      in conjunction with counsel in anticipation of
                                                                                     litigation.
124    26-Jul-10   Spreadsheet    Art Nordholm                                       Draft timeline prepared for DWH investigation WP     Withheld   NA
                                                                                     in conjunction with counsel and in anticipation
                                                                                     of litigation.

130    19-Oct-10   Draft          Art Nordholm                                       Draft chronology prepared for DWH               WP   Withheld   NA
                                                                                     investigation in conjunction with counsel and
                                                                                     in anticipation of litigation.
131    21-Oct-10   Draft          Art Nordholm            Derek Hart                 Communication re DWH evacuation prepared WP          Withheld   NA
                                                                                     by DWH investigation team in anticipation of
                                                                                     litigation.

132    18-Nov-10   Memorandum Bob Walsh                                              Draft memorandum re: DWH equipment              WP   Withheld   NA
                                                                                     prepared in connection with DWH
                                                                                     investigation in anticipation of litigation.

133    19-Nov-10   Memorandum Bob Walsh                                              Draft memorandum re: DWH equipment              WP   Withheld   NA
                                                                                     prepared in connection with DWH
                                                                                     investigation in anticipation of litigation.

134    23-Nov-10   Memorandum Bob Walsh                                              Draft memorandum prepared for DWH               WP   Withheld   NA
                                                                                     investigation in anticipation of litigation.

135    2-Dec-10    Memorandum Bob Walsh                                              Draft memorandum prepared for DWH               WP   Withheld   NA
                                                                                     investigation in anticipation of litigation.


139    11-Aug-10   Memorandum Bob Walsh                                              Draft memorandum prepared for DWH               WP   Withheld   NA
                                                                                     investigation in anticipation of litigation.

140    13-Aug-10   Memorandum Greg Childs; Ewen                                      Draft memorandum prepared for DWH               WP   Withheld   NA
                              Florence                                               investigation in anticipation of litigation.


141    11-Nov-10   Word           Bob Walsh                                          Draft memorandum prepared for DWH               WP   Withheld   NA
                                                                                     investigation in anticipation of litigation.
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 14 of 277
142   16-Sep-10   Email          Chris Tolleson      Ewen Florence; Harshal Patil; Robert Tiano;   Communication re: DWH equipment                WP     Withheld   NA
                                                     Bob Walsh                                     prepared for DWH investigation in
                                                                                                   anticipation of litigation.

147   12-Jul-99   Email          Drew Weathers       John Altermann                                Communications re: DWH equipment               WP     Withheld   NA
                                                                                                   prepared for DWH investigation in
                                                                                                   anticipation of litigation.


148   20-Aug-10   Draft      Greg Childs                                                           Draft memorandum re: DWH equipment             WP     Withheld   NA
                  memorandum                                                                       prepared for DWH investigation in
                                                                                                   anticipation of litigation


150   11-Aug-10   Memo           Robert Tiano                                                      Draft memorandum re: DWH equipment             WP     Withheld   NA
                                                                                                   prepared for DWH investigation in
                                                                                                   anticipation of litigation




154   19-Nov-10   Draft      DWH Investigation                                                     Draft memorandum re: DWH equipment             WP     Withheld   NA
                  memorandum Team                                                                  prepared for DWH investigation in
                                                                                                   anticipation of litigation

161   17-Sep-10   Presentation   DWH Investigation                                                 Draft presentation re: Macondo well prepared WP       Withheld   NA
                                 Team                                                              for DWH Investigation in anticipation of
                                                                                                   litigation.
165   8-Dec-10    Draft          DWH Investigation                                                 Annotations in DWH manual prepared for           WP   Withheld   NA
                                 Team                                                              DWH Investigation in anticipation of litigation.

173   24-May-10   Draft          Eric Leslie                                                       Draft memorandum re: investigation          WP        Withheld   NA
                                                                                                   documents prepared for DWH investigation in
                                                                                                   anticipation of litigation.

174   24-May-10   Draft          Eric Leslie                                                       Draft memorandum re: investigation          WP        Withheld   NA
                                                                                                   documents prepared for DWH investigation in
                                                                                                   anticipation of litigation.
175   24-May-10   Draft          Eric Leslie                                                       Draft memorandum re: investigation          WP        Withheld   NA
                                                                                                   documents prepared for DWH investigation in
                                                                                                   anticipation of litigation.
192   13-Oct-10   Draft          DWH Investigation                                                 Draft memorandum re: DWH equipment               WP   Withheld   NA
                                 Team                                                              prepared for DWH investigation in
                                                                                                   anticipation of litigation.
201   4-Jan-11    Report         DWH Investigation                                                 Draft report re: DWH equipment prepared for WP        Withheld   NA
                                 Team                                                              DWH investigation in anticipation of litigation.
                                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 15 of 277
215   2-Aug-10    Draft          DWH Investigation   Draft presentation re: DWH incident prepared WP    Withheld   NA
                                 Team                at the direction of counsel in connection in
                                                     anticipation of litigation.

221   27-Sep-10   Draft          DWH Investigation   Draft memorandum re: incident prepared for WP      Withheld   NA
                                 Team                DWH investigation in anticipation of litigation.

222   29-Sep-10   Draft          DWH Investigation   Draft memorandum re: incident prepared for WP      Withheld   NA
                                 Team                DWH investigation in anticipation of litigation.

223   1-Oct-10    Draft          DWH Investigation   Draft memorandum re: incident prepared for WP      Withheld   NA
                                 Team                DWH investigation in anticipation of litigation.

224   18-Oct-10   Draft          DWH Investigation   Draft memorandum re: incident prepared for WP      Withheld   NA
                                 Team                DWH investigation in anticipation of litigation.


226   16-Jul-10   Powerpoint     DWH Investigation   Draft powerpoint re: investigation prepared   WP   Withheld   NA
                                 Team                for DWH investigation in anticipation of
                                                     litigation.




231   26-Oct-10   Draft          DWH Investigation   Draft memorandum re: DWH equipment            WP   Withheld   NA
                                 Team                prepared for DWH investigation in
                                                     anticipation of litigation.




234   23-Nov-10   Draft          DWH Investigation   Draft memorandum re: DWH equipment            WP   Withheld   NA
                                 Team                prepared for DWH investigation in
                                                     anticipation of litigation.




241   23-Aug-10   Memorandum DWH Investigation       Draft memorandum re: DWH equipment            WP   Withheld   NA
                             Team                    prepared for DWH investigation in
                                                     anticipation of litigation.


243   23-Aug-10   Memorandum DWH Investigation       Draft memorandum re: DWH equipment            WP   Withheld   NA
                             Team                    prepared for DWH investigation in
                                                     anticipation of litigation.
244   23-Aug-10   Draft report   DWH Investigation   Draft memorandum re: DWH equipment            WP   Withheld   NA
                                 Team                prepared for DWH investigation in
                                                     anticipation of litigation.
                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 16 of 277
319   12-Jan-11   Draft       DWH Investigation                   Draft chart re: Macondo events prepared for   WP   Withheld   NA
                              Team                                the DWH investigation in anticipation of
                                                                  litigation.


320   12-Jan-11   Draft       DWH Investigation                   Draft chart re: Macondo events prepared for   WP   Withheld   NA
                              Team                                the DWH investigation in anticipation of
                                                                  litigation.


323   24-Aug-10   Memorandum Janice Richards                      Draft memorandum re: media reports            WP   Withheld   NA
                                                                  prepared in anticipation of litigation.




324   24-Aug-10   Memorandum Janice Richards                      Draft memorandum re: media reports            WP   Withheld   NA
                                                                  prepared in anticipation of litigation.




325   7-Sep-10    Memorandum Janice Richards                      Draft memorandum re: media reports            WP   Withheld   NA
                                                                  prepared in anticipation of litigation.




326   10-Sep-10   Memorandum Janice Richards                      Draft memorandum re: media reports            WP   Withheld   NA
                                                                  prepared in anticipation of litigation.




327   1-Oct-10    Memorandum David Williams       Perrin Roller   Draft memorandum re: BP procedures            WP   Withheld   NA
                                                                  prepared in anticipation of litigation.


328   4-Oct-10    Memorandum David Williams       Perrin Roller   Draft memorandum re: well control manual      WP   Withheld   NA
                                                                  prepared in anticipation of litigation.
                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 17 of 277
329   11-Oct-10   Draft        David Williams                                                      Draft memorandum re: BP procedures            WP   Withheld   NA
                                                                                                   prepared in anticipation of litigation.


330   22-Jun-10   Email        Bill Sannan         Multiple recipients                             Correspondence re: Transocean procedures      WP   Withheld   NA
                                                                                                   prepared in anticipation of litigation.


331   22-Jun-10   Email        Elton Cherry        Perrin Roller; Bill Sannan                      Correspondence re: Transocean procedures      WP   Withheld   NA
                                                                                                   prepared in anticipation of litigation.


332   22-Jun-10   Email        Keith Miller        Perrin Roller; Eric Hall; Bill Sannan; Brian Colby Correspondence re: Transocean procedures   WP   Withheld   NA
                                                                                                      prepared in anticipation of litigation.


333   22-Jun-10   Email        Jim Schroeder       Perrin Roller; Bill Ambrose; Michel Legrand;    Correspondence re: Transocean procedures      WP   Withheld   NA
                                                   Peter Wilson                                    prepared in anticipation of litigation.

334   22-Jun-10   Email        Justin Richardson   Perrin Roller; Eric Hall; Bill Sannan; Dan Haslam Correspondence re: Transocean procedures    WP   Withheld   NA
                                                                                                     prepared in anticipation of litigation.


335   22-Jun-10   Email        Rene Rodrigues      Perrin Roller; Bill Sannan; David Matlock       Correspondence re: Transocean procedures      WP   Withheld   NA
                                                                                                   prepared in anticipation of litigation.


336   15-Jul-10   Email        Bill Ambrose        Jim Schoeder; Perrin Roller                     Correspondence re: Transocean procedures      WP   Withheld   NA
                                                                                                   prepared in anticipation of litigation.

337   15-Jul-10   Email        Bill Ambrose        Bill Sannan;Bill Wainwright; Michel Legrand;    Correspondence re: Transocean procedures      WP   Withheld   NA
                                                   Martin Nuttal                                   prepared in anticipation of litigation.

338   11-Jul-10   Memorandum Perrin Roller         Bill Ambrose                                    Draft memorandum re: testing procedures       WP   Withheld   NA
                                                                                                   prepared in anticipation of litigation.




339   27-Jul-10   Memorandum Perrin Roller         Bill Ambrose                                    Draft memorandum re: testing procedures       WP   Withheld   NA
                                                                                                   prepared in anticipation of litigation.
                                                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 18 of 277
340   28-Jul-10   Memorandum Perrin Roller             Bill Ambrose    Draft memorandum re: testing procedures       WP   Withheld   NA
                                                                       prepared in anticipation of litigation.




341   10-Sep-10   Email string   Dan Farr              Bill Ambrose    Correspondence re: investigation update       WP   Withheld   NA
                                                                       prepared in anticipation of litigation.

342   30-Jun-10   Email          Derek Hart            Perrin Roller   Correspondence re: DWH events prepared in WP       Withheld   NA
                                                                       anticipation of litigation.




343   30-May-10   Spreadsheet    Perrin Roller                         Chart re: incident timeline prepared in       WP   Withheld   NA
                                                                       anticipation of litigation.


344   30-May-10   Spreadsheet    Perrin Roller                         Chart re: well operations data prepared in    WP   Withheld   NA
                                                                       anticipation of litigation.

345   9-Jun-10    Spreadsheet    Perrin Roller                         Chart re: well operations data prepared in    WP   Withheld   NA
                                                                       anticipation of litigation.

346   15-Jun-10   Spreadsheet    Perrin Roller                         Chart re: well operations data prepared in    WP   Withheld   NA
                                                                       anticipation of litigation.

347   9-Jul-10    Spreadsheet    Perrin Roller                         Chart re: BP well design prepared in          WP   Withheld   NA
                                                                       anticipation of litigation.




348   26-Jul-10   Spreadsheet    Rachael Dsane-Selby                   Chart re: timeline of data prepared in        WP   Withheld   NA
                                                                       anticipation of litigation.




349   30-Jul-10   Spreadsheet    Rachael Dsane-Selby                   Chart re: BP well design prepared in          WP   Withheld   NA
                                                                       anticipation of litigation.

350   2-Sep-10    Spreadsheet    Rachael Dsane-Selby                   Spreadsheet re: BP well design prepared in    WP   Withheld   NA
                                                                       anticipation of litigation.

351   3-Sep-10    Spreadsheet    Rachael Dsane-Selby                   Spreadsheet re: well operations prepared in   WP   Withheld   NA
                                                                       anticipation of litigation.
                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 19 of 277
352   20-Sep-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.

353   5-Oct-10    Spreadsheet   Rachael Dsane-Selby   Memorandum re: well operations timeline      WP   Withheld   NA
                                                      prepared in anticipation of litigation.




354   10-Aug-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




355   30-Aug-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




356   29-Nov-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




357   29-Nov-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.
                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 20 of 277
358   30-Nov-10   Spreadsheet    Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in    WP     Withheld   NA
                                                       anticipation of litigation.




359   30-Nov-10   Spreadsheet    Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in    WP     Withheld   NA
                                                       anticipation of litigation.




360   19-Oct-10   Word           Rachael Dsane-Selby   Memorandum re: operational processes          WP     Withheld   NA
                                                       prepared in anticipation of litigation.




361   4-Aug-10    Presentation   Rachael Dsane-Selby   Draft presentation re: well control prepared in WP   Withheld   NA
                                                       anticipation of litigation.




362   16-Sep-10   Presentation   Rachael Dsane-Selby   Draft presentation re: well control prepared in WP   Withheld   NA
                                                       anticipation of litigation.


363   16-Sep-10   Presentation   Rachael Dsane-Selby   Draft presentation re: data prepared in       WP     Withheld   NA
                                                       anticipation of litigation.




364   25-May-10   Spreadsheet    Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in    WP     Withheld   NA
                                                       anticipation of litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 21 of 277
365   25-May-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




366   27-May-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




367   28-May-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




368   28-May-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




369   30-May-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: well operations data         WP   Withheld   NA
                                                      prepared in anticipation of litigation.
                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 22 of 277
370   30-May-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: well operations data         WP   Withheld   NA
                                                      prepared in anticipation of litigation.




371   9-Jun-10    Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: BP well design prepared in   WP   Withheld   NA
                                                      anticipation of litigation.




372   16-Jul-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: well operations data         WP   Withheld   NA
                                                      prepared in anticipation of litigation.




373   4-Aug-10    Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: well operations data         WP   Withheld   NA
                                                      prepared in anticipation of litigation.




374   10-Aug-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: well operations data         WP   Withheld   NA
                                                      prepared in anticipation of litigation.




375   19-Aug-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: well operations data         WP   Withheld   NA
                                                      prepared in anticipation of litigation.

376   13-Sep-10   Spreadsheet   Rachael Dsane-Selby   Spreadsheet re: well operations data         WP   Withheld   NA
                                                      prepared in anticipation of litigation.
                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 23 of 277
377   28-Oct-10   Spreadsheet    Rachael Dsane-Selby   Spreadsheet re: well operations data          WP   Withheld   NA
                                                       prepared in anticipation of litigation.




378   28-Oct-10   Draft      Rachael Dsane-Selby       Draft memorandum re: well operations data     WP   Withheld   NA
                  memorandum                           prepared in anticipation of litigation.




379   15-Jul-10   Draft          Rachael Dsane-Selby   Draft memorandum re: BP procedures            WP   Withheld   NA
                                                       prepared in anticipation of litigation.




380   3-Aug-10    Draft report   Rachael Dsane-Selby   Draft memorandum re: well operations data     WP   Withheld   NA
                                                       prepared in anticipation of litigation.


381   4-Aug-10    Draft      Rachael Dsane-Selby       Draft memorandum re: requested data           WP   Withheld   NA
                  memorandum                           prepared in anticipation of litigation.




382   6-Aug-10    Draft      Rachael Dsane-Selby       Draft memorandum re: requested data           WP   Withheld   NA
                  memorandum                           prepared in anticipation of litigation.




383   9-Aug-10    Draft      Rachael Dsane-Selby       Draft memorandum re: requested data           WP   Withheld   NA
                  memorandum                           prepared in anticipation of litigation.




384   25-Aug-10   Notes          Rachael Dsane-Selby   Notes re: well operations prepared in         WP   Withheld   NA
                                                       anticipation of litigation.


385   2-Sep-10    Draft chart    Rachael Dsane-Selby   Draft chart re: well operations prepared in   WP   Withheld   NA
                                                       anticipation of litigation.
                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 24 of 277
386   3-Sep-10    Draft report   Rachael Dsane-Selby   Draft memorandum re: well operations             WP   Withheld   NA
                                                       prepared in anticipation of litigation.


387   23-Nov-10   Draft      Rachael Dsane-Selby       Draft memorandum re: well operations             WP   Withheld   NA
                  memorandum                           prepared in anticipation of litigation.


388   14-Dec-10   Draft      Rachael Dsane-Selby       Draft memorandum re: well operations             WP   Withheld   NA
                  memorandum                           prepared in anticipation of litigation.


389   17-Nov-10   Draft          Theresa Parker        Draft narrative re: root cause investigation     WP   Withheld   NA
                                                       prepared in anticipation of litigation.


390   18-Nov-10   Draft report   Bill Ambrose          Draft memorandum re: operations history          WP   Withheld   NA
                                                       prepared in anticipation of litigation.




391   2-Dec-10    Draft report   Theresa Parker        Draft memorandum re: investigation prepared WP        Withheld   NA
                                                       in anticipation of litigation.


392   3-Dec-10    Draft report   Theresa Parker        Draft memorandum re: DWH equipment               WP   Withheld   NA
                                                       prepared in anticipation of litigation.




393   8-Dec-10    Draft report   Theresa Parker        Draft report cover prepared in anticipation of   WP   Withheld   NA
                                                       litigation.




394   5-Jan-11    Draft report   Perrin Roller         Draft memorandum re: well operations             WP   Withheld   NA
                                                       prepared in anticipation of litigation.




395   12-Jan-11   Draft report   Bill Ambrose          Draft memorandum re: investigation prepared WP        Withheld   NA
                                                       in anticipation of litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 25 of 277
396   7-Dec-10    Spreadsheet   Theresa Parker   Spreadsheet re: investigation prepared in   WP   Withheld   NA
                                                 anticipation of litigation.




397   8-Dec-10    Spreadsheet   Theresa Parker   Spreadsheet re: investigation prepared in   WP   Withheld   NA
                                                 anticipation of litigation.




398   7-Dec-10    Spreadsheet   Theresa Parker   Spreadsheet re: investigation prepared in   WP   Withheld   NA
                                                 anticipation of litigation.




399   8-Dec-10    Spreadsheet   Theresa Parker   Spreadsheet re: investigation prepared in   WP   Withheld   NA
                                                 anticipation of litigation.




400   8-Oct-10    Draft      Theresa Parker      Draft memorandum re: DWH equipment          WP   Withheld   NA
                  memorandum                     prepared in anticipation of litigation.


401   8-Oct-10    Draft      Theresa Parker      Draft memorandum re: BP well design         WP   Withheld   NA
                  memorandum                     prepared in anticipation of litigation.




402   8-Oct-10    Draft      Theresa Parker      Draft memorandum re: BP well design         WP   Withheld   NA
                  memorandum                     prepared in anticipation of litigation.


403   8-Oct-10    Draft      Theresa Parker      Draft memorandum re: investigation prepared WP   Withheld   NA
                  memorandum                     in anticipation of litigation.


404   30-Nov-10   Draft      Theresa Parker      Draft memorandum re: DWH equipment          WP   Withheld   NA
                  memorandum                     prepared in anticipation of litigation.




405   3-Dec-10    Draft      Chris Tolleson      Draft memorandum re: DWH equipment          WP   Withheld   NA
                  memorandum                     prepared in anticipation of litigation.
                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 26 of 277
406   30-Dec-10   Draft      Perrin Roller    Draft memorandum re: well operations              WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.




407   5-Jan-11    Draft      Geoff Boughton   Draft memorandum re: DWH equipment                WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.


408   5-Jan-11    Draft      Geoff Boughton   Draft memorandum re: DWH equipment                WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.


409   12-Jan-11   Draft      Theresa Parker   Draft memorandum re: well procedures              WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.


410   5-Jan-11    Draft      Geoff Boughton   Draft memorandum re: DWH equipment                WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.


411   7-Jan-11    Draft      Perrin Roller    Draft memorandum re: well design prepared         WP   Withheld   NA
                  memorandum                  in anticipation of litigation.


412   5-Jan-11    Draft      Theresa Parker   Draft memorandum re: DWH equipment                WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.


413   30-Nov-10   Draft      Theresa Parker   Draft memorandum re: DWH investigation            WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.


414   8-Oct-10    Draft      Bill Ambrose     Draft memorandum re: Macondo well                 WP   Withheld   NA
                  memorandum                  prepared in anticipation of litigation.




415   2-Dec-10    Draft      Bill Ambrose     Draft memorandum re: DWH operations               WP   Withheld   NA
                  memorandum                  history prepared in anticipation of litigation.
                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 27 of 277
416   8-Oct-10    Draft      Bill Ambrose                                                     Draft memorandum re: well design prepared         WP   Withheld   NA
                  memorandum                                                                  in anticipation of litigation.




417   27-Oct-10   Spreadsheet   Art Nordholm                                                  Spreadsheet re: well operations prepared by       WP   Withheld   NA
                                                                                              the DWH investigation team in conjunction
                                                                                              with counsel and in anticipation of litigation.




419   21-Oct-10   Email         Art Nordholm                                                  Communication re: DWH equipment                   WP   Withheld   NA
                                                                                              prepared by DWH investigation team in
                                                                                              anticipation of litigation.




422   4-Jun-10    E-Mail        Art Nordholm        David Ramsey; Roger Sawyer; Christopher   Communication re: investigation team              WP   Withheld   NA
                                                    Shifflet; Eric Leslie                     protocol prepared by the DWH investigation
                                                                                              team in conjunction with counsel and in
                                                                                              anticipation of litigation.




423   12-Aug-10   Draft         DWH Investigation                                             Draft memorandum re: DWH investigation            WP   Withheld   NA
                                Team                                                          prepared by DWH investigation team in
                                                                                              anticipation of litigation.

424   29-Oct-10   Memorandum Buddy Fojt                                                       Draft memorandum re: DWH equipment                WP   Withheld   NA
                                                                                              prepared in anticipation of litigation.

425   12-Aug-10   Word          DWH Investigation                                             Draft memorandum re: drilling equipment           WP   Withheld   NA
                                Team                                                          prepared by DWH investigation team in
                                                                                              anticipation of litigation.

426   13-Aug-10   Word          DWH Investigation                                             Memorandum re: DWH equipment prepared             WP   Withheld   NA
                                Team                                                          by DWH investigation team in anticipation of
                                                                                              litigation.
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 28 of 277
445   27-Apr-10   Draft         DWH Investigation                           Draft memorandum re: DWH equipment               WP   Withheld   NA
                                Team                                        prepared by DWH investigation team in
                                                                            anticipation of litigation.




450   23-Jul-10   Email         Larry McMahan       Dan Farr; Pharr Smith   Communication re: DWH equipment                  WP   Withheld   NA
                                                                            prepared at direction of counsel in
                                                                            anticipation of litigation.


451   9-Jun-10    Email         Derek Hart          Simon Watson            Communication re: DWH investigation              WP   Withheld   NA
                                                                            prepared at direction of counsel in
                                                                            anticipation of litigation.


479   28-Jul-10   Spreadsheet   DWH Investigation                           Memorandum re: DWH personnel prepared            WP   Withheld   NA
                                Team                                        at the direction of counsel in preparation for
                                                                            litigation.

480   5-Aug-10    Powerpoint    DWH Investigation                           Draft presentation re: DWH investigation         WP   Withheld   NA
                                Team                                        prepared at the direction of counsel in
                                                                            anticipation of litigation.

486   8-Sep-10    Draft         DWH Investigation                           Draft memorandum re: well operations             WP   Withheld   NA
                                Team                                        prepared at the direction of counsel in
                                                                            anticipation of litigation.
487   9-Dec-10    Draft         DWH Investigation                           Draft memorandum re: government                  WP   Withheld   NA
                                Team                                        investigation of BP Deepwater Horizon
                                                                            incident prepared at the direction of counsel
                                                                            in anticipation of litigation.
489   15-Sep-10   Spreadsheet   DWH Investigation                           Spreadsheet re: well operations prepared at      WP   Withheld   NA
                                Team                                        the direction of counsel in anticipation of
                                                                            litigation.

492   21-Dec-10   Spreadsheet   DWH Investigation                           Spreadsheet re: well operations data             WP   Withheld   NA
                                Team                                        prepared at the direction of counsel in
                                                                            anticipation of litigation.
                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 29 of 277
493   21-Jun-10   Draft   DWH Investigation                  Draft memorandum re: drilling equipment   WP    Withheld   NA
                          Team                               prepared in anticipation of litigation.




494   28-Jul-10   Memo    Perrin Roller       Bill Ambrose   Memorandum re: well operations prepared in WP   Withheld   NA
                                                             anticipation of litigation.




495   25-Oct-10   Draft   DWH Investigation                  Draft memorandum re: well operations      WP    Withheld   NA
                          Team                               prepared in anticipation of litigation.


496   20-Oct-10   Draft   DWH Investigation                  Draft memorandum re: investigation        WP    Withheld   NA
                          Team                               assignments prepared in anticipation of
                                                             litigation.




497   29-Oct-10   Draft   DWH Investigation                  Draft memorandum re: investigation        WP    Withheld   NA
                          Team                               assignments prepared in anticipation of
                                                             litigation.




498   21-Oct-10   Draft   DWH Investigation                  Draft memorandum re: investigation        WP    Withheld   NA
                          Team                               assignments prepared in anticipation of
                                                             litigation.




499   21-Oct-10   Draft   DWH Investigation                  Draft memorandum re: investigation        WP    Withheld   NA
                          Team                               assignments prepared in anticipation of
                                                             litigation.




500   20-Oct-10   Draft   DWH Investigation                  Draft memorandum re: well operations      WP    Withheld   NA
                          Team                               prepared in anticipation of litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 30 of 277
501   22-Oct-10   Draft   DWH Investigation   Draft memorandum re: investigation        WP   Withheld   NA
                          Team                assignments prepared in anticipation of
                                              litigation.




502   14-Oct-10   Draft   DWH Investigation   Draft memorandum re: well operations      WP   Withheld   NA
                          Team                prepared in anticipation of litigation.


503   22-Oct-10   Draft   DWH Investigation   Draft memorandum re: investigation        WP   Withheld   NA
                          Team                assignments prepared in anticipation of
                                              litigation.




504   11-Oct-10   Draft   DWH Investigation   Draft memorandum re: investigation        WP   Withheld   NA
                          Team                assignments prepared in anticipation of
                                              litigation.




505   13-Oct-10   Draft   DWH Investigation   Draft memorandum re: investigation        WP   Withheld   NA
                          Team                assignments prepared in anticipation of
                                              litigation.




506   11-Oct-10   Notes   DWH Investigation   Draft notes re: well design prepared in   WP   Withheld   NA
                          Team                anticipation of litigation.

507   14-Oct-10   Notes   DWH Investigation   Draft notes re: well design prepared in   WP   Withheld   NA
                          Team                anticipation of litigation.
                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 31 of 277
508   12-Oct-10   Draft   DWH Investigation   Draft memorandum re: investigation        WP   Withheld   NA
                          Team                assignments prepared in anticipation of
                                              litigation.




509   14-Oct-10   Draft   DWH Investigation   Draft memorandum re: investigation        WP   Withheld   NA
                          Team                assignments prepared in anticipation of
                                              litigation.




510   19-Oct-10   Draft   DWH Investigation   Draft memorandum re: investigation        WP   Withheld   NA
                          Team                assignments prepared in anticipation of
                                              litigation.
                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 32 of 277
511   7-Jan-11    Draft         DWH Investigation   Draft report re: well operations prepared in   WP   Withheld   NA
                                Team                anticipation of litigation.




519   19-Jul-10   Memorandum DWH Investigation      Memorandum re: internal investigation team     WP   Withheld   NA
                             Team                   prepared at the direction of counsel in
                                                    anticipation of litigation.




523   12-Aug-10   Graph         DWH Investigation   Graph re: drilling equipment prepared in       WP   Withheld   NA
                                Team                anticipation of litigation.




524   26-May-11   Draft         DWH Investigation   Draft memorandum re: DWH investigation         WP   Withheld   NA
                                Team                prepared in anticipation of litigation.




525   24-May-11   Draft         DWH Investigation   Draft memorandum re: DWH investigation         WP   Withheld   NA
                                Team                prepared in anticipation of litigation.




526   27-Apr-10   Spreadsheet   DWH Investigation   Spreadsheet re: DWH equipment prepared at WP        Withheld   NA
                                Team                the direction of counsel in anticipation of
                                                    litigation.
                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 33 of 277
527   28-May-10   Draft        DWH Investigation                   Draft memorandum re: drilling equipment         WP   Withheld   NA
                               Team                                prepared in connection with DWH
                                                                   investigation at the direction of counsel in
                                                                   anticipation of litigation.




532   13-Sep-10   Draft        DWH Investigation                   Draft table of contents re: DWH investigation   WP   Withheld   NA
                               Team                                prepared in anticipation of litigation.




537   16-Jan-11   Draft        DWH Investigation                   Draft agenda for investigation team prepared WP      Withheld   NA
                               Team                                in anticipation of litigation.




551   2-Aug-10    Memorandum Perrin Roller                         Draft memorandum re: witness testimony          WP   Withheld   NA
                                                                   prepared in anticipation of litigation.

552   24-Aug-10   Email        Bill Ambrose        Perrin Roller   Communication re: well operations prepared      WP   Withheld   NA
                                                                   in anticipation of litigation.

554   28-Jul-10   Memorandum Perrin Roller                         Draft memorandum prepared in anticipation       WP   Withheld   NA
                                                                   of litigation regarding well operations.


555   20-Oct-10   Memorandum Perrin Roller                         Draft memorandum prepared in anticipation       WP   Withheld   NA
                                                                   of litigation regarding well operations.


556   2-Sep-10    Email        Perrin Roller       Bill Ambrose    Communication prepared in anticipation of       WP   Withheld   NA
                                                                   litigation regarding well operations.

557   13-Oct-10   Email        Gary Williams       Perrin Roller   Communication prepared in anticipation of       WP   Withheld   NA
                                                                   litigation regarding well operations.
                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 34 of 277
558   24-Aug-10   Adobe         DWH Investigation   DWH Investigation Team   Memorandum prepared at direction of                 WP   Withheld   NA
                                Team                                         attorney in anticipation of litigation regarding
                                                                             DWH investigation.




559   10-Oct-10   Draft         DWH Investigation                            Draft prepared at direction of attorney in          WP   Withheld   NA
                                Team                                         anticipation of litigation regarding DWH
                                                                             investigation.
560   1-Sep-10    Spreadsheet   DWH Investigation                            Draft spreadsheet prepared at direction of          WP   Withheld   NA
                                Team                                         attorney in anticipation of litigation regarding
                                                                             well operations.

561   5-Nov-10    Spreadsheet   Perrin Roller       Bill Ambrose             Draft spreadsheet prepared at direction of          WP   Withheld   NA
                                                                             attorney in anticipation of litigation regarding
                                                                             well operations.
562   16-Aug-10   Memorandum DWH Investigation      Perrin Roller            Draft memorandum prepared at direction of           WP   Withheld   NA
                             Team                                            attorney in anticipation of litigation regarding
                                                                             DWH investigation.


563   16-Aug-10   Memorandum DWH Investigation      Perrin Roller            Draft memorandum prepared at direction of           WP   Withheld   NA
                             Team                                            attorney in anticipation of litigation regarding
                                                                             DWH investigation.


565   6-Oct-10    Word          DWH Investigation                            List prepared at direction of attorney in           WP   Withheld   NA
                                Team                                         anticipation of litigation of draft questions re:
                                                                             well operations.




566   6-Oct-10    Word          DWH Investigation                            List prepared at direction of attorney in           WP   Withheld   NA
                                Team                                         anticipation of litigation of draft questions re:
                                                                             well operations.




567   7-Oct-10    Word          DWH Investigation                            List prepared at direction of attorney in           WP   Withheld   NA
                                Team                                         anticipation of litigation of draft questions re:
                                                                             well operations.
                                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 35 of 277
568   6-Jun-10    Presentation   DWH Investigation                                 Draft presentation prepared at direction of        WP   Withheld   NA
                                 Team                                              attorney in anticipation of litigation regarding
                                                                                   well operations.




576   1-Sep-10    Email          Rachael Dsane-Selby   Chad Crain                  Communication prepared in anticipation of          WP   Withheld   NA
                                                                                   litigation regarding well operations.


577   1-Sep-10    Email          Rachael Dsane-Selby   Perrin Roller               Communication prepared in anticipation of          WP   Withheld   NA
                                                                                   litigation regarding well operations.


578   1-Sep-10    Email          Rachael Dsane-Selby   Chad Crain; Perrin Roller   Communication prepared in anticipation of          WP   Withheld   NA
                                                                                   litigation regarding well operations.


585   19-Nov-10   Draft          DWH Investigation                                 Draft memorandum re: well design prepared          WP   Withheld   NA
                                 Team                                              in anticipation of litigation.




586   11-Jan-11   Draft          DWH Investigation                                 Draft memorandum re: well operations               WP   Withheld   NA
                                 Team                                              prepared in anticipation of litigation.




587   14-Jan-11   Draft          DWH Investigation                                 Draft memorandum re: well operations               WP   Withheld   NA
                                 Team                                              prepared in anticipation of litigation.




589   25-Jun-10   Draft          DWH Investigation                                 Draft memorandum prepared in anticipation          WP   Withheld   NA
                                 Team                                              of litigation regarding response operations.




590   25-Jul-10   Draft          DWH Investigation                                 Draft memorandum prepared in anticipation          WP   Withheld   NA
                                 Team                                              of litigation regarding response operations.
                                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 36 of 277
591   6-Jan-11    Draft   DWH Investigation     Draft memorandum prepared in anticipation     WP   Withheld   NA
                          Team                  of litigation regarding well operations and
                                                equipment.




594   12-Jul-10   Draft   DWH Investigation     Draft presentation re: well operations        WP   Withheld   NA
                          Team                  prepared in anticipation of litigation.




598   5-Oct-10    Word    Rachael Dsane-Selby   Draft memorandum re: well design prepared     WP   Withheld   NA
                                                in anticipation of litigation.




599   7-Oct-10    Word    Rachael Dsane-Selby   Draft notes re: well operations prepared in   WP   Withheld   NA
                                                anticipation of litigation.




600   17-Oct-10   Word    Rachael Dsane-Selby   Draft notes re: well operations prepared in   WP   Withheld   NA
                                                anticipation of litigation.




601   19-Oct-10   Word    Rachael Dsane-Selby   Draft notes re: well operations prepared in   WP   Withheld   NA
                                                anticipation of litigation.
                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 37 of 277
602   25-Oct-10   Word    Rachael Dsane-Selby                                      Draft memorandum re: well operations             WP   Withheld   NA
                                                                                   prepared in anticipation of litigation.




603   26-Oct-10   Word    Rachael Dsane-Selby                                      Draft memorandum re: well operations             WP   Withheld   NA
                                                                                   prepared in anticipation of litigation.




604   29-Oct-10   Word    Rachael Dsane-Selby                                      Draft memorandum re: well operations             WP   Withheld   NA
                                                                                   prepared in anticipation of litigation.


605   11-Nov-10   Word    Rachael Dsane-Selby                                      Draft notes re: well operations prepared in      WP   Withheld   NA
                                                                                   anticipation of litigation.




606   5-Oct-10    Excel   Rachael Dsane-Selby                                      Spreadsheet re: DWH timeline prepared in         WP   Withheld   NA
                                                                                   anticipation of litigation regarding timeline.


607   6-Oct-10    Word    Rachael Dsane-Selby                                      Draft notes re: well operations prepared in      WP   Withheld   NA
                                                                                   anticipation of litigation.




608   11-Oct-10   Word    Rachael Dsane-Selby                                      Draft notes re: well operations prepared in      WP   Withheld   NA
                                                                                   anticipation of litigation.




609   21-Apr-10   Email   Darrel Pelley         Robert Phillips; Ramon Hernandez   Communication re: DWH investigation              WP   Withheld   NA
                                                                                   prepared in connection with DWH
                                                                                   investigation in anticipation of litigation.
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 38 of 277
610   22-Apr-10   Email   Amit Desai          Mike Stoddard; Gene Rice           Communication re: DWH equipment                    WP   Withheld   NA
                                                                                 prepared in connection with DWH
                                                                                 investigation in anticipation of litigation.




611   22-Apr-10   Email   Mike Stoddard       Victor Villarreal; Darrel Pelley   Communication re: DWH equipment                    WP   Withheld   NA
                                                                                 prepared in connection with DWH
                                                                                 investigation in anticipation of litigation.




612   22-Apr-10   Email   Victor Villarreal   Darrel Pelley                      Communication re: DWH equipment                    WP   Withheld   NA
                                                                                 prepared in connection with DWH
                                                                                 investigation in anticipation of litigation.




613   22-Apr-10   Email   Amit Desai          Mike Stoddard                      Communication re: DWH equipment                    WP   Withheld   NA
                                                                                 prepared in connection with DWH
                                                                                 investigation in anticipation of litigation.




614   18-Oct-10   Draft   Bill Ambrose                                           Draft memorandum prepared at direction of          WP   Withheld   NA
                                                                                 attorney in anticipation of litigation regarding
                                                                                 DWH investigation.
615   15-Aug-10   Word    DWH Investigation                                      Draft notes prepared at direction of attorney      WP   Withheld   NA
                          Team                                                   in anticipation of litigation regarding DWH
                                                                                 investigation.
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 39 of 277
622   21-Jun-10   Word    DWH Investigation   Draft memorandum prepared in anticipation          WP   Withheld   NA
                          Team                of litigation regarding DWH investigation.




623   25-Jun-10   Word    DWH Investigation   Draft memorandum prepared in anticipation          WP   Withheld   NA
                          Team                of litigation regarding DWH investigation.




628   23-Nov-10   Word    DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              DWH operations.




629   15-Dec-10   Word    DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              DWH operations.




633   21-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              DWH operations.
                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 40 of 277
634   25-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              DWH operations.




635   25-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              DWH operations.




637   20-Oct-10   Adobe   DWH Investigation   Document prepared at direction of attorney in WP        Withheld   NA
                          Team                anticipation of litigation regarding well
                                              operations.




638   15-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              well operations.




639   21-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              well operations.
                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 41 of 277
640   21-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              well operations.




641   21-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              well operations.




642   22-Oct-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              well operations.




643   9-Nov-10    Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              well operations.




644   15-Nov-10   Draft   DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              well operations.
                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 42 of 277
645   15-Nov-10   Draft         DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    well operations.




646   30-Nov-10   Draft         DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    well operations.




647   4-Aug-10    Spreadsheet   DWH Investigation   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                Team                in anticipation of litigation regarding well
                                                    operations.




653   15-Oct-10   Spreadsheet   DWH Investigation   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                Team                in anticipation of litigation regarding well
                                                    operations.




655   3-Nov-10    Spreadsheet   DWH Investigation   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                Team                in anticipation of litigation regarding well
                                                    operations.




656   3-Nov-10    Spreadsheet   DWH Investigation   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                Team                in anticipation of litigation regarding well
                                                    operations.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 43 of 277
657   4-Nov-10    Spreadsheet   DWH Investigation   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                Team                in anticipation of litigation regarding well
                                                    operations.




658   4-Nov-10    Spreadsheet   DWH Investigation   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                Team                in anticipation of litigation regarding well
                                                    operations.




660   20-Dec-10   Spreadsheet   DWH Investigation   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                Team                in anticipation of litigation regarding well
                                                    operations.




661   1-Sep-10    Word          DWH Investigation   Draft memorandum re: well operations        WP     Withheld   NA
                                Team                prepared at direction of attorney in
                                                    anticipation of litigation.




663   15-Oct-10   Word          DWH Investigation   Draft memorandum re: well operations        WP     Withheld   NA
                                Team                prepared at direction of attorney in
                                                    anticipation of litigation.
                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 44 of 277
664   15-Oct-10   Word   DWH Investigation   Draft memorandum re: well operations     WP     Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




665   15-Oct-10   Word   DWH Investigation   Draft memorandum re: well operations     WP     Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




666   20-Oct-10   Word   DWH Investigation   Memorandum re: well operations prepared at WP   Withheld   NA
                         Team                direction of attorney in anticipation of
                                             litigation.




667   21-Oct-10   Word   DWH Investigation   Memorandum re: well operations prepared at WP   Withheld   NA
                         Team                direction of attorney in anticipation of
                                             litigation.




668   21-Oct-10   Word   DWH Investigation   Draft memorandum re: well operations     WP     Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.
                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 45 of 277
669   4-Nov-10    Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




670   1-Dec-10    Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




671   6-Dec-10    Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




672   13-Dec-10   Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.
                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 46 of 277
673   17-Dec-10   Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




674   7-Jan-11    Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




675   13-Jan-11   Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




676   13-Jan-11   Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.




677   13-Jan-11   Word   DWH Investigation   Draft memorandum re: well operations   WP   Withheld   NA
                         Team                prepared at direction of attorney in
                                             anticipation of litigation.
                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 47 of 277
678   6-Jul-10    Adobe         DWH Investigation   Chart re: DWH personnel prepared at                WP   Withheld   NA
                                Team                direction of attorney in anticipation of
                                                    litigation.




681   4-Aug-10    Powerpoint    DWH Investigation   Presentation prepared at direction of attorney WP       Withheld   NA
                                Team                in anticipation of litigation regarding root
                                                    cause analysis and response operations.




682   5-Aug-10    Powerpoint    DWH Investigation   Draft presentation prepared at direction of        WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    DWH equipment and well operations.




753   19-Aug-10   Adobe         DWH Investigation   Annotated schematic re: DWH investigation          WP   Withheld   NA
                                Team                prepared at direction of attorney in
                                                    anticipation of litigation.

754   23-Nov-10   Adobe         DWH Investigation   List prepared at direction of attorney in          WP   Withheld   NA
                                Team                anticipation of litigation regarding DWH
                                                    investigation.

755   22-Jun-10   spreadsheet   DWH Investigation   Spreadsheet re: DWH investigation prepared WP           Withheld   NA
                                Team                at direction of attorney in anticipation of
                                                    litigation.




756   5-May-10    spreadsheet   DWH Investigation   Spreadsheet re: well operations prepared at        WP   Withheld   NA
                                Team                direction of attorney in anticipation of
                                                    litigation.

757   6-Jun-10    spreadsheet   DWH Investigation   Spreadsheet re: well operations prepared at        WP   Withheld   NA
                                Team                direction of attorney in anticipation of
                                                    litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 48 of 277
758   9-Jul-10    Draft   DWH Investigation   Draft template re: internal investigation          WP   Withheld   NA
                          Team                protocol prepared in anticipation of litigation.




759   9-Jul-10    Draft   DWH Investigation   Draft memorandum re: DWH equipment                 WP   Withheld   NA
                          Team                prepared in anticipation of litigation.




760   7-Jun-10    Draft   DWH Investigation   Draft memorandum re: DWH equipment                 WP   Withheld   NA
                          Team                prepared in anticipation of litigation.




761   21-Jun-10   Draft   DWH Investigation   Draft memorandum re: DWH equipment                 WP   Withheld   NA
                          Team                prepared in anticipation of litigation.




762   22-Jun-10   Draft   DWH Investigation   Draft memorandum re: internal investigation        WP   Withheld   NA
                          Team                agenda prepared in anticipation of litigation.




763   23-Jun-10   Draft   DWH Investigation   Draft memorandum re: DWH equipment                 WP   Withheld   NA
                          Team                prepared in anticipation of litigation.




764   24-Jun-10   Draft   DWH Investigation   Draft memorandum re: drilling equipment            WP   Withheld   NA
                          Team                prepared in anticipation of litigation.
                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 49 of 277
765   29-Jun-10   Draft   DWH Investigation         Draft memorandum re: drilling equipment          WP   Withheld   NA
                          Team                      prepared in anticipation of litigation.




766   14-Jul-10   Draft   DWH Investigation         Draft memorandum re: drilling equipment          WP   Withheld   NA
                          Team                      prepared in anticipation of litigation.




767   15-Jul-10   Draft   DWH Investigation         Draft memorandum re: drilling equipment          WP   Withheld   NA
                          Team                      prepared in anticipation of litigation.




768   20-Jul-10   Draft   Chris Tolleson            Draft memorandum re: drilling equipment          WP   Withheld   NA
                                                    prepared in anticipation of litigation.




769   22-Jul-10   Draft   DWH Investigation         Draft memorandum re: drilling equipment          WP   Withheld   NA
                          Team                      prepared in anticipation of litigation.




770   26-Jul-10   Draft   DWH Investigation         Draft template re: internal investigation        WP   Withheld   NA
                          Team                      prepared in anticipation of litigation.




771   12-Aug-10   Draft   Chris Tolleson; Harshal   Draft memorandum re: internal investigation      WP   Withheld   NA
                          Patil                     agenda prepared in anticipation of litigation.
                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 50 of 277
772   24-Aug-10   Draft       DWH Investigation   Draft memorandum re: DWH equipment               WP   Withheld   NA
                              Team                prepared in anticipation of litigation.




773   25-Aug-10   Draft       DWH Investigation   Draft memorandum re: DWH equipment               WP   Withheld   NA
                              Team                prepared in anticipation of litigation.




774   13-Sep-10   Draft       DWH Investigation   Draft memorandum re: internal investigation      WP   Withheld   NA
                              Team                agenda prepared in anticipation of litigation.




775   13-Sep-10   Draft       DWH Investigation   Draft memorandum re: internal investigation      WP   Withheld   NA
                              Team                agenda prepared in anticipation of litigation.




776   7-Jun-10    Draft       DWH Investigation   Draft report re: drilling equipment prepared in WP    Withheld   NA
                              Team                anticipation of litigation.




777   21-Jun-10   Memorandum Christina Mata       Memorandum re: internal investigation            WP   Withheld   NA
                                                  protocol prepared at the direction of counsel
                                                  in anticipation of litigation.

778   17-Jun-10   Draft       Christina Mata      Draft index prepared in anticipation of          WP   Withheld   NA
                                                  litigation.
                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 51 of 277
779   24-May-10   Draft   DWH Investigation   Draft memorandum re: internal investigation     WP   Withheld   NA
                          Team                protocol prepared at the direction of counsel
                                              in anticipation of litigation.




780   24-May-10   Draft   DWH Investigation   Draft memorandum re: internal investigation     WP   Withheld   NA
                          Team                protocol prepared at the direction of counsel
                                              in anticipation of litigation.




781   25-May-10   Draft   DWH Investigation   Draft memorandum re: DWH investigation          WP   Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




782   16-Jun-10   Draft   DWH Investigation   Draft memorandum re: DWH investigation          WP   Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




783   20-Sep-10   Draft   DWH Investigation   Draft memorandum re: DWH investigation          WP   Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




784   13-Jan-11   Draft   DWH Investigation   Draft memorandum re: internal investigation     WP   Withheld   NA
                          Team                protocol prepared at the direction of counsel
                                              in anticipation of litigation.
                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 52 of 277
785   19-May-11   Draft   DWH Investigation     Draft memorandum re: internal investigation       WP     Withheld   NA
                          Team                  prepared at the direction of counsel in
                                                anticipation of litigation.




786   20-Sep-11   Draft   DWH Investigation     Draft memorandum re: DWH investigation            WP     Withheld   NA
                          Team                  prepared at the direction of counsel in
                                                anticipation of litigation.




787   20-Sep-11   Draft   DWH Investigation     Draft memorandum re: DWH investigation            WP     Withheld   NA
                          Team                  prepared at the direction of counsel in
                                                anticipation of litigation.




788   20-Sep-11   Draft   DWH Investigation     Draft memorandum re: DWH investigation            WP     Withheld   NA
                          Team                  prepared at the direction of counsel in
                                                anticipation of litigation.




789   20-Sep-11   Draft   DWH Investigation     Draft memorandum re: DWH investigation            WP     Withheld   NA
                          Team                  prepared at the direction of counsel in
                                                anticipation of litigation.




790   11-Jun-10   Word    Rachael Dsane-Selby   Draft notes re: DWH investigation prepared at WP         Withheld   NA
                                                the direction of counsel in anticipation of
                                                litigation.




791   2-Aug-10    Adobe   Bob Walsh             Notes re: DWH equipment prepared at the             WP   Withheld   NA
                                                direction of counsel in anticipation of litigation.
                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 53 of 277
792   2-Aug-10    Adobe     Bob Walsh           Memorandum re: DWH equipment prepared            WP   Withheld   NA
                                                at the direction of counsel in anticipation of
                                                litigation.




793   2-Aug-10    Adobe     Bob Walsh           Memorandum re: DWH equipment prepared            WP   Withheld   NA
                                                at the direction of counsel in anticipation of
                                                litigation.




794   11-Aug-10   Adobe     Bob Walsh           Memorandum re: DWH equipment prepared            WP   Withheld   NA
                                                at the direction of counsel in anticipation of
                                                litigation.




795   11-Aug-10   Adobe     Douglas Robertson   Memorandum re: DWH investigation                 WP   Withheld   NA
                                                prepared at the direction of counsel in
                                                anticipation of litigation.




796   11-Aug-10   Word      DWH Investigation   Draft memorandum re: DWH equipment               WP   Withheld   NA
                            Team                prepared in anticipation of litigation.




797   11-Oct-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment               WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.




798   2-Aug-10    Diagram   DWH Investigation   Annotated diagram re: DWH equipment              WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.
                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 54 of 277
799   16-May-10   Diagram   DWH Investigation   Annotated diagram re: DWH equipment   WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.


800   22-Sep-10   Diagram   DWH Investigation   Annotated diagram re: DWH equipment   WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

801   22-Sep-10   Diagram   DWH Investigation   Annotated diagram re: DWH equipment   WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.


802   7-Jul-10    Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

803   22-Jul-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

804   30-Jul-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

805   30-Jul-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

806   11-Aug-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

807   29-Jun-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

808   22-Nov-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.

809   22-Nov-10   Draft     DWH Investigation   Draft memorandum re: DWH equipment    WP   Withheld   NA
                            Team                prepared for DWH investigation in
                                                anticipation of litigation.
                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 55 of 277
810   22-Nov-10   Draft         DWH Investigation   Draft memorandum re: DWH equipment          WP     Withheld   NA
                                Team                prepared for DWH investigation in
                                                    anticipation of litigation.

811   2-Jul-10    Index         DWH Investigation   Draft index re: DWH equipment prepared for WP      Withheld   NA
                                Team                DWH investigation in anticipation of litigation.


812   18-Aug-10   Draft         DWH Investigation   Draft memorandum re: DWH equipment          WP     Withheld   NA
                                Team                prepared for DWH investigation in
                                                    anticipation of litigation.

813   11-Nov-10   Draft         DWH Investigation   Draft memorandum re: DWH equipment          WP     Withheld   NA
                                Team                prepared for DWH investigation in
                                                    anticipation of litigation.


814   11-Nov-10   Draft         DWH Investigation   Draft memorandum re: DWH equipment          WP     Withheld   NA
                                Team                prepared for DWH investigation in
                                                    anticipation of litigation.


815   11-Nov-10   Draft         DWH Investigation   Draft memorandum re: DWH equipment          WP     Withheld   NA
                                Team                prepared for DWH investigation in
                                                    anticipation of litigation.


816   11-Nov-10   Draft         DWH Investigation   Draft memorandum re: DWH equipment          WP     Withheld   NA
                                Team                prepared for DWH investigation in
                                                    anticipation of litigation.

817   11-Nov-10   Draft         DWH Investigation   Draft memorandum re: DWH equipment          WP     Withheld   NA
                                Team                prepared for DWH investigation in
                                                    anticipation of litigation.

893   22-Jul-10   Spreadsheet   Greg Childs         Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                    in anticipation of litigation.




894   24-Jun-10   Draft memo    Greg Childs         Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                    in anticipation of litigation.
                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 56 of 277
895   30-Jun-10   Draft memo    Greg Childs   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                              in anticipation of litigation regarding drilling
                                              equipment.


896   22-Jul-10   Draft memo    Greg Childs   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                              in anticipation of litigation regarding drilling
                                              equipment.


897   24-Jun-10   Spreadsheet   Greg Childs   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                              in anticipation of litigation regarding drilling
                                              equipment.


898   30-Jun-10   Spreadsheet   Greg Childs   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                              in anticipation of litigation regarding drilling
                                              equipment.


899   21-Sep-10   Spreadsheet   Greg Childs   Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                              in anticipation of litigation regarding drilling
                                              equipment.


900   24-May-10   Word          Greg Childs   Draft memorandum prepared at direction of          WP   Withheld   NA
                                              attorney in anticipation of litigation.




901   10-May-10   Draft         Derek Hart    Draft presentation prepared at direction of        WP   Withheld   NA
                                              attorney in anticipation of litigation.




902   10-May-10   Draft         Derek Hart    Draft presentation prepared at direction of        WP   Withheld   NA
                                              attorney in anticipation of litigation.




903   17-May-10   Draft         Derek Hart    Draft memorandum prepared at direction of          WP   Withheld   NA
                                              attorney in anticipation of litigation regarding
                                              DWH equipment.
                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 57 of 277
904   17-May-10   Draft   Derek Hart          Draft memorandum prepared at direction of          WP   Withheld   NA
                                              attorney in anticipation of litigation regarding
                                              DWH equipment.


905   21-May-10   Draft   Derek Hart          Draft memorandum prepared at direction of          WP   Withheld   NA
                                              attorney in anticipation of litigation regarding
                                              well operations.


906   21-May-10   Draft   Derek Hart          Draft memorandum prepared at direction of          WP   Withheld   NA
                                              attorney in anticipation of litigation regarding
                                              well operations.


907   19-Oct-10   Draft   DWH Investigation   Draft spreadsheet prepared at direction of         WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              response operations.




908   19-Oct-10   Draft   DWH Investigation   Draft spreadsheet prepared at direction of         WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              response operations.




909   19-Oct-10   Draft   DWH Investigation   Draft spreadsheet prepared at direction of         WP   Withheld   NA
                          Team                attorney in anticipation of litigation regarding
                                              DWH reports.
                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 58 of 277
910   6-Nov-10    Draft         DWH Investigation   Draft chart prepared at direction of attorney in WP     Withheld   NA
                                Team                anticipation of litigation regarding crew.




911   3-Dec-10    Draft         DWH Investigation   Draft document prepared at direction of            WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    root cause analysis.




912   8-Jan-11    Draft         DWH Investigation   Draft document prepared at direction of            WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    response operations.




913   11-Jan-11   Draft         DWH Investigation   Draft document prepared at direction of            WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    DWH investigation.




914   15-Dec-10   Draft         Art Nordholm        Draft memorandum prepared at direction of          WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    DWH investigation.




915   17-Dec-10   Draft         Art Nordholm        Draft memorandum prepared at direction of          WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    DWH investigation.




916   17-Dec-10   Spreadsheet   Chris Shifflett     Spreadsheet prepared at direction of attorney WP        Withheld   NA
                                                    in anticipation of litigation regarding DWH
                                                    investigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 59 of 277
917   17-Dec-10   Spreadsheet   Chris Shifflett   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                  in anticipation of litigation regarding DWH
                                                  investigation.




918   6-Jan-11    Spreadsheet   Chris Shifflett   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                  in anticipation of litigation regarding DWH
                                                  investigation.




919   19-Dec-10   Spreadsheet   Chris Shifflett   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                  in anticipation of litigation regarding DWH
                                                  investigation.




920   6-Jan-11    Spreadsheet   Chris Shifflett   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                  in anticipation of litigation regarding DWH
                                                  investigation.




921   11-Jan-11   Spreadsheet   Chris Shifflett   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                  in anticipation of litigation regarding DWH
                                                  investigation.




922   12-Jan-11   Spreadsheet   Chris Shifflett   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                  in anticipation of litigation regarding DWH
                                                  investigation.




923   12-Jan-11   Spreadsheet   Chris Shifflett   Spreadsheet prepared at direction of attorney WP   Withheld   NA
                                                  in anticipation of litigation regarding DWH
                                                  investigation.
                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 60 of 277
924   25-Jun-10   Spreadsheet   Leon Schwartz   Draft spreadsheet prepared at direction of         WP   Withheld   NA
                                                attorney in anticipation of litigation regarding
                                                DWH equipment.




925   24-Jun-10   Memorandum Leon Schwartz      Draft memorandum prepared at direction of          WP   Withheld   NA
                                                attorney in anticipation of litigation regarding
                                                DWH equipment.




926   24-Jun-10   Word          Leon Schwartz   Draft memorandum prepared at direction of          WP   Withheld   NA
                                                attorney in anticipation of litigation regarding
                                                DWH equipment.




927   27-Dec-10   Memorandum Perrin Roller      Draft memorandum prepared at direction of          WP   Withheld   NA
                                                attorney in anticipation of litigation regarding
                                                well design.


928   12-Jul-99   Drawing       Perrin Roller   Annotated drawing of DWH equipment                 WP   Withheld   NA
                                                prepared at direction of attorney in
                                                anticipation of litigation.




929   4-Aug-10    Powerpoint    Perrin Roller   Draft presentation prepared at direction of        WP   Withheld   NA
                                                attorney in anticipation of litigation.




930   4-Aug-10    Powerpoint    Perrin Roller   Draft presentation prepared at direction of        WP   Withheld   NA
                                                attorney in anticipation of litigation.
                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 61 of 277
931   19-Jul-10   Spreadsheet   Perrin Roller       Draft spreadsheet prepared at direction of         WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    DWH investigation.




932   18-Aug-10   Spreadsheet   Perrin Roller       Draft spreadsheet prepared at direction of         WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    DWH investigation.


933   16-Sep-10   Spreadsheet   DWH Investigation   Draft spreadsheet prepared at direction of         WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    well operations.


934   16-Sep-10   Draft         DWH Investigation   Draft memorandum prepared at direction of          WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    DWH investigation.


935   17-Aug-10   Memorandum Perrin Roller          Draft memorandum prepared at direction of          WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    DWH investigation.




936   5-Oct-10    Memorandum Perrin Roller          Draft memorandum prepared at direction of          WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    DWH investigation.




937   19-Nov-10   Spreadsheet   Perrin Roller       Draft spreadsheet prepared at direction of         WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    well design.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 62 of 277
938   23-Dec-10   Memorandum DWH Investigation      Draft memorandum prepared at direction of          WP   Withheld   NA
                             Team                   attorney in anticipation of litigation regarding
                                                    DWH investigation.




939   26-Dec-10   Memorandum DWH Investigation      Draft memorandum prepared at direction of          WP   Withheld   NA
                             Team                   attorney in anticipation of litigation regarding
                                                    well design.


940   9-Jun-10    Spreadsheet   Perrin Roller       Draft spreadsheet prepared at direction of         WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    well operations.




941   15-Jun-10   Word          Perrin Roller       Draft list prepared at direction of attorney in  WP     Withheld   NA
                                                    anticipation of litigation regarding well design
                                                    and operations.




942   4-Nov-10    Word          Perrin Roller       Draft memorandum prepared at direction of          WP   Withheld   NA
                                                    attorney in anticipation of litigation regarding
                                                    well design and operations.




943   14-Sep-10   Word          DWH Investigation   Memorandum prepared at direction of                WP   Withheld   NA
                                Team                attorney in anticipation of litigation regarding
                                                    well design and operations.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 63 of 277
944   20-Sep-10   Word   DWH Investigation   Document prepared at direction of attorney in WP        Withheld   NA
                         Team                anticipation of litigation regarding well design.




945   30-Sep-10   Word   DWH Investigation   Document prepared at direction of attorney in WP        Withheld   NA
                         Team                anticipation of litigation regarding well design
                                             and operations.




946   16-Oct-10   Word   George Birch        Memorandum prepared at direction of                WP   Withheld   NA
                                             attorney in anticipation of litigation regarding
                                             well design and operations.




947   19-Oct-10   Word   DWH Investigation   Memorandum prepared at direction of                WP   Withheld   NA
                         Team                attorney in anticipation of litigation regarding
                                             well design and operations.
                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 64 of 277
948   22-Oct-10   Word    George Birch                        Memorandum prepared at direction of                WP   Withheld   NA
                                                              attorney in anticipation of litigation regarding
                                                              well design and operations.




949   29-Oct-10   Word    DWH Investigation                   Memorandum prepared at direction of                WP   Withheld   NA
                          Team                                attorney in anticipation of litigation regarding
                                                              well design and operations.




950   10-Jun-10   Email   George Birch        Perrin Roller   Emails prepared at direction of attorney in        WP   Withheld   NA
                                                              anticipation of litigation regarding DWH
                                                              investigation and well operations.




951   15-Jun-10   Email   George Birch        Perrin Roller   Emails prepared at direction of attorney in        WP   Withheld   NA
                                                              anticipation of litigation regarding DWH
                                                              reports and well operations.
                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 65 of 277
952   16-Jun-10   Email   George Birch   Perrin Roller                        Email prepared at direction of attorney in        WP   Withheld   NA
                                                                              anticipation of litigation regarding well design.




953   18-Jun-10   Email   George Birch   Perrin Roller                        Emails prepared at direction of attorney in      WP    Withheld   NA
                                                                              anticipation of litigation regarding well design
                                                                              and operations.




954   19-Jun-10   Email   George Birch   Rachael Dsane-Selby; Perrin Roller   Emails prepared at direction of attorney in      WP    Withheld   NA
                                                                              anticipation of litigation regarding well design
                                                                              and operations.




955   21-Jun-10   Email   George Birch   Perrin Roller                        Email prepared at direction of attorney in       WP    Withheld   NA
                                                                              anticipation of litigation regarding well design
                                                                              and operations.
                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 66 of 277
956   28-Jun-10   Email   George Birch   Perrin Roller   Emails prepared at direction of attorney in   WP   Withheld   NA
                                                         anticipation of litigation regarding DWH
                                                         reports and well operations.




957   28-Jun-10   Email   George Birch   Perrin Roller   Emails prepared at direction of attorney in   WP   Withheld   NA
                                                         anticipation of litigation regarding DWH
                                                         reports and well operations.




958   5-Jul-10    Email   George Birch   Perrin Roller   Email prepared at direction of attorney in    WP   Withheld   NA
                                                         anticipation of litigation regarding well
                                                         operations.




959   26-Jul-10   Email   George Birch   Perrin Roller   Emails prepared at direction of attorney in   WP   Withheld   NA
                                                         anticipation of litigation regarding DWH
                                                         investigation and well operations.




960   28-Jul-10   Email   George Birch   Perrin Roller   Emails prepared at direction of attorney in   WP   Withheld   NA
                                                         anticipation of litigation regarding DWH
                                                         investigation and well operations.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 67 of 277
961   3-Aug-10    Email   George Birch   Rachael Dsane-Selby; Perrin Roller   Emails prepared at direction of attorney in     WP     Withheld   NA
                                                                              anticipation of litigation regarding well
                                                                              operations and DWH equipment.




962   22-Aug-10   Email   George Birch   Perrin Roller                        Emails prepared at direction of attorney in       WP   Withheld   NA
                                                                              anticipation of litigation regarding well design.




963   25-Aug-10   Email   George Birch   Perrin Roller; Bill Ambrose          Emails prepared at direction of attorney in      WP    Withheld   NA
                                                                              anticipation of litigation regarding well design
                                                                              and operations.




964   5-Sep-10    Email   George Birch   Perrin Roller                        Email prepared at direction of attorney in      WP     Withheld   NA
                                                                              anticipation of litigation regarding witness
                                                                              questions re: well design.




965   8-Sep-10    Email   George Birch   Perrin Roller                        Email prepared at direction of attorney in      WP     Withheld   NA
                                                                              anticipation of litigation regarding DWH
                                                                              investigation.
                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 68 of 277
966   28-Sep-10   Email   George Birch          Perrin Roller                               Email prepared at direction of attorney in      WP     Withheld   NA
                                                                                            anticipation of litigation regarding DWH
                                                                                            investigation and well design.




967   5-Oct-10    Email   George Birch          Bill Ambrose; Rachael Dsane-Selby; Wesley   Email prepared at direction of attorney in       WP    Withheld   NA
                                                Bell; Perrin Roller                         anticipation of litigation regarding well design
                                                                                            and operations.




968   5-Oct-10    Email   George Birch          Bill Ambrose; Rachael Dsane-Selby; Wesley   Email prepared at direction of attorney in       WP    Withheld   NA
                                                Bell; Perrin Roller                         anticipation of litigation regarding well design
                                                                                            and operations.




969   6-Oct-10    Email   Rachael Dsane-Selby   George Birch; Perrin Roller                 Email prepared at direction of attorney in        WP   Withheld   NA
                                                                                            anticipation of litigation regarding well design.




970   10-Oct-10   Email   George Birch          Perrin Roller                               Communication re: DWH investigation             WP     Withheld   NA
                                                                                            prepared at the direction of counsel in
                                                                                            anticipation of litigation.
                                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 69 of 277
971   19-Oct-10   Email        George Birch        Perrin Roller   Communication re: DWH investigation       WP     Withheld   NA
                                                                   prepared at the direction of counsel in
                                                                   anticipation of litigation.




972   3-Nov-10    PowerPoint   DWH Investigation                   Presentation re: DWH investigation prepared WP   Withheld   NA
                               Team                                at the direction of counsel in anticipation of
                                                                   litigation.




973   8-Oct-10    Word         DWH Investigation                   Memorandum re: DWH investigation          WP     Withheld   NA
                               Team                                prepared at the direction of counsel in
                                                                   anticipation of litigation.




974   9-Oct-10    Word         DWH Investigation                   Memorandum re: DWH investigation          WP     Withheld   NA
                               Team                                prepared at the direction of counsel in
                                                                   anticipation of litigation.
                                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 70 of 277
975   10-Oct-10   Word   DWH Investigation   Memorandum re: DWH investigation                 WP   Withheld   NA
                         Team                prepared at the direction of counsel in
                                             anticipation of litigation.




976   29-Oct-10   Word   DWH Investigation   Memorandum re: DWH investigation                 WP   Withheld   NA
                         Team                prepared at the direction of counsel in
                                             anticipation of litigation.




977   25-Dec-10   Word   DWH Investigation   Draft memorandum re: well operations             WP   Withheld   NA
                         Team                prepared at the direction of counsel in
                                             anticipation of litigation.




978   25-Dec-10   Word   DWH Investigation   Draft memorandum re: well design prepared        WP   Withheld   NA
                         Team                at the direction of counsel in anticipation of
                                             litigation.
                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 71 of 277
979   26-Dec-10   Word    DWH Investigation                   Draft memorandum re: well operations          WP   Withheld   NA
                          Team                                prepared at the direction of counsel in
                                                              anticipation of litigation.




980   3-Nov-10    Email   George Birch        Perrin Roller   Communication re: DWH investigation           WP   Withheld   NA
                                                              prepared at the direction of counsel in
                                                              anticipation of litigation.




981   28-Sep-10   Word    DWH Investigation                   Memorandum re: well operations prepared at WP      Withheld   NA
                          Team                                the direction of counsel in anticipation of
                                                              litigation.




982   7-Jun-10    Email   Phil Rae            Perrin Roller   Communication re: well design prepared at     WP   Withheld   NA
                                                              the direction of counsel in anticipation of
                                                              litigation.




983   8-Jun-10    Email   Phil Rae            Perrin Roller   Communication re: well design prepared at     WP   Withheld   NA
                                                              the direction of counsel in anticipation of
                                                              litigation.
                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 72 of 277
984   10-Jun-10   Email   Phil Rae            Perrin Roller   Communication re: well design prepared at     WP   Withheld   NA
                                                              the direction of counsel in anticipation of
                                                              litigation.




985   1-Sep-10    Word    DWH Investigation                   Memorandum re: well operations prepared at WP      Withheld   NA
                          Team                                the direction of counsel in anticipation of
                                                              litigation.




986   1-Sep-10    Word    DWH Investigation                   Memorandum re: DWH investigation              WP   Withheld   NA
                          Team                                prepared at the direction of counsel in
                                                              anticipation of litigation.




987   16-Nov-10   Adobe   DWH Investigation                   Memorandum re: DWH investigation              WP   Withheld   NA
                          Team                                prepared at the direction of counsel in
                                                              anticipation of litigation.
                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 73 of 277
988   9-Dec-10    Email        George Birch        Perrin Roller   Communication re: DWH investigation            WP   Withheld   NA
                                                                   prepared at the direction of counsel in
                                                                   anticipation of litigation.




989   3-Aug-10    PowerPoint   DWH Investigation                   Presentation re: well operations prepared at   WP   Withheld   NA
                               Team                                the direction of counsel in anticipation of
                                                                   litigation.




990   14-Sep-10   Word         DWH Investigation                   Memorandum re: well operations prepared at WP       Withheld   NA
                               Team                                the direction of counsel in anticipation of
                                                                   litigation.




991   28-Aug-10   PowerPoint   DWH Investigation                   Presentation re: DWH investigation prepared WP      Withheld   NA
                               Team                                at the direction of counsel in anticipation of
                                                                   litigation.
                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 74 of 277
992   2-Jun-10    Adobe   DWH Investigation   Notes re: well operations prepared at the           WP   Withheld   NA
                          Team                direction of counsel in anticipation of litigation.




993   21-Oct-10   Adobe   DWH Investigation   Drawing and notes re: DWH equipment               WP     Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




994   21-Oct-10   Adobe   DWH Investigation   Drawing and notes re: DWH equipment               WP     Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




995   3-Aug-10    Image   DWH Investigation   Drawing and notes re: DWH personnel               WP     Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




996   3-Aug-10    Image   DWH Investigation   Drawing and notes re: DWH personnel               WP     Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.
                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 75 of 277
997    3-Aug-10    Image        DWH Investigation   Drawing and notes re: DWH personnel         WP   Withheld   NA
                                Team                prepared at the direction of counsel in
                                                    anticipation of litigation.




998    3-Aug-10    Image        DWH Investigation   Drawing and notes re: DWH personnel         WP   Withheld   NA
                                Team                prepared at the direction of counsel in
                                                    anticipation of litigation.




999    13-Jul-10   PowerPoint   DWH Investigation   Presentation re: DWH investigation status   WP   Withheld   NA
                                Team                prepared at the direction of counsel in
                                                    anticipation of litigation.




1000   4-Aug-10    PowerPoint   DWH Investigation   Presentation re: DWH investigation status   WP   Withheld   NA
                                Team                prepared at the direction of counsel in
                                                    anticipation of litigation.
                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 76 of 277
1001   24-May-10   Spreadsheet   DWH Investigation   Spreadsheet re: well design prepared at the WP        Withheld   NA
                                 Team                direction of counsel in anticipation of litigation.




1002   3-Aug-10    Spreadsheet   DWH Investigation   Spreadsheet re: DWH investigation prepared WP         Withheld   NA
                                 Team                at the direction of counsel in anticipation of
                                                     litigation.




1003   3-Aug-10    Spreadsheet   DWH Investigation   Chronology prepared at the direction of        WP     Withheld   NA
                                 Team                counsel in anticipation of litigation.




1004   3-Aug-10    Spreadsheet   DWH Investigation   Chronology prepared at the direction of        WP     Withheld   NA
                                 Team                counsel in anticipation of litigation.
                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 77 of 277
1005   3-Aug-10    Spreadsheet   DWH Investigation   Chronology prepared at the direction of    WP     Withheld   NA
                                 Team                counsel in anticipation of litigation.




1006   4-Aug-10    Spreadsheet   DWH Investigation   Index of documents prepared at the direction WP   Withheld   NA
                                 Team                of counsel in anticipation of litigation.




1007   9-Aug-10    Spreadsheet   DWH Investigation   Chronology prepared at the direction of    WP     Withheld   NA
                                 Team                counsel in anticipation of litigation.




1008   29-Aug-10   Spreadsheet   DWH Investigation   Chronology prepared at the direction of    WP     Withheld   NA
                                 Team                counsel in anticipation of litigation.
                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 78 of 277
1009   6-Sep-10    Spreadsheet   DWH Investigation   Chronology prepared at the direction of   WP   Withheld   NA
                                 Team                counsel in anticipation of litigation.




1010   6-Oct-10    Spreadsheet   DWH Investigation   Chronology prepared at the direction of   WP   Withheld   NA
                                 Team                counsel in anticipation of litigation.




1011   15-Oct-10   Spreadsheet   DWH Investigation   Chronology prepared at the direction of   WP   Withheld   NA
                                 Team                counsel in anticipation of litigation.
                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 79 of 277
1012   19-Oct-10   Spreadsheet   DWH Investigation   Chronology prepared at the direction of   WP   Withheld   NA
                                 Team                counsel in anticipation of litigation.




1013   19-Oct-10   Spreadsheet   DWH Investigation   Chronology prepared at the direction of   WP   Withheld   NA
                                 Team                counsel in anticipation of litigation.




1014   19-Oct-10   Spreadsheet   DWH Investigation   Chronology prepared at the direction of   WP   Withheld   NA
                                 Team                counsel in anticipation of litigation.
                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 80 of 277
1015   7-Nov-10    Spreadsheet   DWH Investigation   Chronology prepared at the direction of         WP   Withheld   NA
                                 Team                counsel in anticipation of litigation.




1016   9-Jun-10    Word          DWH Investigation   Memorandum re: internal investigation           WP   Withheld   NA
                                 Team                protocol prepared at the direction of counsel
                                                     in anticipation of litigation.




1017   1-Sep-10    Word          DWH Investigation   Memorandum re: DWH investigation                WP   Withheld   NA
                                 Team                prepared at the direction of counsel in
                                                     anticipation of litigation.




1018   13-Sep-10   Word          DWH Investigation   Draft memorandum re: DWH investigation          WP   Withheld   NA
                                 Team                prepared at the direction of counsel in
                                                     anticipation of litigation.
                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 81 of 277
1019   27-Sep-10   Word   DWH Investigation   Draft memorandum re: DWH investigation    WP   Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




1020   29-Sep-10   Word   DWH Investigation   Draft memorandum re: DWH investigation    WP   Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.
                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 82 of 277
1021   1-Oct-10    Word   DWH Investigation   Draft memorandum re: DWH investigation          WP   Withheld   NA
                          Team                prepared at the direction of counsel in
                                              anticipation of litigation.




1022   17-Oct-10   Word   Perrin Roller       Draft chart re: DWH personnel prepared at       WP   Withheld   NA
                                              the direction of counsel in anticipation of
                                              litigation.

1023   17-Oct-10   Word   Perrin Roller       Draft chart re: DWH personnel prepared at       WP   Withheld   NA
                                              the direction of counsel in anticipation of
                                              litigation.

1024   17-Oct-10   Word   DWH Investigation   Draft chronology prepared at the direction of   WP   Withheld   NA
                          Team                counsel in anticipation of litigation.


1025   18-Oct-10   Word   DWH Investigation   Draft chart re: DWH investigation prepared at WP     Withheld   NA
                          Team                the direction of counsel in anticipation of
                                              litigation.

1026   19-Oct-10   Word   DWH Investigation   Draft chart re: DWH investigation prepared at WP     Withheld   NA
                          Team                the direction of counsel in anticipation of
                                              litigation.

1027   24-Nov-10   Word   Derek Hart          Draft chart re: internal investigation prepared WP   Withheld   NA
                                              at the direction of counsel in anticipation of
                                              litigation.
                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 83 of 277
1028   13-Jul-10   Powerpoint    DWH Investigation   Draft presentation re: internal investigation   WP   Withheld   NA
                                 Team                prepared at the direction of counsel in
                                                     anticipation of litigation.

1029   4-Aug-10    Powerpoint    DWH Investigation   Draft presentation re: internal investigation   WP   Withheld   NA
                                 Team                prepared at the direction of counsel in
                                                     anticipation of litigation.

1030   3-Jun-10    Adobe         DWH Investigation   Chart re: internal investigation team prepared WP    Withheld   NA
                                 Team                at the direction of counsel in anticipation of
                                                     litigation.

1031   16-Jul-10   Spreadsheet   DWH Investigation   Draft chart re: internal investigation team     WP   Withheld   NA
                                 Team                prepared at the direction of counsel in
                                                     anticipation of litigation.

1032   22-May-10   Word          Bill Ambrose        Chart re: internal investigation team prepared WP    Withheld   NA
                                                     at the direction of counsel in anticipation of
                                                     litigation.


1033   11-Jun-10   Word          Bill Ambrose        Draft memorandum re: well operations            WP   Withheld   NA
                                                     prepared at the direction of counsel in
                                                     anticipation of litigation.




1034   6-Jul-10    Word          Bill Ambrose        Draft memorandum re: internal investigation     WP   Withheld   NA
                                                     protocol prepared at the direction of counsel
                                                     in anticipation of litigation.

1035   6-Jul-10    Word          Bill Ambrose        Draft memorandum re: internal investigation     WP   Withheld   NA
                                                     protocol prepared at the direction of counsel
                                                     in anticipation of litigation.


1036   28-Jul-10   Word          DWH Investigation   Draft memorandum re: well operations            WP   Withheld   NA
                                 Team                prepared at the direction of counsel in
                                                     anticipation of litigation.

1037   23-Aug-10   Word          DWH Investigation   Draft chart re: DWH personnel prepared at       WP   Withheld   NA
                                 Team                the direction of counsel in anticipation of
                                                     litigation.
                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 84 of 277
1038   24-Aug-10   Word         DWH Investigation                                                 Draft chart re: DWH personnel prepared at     WP   Withheld   NA
                                Team                                                              the direction of counsel in anticipation of
                                                                                                  litigation.

1039   24-Aug-10   Word         DWH Investigation                                                 Draft chart re: DWH personnel prepared at     WP   Withheld   NA
                                Team                                                              the direction of counsel in anticipation of
                                                                                                  litigation.


1040   6-Oct-10    Email        Wesley Bell         Brent Vyvial; Perrin Roller; Rachael Dsane-   Communication re: DWH investigation           WP   Withheld   NA
                                                    Selby; Ryan Smith                             prepared in anticipation of litigation.




1041   8-Jun-10    Adobe        DWH Investigation                                                 Presentation re: internal investigation       WP   Withheld   NA
                                Team                                                              prepared in anticipation of litigation.


1042   8-Jun-10    Powerpoint   DWH Investigation                                                 Presentation re: internal investigation       WP   Withheld   NA
                                Team                                                              prepared in anticipation of litigation.


1043   7-Jun-10    Word         Bill Ambrose                                                      Draft memorandum re: well operations          WP   Withheld   NA
                                                                                                  prepared at the direction of counsel in
                                                                                                  anticipation of litigation.


1044   27-Jul-10   Email        Bill Sannan         Paul Johnson                                  Communication re: DWH investigation           WP   Withheld   NA
                                                                                                  prepared in anticipation of litigation.
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 85 of 277
1045   28-Jun-10   Email   Jeff Jones      Mark Hay; Ewen Florence; Paul Johnson; Owen Communication re: DWH investigation          WP   Withheld   NA
                                           McWhorter; Mike Rogers; Greg Childs; Michael prepared in anticipation of litigation.
                                           Fry; James Kent; Bob Walsh




1046   25-Jun-10   Email   Ewen Florence   Mark Hay; Jeff Jones; Paul Johnson; Owen       Communication re: DWH investigation       WP   Withheld   NA
                                           McWhorter; Mike Rogers; Greg Childs; Michael   prepared in anticipation of litigation.
                                           Fry; James Kent; Bob Walsh
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 86 of 277
1047   25-Jun-10   Email   James Kent   Mark Hay; Ewen Florence; Paul Johnson; Owen Communication re: DWH investigation        WP   Withheld   NA
                                        McWhorter; Mike Rogers; Greg Childs; Michael prepared in anticipation of litigation.
                                        Fry; Jeff Jones




1048   25-Jun-10   Email   James Kent   Mark Hay; Ewen Florence; Paul Johnson; Owen Communication re: DWH investigation        WP   Withheld   NA
                                        McWhorter; Mike Rogers; Greg Childs; Michael prepared in anticipation of litigation.
                                        Fry; James Kent
                                                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 87 of 277
1049   25-Jun-10   Email         Mark Hay        Ewen Florence; Paul Johnson; Greg Childs;      Communication re: DWH investigation       WP   Withheld   NA
                                                 Michael Fry; James Kent                        prepared in anticipation of litigation.




1050   28-Jun-10   Email         Ewen Florence   Mark Hay; Jeff Jones; Paul Johnson; Owen       Communication re: DWH investigation       WP   Withheld   NA
                                                 McWhorter; Mike Rogers; Greg Childs; Michael   prepared in anticipation of litigation.
                                                 Fry; James Kent; Bob Walsh




1051   28-Jul-10   Email         Paul Daniels    Paul Johnson                                   Communication re: DWH investigation       WP   Withheld   Yes
                                                                                                prepared in anticipation of litigation.


1052   28-Jul-10   Spreadsheet   Paul Daniels    Paul Johnson                                   Spreadsheet re: DWH equipment prepared in WP   Withheld   NA
                                                                                                anticipation of litigation.
                                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 88 of 277
1054   20-Jul-10   Email   James Kent             Paul Johnson                                 Communication re: DWH equipment           WP   Withheld   No
                                                                                               prepared in anticipation of litigation.




1055   14-May-10   Email   James Kent             William Stringfellow                         Communication re: DWH Investigation       WP   Withheld   N/A
                                                                                               prepared in anticipation of litigation.




1056   20-Jul-10   Email   Dan Reudelhuber        William Stringfellow                         Communication re: DWH equipment           WP   Withheld   No
                                                                                               prepared in anticipation of litigation.




1057   20-Jul-10   Email   William Stringfellow   Dan Reudelhuber                              Communication re: DWH equipment           WP   Withheld   No
                                                                                               prepared in anticipation of litigation.




1058   15-Jun-10   Email   Adrian Rose            Eric Hall; Paul Johnson; John Keeton; Gary   Communication re: DWH investigation       WP   Withheld   N/A
                                                  Leach; Dan Reudelhuber; Bill Sannan; Daun    prepared in anticipation of litigation.
                                                  Winslow; Graham Kenyon; Larry McMaham;
                                                  Eddy Redd
                                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 89 of 277
1059   15-Jun-10   Email   Gary Leach       Eric Hall; Paul Johnson; John Keeton; Dan      Communication re: DWH investigation       WP   Withheld   N/A
                                            Reudelhuber; Bill Sannan; Daun Winslow;        prepared in anticipation of litigation.
                                            Graham Kenyon; Larry McMaham; Eddy Redd;
                                            Adrian Rose




1060   15-Jun-10   Email   Bill Sannan      Eric Hall; Paul Johnson; John Keeton; Dan      Communication re: DWH investigation       WP   Withheld   N/A
                                            Reudelhuber; Daun Winslow; Graham Kenyon;      prepared in anticipation of litigation.
                                            Gary Leach; Larry McMaham; Eddy Redd;
                                            Adrian Rose




1061   15-Jun-10   Email   Eric Hall        Paul Johnson; John Keeton; Dan Reudelhuber;    Communication re: DWH investigation       WP   Withheld   N/A
                                            Bill Sannan; Daun Winslow; Graham Kenyon;      prepared in anticipation of litigation.
                                            Gary Leach; Larry McMaham; Eddy Redd;
                                            Adrian Rose




1062   14-Jun-10   Email   Bill Sannan      Eric Hall; Paul Johnson; John Keeton; Dan      Communication re: DWH investigation       WP   Withheld   N/A
                                            Reudelhuber; Daun Winslow; Graham Kenyon;      prepared in anticipation of litigation.
                                            Gary Leach; Larry McMaham; Eddy Redd;
                                            Adrian Rose




1069   14-Dec-10   Email   Owen McWhorter   Geoff Boughton; Greg Childs; Dan Farr; Ewen    Communication re: DWH equipment           WP   Withheld   N/A
                                            Florence; Buddy Fojt; Adrian Rose; Bob Walsh   prepared in anticipation of litigation.
                                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 90 of 277
1070   14-Dec-10   Email   Owen McWhorter   Geoff Boughton; Greg Childs; Dan Farr; Ewen   Communication re: DWH equipment           WP   Withheld   N/A
                                            Florence; Buddy Fojt; Steve Myers; Adrian     prepared in anticipation of litigation.
                                            Rose; Bob Walsh




1071   10-Dec-10   Email   Dan Farr         Adrian Rose                                   Communication re: DWH equipment           WP   Withheld   N/A
                                                                                          prepared in anticipation of litigation.




1072   23-Oct-10   Email   Dan Farr         Adrian Rose; Bill Ambrose                     Communication re: DWH equipment           WP   Withheld   Yes
                                                                                          prepared in anticipation of litigation.
1075   10-Feb-11   Email   Adrian Rose      Alan Quintero                                 Communication re: DWH investigation       WP   Withheld   N/A
                                                                                          prepared in anticipation of litigation.

1076   10-Feb-11   Email   Adrian Rose      Alan Quintero                                 Communication re: DWH investigation       WP   Withheld   Yes
                                                                                          prepared in anticipation of litigation.


1078   8-Feb-11    Email   Adrian Rose      Dan Munoz; Derek Hart                         Communication re: DWH equipment           WP   Withheld   No
                                                                                          prepared in anticipation of litigation.


1080   10-Feb-11   Email   Adrian Rose      Alan Quintero                                 Communication re: DWH investigation       WP   Withheld   Yes
                                                                                          prepared in anticipation of litigation.


1082   10-Feb-11   Email   Alan Quintero    Adrian Rose                                   Communication re: DWH investigation       WP   Withheld   N/A
                                                                                          prepared in anticipation of litigation.

1083   23-May-10   Email   Larry McMahan    Michael Fry; Eddy Redd; Adrian Rose; Serge    Communication re: DWH equipment           WP   Withheld   N/A
                                            Schultz                                       prepared in anticipation of litigation.
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 91 of 277
1084   21-May-10   Email   Larry McMahan     Adrian Rose                                      Communication re: DWH investigation       WP   Withheld   Yes
                                                                                              prepared in anticipation of litigation.




1085   14-Jun-10   Email   Adrian Rose       John Keeton; Gary Leach; Larry McMahan;                                                    WP   Withheld   N/A
                                             Eddy Redd; Bill Sannan




1086   23-Aug-10   Email   Adrian Rose       paul.trantor@deepwater.com;' Arnaud Bobillier;   Communication re: DWH Investigation       WP   Withheld   N/A
                                             Gregory Panagos; Pharr Smith                     prepared in anticipation of litigation.




1087   23-Aug-10   Email   Adrian Rose       paul.trantor@deepwater.com;' Arnaud Bobillier;   Communication re: DWH Investigation       WP   Withheld   N/A
                                             Gregory Panagos; Pharr Smith                     prepared in anticipation of litigation.




1088   23-Aug-10   Email   Gregory Panagos   paul.trantor@deepwater.com;' Arnaud Bobillier;   Communication re: DWH Investigation       WP   Withheld   N/A
                                             Adrian Rose; Pharr Smith                         prepared in anticipation of litigation.




1089   23-Aug-10   Email   Gregory Panagos   paul.trantor@deepwater.com;' Arnaud Bobillier;   Communication re: DWH Investigation       WP   Withheld   N/A
                                             Adrian Rose; Pharr Smith                         prepared in anticipation of litigation.
                                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 92 of 277
1090   13-Oct-10   Email        Larry McMahan       Arnaud Bobillier; Barry Braniff; Jean Paul      Communication re: DWH Investigation        WP   Withheld   Yes
                                                    Buisine; Patrick Guicheney; Steve Hand; Ian     prepared in anticipation of litigation.
                                                    Hudson; Michel Legrand; Donnie Pirtle; Adrian
                                                    Rose; Ronald Swan; Toma Ihab; Paul Tranter;
                                                    Gilberto Cardarelli; Guilherme Coelho; Mark
                                                    Monroe; Chris Pitre; David Richardson



1091   24-Feb-11   PowerPoint   DWH Investigation                                                   Draft memorandum re: DWH Investigation     WP   Withheld   N/A
                                Team                                                                prepared in anticipation of litigation.




1092   29-Sep-10   PowerPoint   DWH Investigation                                                   Draft memorandum re: DWH Investigation     WP   Withheld   N/A
                                Team                                                                prepared in anticipation of litigation.




1093   2-Oct-09    Email        DWH, Materials      Sergio Alarcon, Esq.; Xavier Perez; DWH,        Communication reflecting legal advice of   AC   Withheld   Yes
                                                    ElectSup; DWH, Maintsup                         counsel re contracts and DWH Equipment.
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 93 of 277
1094   27-May-10   Email   Warren Weaver   Larry McMahan; Mike Lawson   Communication re DWH equipment and               WP   Withheld   Yes
                                                                        alarms prepared in anticipation of litigation.




1095   27-May-10   Email   Larry McMahan   Brian Kennedy                Communication re DWH equipment and               WP   Withheld   Yes
                                                                        alarms prepared in anticipation of litigation.
                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 94 of 277
1096   30-Aug-10   Email   Jasmin Begagic   Bill Sannan; Michael Fry; Gary Leach; Larry   Communication re DWH equipment prepared WP     Withheld   Yes
                                            McMahan                                       in anticipation of litigation.




1097   27-Aug-10   Email   Bill Sannan      Jasmin Begagic; Larry McMahan                 Communication re Transocean rigs prepared WP   Withheld   Yes
                                                                                          in anticiaption of litigation.


1098   27-Aug-10   Email   Bill Sannan      Jasmin Begagic; Larry McMahan                 Communication re Transocean rigs prepared WP   Withheld   Yes
                                                                                          in anticiaption of litigation.




1099   29-Jul-10   Email   Dan Farr         Larry McMahan                                 Communication re DWH equipment prepared WP     Withheld   Yes
                                                                                          in anticipation of litigation.




1100   27-Jul-10   Email   Mike Dow         Dan Farr; John MacDonald                      Communication re Transocean manual        WP   Withheld   N/A
                                                                                          prepared in anticiaption of litigation.
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 95 of 277
1101   24-Jul-10   Email   Robert Tiano    Dan Farr; Larry McMahan; Pharr Smith   Communication re DWH equipment and               WP   Withheld   Yes
                                                                                  alarms prepared in anticipation of litigation.




1102   28-Jul-10   Email   Dan Farr        Larry McMahan                          Communication re DWH equipment and               WP   Withheld   Yes
                                                                                  alarms prepared in anticipation of litigation.




1103   27-Jul-10   Email   Mike Dow        Dan Farr; John MacDonald               Communication re Transocean manual               WP   Withheld   N/A
                                                                                  prepared in anticiaption of litigation.




1104   24-Jul-10   Email   Robert Tiano    Dan Farr; Larry McMahan; Pharr Smith   Communication re DWH equipment and               WP   Withheld   Yes
                                                                                  alarms prepared in anticipation of litigation.




1105   28-Jul-10   Email   Larry McMahan   Reyna Allen                            Communication re DWH equipment and               WP   Withheld   Yes
                                                                                  alarms prepared in anticipation of litigation.




1106   28-Jul-10   Email   Larry McMahan   Pharr Smith                            Communication re DWH equipment and               WP   Withheld   Yes
                                                                                  alarms prepared in anticipation of litigation.
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 96 of 277
1107   21-Jul-10   Email   James Kent     Dan Farr                                 Communication re DWH equipment and               WP   Withheld   Yes
                                                                                   alarms prepared in anticipation of litigation.




1108   27-Jul-10   Email   Terry Loftis   Dan Farr; Chris Tolleson; Bill Ambrose   Communication re DWH equipment and               WP   Withheld   Yes
                                                                                   alarms prepared in anticipation of litigation.




1109   21-Jul-10   Email   James Kent     Dan Farr                                 Communication re DWH equipment and               WP   Withheld   Yes
                                                                                   alarms prepared in anticipation of litigation.




1110   27-Jul-10   Email   Terry Loftis   Dan Farr; Chris Tolleson; Bill Ambrose   Communication re DWH equipment and               WP   Withheld   Yes
                                                                                   alarms prepared in anticipation of litigation.
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 97 of 277
1111   10-May-10   Email   Bill Ambrose    Jean Paul Buisine; Larry McMahan                Communication re DWH equipment prepared WP            Withheld   N/A
                                                                                           in anticipation of litigation.




1112   26-Jul-10   Email   Larry McMahan   Terry Loftis; John MacDonald; Bill Sannan; Brian Communication re DWH equipment and              WP   Withheld   N/A
                                           Kennedy; Adrian Rose; Steven Walker; Warren alarms prepared in anticipation of litigation.
                                           Weaver




1113   25-Jul-10   Email   Larry McMahan   Brian Kennedy; Terry Loftis; Adrian Rose;       Communication re DWH equipment and               WP   Withheld   N/A
                                           Steven Walker; Warren Weaver                    alarms prepared in anticipation of litigation.




1114   24-Jul-10   Email   Larry McMahan   Robert Tiano                                    Communication re DWH equipment and               WP   Withheld   N/A
                                                                                           alarms prepared in anticipation of litigation.


1115   31-May-10   Email   Larry McMahan   Chris Tucker; Ellen Barry; Brian Kennedy        Communication re DWH equipment prepared WP            Withheld   N/A
                                                                                           in anticipation of litigation.
                                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 98 of 277
1116   31-May-10   Email   Brian Kennedy       Larry McMahan; Chris Tucker; Ellen Barry   Communication re DWH equipment prepared WP      Withheld   N/A
                                                                                          in anticipation of litigation.




1117   31-May-10   Email   Chris Tucker        Larry McMahan; Brian Kennedy; Lou          Communication re DWH equipment prepared WP      Withheld   N/A
                                               Colasuonno                                 in anticipation of litigation.




1118   24-May-10   Email   Brian Kennedy       Larry McMahan                              Communication re Well Planning prepared in WP   Withheld   No
                                                                                          anticipation of litigation.




1119   6-May-10    Email   Jean Paul Buisine   Paul Tranter                               Communication re DWH equipment prepared WP      Withheld   N/A
                                                                                          in anticipation of litigation.

1120   17-May-10   Email   Brian Kennedy       Larry McMahan; Adrian Rose                 Communications re cement prepared in     WP     Withheld   Yes
                                                                                          anticipation of litigation.


1121   17-May-10   Email   Brian Kennedy       Larry McMahan; Adrian Rose                 Communications re cement prepared in     WP     Withheld   Yes
                                                                                          anticipation of litigation.




1122   17-May-10   Email   Adrian Rose         Brian Kennedy; Larry McMahan               Communications re cement prepared in     WP     Withheld   Yes
                                                                                          anticipation of litigation.
                                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 99 of 277
1123   27-May-10   Email   Larry McMahan   Brian Kennedy                  Communication re DWH equipment prepared WP            Withheld   Yes
                                                                          in anticipation of litigation.




1124   27-May-10   Email   Warren Weaver   Larry McMahan; Mike Lawson     Communication re DWH equipment prepared WP            Withheld   Yes
                                                                          in anticipation of litigation.




1125   28-Jul-10   Email   Larry McMahan   Pharr Smith                    Communication re DWH equipment and               WP   Withheld   Yes
                                                                          alarms prepared in anticipation of litigation.




1126   29-Jul-10   Email   Dan Farr        Larry McMahan                  Communication re DWH equipment and               WP   Withheld   Yes
                                                                          alarms prepared in anticipation of litigation.




1127   8-Aug-10    Email   Brian Kennedy   Larry McMahan; Warren Weaver   Communication re DWH equipment prepared WP            Withheld   Yes
                                                                          in anticipation of litigation.
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 100 of 277
1128   9-Aug-10    Email   Brian Kennedy   Paul Johnson; James Kent; Larry McMahan; Bill Communication re DWH equipment prepared WP         Withheld   Yes
                                           Sannan; Steven Walker; Warren Weaver          in anticipation of litigation.




1129   31-Jul-10   Email   Brian Kennedy   Larry McMahan                              Communication re DWH equipment prepared WP            Withheld   N/A
                                                                                      in anticipation of litigation.

1130   30-Jul-10   Email   Brian Kennedy   Larry McMahan                              Communication re DWH equipment prepared WP            Withheld   N/A
                                                                                      in anticipation of litigation.

1131   27-Jul-10   Email   Brian Kennedy   Pharr Smith; Larry McMahan                 Communication re DWH equipment and               WP   Withheld   N/A
                                                                                      alarms prepared in anticipation of litigation.




1132   27-Jul-10   Email   Brian Kennedy   Larry McMahan                              Communication re DWH equipment and               WP   Withheld   N/A
                                                                                      alarms prepared in anticipation of litigation.




1133   27-Jul-10   Email   Pharr Smith     Brian Kennedy; Larry McMahan               Communication re DWH equipment and               WP   Withheld   N/A
                                                                                      alarms prepared in anticipation of litigation.
                                                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 101 of 277
1134   27-Jul-10   Email   Brian Kennedy    Larry McMahan                                  Communication re DWH equipment and               WP   Withheld   N/A
                                                                                           alarms prepared in anticipation of litigation.




1135   26-Jul-10   Email   Bill Sannan      Dan Reudelhuber; Terry Loftis; Larry McMahan   Communication re DWH equipment and               WP   Withheld   N/A
                                                                                           alarms prepared in anticipation of litigation.




1136   26-Jul-10   Email   Terry Loftis     John MacDonald; Larry McMahan; Bill Sannan;    Communication re DWH equipment and               WP   Withheld   N/A
                                            Brian Kennedy; Adrian Rose; Steven Walker;     alarms prepared in anticipation of litigation.
                                            Warren Weaver




1137   25-Jul-10   Email   John MacDonald   Larry McMahan                                  Communication re DWH equipment and               WP   Withheld   N/A
                                                                                           alarms prepared in anticipation of litigation.




1138   25-Jul-10   Email   Brian Kennedy    Larry McMahan                                  Communication re DWH equipment and               WP   Withheld   N/A
                                                                                           alarms prepared in anticipation of litigation.
                                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 102 of 277
1139   24-Jul-10   Email          Robert Tiano     Larry McMahan                                Communication re DWH equipment and               WP   Withheld   N/A
                                                                                                alarms prepared in anticipation of litigation.


1140   24-Jul-10   Email          Dan Farr         Larry McMahan; Robert Tiano; Bill Ambrose;   Communication re DWH equipment and               WP   Withheld   N/A
                                                   Pharr Smith                                  alarms prepared in anticipation of litigation.




1141   2-May-10    Outlook Mail   Jerry Canducci   Brian Kennedy; Pharr Smith; Jimmy Moore      Communication re DWH operations prepared WP           Withheld   Yes
                   Message                                                                      in anticipation of litigation.
                                                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 103 of 277
1142   8-Jul-10    Outlook Mail   Tanna Brown     Darrel Pelley; Pharr Smith             Communication re DWH equipment prepared WP            Withheld   Yes
                   Message                                                               in anticipation of litigation.




1143   24-Jul-10   Outlook Mail   Pharr Smith     John MacDonald; Warren Weaver          Communication re DWH equipment and               WP   Withheld   Yes
                   Message                                                               alarms prepared in anticipation of litigation.




1144   24-Jul-10   Outlook Mail   Robert Tiano    Dan Farr; Larry McMahan; Pharr Smith   Communication re DWH equipment and               WP   Withheld   Yes
                   Message                                                               alarms prepared in anticipation of litigation.




1145   28-Jul-10   Outlook Mail   Larry McMahan   Pharr Smith                            Communication re DWH equipment and               WP   Withheld   Yes
                   Message                                                               alarms prepared in anticipation of litigation.




1146   21-Jul-10   Outlook Mail   James Kent      Dan Farr                               Communication re DWH equipment and               WP   Withheld   Yes
                   Message                                                               alarms prepared in anticipation of litigation.
                                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 104 of 277
1147   27-Jul-10   Outlook Mail   Terry Loftis    Dan Farr; Chris Tolleson; Bill Ambrose      Communication re DWH equipment and               WP   Withheld   Yes
                   Message                                                                    alarms prepared in anticipation of litigation.




1148   27-Jul-10   Outlook Mail   Mike Dow        Dan Farr; John MacDonald                    Communication re Transocean manual               WP   Withheld   N/A
                   Message                                                                    prepared in anticiaption of litigation.


1149   24-Jul-10   Outlook Mail   Robert Tiano    Dan Farr; Larry McMahan; Pharr Smith        Communication re DWH equipment and               WP   Withheld   Yes
                   Message                                                                    alarms prepared in anticipation of litigation.




1150   28-Jul-10   Outlook Mail   Larry McMahan   Pharr Smith                                 Communication re DWH equipment and               WP   Withheld   Yes
                   Message                                                                    alarms prepared in anticipation of litigation.




1151   27-Jul-10   Outlook Mail   Pharr Smith     Brian Kennedy; Larry McMahan; Pharr Smith   Communication re DWH equipment and               WP   Withheld   N/A
                   Message                                                                    alarms prepared in anticipation of litigation.




1152   27-Jul-10   Outlook Mail   Pharr Smith     Brian Kennedy                               Communication re DWH equipment and               WP   Withheld   N/A
                   Message                                                                    alarms prepared in anticipation of litigation.
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 105 of 277
1153   3-May-10    Outlook      Jerry Canducci   Brian Kennedy; Pharr Smith; Kathy Kenny;     Communication re Transocean rigs prepared WP          Withheld   No
                   Message File                  Jimmy Moore                                  in anticipation of litigation.




1154   5-Nov-10    Email        George Birch     Perrin Roller                                Communication regarding cementing issues      AC/WP   Withheld   N/A
                                                                                              to assist counsel in OSC proceedings and in
                                                                                              anticipation of litigation.

1155   24-Jul-10   Email        Robert Tiano     Larry McMahan                                Communication regarding rig operations to     AC/WP   Withheld   Yes
                                                                                              assist counsel in JIT hearings and
                                                                                              in anticipation of litigation.

1156   5-Sep-10    Word         Bob Walsh                                                      Draft questions for JIT proceedings prepared AC/WP   Withheld   N/A
                                                                                               to assist counsel and in anticipation of
                                                                                               litigation
1157   13-Oct-10   Email        Bob Walsh        Rodney Manning; Robert Tiano; Dan Farr; Terry Information regarding alarm systems           WP     Withheld   N/A
                                                 Loftis                                        provided to assist counsel in JIT proceedings
                                                                                               and in anticipation of litigation.


1158   21-Oct-10   Email        Alistair Gill    Derek Hart; Glen Mitchell;                   Email regarding dispersion analysis provided WP       Withheld   N/A
                                                 Steve Howell                                 to assist counsel in OSC proceedings and in
                                                                                              anticipation of litigation.


1159   20-Oct-10   Email        Alistair Gill    Derek Hart; Bjoern Ritter                    Email regarding dispersion analysis provided WP       Withheld   N/A
                                                                                              to assist counsel in OSC proceedings and in
                                                                                              anticipation of litigation.

1160   20-Oct-10   Email        Alistair Gill    Derek Hart; Bjoern Ritter                    Email regarding dispersion analysis provided WP       Withheld   Yes
                                                 Steve Howell                                 to assist counsel in OSC proceedings and in
                                                                                              anticipation of litigation.

1161   20-Oct-10   TIF File     George Birch                                                  Dispersion analysis provided to assist        WP      Withheld   N/A
                                                                                              counsel in OSC proceedings and in
                                                                                              anticipation of litigation.
1162   20-Oct-10   TIF File     George Birch                                                  Dispersion analysis provided to assist        WP      Withheld   N/A
                                                                                              counsel in OSC proceedings and in
                                                                                              anticipation of litigation.
1163   20-Oct-10   TIF File     George Birch                                                  Dispersion analysis provided to assist        WP      Withheld   N/A
                                                                                              counsel in OSC proceedings and in
                                                                                              anticipation of litigation.
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 106 of 277
1164   8-Oct-10    Email   Bill Ambrose   Perrin Roller   Communication regarding cementing issues AC/WP          Withheld   N/A
                                                          provided to assist counsel in OSC proceeding
                                                          and in anticipation of litigation.

1165   30-Jun-10   Email   George Birch   Perrin Roller   Cement information provided in response to      WP      Withheld   N/A
                                                          request from counsel to assist in preparation
                                                          for JIT hearings and in anticipation of
                                                          litigation.

1166   30-Jun-10   Email   George Birch   Perrin Roller   Cement information provided in response to WP           Withheld   N/A
                                                          request from counsel to assist in preparation
                                                          for JIT hearings and in anticipation of
                                                          litigation.
1167   22-Aug-10   Email   George Birch   Perrin Roller   Email re draft questions prepared to assist    WP       Withheld   Yes
                                                          counsel in JIT proceedings and in anticipation
                                                          of litigation.
1168   22-Aug-10   Word    Bill Ambrose                   Description of cementing issues prepared to AC/WP       Withheld   N/A
                                                          assist counsel in JIT proceedings and in
                                                          anticipation of litigation

1169   5-Sep-10    Email   George Birch   Perrin Roller   Email re draft questions prepared to assist    WP       Withheld   Yes
                                                          counsel in JIT proceedings and in anticipation
                                                          of litigation.
1170   5-Sep-10    Word    Robert Tiano                   Draft questions prepared to assist counsel in AC/WP     Withheld   N/A
                                                          JIT proceedings and in anticipation of
                                                          litigation.
1171   28-Sep-10   Email   George Birch   Perrin Roller   Email re cement issues prepared to assist      WP       Withheld
                                                          counsel in JIT proceedings and in anticipation
                                                          of litigation.
1172   3-Nov-10    Email   George Birch   Perrin Roller   Cement information provided to assist          WP       Withheld
                                                          counsel in OSC proceedings and in
                                                          anticipation of litigation.
1173   2-Nov-10    Email   George Birch   Perrin Roller   Cement information provided to assist          WP       Withheld
                                                          counsel in OSC proceedings and in
                                                          anticipation of litigation.

1174   6-Jun-10    Email   Bill Ambrose   Wesley Bell;    Information provided in response to request     AC/WP   Withheld
                                          Perrin Roller   from counsel to assist in preparation for
                                                          Congressional proceedings and in
                                                          anticipation of litigation.

1175   8-Dec-10    Email   Dan Farr       Perrin Roller   Information regarding communication            WP       Withheld
                                                          regarding well design issues to assist counsel
                                                          in JIT proceedings and in anticipation of
                                                          litigation.
                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 107 of 277
1176   24-Aug-10   Adobe         Simon Watson                                             Information provided in response to request AC/WP       Withheld   N/A
                   Acrobat                                                                from counsel to assist in preparation for OSC
                   Document                                                               proceedings and in anticipation of litigation.

1177   13-May-10   Email         Linda Wetherell   Vicki Garza; Michael Huneycutt, Esq.   Communication with counsel re document          AC/WP   Withheld   Yes
                                                                                          collection prepared under supervision of
                                                                                          counsel and in anticipation of litigation.

1178   4-May-10    Word          Simon Watson                                             Communication with counsel, P. Fitzgerald,      AC/WP   Withheld   N/A
                                                                                          concerning document collection in
                                                                                          anticipation of litigation
1179               Word          Simon Watson                                             Communication with counsel, P. Fitzgerald,      AC/WP   Withheld   N/A
                                                                                          concerning document collection in
                                                                                          anticipation of litigation

1180   12-Jul-10   Spreadsheet   Vicki Garza                                              Index of documents prepared under             WP        Withheld   N/A
                                                                                          supervision of counsel and in anticiption of
                                                                                          litigation.
1181   12-Jul-10   Spreadsheet   Vicki Garza                                              Index of documents prepared under             WP        Withheld   N/A
                                                                                          supervision of counsel and in anticipation of
                                                                                          litigation.
1182   26-May-10   Email         Simon Watson      Vicki Garza                            Communication regarding BOP information       AC/WP     Withheld   Yes
                                                                                          requested for congressional hearings
                                                                                          prepared under supervision of counsel and in
                                                                                          anticipation of litigation.

1183   12-May-10   Spreadsheet   Perrin Roller                                            Index of documents attached to                  AC/WP   Withheld   N/A
                                                                                          communication with counsel regarding
                                                                                          information requested for congressional
                                                                                          hearings.

1184   26-May-10   Email         Simon Watson      Vicki Garza                            Communication regarding BOP information      AC/WP      Withheld   Yes
                                                                                          requested for congressional hearings
                                                                                          prepared under supervision of counsel and in
                                                                                          anticipation of litigation.


1185   12-May-10   Spreadsheet   Perrin Roller                                            Index of documents attached to                  AC/WP   Withheld   N/A
                                                                                          communication with counsel regarding
                                                                                          information requested for congressional
                                                                                          hearings.
1186   26-May-10   Email         Simon Watson      Vicki Garza                            Communication concerning BOP information        AC/WP   Withheld   Yes
                                                                                          for congressional hearings prepared under
                                                                                          supervision of counsel and in anticipation of
                                                                                          litigation.
                                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 108 of 277
1187   12-May-10   Spreadsheet   Steve Myers                         Iindex of documents attached to                 AC/WP   Withheld   N/A
                                                                     communication with counsel regarding
                                                                     information requested for congressional
                                                                     hearings.
1188   26-May-10   Email         Simon Watson        Vicki Garza     Communication concerning BOP information        AC/WP   Withheld   Yes
                                                                     for congressional hearings prepared under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.

1189   12-May-10   Spreadsheet   Perrin Roller                       Index of documents attached to                  AC/WP   Withheld   N/A
                                                                     communication with counsel regarding
                                                                     information requested for congressional
                                                                     hearings.
1190   9-Jul-10    Email         Vicki Garza         Karen Johnson   Email from paralegal requesting information     AC/WP   Withheld   Yes
                                                                     on interviews conducted by counsel in
                                                                     anticipation of litigation
1191   2-Jul-10    Spreadsheet   Bob Walsh                           Index of documents prepared under               WP      Withheld   N/A
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
1192   5-Nov-10    Word          DWH Investigation                   Draft OSC submission prepared under             AC/WP   Withheld   N/A
                                 Team                                supervision of counsel and in anticipation of
                                                                     litigation.
1193   5-Nov-10    Word          Tami Scrudder                       Draft OSC submission prepared under             AC/WP   Withheld   N/A
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.

1194   5-Nov-10    Spreadsheet   Tami Scrudder                       Rig data provided in response to request from WP        Withheld   N/A
                                                                     counsel to assist in preparation for OSC
                                                                     submission and in anticipation of litigation.


1195   5-Nov-10    Spreadsheet   Jana Judkins                        Excel sheet re well operations provided in    WP        Withheld   N/A
                                                                     response to request from counsel to assist in
                                                                     preparation for OSC submission and in
                                                                     anticipation of litigation.


1196   4-Nov-10    Word          Perrin Roller                       Draft OSC submission prepared under             AC/WP   Withheld   N/A
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
1197   4-Nov-10    Word          Perrin Roller                       Draft OSC submission prepared under             AC/WP   Withheld   N/A
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
1198   4-Nov-10    Word          Perrin Roller                       Draft OSC submission prepared under             AC/WP   Withheld   N/A
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 109 of 277
1199   3-Nov-10    Email      Perrin Roller        George Birch          Cementing information provided to assist       WP       Withheld   Yes
                                                                         counsel in OSC proceedings and in
                                                                         anticipation of litigation.
1200   3-Nov-10    Word       Perrin Roller                              Draft OSC submission prepared under            AC/WP    Withheld   N/A
                                                                         supervision of counsel and in anticipation of
                                                                         litigation.
1201   3-Nov-10    Word       Perrin Roller                              Cement information provided to assist          AC/WP    Withheld   N/A
                                                                         counsel in OSC proceedings and in
                                                                         anticipation of litigation
1202   23-Sep-10   Adobe      Perrin Roller                              Cement information provided to assist          AC/WP    Withheld   N/A
                   Acrobat                                               counsel in OSC proceedings and in
                   Document                                              anticipation of litigation
1203   3-Nov-10    Word       Bill Ambrose                               Draft letter to OSC prepared under             WP       Withheld   N/A
                                                                         supervision of counsel and in anticipation of
                                                                         litigation
1204   3-Nov-10    Email      Perrin Roller        Rachael Dsane-Selby   Email re cement information provided to        WP       Withheld   N/A
                                                                         assist counsel in OSC proceedings and in
                                                                         anticipation of litigation
1205   2-Nov-10    Adobe      DWH Investigation                          Chart of negative test information prepared to WP       Withheld   N/A
                   Acrobat    Team                                       assist counsel in OSC proceedings and in
                   Document                                              anticipation of litigation

1206   29-Oct-10   Email      Tami Scrudder        Perrin Roller         Email re cementing information needed to        WP      Withheld   N/A
                                                                         assist counsel in OSC proceedings and in
                                                                         anticipation of litigation

1207   29-Oct-10   Email      Tami Scrudder        Perrin Roller         Email re research sources prepared to assist    WP      Withheld   N/A
                                                                         cousel in OSC proceedings and in
                                                                         anticipation of litigation
1208   29-Oct-10   Word       Melonie Tankersley                         Draft OSC submission prepared under             AC/WP   Withheld   N/A
                                                                         supervision of counsel and in anticipation of
                                                                         litigation
1209   29-Oct-10   Word       Melonie Tankersley                         Draft OSC Submission prepared under the         AC/     Withheld   N/A
                                                                         supervision of counsel and in anticipation of   WP
                                                                         litigation.
1210   29-Oct-10   Email      Perrin Roller        George Birch          Email re cement information prepared to         WP      Withheld   Yes
                                                                         assist counsel in OSC proceedings and in
                                                                         anticipation of litigation

1211   28-Oct-10   Word       DWH Investigation                          Draft OSC submission prepared under             AC/WP   Withheld   N/A
                              Team                                       supervision of counsel and in anticipation of
                                                                         litigation.
1212   25-Oct-10   Word       John Keeton                                Draft OSC submission prepared under             AC/WP   Withheld   N/A
                                                                         supervision of counsel and in anticipation of
                                                                         litigation
                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 110 of 277
1213   22-Oct-10   Email   George Birch    Perrin Roller               Communication re information needed to           WP   Withheld   N/A
                                                                       assist counsel in OSC proceedings and in
                                                                       anticipation of litigation.

1214   21-Oct-10   Email   Perrin Roller   George Birch                Communication re information needed to           WP   Withheld   N/A
                                                                       assist counsel in OSC proceedings and in
                                                                       anticipation of litigation.

1215   20-Oct-10   Email   Steve Myers     Perrin Roller               Communication re draft OSC submission        WP       Withheld   N/A
                                                                       prepared under supervision of counsel and in
                                                                       anticipation of litigation.

1216   20-Oct-10   Email   Steve Myers     Perrin Roller               Communication re draft OSC submission        WP       Withheld   N/A
                                                                       prepared under supervision of counsel and in
                                                                       anticipation of litigation.


1217   20-Oct-10   Email   Perrin Roller   Steve Myers                 Communication re draft OSC submission        WP       Withheld   N/A
                                                                       prepared under supervision of counsel and in
                                                                       anticipation of litigation.


1218   20-Oct-10   Email   Perrin Roller   Steve Myers                 Communication re draft OSC submission        WP       Withheld   N/A
                                                                       prepared under supervision of counsel and in
                                                                       anticipation of litigation.


1219   16-Oct-10   Email   Bill Ambrose    Perrin Roller               Communication re draft OSC submission        WP       Withheld   Yes
                                                                       prepared under supervision of counsel and in
                                                                       anticipation of litigation.


1220   12-Oct-10   Email   Bob Walsh       Perrin Roller; Buddy Fojt   Communication re draft OSC submission        WP       Withheld   N/A
                                                                       prepared under supervision of counsel and in
                                                                       anticipation of litigation.

1221   12-Oct-10   Email   Perrin Roller   George Birch                Email re cementing issues prepared at the        WP   Withheld   N/A
                                                                       request of counsel to assist with
                                                                       OSC proceedings and in anticipation of
                                                                       litigation.
1222   12-Oct-10   Email   George Birch    Perrin Roller               Email re cementing issues prepared at the        WP   Withheld   N/A
                                                                       request of counsel to assist with OSC
                                                                       proceedings and in anticipation of litigation.
                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 111 of 277
1223   12-Oct-10   Email         Perrin Roller         George Birch    Email re cementing issues prepared at the        WP      Withheld   N/A
                                                                       request of counsel to assist with OSC
                                                                       proceedings and in anticipation of litigation.

1224   11-Oct-10   Email         legal04@deepwater.co Perrin Roller    Notes for draft OSC submission prepared          AC/WP   Withheld   Yes
                                 m                                     under supervision of counsel and in
                                                                       anticipation of litigation

1225   11-Oct-10   Adobe         John Gardner                          Notes for draft OSC submission prepared          AC/WP   Withheld   N/A
                   Acrobat                                             under supervision of counsel and in
                   Document                                            anticipation of litigation
1226   11-Oct-10   Email         Tami Scrudder         Perrin Roller   Email re documents collected for OSC             WP      Withheld   Yes
                                                                       submissions prepared under supervision of
                                                                       counsel and in anticipation of litigation.

1227   7-Oct-10    Word          John Keeton                           Draft questions for JIT proceedings prepared AC/WP       Withheld   N/A
                                                                       to assist counsel and in anticipation of
                                                                       litigation.
1228   6-Oct-10    Word          John Keeton                           Draft questions for JIT proceedings prepared AC/WP       Withheld   N/A
                                                                       to assist counsel and in anticipation of
                                                                       litigation.

1229   30-Sep-10   Word          DWH Investigation                     Information re cementing issues provided in AC/WP        Withheld   N/A
                                 Team                                  response to request from counsel to assist in
                                                                       preparation for litigation.

1230   28-Sep-10   Word          John Keeton                           Information re cementing issues provided in AC/WP        Withheld   N/A
                                                                       response to request from counsel to assist in
                                                                       preparation for litigation.

1231   24-Sep-10   Spreadsheet   DWH Investigation                     Information provided in response to request      WP      Withheld   N/A
                                 Team                                  from counsel to assist in preparation for JIT
                                                                       hearings and in anticipation of litigation.

1232   21-Sep-10   Email         Tami Scrudder         Perrin Roller   Information regarding well design document WP            Withheld   N/A
                                                                       provided to assist counsel in preparation for
                                                                       litigation.
1233   17-Sep-10   Email         Jana Judkins          Perrin Roller   E-mail regarding timesheet of paralegal J.      AC/WP    Withheld   Yes
                                                                       Judkins reflecting work done in anticipation of
                                                                       litigation.

1234   5-Sep-10    Word          Perrin Roller                         Draft questions prepared to assist counsel in    AC/WP   Withheld   N/A
                                                                       JIT proceedings and in anticipation of
                                                                       litigation.
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 112 of 277
1235   7-Sep-10    Outlook   Bill Ambrose    Wesley Bell                              Email re meeting re Bullfighter graphics to be WP        Withheld   Yes
                   Receipt                   Perrin Roller                            used in OSC submissions prepared under the
                                                                                      direction of counsel and in anticipation of
                                                                                      litigation.

1236   1-Sep-10    Outlook   Perrin Roller   Oliver Diaz                              Email re meeting re Bullfighter graphics to be WP        Withheld   N/A
                   Receipt                                                            used in OSC submissions prepared under the
                                                                                      direction of counsel and in anticipation of
                                                                                      litigation.


1237   1-Sep-10    Outlook   Bill Ambrose    Wesley Bell;                             Email re meeting with Bullfighter re graphics    WP      Withheld   Yes
                   Receipt                   Perrin Roller                            for OSC submission prepared under
                                                                                      supervision of counsel and in anticipation of
                                                                                      litigation.
1238   22-Aug-10   Email     Perrin Roller   roller@miner.mst.edu                     Email re cement issues prepared at request       WP      Withheld   Yes
                                                                                      of counsel to assist with ongoing JIT
                                                                                      proceedings and in anticipation of litigation.

1239   22-Aug-10   Word      Perrin Roller                                            Draft questions prepared at request of           AC/WP   Withheld   N/A
                                                                                      counsel to assist with ongoing JIT
                                                                                      proceedings and in anticipation of litigation.

1240   22-Aug-10   Email     Perrin Roller   George Birch                             Communication re cementing issues             WP         Withheld   N/A
                                                                                      prepared to assist counsel in anticipation of
                                                                                      litigation.
1241   16-Aug-10   Email     Bill Ambrose    Perrin Roller                            Communication with counsel regarding draft AC/WP         Withheld   N/A
                                                                                      OSC submission prepared under supervision
                                                                                      of counsel and in anticipation of litigation.

1242   16-Aug-10   Email     Bill Ambrose    Perrin Roller                            Communication regarding cementing issues AC/WP           Withheld   N/A
                                                                                      prepared to assist in OSC proceedings in
                                                                                      anticipation of litigation.
1243   1-Nov-02    Email     Rig_DWH, Oim    Rig_DWH, Training CC: Rig_DWH, Captain   Communication with rig employees regarding AC/WP         Withheld   N/A
                                             Rig_DWH, Medic                           unrelated lawsuit


1244   22-Dec-05   Email     OIM             DWH Captain                              Communication with rig employees regarding AC/WP         Withheld   N/A
                                                                                      unrelated lawsuit.
                                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 113 of 277
1245   27-Sep-04   Email   Melonie Tankersley   Rig_DWH, Training CC: Ellis, Ron             Communication reflecting request from            AC/WP   Withheld   N/A
                                                John Keeton                                  counsel for information to assist in
                                                Nichols, Lauren                              preparation for unrelated litigation.
                                                Page, Lori
                                                Rig_DWH, Captain
                                                Rig_DWH, Maintenance
                                                Rig_DWH, Oim



1246   23-Mar-04   Email   Rig_DWH, Oim         DWH Captain                                  Communication with rig employees regarding AC/WP         Withheld   N/A
                                                                                             unrelated lawsuit.

1247   19-Mar-04   Email   Rig_DWH, Oim         DWH Captain                                  Communication with rig employees regarding AC/WP         Withheld   N/A
                                                DWH Training                                 unrelated lawsuit.
1248   7-May-10    Email   Eddy Redd            Tim Williams                                 Communication with counsel relating to legal AC/WP       Withheld   N/A
                                                                                             advice concerning BOP protocol.

1249   21-Apr-09   Email   Melonie Tankersley   John Keeton; DWH, OIM (Deepwater Horizon)    Communication with rig employees reflecting AC/WP        Withheld   N/A
                                                DWH, RadioOper (Deepwater Horizon)           request from counsel to assist in preparation
                                                Ellis, Ron (Houston)                         for litigation in unrelated lawsuit.
                                                Forbis, Allen (Houston)




1250   18-Jul-08   Email   OIM                  Paul Hale                                    Communication with counsel relating to legal AC/WP       Withheld   N/A
                                                                                             advice concerning unrelated lawsuit.

1251   28-Jan-08   Email   Melonie Tankersley   John Keeton; Ellis, Ron                      Communication of request for information         AC/WP   Withheld   N/A
                                                Forbis, Allen                                made by counsel to Transocean employee
                                                Rig_DWH, Oim                                 relating to legal advice regarding unrelated
                                                Rig_DWH, Radio                               lawsuit.

1252   5-Jan-05    Email   John Keeton          Rig_DWH, Oim                                 Communication with rig employees regarding AC/WP         Withheld   N/A
                                                                                             unrelated lawsuit.

1253   1-Dec-04    Email   Radio                Tankersley, Melonie; Ellis, Ron Page, Lori   Communication reflecting request from            AC/WP   Withheld   N/A
                                                Rig_DWH, Oim                                 counsel to assist in preparation for unrelated
                                                                                             lawsuit.


1254   19-Oct-04   Email   John Keeton          Rig_DWH, Oim                                 Communication with rig employees regarding AC/WP         Withheld   N/A
                                                                                             unrelated lawsuit.
                                                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 114 of 277
1255   5-Oct-04    Email   Radio         Melonie Tankersley; Horizon Oim (Deepwater       Communication reflecting request from            AC/WP   Withheld   N/A
                                         Horizon OIM)                                     counsel to assist in preparation for unrelated
                                                                                          lawsuit.

1256   30-Sep-04   Email   John Keeton   Rig_DWH, Oim                                     Communication reflecting request from            AC/WP   Withheld   N/A
                                                                                          counsel to assist in preparation for unrelated
                                                                                          lawsuit.

1257   30-Sep-04   Email   John Keeton   Rig_DWH, Oim                                     Communication reflecting request from            AC/WP   Withheld   N/A
                                                                                          counsel to assist in preparation for unrelated
                                                                                          lawsuit.

1258   29-Sep-04   Email   Radio         TO: 'Tankersley, Melonie'                      Communication reflecting request from              AC/WP   Withheld   N/A
                                         Horizon Training (Deepwater Horizon Training); counsel to assist in preparation for unrelated
                                         'Ellis, Ron'                                   lawsuit.
                                         'John Keeton'
                                         'Nichols, Lauren'
                                         'Page, Lori'
                                         'Rig_DWH, Oim'




1259   28-Sep-04   Email   Reed, Ken     John Keeton                                      Response to requests for information to          AC/WP   Withheld   N/A
                                         Rig_DWH, Oim                                     assist counsel in preparation for unrelated
                                                                                          lawsuit.
1260   13-Sep-04   Email   Radio         Melonie Tankersley; 'Ellis, Ron'                 Communication reflecting request from            AC/WP   Withheld   N/A
                                         'John Keeton'                                    counsel to assist in preparation for unrelated
                                         'Page, Lori'                                     lawsuit.
                                         'Rig_DWH, Oim'


1261   31-Aug-04   Email   Training      Melonie Tankersley; 'Horizon OIM (Deepwater      Communication reflecting request from            WP      Withheld   N/A
                                         Horizon OIM)'                                    counsel to assist in preparation for unrelated
                                         John Keeton (John Keeton)                        lawsuit.




1262   31-Aug-04   Email   Radio         Horizon Oim (Deepwater Horizon OIM)              Communication with rig employees regarding AC/WP         Withheld   N/A
                                         Horizon Training (Deepwater Horizon Training)    unrelated lawsuit.




1263   9-Jun-04    Email   John Keeton   Rig_DWH, Oim                                     Communication with rig employees regarding AC/WP         Withheld   N/A
                                                                                          unrelated lawsuit.
                                                                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 115 of 277
1264   19-Mar-04   Email   John Keeton         Rig_DWH, Oim                             Communication of counsel's request for     AC/WP         Withheld   N/A
                                                                                        information relating to legal advice
                                                                                        concerning unrelated lawsuit
1265   4-Aug-05    Email   Training            TO: DWH Maintenance (Deepwater Horizon   Communication of request from counsel for  AC/WP         Withheld   N/A
                                               Maintenance)                             information to assist in preparation for
                                                                                        unrelated lawsuit
1266   17-Apr-06   Email   John Keeton         Rig_DWH, Oim                             Communication with rig employees regarding AC/WP         Withheld   N/A
                                                                                        unrelated lawsuit.

1267   20-Feb-06   Email   John Keeton         Rig_DWH, Oim                             Communication of counsel's                       AC/WP   Withheld   N/A
                                                                                        request regarding unrelated lawsuit
1268   16-Dec-05   Email   Gardner, John       Rig_DWH, Oim                             Communication with rig employee regarding        AC/WP   Withheld   N/A
                                                                                        unrelated lawsuit

1269   15-Dec-05   Email   John Keeton         Rig_DWH, Oim                             Communication with rig employee regarding        AC/WP   Withheld   N/A
                                                                                        unrelated lawsuit

1270   9-Sep-05    Email   John Keeton         Rig_DWH, Oim                             Communication with rig employee regarding        AC/WP   Withheld   N/A
                                                                                        unrelated lawsuit

1271   3-Jun-05    Email   Chiefmate           John Keeton'                             Communication reflecting request from            AC/WP   Withheld   N/A
                                               'OIM'                                    counsel to assist in preparation for unrelated
                                               MTankersley@houston.deepwater.com        lawsuit

1272   31-Mar-05   Email   Revette, Dewey      Rig_DWH, Oim                             Communication with rig employee regarding        AC/WP   Withheld   N/A
                                                                                        unrelated lawsuit

1273   30-Mar-05   Email   John Keeton         Rig_DWH, Oim                             Communication with rig employee regarding        AC/WP   Withheld   N/A
                                                                                        unrelated lawsuit

1274   9-Jul-10    Word    DWH Investigation                                            Draft questions for JIT proceedings prepared AC/WP       Withheld   N/A
                           Team                                                         under supervision of counsel and in
                                                                                        anticipation of litigation

1275   20-May-10   Word    DWH Investigation                                            Draft questions for JIT proceedings prepared AC/WP       Withheld   N/A
                           Team                                                         under supervision of counsel and in
                                                                                        anticipation of litigation

1276   24-May-10   Word    DWH Investigation                                            Draft questions for JIT proceedings prepared AC/WP       Withheld   N/A
                           Team                                                         under supervision of counsel and in
                                                                                        anticipation of litigation

1277   24-Jun-10   Word    DWH Investigation                                            Draft questions for JIT proceedings prepared AC/WP       Withheld   N/A
                           Team                                                         under supervision of counsel and in
                                                                                        anticipation of litigation
                                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 116 of 277
1278   24-Jun-10   Word           DWH Investigation   Draft questions for JIT proceedings prepared AC/WP    Withheld   N/A
                                  Team                under supervision of counsel and in
                                                      anticipation of litigation

1279   12-Jul-10   Word           DWH Investigation   Draft questions for JIT proceedings prepared AC/WP    Withheld   N/A
                                  Team                under supervision of counsel and in
                                                      anticipation of litigation

1280   12-Jul-10   Word           DWH Investigation   Draft questions for JIT proceedings prepared AC/WP    Withheld   N/A
                                  Team                under supervision of counsel and in
                                                      anticipation of litigation

1281   24-May-10   Word           DWH Investigation   Notes of interview strategy prepared under      WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation

1282   5-Sep-10    Word           Perrin Roller       Notes on well control prepared under            WP    Withheld   N/A
                                                      supervision of counsel and in anticipation of
                                                      litigation
1283   27-Jan-11   Word           Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1284   19-Nov-10   Word           Bob Walsh           Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1285   23-Nov-10   Word           DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP

1286   18-Nov-10   Word           Bob Walsh           Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1287   2-Dec-10    Word           Bob Walsh           Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1288   17-Jan-11   Word           Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1289   4-Aug-10    Microsoft      DWH Investigation   Update on internal investigation presented to   AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation
1290   6-Aug-10    Microsoft      DWH Investigation   Update on internal investigation presented to   AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation
1291   12-Nov-10   Word           Bob Walsh           Weekly technical group report containing        AC/   Withheld   N/A
                                                      information reflecting legal advice and         WP
                                                      strategy for OSC proceedings and other
                                                      issues
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 117 of 277
1292   22-Sep-10   Spreadsheet    DWH Investigation   List of documents prepared under supervision AC/     Withheld   N/A
                                  Team                of counsel and in anticipation of litigation WP

1293   15-Oct-10   Word           Bob Walsh           Weekly technical group report containing       AC/   Withheld   N/A
                                                      information reflecting legal advice and        WP
                                                      strategy for OSC proceedings and other
                                                      issues

1294   17-Sep-10   Word           Bob Walsh           Weekly technical group report containing       AC/   Withheld   N/A
                                                      information reflecting legal advice and        WP
                                                      strategy for OSC proceedings and other
                                                      issues

1295   19-Nov-10   Word           Bob Walsh           Weekly technical group report containing       AC/   Withheld   N/A
                                                      information reflecting legal advice and        WP
                                                      strategy for OSC proceedings and other
                                                      issues

1296   7-Sep-10    Word           Bob Walsh           Weekly technical group report contains legal   AC/   Withheld   N/A
                                                      advice and strategy regarding ongoing          WP
                                                      litigation issues
1297   25-Oct-10   Word           Bob Walsh           Weekly technical group report contains legal   AC/   Withheld   N/A
                                                      advice and strategy regarding ongoing          WP
                                                      litigation issues

1298   22-Nov-10   Word           Bob Walsh           Weekly technical group report contains legal   AC/   Withheld   N/A
                                                      advice and strategy regarding ongoing          WP
                                                      litigation issues

1299   29-Oct-10   Word           Bob Walsh           Weekly technical group report contains legal   AC/   Withheld   N/A
                                                      advice and strategy regarding ongoing          WP
                                                      litigation issues

1300   8-Nov-10    Word           Bob Walsh           Weekly technical group report contains legal   AC/   Withheld   N/A
                                                      advice and strategy regarding ongoing          WP
                                                      litigation issues

1301   12-Oct-10   Word           Bob Walsh           Weekly technical group report contains legal   AC/   Withheld   N/A
                                                      advice and strategy regarding ongoing          WP
                                                      litigation issues

1302   3-Dec-10    Word           DWH Investigation   Draft report prepared under supervision of     WP    Withheld   N/A
                                  Team                counsel and in anticipation of litigation

1303   6-Aug-10    Microsoft      DWH Investigation   Internal investigation update prepared for     AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of      WP
                   Presentation                       litigation
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 118 of 277
1304   29-Oct-10   Adobe          DNV                   DNV Maintenance report prepared under           WP    Withheld   N/A
                   Acrobat                              supervision of counsel and in anticipation of
                   Document                             litigation
1305   18-Aug-10   Word           DWH Investigation     List of cementing issues prepared under         WP    Withheld   N/A
                                  Team                  supervision of counsel and in anticipation of
                                                        litigation
1306   27-Dec-10   Word           Perrin Roller         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                        counsel and in anticipation of litigation       WP

1307   18-Oct-10   Adobe          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                   Acrobat                              supervision of counsel and in anticipation of   WP
                   Document                             litigation
1308   18-Oct-10   Spreadsheet    Bill Ambrose          Spreadsheet of well operations for draft OSC    AC/   Withheld   N/A
                                                        submission prepared under supervision of        WP
                                                        counsel and in anticipation of litigation.

1309   4-Nov-10    Word           DWH Investigation     Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                  supervision of counsel and in anticipation of   WP
                                                        litigation
1310   15-Dec-10   Word           Perrin Roller         Cementing summary prepared under                WP    Withheld   N/A
                                                        supervision of counsel and in anticipation of
                                                        litigation

1311   7-Sep-10    Word           Perrin Roller         Draft questions for JIT proceedings prepared    AC/   Withheld   N/A
                                                        under supervision of counsel and in             WP
                                                        anticipation of litigation
1312   8-Sep-10    Word           Rachael Dsane-selby   Draft report prepared under supervision of      AC/   Withheld   N/A
                                                        counsel and in anticipation of litigation       WP

1313   16-Nov-10   Adobe          DWH Investigation     Document regarding cementing issues           WP      Withheld   N/A
                   Acrobat        Team                  prepared to assist counsel in JIT proceedings
                   Document                             and in anticipation of litigation.


1314   5-Sep-10    Word           DWH Investigation     Draft questions prepared to assist counsel in   WP    Withheld   N/A
                                  Team                  JIT proceedings and in anticipation of
                                                        litigation.
1315   15-Oct-10   Microsoft      DWH Investigation     Draft presentation to Congress on fire and      WP    Withheld   N/A
                   PowerPoint     Team                  gas systems prepared under supervision of
                   Presentation                         counsel and in anticipation of litigation.

1316   27-Oct-10   Word           Buddy Fojt            Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1317   27-Oct-10   Word           Buddy Fojt            Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 119 of 277
1318   28-Oct-10   Word          Buddy Fojt            Draft OSC submission                            AC/   Withheld   N/A
                                                       prepared under direction of counsel and in      WP
                                                       anticipation of litigation
1319   28-Oct-10   Adobe         DWH Investigation     Draft OSC submission prepared under             AC/   Withheld   N/A
                   Acrobat       Team                  direction of counsel and in anticipation of     WP
                   Document                            litigation

1320   29-Oct-10   Word          Buddy Fojt            Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       direction of counsel and in anticipation of     WP
                                                       litigation

1321   20-Jan-11   Word          Rachael Dsane-selby   Draft report prepared under supervision of      AC/   Withheld   N/A
                                                       counsel and in anticipation of litigation       WP

1322   8-Dec-10    Word          Bill Ambrose          Outline of draft report prepared under          AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation
1323   19-Oct-10   Word          Rachael Dsane-Selby   Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation      WP
                                                       litigation
1324   14-Dec-10   Word          Rachael Dsane-Selby   Draft report prepared under supervision of      AC/   Withheld   N/A
                                                       counsel and in anticipation of litigation       WP

1325   1-Nov-10    Word          DWH Investigation     Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                  supervision of counsel and in anticipation      WP
                                                       litigation

1326   15-Dec-10   JPEG Image    DWH Investigation     Draft report prepared under supervision of      AC/   Withheld   N/A
                                 Team                  counsel and in anticipation of litigation       WP

1327   30-Jan-11   Word          Rachael Dsane-Selby   Draft report prepared under supervision of      AC/   Withheld   N/A
                                                       counsel and in anticipation of litigation       WP

1328   13-Jan-11   Word          Rachael Dsane-Selby   Draft report prepared under supervision of      AC/   Withheld   N/A
                                                       counsel and in anticipation of litigation       WP

1329   15-Dec-10   Word          Rachael Dsane-Selby   Draft report prepared under supervision of      AC/   Withheld   N/A
                                                       counsel and in anticipation of litigation       WP

1330   6-Aug-10    Spreadsheet   DWH Investigation     Index of Halliburton documents prepared         WP    Withheld   N/A
                                 Team                  under supervision of counsel and in
                                                       anticipation of litigation.
1331   22-Oct-10   Word          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 120 of 277
1332   25-Oct-10   Spreadsheet   Rachael Dsane-Selby   draft excel sheet re cement issues prepared     AC/   Withheld   N/A
                                                       for OSC submission under supervision of         WP
                                                       counsel and in anticipation of litigation

1333   25-Oct-10   Word          Rachael Dsane-Selby   draft calculations re cement issues prepared    AC/   Withheld   N/A
                                                       for OSC submission under supervision of         WP
                                                       counsel and in anticipation of litgation

1334   8-Oct-10    Word          Perrin Roller         OSC planning document prepared under            AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation

1335   8-Oct-10    Word          Perrin Roller         OSC planning document prepared under            AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation
1336   11-Oct-10   Word          Perrin Roller         OSC planning document prepared under            AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation
1337   13-Oct-10   Word          Perrin Roller         OSC planning document prepared under            AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation
1338   20-Oct-10   Word          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1339   29-Oct-10   Word          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1340   22-Oct-10   Word          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1341   21-Oct-10   Word          Rachael Dsane-Selby   Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1342   20-Oct-10   Word          Rachael Dsane-Selby   Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1343   22-Oct-10   Word          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1344   14-Oct-10   Word          Wesley Bell           Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1345   22-Oct-10   Word          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 121 of 277
1346   13-Oct-10   Word           Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation.
1347   11-Oct-10   Word           DWH Investigation     Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                  supervision of counsel and in anticipation of   WP
                                                        litigation.
1348   14-Oct-10   Adobe          DWH Investigation     Notes for draft OSC submission prepared         AC/   Withheld   N/A
                   Acrobat        Team                  under supervision of counsel and in             WP
                   Document                             anticipation of litigation.
1349   11-Oct-10   Adobe          DWH Investigation     Notes for draft OSC submission prepared         AC/   Withheld   N/A
                   Acrobat        Team                  under supervision of counsel and in             WP
                   Document                             anticipation of litigation.
1350   18-Oct-10   Word           Rachael Dsane-Selby   Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation.
1351   19-Oct-10   Word           Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation.
1352   20-Oct-10   Word           Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation.
1353   15-Sep-10   Microsoft      DWH Investigation     Draft powerpoint regarding well                 WP    Withheld   N/A
                   PowerPoint     Team                  operations prepared under supervision of
                   Presentation                         counsel and in anticipation of litigation

1354   4-Aug-10    Microsoft      DWH Investigation     Draft powerpoint regarding well operations   AC/      Withheld   N/A
                   PowerPoint     Team                  prepared under supervision of counsel and in WP
                   Presentation                         anticipation of litigation

1355   8-Sep-10    Word           Rachael Dsane-Selby   Draft report prepared under supervision of      WP    Withheld   N/A
                                                        counsel and in anticipation of litigation

1356   14-Oct-10   Word           Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation.
1357   26-Jan-11   Word           Wesley Bell           Draft report prepared under supervision of      AC/   Withheld   N/A
                                                        counsel and in anticipation of litigation.      WP

1358   19-Oct-10   Word           Rachael Dsane-Selby   Draft graph for OSC submission prepared         AC/   Withheld   N/A
                                                        under supervision of counsel and in             WP
                                                        anticipation of litigation.
1359   15-Oct-10   Adobe          DWH Investigation     Draft powerpoint presentation on fire and gas   AC/   Withheld   N/A
                   Acrobat        Team                  system prepared for Congress prepared           WP
                   Document                             under supervision of counsel and in
                                                        anticipation of litigation
                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 122 of 277
1360   28-Jan-11   Word         Rachael Dsane-Selby   Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1361   14-Dec-10   Word         Rachael Dsane-Selby   Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1362   26-Oct-10   Word         DWH Investigation     Draft OSC submission prepared under              AC/   Withheld   N/A
                                Team                  supervision of counsel and in anticipation of    WP
                                                      litigation.
1363   26-Oct-10   Word         DWH Investigation     Draft OSC submission prepared under              AC/   Withheld   N/A
                                Team                  supervision of counsel and in anticipation of    WP
                                                      litigation.
1364   27-Jan-11   Word         Rachael Dsane-Selby   outline of draft report section prepared under   AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of    WP
                                                      litigation
1365   10-Oct-10   Word         Rachael Dsane-Selby   outline for draft OSC submission prepared        AC/   Withheld   N/A
                                                      under supervision of counsel and in              WP
                                                      anticipation of litigation.
1366   13-Oct-10   Word         DWH Investigation     Draft OSC submission prepared under              AC/   Withheld   N/A
                                Team                  supervision of counsel and in anticipation of    WP
                                                      litigation.
1367   15-Dec-10   Word         Rachael Dsane-Selby   Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1368   11-Nov-10   Word         Admin User            Draft summary of cementing issues prepared       AC/   Withheld   N/A
                                                      to assist counsel and in anticipation of         WP
                                                      litigation.
1369   26-Oct-10   JPEG Image   DWH Investigation     Draft illustration for OSC submission            AC/   Withheld   N/A
                                Team                  prepared under supervision of counsel and in     WP
                                                      anticipation of litigation.
1370   26-Oct-10   JPEG Image   DWH Investigation     Draft illustration for OSC submission            AC/   Withheld   N/A
                                Team                  prepared under supervision of counsel and in     WP
                                                      anticipation of litigation.
1371   18-Oct-10   Word         Bill Ambrose          Draft OSC submission prepared under              AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of    WP
                                                      litigation.
1372   20-Jan-11   Word         Rachael Dsane-Selby   Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1373   13-Oct-10   Word         Bill Ambrose          Draft OSC submission prepared under              AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of    WP
                                                      litigation.
1374   27-Jan-11   Word         Rachael Dsane-Selby   Outline of draft report section prepared under   AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of    WP
                                                      litigation.
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 123 of 277
1375   2-Nov-10    Word          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1376   29-Sep-10   Spreadsheet   DWH Investigation   Document organization index prepared under      WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation
1377   24-Sep-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation

1378   27-Sep-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation

1379   31-Jan-11   Word          Rodney Manning      Notes of meeting with DNV re maintenance        WP    Withheld   N/A
                                                     review prepared in anticipation of litigation

1380   2-Jul-10    Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation
1381   17-Jun-10   Spreadsheet   DWH Investigation   Document index prepared under supervision       AC/   Withheld   N/A
                                 Team                of counsel and in anticipation of litigation.   WP

1382   7-Jul-10    Spreadsheet   DWH Investigation   Index of documents prepared under             WP      Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation
1383   4-Nov-10    Adobe         DWH Investigation   Draft Prospect presentation to OSC prepared WP        Withheld   N/A
                   Acrobat       Team                under supervision of counsel and in
                   Document                          anticipation of litigation.

1384   13-Jul-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1385   5-Nov-10    Adobe         DWH Investigation   Draft Prospect presentation to OSC prepared     WP    Withheld   N/A
                   Acrobat       Team                under supervision of counsel and in
                   Document                          anticipation of litigation.
1386   8-Jul-10    Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1387   27-Sep-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1388   28-Jan-11   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 124 of 277
1389   2-Aug-10    Microsoft      DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                   PowerPoint     Team                supervision of counsel and in anticipation of
                   Presentation                       litigation

1390   19-Oct-10   Spreadsheet    DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation
1391   16-Jun-10   Spreadsheet    DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation
1392   3-Dec-10    Adobe          DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                   Acrobat        Team                counsel and in anticipation of litigation       WP
                   Document
1393   17-Sep-10   Microsoft      DWH Investigation   Update on internal investigation presented to   AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation
1394   27-May-10   TIF File       DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP

1395   4-Aug-10    Microsoft      DWH Investigation   Update on internal investigation presented to AC/     Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of     WP
                   Presentation                       litigation

1396   23-Nov-10   Word           Ryan McIntosh       Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1397   15-Dec-10   Word           Ryan McIntosh       Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1398   3-Dec-10    Adobe          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                   Acrobat        Team                supervision of counsel in anticipation of       WP
                   Document                           litigation.
1399   14-Jan-11   Word           Greg Childs         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1400   9-Nov-10    Word           DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP

1401   1-Oct-10    Word           DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP

1402   18-Oct-10   Word           DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP

1403   13-Sep-10   Word           DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 125 of 277
1404   29-Sep-10   Word           DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP

1405   27-Sep-10   Word           DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation       WP

1406   13-Jan-11   Microsoft      DWH Investigation   Draft presentation to Congress regaring fire    AC/   Withheld   N/A
                   PowerPoint     Team                and gas system prepared under supervision       WP
                   Presentation                       of counsel and in anticipation of litigation

1407   20-Sep-10   Spreadsheet    DWH Investigation   Information regarding cementing issues       WP       Withheld   N/A
                                  Team                provided in response to request from counsel
                                                      to assist in preparation of draft OSC
                                                      submission in anticipation of litigation

1408   21-Sep-10   Spreadsheet    DWH Investigation   Information regarding cementing issues       WP       Withheld   N/A
                                  Team                provided in response to request from counsel
                                                      to assist in preparation of draft OSC
                                                      submission in anticipation of litigation.


1409   21-Sep-10   Spreadsheet    DWH Investigation   Information regarding cementing issues        WP      Withheld   N/A
                                  Team                provided in response to request from counsel
                                                      to assist in preparation of draft OSC
                                                      submission and in anticipation of litigation.

1410   6-Nov-10    Word           GL Noble Denton     Draft report prepared under supervision of      WP    Withheld   N/A
                                                      counsel and in anticipation of litigation.

1411   25-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel in anticipation of       WP
                                                      litigation.
1412   25-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1413   21-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1414   13-Jan-11   Microsoft      GL Noble Denton     GL Noble Denton powerpoint prepared under       WP    Withheld   N/A
                   PowerPoint                         supervision of counsel and in anticipation of
                   Presentation                       litigation.
1415   17-Jan-11   Word           Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation.      WP

1416   9-Nov-10    Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 126 of 277
1417   9-Nov-10    Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1418   16-Jul-10   Microsoft      DWH Investigation   Update on internal investigation prepared       AC/   Withheld   N/A
                   PowerPoint     Team                under supervision of counsel and in             WP
                   Presentation                       anticipation of litigation.
1419   29-Nov-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1420   1-Dec-10    Word           Bill Ambrose        Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1421   21-Oct-10   Word           Ryan Smith          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1422   15-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1423   21-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1424   9-Nov-10    Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1425   24-Nov-10   Word           Bill Ambrose        Draft OSC submission prepared under            AC/    Withheld   N/A
                                                      supervision of counsel dand in anticipation of WP
                                                      litigation.

1426   15-Oct-10   Word           Ryan Smith          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1427   17-Jan-11   Word           Ryan Smith          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1428   15-Oct-10   Word           Ryan Smith          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1429   9-Nov-10    Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 127 of 277
1430   15-Oct-10   Word          Ryan Smith          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1431   9-Nov-10    Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1432   20-Oct-10   Word          Ryan Smith          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.


1433   3-Dec-10    Adobe         DWH Investigation   Draft OSC submission on negative pressure       WP    Withheld   N/A
                   Acrobat       Team                test prepared under supervision of counsel
                   Document                          and in anticipation of litigation.

1434   14-Sep-10   Adobe         GL Noble Denton     GL Noble Denton transmittal of report        WP       Withheld   N/A
                   Acrobat                           prepared under supervision of counsel and in
                   Document                          anticipation of litigation.

1435   3-Dec-10    Adobe         DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                   Acrobat       Team                supervision of counsel and in anticipation of   WP
                   Document                          litigation.

1436   10-Dec-10   Word          Derek Hart          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation       WP

1437   21-Oct-10   Spreadsheet   Kuhan Sivathasan    DNV maintenance report prepared under           WP    Withheld   N/A
                                                     supervision of counsel and in anticipation of
                                                     litigation

1438   13-Jan-11   Word          Ryan Smith          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation       WP

1439   17-Jan-11   Word          Ryan Smith          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation       WP

1440   17-Jan-11   Word          Ryan Smith          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation       WP

1441   12-Jan-11   Word          Ryan Smith          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation       WP

1442   13-Jan-11   Word          Ryan Smith          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation       WP
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 128 of 277
1443   14-Dec-10   Word          Ryan Smith        Draft report prepared under supervision of      AC/   Withheld   N/A
                                                   counsel and in anticipation of litigation       WP

1444   12-Jan-11   Word          Ryan Smith        Draft report prepared under supervision of      AC/   Withheld   N/A
                                                   counsel and in anticipation of litigation       WP

1445   13-Jan-11   Word          Ryan Smith        Draft report prepared under supervision of      AC/   Withheld   N/A
                                                   counsel and in anticipation of litigation       WP

1446   2-Dec-10    Word          Ryan Smith        Draft report prepared under supervision of      AC/   Withheld   N/A
                                                   counsel and in anticipation of litigation       WP

1447   13-Oct-10   Word          Ryan Smith        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                   supervision of counsel and in anticipation of   WP
                                                   litigation.

1448   15-Oct-10   Word          Ryan Smith        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                   supervision of counsel and in anticipation of   WP
                                                   litigation.

1449   14-Sep-10   Adobe         GL Noble Denton   GL Noble Denton work order for report to be WP        Withheld   N/A
                   Acrobat                         prepared under supervision of counsel and in
                   Document                        anticipation of litigation.


1450   15-Oct-10   Word          Ryan Smith        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                   supervision of counsel and in anticipation of   WP
                                                   litigation.

1451   16-Oct-10   Word          Ryan Smith        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                   supervision of counsel and in anticipation of   WP
                                                   litigation.

1452   1-Nov-10    Spreadsheet   Ryan Smith        Draft Excel spreadsheet regarding well         WP     Withheld   N/A
                                                   operations prepared to assist counsel in OSC
                                                   proceedings and in anticipation of litigation.

1453   7-Oct-10    Word          Admin User        Draft document regarding cementing issues       AC/   Withheld   N/A
                                                   prepared to assist counsel in OSC               WP
                                                   proceedings.

1454   19-Oct-10   Word          Admin User        Draft document regarding cementing issues       AC/   Withheld   N/A
                                                   prepared to assist counsel in OSC               WP
                                                   proceedings.
                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 129 of 277
1455   26-Oct-10   Word           Ryan Smith          Information on well operations provided to       AC/   Withheld   N/A
                                                      counsel to assist in preparation for             WP
                                                      OSC proceedings and in anticipation of
                                                      litigation
1456   8-Oct-10    Word           Perrin Roller       OSC planning document prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of    WP
                                                      litigation

1457   24-Jan-11   Word           Ryan Smith          Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1458   25-Jan-11   Word           Ryan Smith          Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1459   25-Jan-11   Word           Ryan Smith          Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1460   5-Sep-10    Word           Admin User          Draft questions for JIT proceedings prepared AC/       Withheld   N/A
                                                      under supervision of counsel and in          WP
                                                      anticipation of litigation

1461   24-Jan-11   Word           Theresa Parker      Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1462   24-Jan-11   Word           Theresa Parker      Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1463   15-Dec-10   Microsoft      DWH Investigation   Update on internal investigation prepared        AC/   Withheld   N/A
                   PowerPoint     Team                under supervision of counsel and in              WP
                   Presentation                       anticipation of litigation.


1464   22-Aug-10   Word           DWH Investigation   Draft questions for JIT proceedings prepared     AC/   Withheld   N/A
                                  Team                under supervision of counsel and in              WP
                                                      anticipation of litigation.
1465   26-Oct-10   Word           Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                      the supervision of counsel and in anticipation   WP
                                                      of litigation.
1466   26-Oct-10   Word           Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                      the supervision of counsel and in anticipation   WP
                                                      of litigation.

1467   26-Oct-10   Word           Stephen Ward        Timeline for OSC submission prepared under AC/         Withheld   N/A
                                                      the supervision of counsel and in anticipation WP
                                                      of litigation.
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 130 of 277
1468   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1469   27-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1470   26-Oct-10   Word          DWH Investigation   Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                 Team                the supervision of counsel and in anticipation   WP
                                                     of litigation.
1471   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1472   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1473   26-Jul-10   Spreadsheet   DWH Investigation   Draft Excel spreadsheet regarding well           WP    Withheld   N/A
                                 Team                operations prepared to assist counsel in
                                                     litigation

1474   28-Oct-10   Word          DWH Investigation   Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                 Team                the supervision of counsel and in anticipation   WP
                                                     of litigation.
1475   1-Nov-10    Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1476   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1477   28-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1478   27-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1479   27-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1480   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1481   27-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1482   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 131 of 277
1483   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1484   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1485   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1486   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1487   27-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1488   26-Jan-11   Word          Stephen Ward        Draft Transocean internal investigation          AC/   Withheld   N/A
                                                     methodology prepared under the supervision       WP
                                                     of counsel and in anticipation of litigation.

1489   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1490   29-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1491   26-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1492   28-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1493   28-Oct-10   Word          Stephen Ward        Timeline for OSC submission prepared under       AC/   Withheld   N/A
                                                     the supervision of counsel and in anticipation   WP
                                                     of litigation.
1494   31-Aug-10   Adobe         DWH Investigation   Timeline for OSC submission prepared under       AC/   Withheld   N/A
                   Acrobat       Team                the supervision of counsel and in anticipation   WP
                   Document                          of litigation.
1495   26-Jul-10   Spreadsheet   DWH Investigation   Draft Excel spreadsheet regarding well           AC/   Withheld   N/A
                                 Team                operations prepared to assist counsel in         WP
                                                     litigation.
1496   2-Dec-10    Adobe         DWH Investigation   Draft report prepared under supervision of       AC/   Withheld   N/A
                   Acrobat       Team                counsel and in anticipation of litigation        WP
                   Document
1497   14-Dec-10   Word          Art Nordholm        Draft report prepared under supervision of       AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation        WP
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 132 of 277
1498   27-Dec-10   Word   DWH Investigation     Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                  counsel and in anticipation of litigation    WP

1499   25-Dec-10   Word   Rachael Dsane-Selby   Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1500   25-Dec-10   Word   Rachael Dsane-Selby   Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1501   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1502   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1503   27-Jan-11   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1504   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1505   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1506   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1507   5-Jan-11    Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1508   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1509   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1510   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1511   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP

1512   11-Nov-10   Word   Theresa Parker        Draft report prepared under supervision of   AC/   Withheld   N/A
                                                counsel and in anticipation of litigation    WP
                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 133 of 277
1513   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1514   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1515   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1516   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1517   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1518   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1519   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1520   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1521   11-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1522   3-Dec-10    Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1523   15-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1524   15-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1525   15-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1526   15-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP

1527   15-Nov-10   Word   Theresa Parker   Draft report prepared under supervision of   AC/   Withheld   N/A
                                           counsel and in anticipation of litigation    WP
                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 134 of 277
1528   15-Nov-10   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1529   15-Nov-10   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1530   11-Nov-10   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1531   11-Nov-10   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1532   12-Nov-10   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1533   17-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1534   17-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1535   17-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1536   31-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1537   7-Jan-11    Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1538   26-Jan-11   Word   James McAnear       Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1539   18-Nov-10   Word   Bill Ambrose        Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1540   2-Dec-10    Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1541   20-Sep-10   Word   Bill Ambrose        Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1542   24-Sep-10   Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP
                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 135 of 277
1543   17-Nov-10   Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1544   14-Sep-10   Word   Bill Ambrose        Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1545   4-Oct-10    Word   DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation       WP

1546   1-Feb-11    Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1547   3-Dec-10    Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1548   2-Nov-10    Word   DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                          Team                supervision of counsel and in anticipation of   WP
                                              litigation.
1549   1-Feb-11    Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1550   11-Oct-10   Word   Techsupport         Review process for draft reports prepared       AC/   Withheld   N/A
                                              under supervision of counsel and in             WP
                                              anticipation of litigation.
1551   26-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1552   30-Dec-10   Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1553   24-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1554   24-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1555   13-Jan-11   Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1556   5-Jan-11    Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP

1557   5-Jan-11    Word   Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                              counsel and in anticipation of litigation       WP
                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 136 of 277
1558   3-Dec-10    Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1559   30-Nov-10   Word   Transocean          Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1560   8-Oct-10    Word   Bill Ambrose        Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1561   8-Oct-10    Word   Bill Ambrose        Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1562   8-Oct-10    Word   Bill Ambrose        Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1563   8-Oct-10    Word   Bill Ambrose        Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1564   5-Jan-11    Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1565   7-Jan-11    Word   Theresa Parker      Draft report prepared under supervision of   AC/   Withheld   N/A
                                              counsel and in anticipation of litigation    WP

1566   30-Nov-10   Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP

1567   8-Oct-10    Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP

1568   2-Dec-10    Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP

1569   8-Oct-10    Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP

1570   8-Oct-10    Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP

1571   8-Oct-10    Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP

1572   8-Oct-10    Word   DWH Investigation   Draft report prepared under supervision of   AC/   Withheld   N/A
                          Team                counsel and in anticipation of litigation    WP
                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 137 of 277
1573   8-Oct-10    Word           DWH Investigation   Draft report prepared under supervision of       AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation        WP

1574   8-Oct-10    Word           DWH Investigation   Draft report prepared under supervision of       AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation        WP

1575   8-Oct-10    Word           DWH Investigation   Draft report prepared under supervision of       AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation        WP

1576   8-Oct-10    Word           DWH Investigation   Draft report prepared under supervision of       AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation        WP

1577   8-Oct-10    Word           DWH Investigation   Draft report prepared under supervision of       AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation        WP

1578   7-Oct-10    Word           DWH Investigation   Draft report prepared under supervision of       AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation        WP

1579   17-Jan-11   Word           Bill Ambrose        Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1580   19-Jan-11   Word           Ryan McIntosh       Draft report prepared under supervision of       AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation        WP

1581   26-Oct-10   Word           DWH Investigation   Draft outline of BOP issues for OSC              AC/   Withheld   N/A
                                  Team                proceedings prepared under supervision of        WP
                                                      counsel and in anticipation of litigation

1582   10-Dec-10   Spreadsheet    DWH Investigation   Index of documents prepared under the            WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation.
1583   29-Aug-10   Microsoft      DWH Investigation   Update on internal investigation to              AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel prepared under            WP
                   Presentation                       supervision of counsel and in anticipation of
                                                      litigation
1584   14-Sep-10   Word           DWH Investigation   Draft document regarding cementing issues        WP    Withheld   N/A
                                  Team                prepared under the supervision of counsel
                                                      and in anticipation of litigation.

1585   4-Aug-10    Microsoft      DWH Investigation   Update on internal investigation to              AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel prepared under            WP
                   Presentation                       the supervision of counsel and in anticipation
                                                      of litigation.
1586   29-Aug-10   Microsoft      DWH Investigation   Update on internal investigation to              AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel prepared under            WP
                   Presentation                       the supervision of counsel and in anticipation
                                                      of litigation.
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 138 of 277
1587   4-Aug-10    Microsoft      DWH Investigation   Update on internal investigation presented to   AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation.
1588   14-Jan-11   Word           Greg Childs         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1589   16-Jul-10   Microsoft      DWH Investigation   Interim update on investigation prepared       AC/    Withheld   N/A
                   PowerPoint     Team                under supervision of counsel and in            WP
                   Presentation                       anticipation of litigation.
1590   4-Aug-10    Microsoft      DWH Investigation   Update on internal investigation to            AC/    Withheld   N/A
                   PowerPoint     Team                management and counsel prepared under          WP
                   Presentation                       supervision of counsel and in anticipation of
                                                      litigation.
1591   16-Jul-10   Microsoft      DWH Investigation   Update on internal investigation prepared      AC/    Withheld   N/A
                   PowerPoint     Team                under supervision of counsel and in            WP
                   Presentation                       anticipation of litigation.
1592   14-Oct-10   Word           Perrin Roller       Notes of JIT testimony prepared to assist      WP     Withheld   N/A
                                                      counsel in OSC proceedings and in
                                                      anticipation of litigation.
1593   4-Nov-10    Adobe          DWH Investigation   outline of cementing issues prepared to assist WP     Withheld   N/A
                   Acrobat        Team                with OSC submissions and in anticipation of
                   Document                           litigation
1594   16-Nov-10   Adobe          DWH Investigation   Outline of OSC Submission prepared under WP           Withheld   N/A
                   Acrobat        Team                the supervision of counsel and in anticipation
                   Document                           of litigation.
1595   19-Jul-10   Adobe          DWH Investigation   Notations on Smith report prepared under       AC/    Withheld   N/A
                   Acrobat        Team                supervision of counsel and in anticipation of WP
                   Document                           litigation.
1596   19-Jan-11   Spreadsheet    Robert Jeter        Index of documents prepared under              WP     Withheld   N/A
                                                      supervision of counsel and in anticipation of
                                                      litigation.
1597   29-Oct-10   Word           DWH Investigation   Draft OSC submission prepared under            AC/    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of WP
                                                      litigation.
1598   12-Aug-10   Word           Perrin Roller       Draft questions for JIT proceedings prepared AC/      Withheld   N/A
                                                      under supervision of counsel and in            WP
                                                      anticipation of litigation.
1599   22-Jul-10   Word           Perrin Roller       Draft questions for JIT proceedings prepared WP       Withheld   N/A
                                                      for counsel and in anticipation of litigation.

1600   20-Jan-11   Word           Greg Childs         Summary of BOP modifications prepared           AC/   Withheld   N/A
                                                      under supervision of counsel and in             WP
                                                      anticipation of litigation.
1601   15-Aug-10   Word           DWH Investigation   Draft questions for JIT proceedings prepared    AC/   Withheld   N/A
                                  Team                to assist counsel and in anticipation of        WP
                                                      litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 139 of 277
1602   13-Oct-10   Word       DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                              Team                counsel and in anticipation of litigation       WP

1603   13-Jan-11   Word       Perrin Roller       Outline prepared under supervision of           AC/   Withheld   N/A
                                                  counsel and in anticipation of                  WP
                                                  litigation for deposition.
1604   13-Jan-11   Word       Perrin Roller       Outline prepared under supervision of           AC/   Withheld   N/A
                                                  counsel and in anticipation of litigation for   WP
                                                  deposition.

1605   7-Jan-11    Word       Greg Childs         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                  counsel and in anticipation of litigation       WP

1606   11-Jan-11   Word       Greg Childs         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                  counsel and in anticipation of litigation       WP

1607   20-Jan-11   Word       Greg Childs         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                  counsel and in anticipation of litigation       WP

1608   14-Jan-11   Word       Greg Childs         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                  counsel and in anticipation of litigation       WP

1609   20-Jan-11   Word       Greg Childs         Draft report prepared under supervision of      AC/   Withheld   N/A
                                                  counsel and in anticipation of litigation       WP

1610   7-Sep-10    Word       Janis Richards      Summary of news articles prepared to assist     AC/   Withheld   N/A
                                                  counsel in OSC proceedings and in               WP
                                                  anticipation of litigation.
1611   3-Dec-10    Word       Perrin Roller       Draft questions for JIT proceedings prepared    AC/   Withheld   N/A
                                                  under supervision of counsel and in             WP
                                                  anticipation of litigation.
1612   5-Oct-10    Word       Perrin Roller       Draft questions for JIT proceedings prepared    AC/   Withheld   N/A
                                                  under supervision of counsel and in             WP
                                                  anticipation of litigation.

1613   26-Jul-10   Adobe      DWH Investigation   List of well design issues prepared under the AC/     Withheld   N/A
                   Acrobat    Team                supervision of counsel for JIT proceedings    WP
                   Document                       and in anticipation of litigation.

1614   2-Nov-10    Adobe      DWH Investigation   Summary of well operations                      AC/   Withheld   N/A
                   Acrobat    Team                statistics prepared under the direction of      WP
                   Document                       counsel and in anticipation of litigation.

1615   25-Oct-10   Adobe      DWH Investigation   Chart re well operations prepared to assist     AC/   Withheld   N/A
                   Acrobat    Team                with OSC submissions and in anticipation of     WP
                   Document                       litigation
                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 140 of 277
1616   24-Nov-10   Word          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation
1617   24-Nov-10   Word          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation

1618   13-Dec-10   Word          DWH Investigation   Summary of OSC meeting prepared by              AC/   Withheld   N/A
                                 Team                counsel and in anticipation of litigation.      WP

1619   6-Nov-10    Word          Perrin Roller       Outline of OSC cement issues prepared           AC/   Withheld   N/A
                                                     under the supervision of counsel and in         WP
                                                     anticipation of litigation.
1620   10-Oct-10   Word          Bill Ambrose        Internal investigation update to                AC/   Withheld   N/A
                                                     management and counsel in anticipation of       WP
                                                     litigation.
1621   2-Nov-10    Word          Perrin Roller       Comments on draft OSC submission                AC/   Withheld   N/A
                                                     prepared under the supervision of counsel       WP
                                                     and in anticipation of litigation.
1622   3-Nov-10    Word          Perrin Roller       Draft OSC Submission prepared under the         WP    Withheld   N/A
                                                     supervision of counsel and in anticipation of
                                                     litigation.
1623   2-Nov-10    Word          DWH Investigation   Draft OSC submission prepared under the         AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1624   31-Oct-10   Word          DWH Investigation   draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation
1625   31-Oct-10   Word          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation

1626   8-Oct-10    Word          Perrin Roller       OSC Planning document prepared under the AC/          Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.
1627   24-Aug-10   Adobe         DWH Investigation   Draft OSC submission prepared under           AC/     Withheld   N/A
                   Acrobat       Team                supervision of counsel and in anticipation of WP
                   Document                          litigation
1628   12-Oct-10   Spreadsheet   DWH Investigation   Spreadsheet of documents reviewed for         AC/     Withheld   N/A
                                 Team                OSC proceedings prepared under supervision WP
                                                     of counsel and in anticipation of litigation

1629   28-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 141 of 277
1630   26-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1631   22-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1632   26-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1633   21-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1634   26-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1635   20-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1636   21-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1637   22-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1638   22-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1639   22-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation

1640   26-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation
                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 142 of 277
1641   27-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation

1642   26-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation

1643   13-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation

1644   27-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1645   20-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1646   28-Oct-10   Word   DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                          Team                supervision of counsel and in anticipation of   WP
                                              litigation.
1647   19-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1648   18-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1649   14-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1650   22-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1651   13-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1652   1-Nov-10    Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1653   31-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
1654   13-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.
                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 143 of 277
1655   6-Oct-10    Word           DWH Investigation   Questions for JIT proceedings prepared        AC/     Withheld   N/A
                                  Team                under supervision of counsel and in           WP
                                                      anticipation of litigation.
1656   7-Oct-10    Word           DWH Investigation   Questions for JIT proceedings prepared        AC/     Withheld   N/A
                                  Team                under supervision of counsel and in           WP
                                                      anticipation of litigation.
1657   6-Oct-10    Word           DWH Investigation   Questions for JIT proceedings prepared        AC/     Withheld   N/A
                                  Team                under supervision of counsel and in           WP
                                                      anticipation of litigation.
1658   26-Oct-10   Word           Perrin Roller       Draft OSC Submission prepared under the       AC/     Withheld   N/A
                                                      supervision of counsel and in anticipation of WP
                                                      litigation.
1659   4-Jun-10    Word           DWH Investigation   Draft questions regarding cementing issues    AC/     Withheld   N/A
                                  Team                prepared to assist counsel in JIT proceedings WP
                                                      and in anticipation of litigation.

1660   19-Nov-10   Word           Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation       WP

1661   20-Sep-10   Microsoft      DWH Investigation   Powerpoint regarding well operations          AC/     Withheld   N/A
                   PowerPoint     Team                prepared under supervision of counsel in      WP
                   Presentation                       anticipation of litigation.
1662   20-Sep-10   Microsoft      DWH Investigation   Powerpoint regarding well operations          AC/     Withheld   N/A
                   PowerPoint     Team                prepared under supervision of counsel in      WP
                   Presentation                       anticipation of litigation.
1663   20-Sep-10   Microsoft      DWH Investigation   Powerpoint regarding well operations          AC/     Withheld   N/A
                   PowerPoint     Team                prepared under supervision of counsel in      WP
                   Presentation                       anticipation of litigation.
1664   20-Sep-10   Microsoft      DWH Investigation   Powerpoint regarding well operations          AC/     Withheld   N/A
                   PowerPoint     Team                prepared under supervision of counsel in      WP
                   Presentation                       anticipation of litigation.
1665   20-Sep-10   Microsoft      DWH Investigation   Powerpoint regarding well operations          AC/     Withheld   N/A
                   PowerPoint     Team                prepared under supervision of counsel in      WP
                   Presentation                       anticipation of litigation.
1666   20-Sep-10   Microsoft      DWH Investigation   Powerpoint regarding well operations          AC/     Withheld   N/A
                   PowerPoint     Team                prepared under supervision of counsel in      WP
                   Presentation                       anticipation of litigation.
1667   12-Oct-10   Spreadsheet    DWH Investigation   Spreadsheet of documents reviewed for         AC/     Withheld   N/A
                                  Team                OSC proceedings prepared under supervision WP
                                                      of counsel and in anticipation of litigation.

1668   22-Nov-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.
1669   22-Nov-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 144 of 277
1670   22-Nov-10   Word          DWH Investigation   Draft OSC submission prepared under           AC/     Withheld   N/A
                                 Team                supervision of counsel and in anticipation of WP
                                                     litigation.
1671   13-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under           AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.
1672   26-Aug-10   Word          Billyjean Dukes     Instructions for document searches prepared WP        Withheld   N/A
                                                     under supervision of counsel and in
                                                     anticipation of litigation.
1673   9-Nov-10    Word          DWH Investigation   Draft OSC submission prepared under           AC/     Withheld   N/A
                                 Team                supervision of counsel and in anticipation of WP
                                                     litigation
1674   3-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation
1675   3-Nov-10    Spreadsheet   Jana Judkins        Index of Cameron documents prepared under WP          Withheld   N/A
                                                     supervision of counsel and in anticipation of
                                                     litigation

1676   12-Aug-10   Spreadsheet   DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1677   11-Aug-10   Spreadsheet   DWH Investigation   Index of Halliburton documents prepared       WP      Withheld   N/A
                                 Team                under supervision of counsel and in
                                                     anticipation of litigation.
1678   28-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under     AC/     Withheld   N/A
                                 Team                supervision of counsel and in anticipation of WP
                                                     litigation
1679   30-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under     AC/     Withheld   N/A
                                 Team                supervision of counsel and in anticipation of WP
                                                     litigation

1680   25-Jan-11   Word          Jana Judkins        Index of documents for deposition               AC/   Withheld   N/A
                                                     preparation prepared under supervision of       WP
                                                     counsel and in anticipation of litigation.

1681   28-Feb-11   Word          Jana Judkins        Document index prepared under supervision       WP    Withheld   N/A
                                                     of counsel and in anticipation of litigation.

1682   19-Nov-10   Word          DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                 Team                counsel and in anticipation of litigation       WP

1683   16-Aug-10   Spreadsheet   DWH Investigation   Index of documents prepared at request of       AC/   Withheld   N/A
                                 Team                counsel to assist with ongoing                  WP
                                                     JIT proceedings and in anticipation of
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 145 of 277
1684   21-Jul-10   Spreadsheet   Janis Richards      Index of JIT documents prepared to assist       WP    Withheld   N/A
                                                     counsel and in anticipation of litigation.

1685   15-Jun-10   Spreadsheet   Janis Richards      Index of multiple proceedings prepared under WP       Withheld   N/A
                                                     supervision of counsel and in anticipation of
                                                     litigation
1686   13-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under           AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     ltigation
1687   14-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under           AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation
1688   14-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under           AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation

1689   14-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation

1690   29-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1691   29-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1692   29-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1693   29-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1694   8-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1695   21-Jul-10   Spreadsheet   DWH Investigation   Index of JIT documents prepared under           WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1696   7-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 146 of 277
1697   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1698   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1699   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1700   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1701   2-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1702   3-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1703   7-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under     AC/     Withheld   N/A
                                 Team                supervision of counsel and in anticipation of WP
                                                     litigation.
1704   14-Jul-10   Word          Janis Richards      Summary of memorandum re                      WP      Withheld   N/A
                                                     OSC proceedings prepared under supervision
                                                     of counsel and in anticipation of litigation

1705   20-Aug-10   Word          Janis Richards      Questions prepared to assist counsel in JIT     WP    Withheld   N/A
                                                     proceedings and in anticipation of litigation

1706   16-Aug-10   Word          Janis Richards      Questions prepared to assist counsel in JIT     WP    Withheld   N/A
                                                     proceedings and in anticipation of litigation


1707   10-Aug-10   Word          Janis Richards      Questions prepared to assist counsel in JIT     WP    Withheld   N/A
                                                     proceedings and in anticipation of litigation


1708   27-May-10   Spreadsheet   Bill Ambrose        Document request log prepared at request of WP        Withheld   N/A
                                                     counsel in anticipation of litigation
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 147 of 277
1709   2-Jun-10    Spreadsheet    Bill Ambrose        Document request log prepared at request        WP    Withheld   N/A
                                                      of counsel in anticipation of litigation

1710   9-Jun-10    Word           DWH Investigation   Instructions on document review prepared        AC/   Withheld   N/A
                                  Team                under the supervision of counsel and in         WP
                                                      anticipation of litigation.
1711   14-Feb-11   Word           Theresa Parker      Draft Investigation Report prepared under       AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1712   14-Feb-11   Word           Theresa Parker      Draft Investigation Report prepared under       AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1713   13-Jan-11   Microsoft      GL Noble Denton     Powerpoint regarding GL Noble Denton            WP    Withheld   N/A
                   PowerPoint                         report prepared under the supervision of
                   Presentation                       counsel and in anticipation of litigation.

1714   8-Jan-11    Microsoft      DWH Investigation   Draft powerpoint presentation to Congress on AC/      Withheld   N/A
                   PowerPoint     Team                safety and maintenance prepared under         WP
                   Presentation                       supervision of counsel and in anticipation of
                                                      litigation.
1715   22-Feb-11   Microsoft      DWH Investigation   Presentation to management and counsel re AC/         Withheld   N/A
                   PowerPoint     Team                DWH survey operations prepared under          WP
                   Presentation                       supervision of counsel and in anticipation of
                                                      litigation.

1716   15-Feb-11   Microsoft      DWH Investigation   Presentation to management and counsel re       AC/   Withheld   N/A
                   PowerPoint     Team                DWH survey operations prepared under            WP
                   Presentation                       supervision of counsel and in anticipation of
                                                      litigation.
1717   15-Feb-11   Microsoft      DWH Investigation   Presentation to management and counsel re       AC/   Withheld   N/A
                   PowerPoint     Team                DWH survey operations prepared under            WP
                   Presentation                       supervision of counsel and in anticipation of
                                                      litigation.


1718   5-Oct-10    Word           Bob Walsh           Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation
1719   10-Mar-11   Spreadsheet    DWH Investigation   Index of documents prepared under the           WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation.
1720   10-Dec-10   Spreadsheet    DWH Investigation   Index of documents prepared under the           WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 148 of 277
1721   4-Aug-10    Microsoft      DWH Investigation   Draft presentation to Congress on fire and      AC/   Withheld   N/A
                   PowerPoint     Team                gas systems prepared under the supervision      WP
                   Presentation                       of counsel and in anticipation of litigation.

1722   4-Aug-10    Microsoft      DWH Investigation   Draft presentation to Congress on fire and      AC/   Withheld   N/A
                   PowerPoint     Team                gas systems prepared under the supervision      WP
                   Presentation                       of counsel and in anticipation of litigation.


1723   21-Oct-10   JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.
1724   1-Jan-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1725   1-Jan-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1726   1-Jan-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1727   1-Jan-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1728   1-Jan-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1729   1-Jan-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1730   1-Jan-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1731   16-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 149 of 277
1732   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1733   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1734   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1735   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1736   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1737   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1738   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1739   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1740   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1741   15-Feb-11   JPEG Image   DWH Investigation   Illustration for draft report prepared under    AC/   Withheld   N/A
                                Team                supervision of counsel and in anticipation of   WP
                                                    litigation.

1742   29-Oct-10   Word         Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                    supervision of counsel and in anticipation of   WP
                                                    litigation.
1743   1-Nov-10    Word         Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                    supervision of counsel and in anticipation of   WP
                                                    litigation.
                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 150 of 277
1744   1-Feb-11    Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation.

1745   10-Feb-11   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation.

1746   27-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation.

1747   22-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under the         AC/   Withheld   N/A
                                         supervision of counsel and in anticipation of   WP
                                         litigation.
1748   11-Nov-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.
1749   10-Nov-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.

1750   4-Nov-10    Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.

1751   27-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.

1752   29-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.

1753   27-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.

1754   27-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.

1755   27-Oct-10   Word   Bill Ambrose   Draft OSC submission prepared under             AC/   Withheld   N/A
                                         supervision of counsel in anticipation of       WP
                                         litigation.
                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 151 of 277
1756   27-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1757   28-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1758   28-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1759   29-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1760   28-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1761   2-Nov-10    Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1762   1-Nov-10    Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1763   28-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1764   1-Nov-10    Word   DWH Investigation   Draft OSC submission prepared under         AC/   Withheld   N/A
                          Team                supervision of counsel in anticipation of   WP
                                              litigation.

1765   26-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.

1766   25-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under         AC/   Withheld   N/A
                                              supervision of counsel in anticipation of   WP
                                              litigation.
                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 152 of 277
1767   22-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel in anticipation of       WP
                                              litigation.

1768   22-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel in anticipation of       WP
                                              litigation.

1769   26-Oct-10   Word   DWH Investigation   Draft OSC Submission prepared under the         AC/   Withheld   N/A
                          Team                supervision of counsel and in anticipation of   WP
                                              litigation.

1770   27-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel in anticipation of       WP
                                              litigation.

1771   27-Oct-10   Word   DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                          Team                supervision of counsel in anticipation of       WP
                                              litigation.

1772   27-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.

1773   27-Oct-10   Word   DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                          Team                supervision of counsel and in anticipation of   WP
                                              litigation.

1774   28-Oct-10   Word   DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                          Team                supervision of counsel and in anticipation of   WP
                                              litigation.

1775   27-Oct-10   Word   DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                          Team                supervision of counsel and in anticipation of   WP
                                              litigation.

1776   28-Oct-10   Word   Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                              supervision of counsel and in anticipation of   WP
                                              litigation.

1777   27-Oct-10   Word   DWH Investigation   Draft OSC Submission prepared under the         AC/   Withheld   N/A
                          Team                supervision of counsel and in anticipation of   WP
                                              litigation.
                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 153 of 277
1778   26-Oct-10   Word           DWH Investigation   Draft OSC Submission prepared under the         AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1779   27-Oct-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel in anticipation of       WP
                                                      litigation.

1780   29-Oct-10   Word           DWH Investigation                                                   AC/   Withheld   N/A
                                  Team                Draft OSC submission prepared under             WP
                                                      supervision of counsel in anticipation of
                                                      litigation.

1781   11-Nov-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel in anticipation of       WP
                                                      litigation.

1782   29-Oct-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel in anticipation of       WP
                                                      litigation.

1783   25-Oct-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel in anticipation of       WP
                                                      litigation.

1784   8-Nov-10    Adobe          GL Noble Denton     GL Noble Denton report prepared under the       WP    Withheld   N/A
                   Acrobat                            supervision of counsel and in anticipation of
                   Document                           litigation.
1785   10-Dec-10   Microsoft      GL Noble Denton     GL Noble Denton report prepared under the       WP    Withheld   N/A
                   Office                             supervision of counsel and in anticipation of
                   PowerPoint                         litigation.
                   2007
                   Presentation
1786   29-Sep-10   Spreadsheet    DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation.
1787   24-Sep-10   Spreadsheet    DWH Investigation   Index of documents prepared under the           WP    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of
                                                      litigation.
1788   7-Mar-11    Microsoft      DWH Investigation   Update on internal investigation presented to   AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation
1789   7-Mar-11    Microsoft      DWH Investigation   Update on internal investigation presented to   AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 154 of 277
1790   7-Mar-11    Microsoft      DWH Investigation   Internal investigation update to management     AC/   Withheld   N/A
                   PowerPoint     Team                and counsel in anticipation of litigation.      WP
                   Presentation

1791   2-Mar-11    Microsoft      DWH Investigation   Internal investigation update to management     AC/   Withheld   N/A
                   PowerPoint     Team                and counsel in anticipation of litigation.      WP
                   Presentation
1792   7-Mar-11    Microsoft      DWH Investigation   Internal investigation update to management     AC/   Withheld   N/A
                   PowerPoint     Team                and counsel in anticipation of litigation.      WP
                   Presentation

1793   7-Mar-11    Microsoft      DWH Investigation   Internal investigation update to management     AC/   Withheld   N/A
                   PowerPoint     Team                and counsel in anticipation of litigation.      WP
                   Presentation
1794   19-Oct-10   Spreadsheet    Bill Ambrose        Draft graph for OSC hearings prepared under AC/       Withheld   N/A
                                                      supervision of counsel in anticipation of   WP
                                                      litigation.

1795   15-Mar-11   Spreadsheet    DWH Investigation   Draft root cause analysis prepared under        AC/   Withheld   N/A
                                  Team                supervision of counsel in anticipation of       WP
                                                      litigation.
1796   23-Oct-10   Spreadsheet    DWH Investigation   Index of documents prepared under               AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1797   26-Oct-10   Word           DWH Investigation   Checklist for draft OSC submission prepared AC/       Withheld   N/A
                                  Team                under supervision of counsel and in         WP
                                                      anticipation of litigation.

1798   16-Nov-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.
1799   28-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel in anticipation of       WP
                                                      litigation.

1800   28-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1801   27-Oct-10   Word           DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 155 of 277
1802   26-Oct-10   Word           DWH Investigation      Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                   supervision of counsel and in anticipation of   WP
                                                         litigation.

1803   26-Oct-10   Word           Bill Ambrose           Draft OSC submission prepared under             AC/   Withheld   N/A
                                                         supervision of counsel and in anticiption of    WP
                                                         litigation.
1804   26-Oct-10   Word           Bill Ambrose           Draft OSC submission prepared under             AC/   Withheld   N/A
                                                         supervision of counsel in anticipation of       WP
                                                         litigation.

1805   26-Oct-10   Word           Bill Ambrose           Draft OSC submission prepared under             AC/   Withheld   N/A
                                                         supervision of counsel and in anticipation of   WP
                                                         litigation

1806   19-Oct-10   Word           Bill Ambrose           Draft OSC submission prepared under             AC/   Withheld   N/A
                                                         supervision of counsel in anticipation of       WP
                                                         litigation.

1807   17-Feb-11   Spreadsheet    Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                         supervision of counsel and in anticipation of   WP
                                                         litation
1808   11-Mar-11   Spreadsheet    Tami Scrudder          Document index prepared under supervision       AC/   Withheld   N/A
                                                         of counsel and in anticipation of litigation.   WP

1809   12-Oct-10   Word           DWH Investigation      Draft OSC submission prepared under             AC/   Withheld   N/A
                                  Team                   supervision of counsel and in anticipation of   WP
                                                         litigation.
1810   28-Oct-10   Word           DWH Investigation      Draft of OSC submission prepared under          AC/   Withheld   N/A
                                  Team                   supervision of counsel in anticipation of       WP
                                                         lititgation.
1811   8-Jul-10    Word           DWH Investigation      Draft questions for JIT proceedings prepared    AC/   Withheld   N/A
                                  Team                   to assist counsel and in anticipation of        WP
                                                         litigation
1812   10-Nov-10   Microsoft      DWH Investigation      Update on internal investigation to             AC/   Withheld   N/A
                   PowerPoint     Team                   management and counsel prepared under           WP
                   Presentation                          supervision of counsel and in anticipation of
                                                         litigation
1813   29-Oct-10   Adobe          DWH Investigation      Draft OSC submission prepared under             AC/   Withheld   N/A
                   Acrobat        Team                   supervision of counsel and in anticipation of   WP
                   Document                              litigation.
1814   3-Feb-11    Adobe          DWH Investigation      Graphic for draft report prepared under         AC/   Withheld   N/A
                   Acrobat        Team                   supervision of cousenl and in anticipation of   WP
                   Document                              litigation
                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 156 of 277
1815   3-Feb-11    Adobe      DWH Investigation   Graphic for draft report prepared under         AC/   Withheld   N/A
                   Acrobat    Team                supervision of counsel and in anticipation of   WP
                   Document                       litigation

1816   17-Nov-10   Adobe      DWH Investigation   Notes of interview with J Harrell with counsel AC/    Withheld   N/A
                   Acrobat    Team                present prepared in anticipation of litigation WP
                   Document
1817   12-Aug-10   Adobe      DWH Investigation   Agreement for DNV maintenance report to be AC/        Withheld   N/A
                   Acrobat    Team                prepared under supervision of counsel and in WP
                   Document                       anticipation of litigation.

1818   18-Aug-10   Adobe      DNV                 DNV proposal for maintenance report to be    WP       Withheld   N/A
                   Acrobat                        prepared under supervision of counsel and in
                   Document                       anticipation of litigation.
1819   18-Aug-10   Word       Perrin Roller       Work order for DNV maintenance report to be WP        Withheld   N/A
                                                  prepared in under supervision of counsel and
                                                  in anticipation of litigation.

1820   18-Aug-10   Adobe      DWH Investigation   Work order for DNV maintenance report to be WP        Withheld   N/A
                   Acrobat    Team                prepared in under supervision of counsel and
                   Document                       in anticipation of litigation

1821   18-Aug-10   Adobe      DWH Investigation   Work order for DNV maintenance report to be WP        Withheld   N/A
                   Acrobat    Team                prepared in under supervision of counsel and
                   Document                       in anticipation of litigation

1822   8-Sep-10    Adobe      GL Noble Denton     GL Noble Denton proposal for work to be         WP    Withheld   N/A
                   Acrobat                        done under supervision of counsel and in
                   Document                       anticipation of litigation.
1823   14-Sep-10   Adobe      GL Noble Denton     GL Noble Denton work order for report to be     WP    Withheld   N/A
                   Acrobat                        performed under supervision of counsel and
                   Document                       in anticipation of litigation.

1824   13-Sep-10   Word       Perrin Roller       Work order for GL Noble Denton analysis to      WP    Withheld   N/A
                                                  be prepared in under supervision of counsel
                                                  and in anticipation of litigation

1825   29-Oct-10   Word       DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                              Team                supervision of counsel and in anticipation of WP
                                                  litigation.
1826   25-Aug-10   Word       DWH Investigation   Draft responses to congressional questions      AC/   Withheld   N/A
                              Team                prepared to assist counsel and in aniticipation WP
                                                  of litigation
1827   3-Nov-10    Word       Wesley Bell         Draft OSC submission prepared under             AC/   Withheld   N/A
                                                  supervision of counsel and in anticipation of WP
                                                  litigation.
                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 157 of 277
1828   14-Jun-10   Spreadsheet   DWH Investigation   Spreadsheet of files prepared under             WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.

1829   14-Jun-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.

1830   23-Nov-10   Word          DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                 Team                counsel and in anticipation of litigation       WP

1831   27-Sep-10   Spreadsheet   DWH Investigation   Index of documents prepared under             WP      Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1832   9-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                 Team                supervision of counsel in anticipation of
                                                     litigation.
1833   2-Jul-10    Spreadsheet   DWH Investigation   Index of documents prepared under             WP      Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1834   17-Jun-10   Spreadsheet   DWH Investigation   Document index prepared under supervision WP          Withheld   N/A
                                 Team                of counsel and in anticipation of litigation.


1835   7-Jul-10    Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.

1836   15-Jul-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1837   13-Jul-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1838   10-Feb-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1839   8-Jul-10    Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1840   27-Sep-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1841   14-Mar-11   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 158 of 277
1842   19-Jul-10   Spreadsheet   Rudy Mendez         Index of documents prepared under               WP    Withheld   N/A
                                                     supervision of counsel in anticipation of
                                                     litigation.
1843   20-Nov-10   Spreadsheet   Rudy Mendez         Index of Halliburton documents prepared         WP    Withheld   N/A
                                                     under supervision of counsel and in
                                                     anticipation of litigation.
1844   26-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1845   26-Oct-10   Word          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1846   5-Jan-11    Spreadsheet   Rudy Mendez         Draft privilege log prepared under supervision WP     Withheld   N/A
                                                     of counsel and in anticipation of litigation.

1847   29-Oct-10   Word          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1848   7-Jan-11    Spreadsheet   Rudy Mendez         Index of documents prepared under               WP    Withheld   N/A
                                                     supervision of counsel and in anticipation of
                                                     litigation.
1849   2-Nov-10    Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1850   12-Jul-10   Spreadsheet   Rudy Mendez         Index of Cameron documents prepared under WP          Withheld   N/A
                                                     supervision of counsel and in anticipation of
                                                     litigation.
1851   29-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under           AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.

1852   10-Mar-11   Spreadsheet   Rudy Mendez         Index of documents prepared under               WP    Withheld   N/A
                                                     supervision of counsel and in anticipation of
                                                     litigation.

1853   13-Dec-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1854   29-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 159 of 277
1855   29-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1856   28-Oct-10   Word          DWH Investigation   Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1857   20-Jan-11   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1858   28-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1859   19-Oct-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1860   16-Jun-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
1861   2-Nov-10    Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1862   14-Dec-10   Word          GL Noble Denton     Summary of GL Noble Denton report               AC/   Withheld   N/A
                                                     prepared under supervision of counsel and in    WP
                                                     anticipation of litigation.
1863   11-Nov-10   Word          Bill Ambrose        Draft internal investigation update prepared    AC/   Withheld   N/A
                                                     under supervision of counsel and in             WP
                                                     anticipation of litigation.
1864   22-Oct-10   Word          Bill Ambrose        Draft internal investigation update prepared    AC/   Withheld   N/A
                                                     under supervision of counsel and in             WP
                                                     anticipation of litigation.

1865   21-Oct-10   Spreadsheet   Kuhan Sivathasan    DNV summary of maintenance items             WP       Withheld   N/A
                                                     prepared under supervision of counsel and in
                                                     anticipation of litigation.
1866   21-Oct-10   Spreadsheet   Dave Benzenhafer    DNV summary of maintenance items             WP       Withheld   N/A
                                                     prepared under supervision of counsel and in
                                                     anticipation of litigation.

1867   10-Nov-10   Adobe         DWH Investigation   Draft presentation to Congress on safety and AC/      Withheld   N/A
                   Acrobat       Team                maintenance prepared under the supervision WP
                   Document                          of counsel and in anticipation of litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 160 of 277
1868   28-Oct-10   Word          DWH Investigation   Draft OSC Submission prepared under the         AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1869   20-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litgation
1870   22-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litgation

1871   22-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litgation

1872   27-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litgation

1873   23-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litgation

1874   25-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litgation

1875   25-Oct-10   Word          Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litgation

1876   12-Oct-10   Word          Bob Walsh           Draft OSC submission prepared under           AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation
1877   16-Feb-11   Word          Theresa Parker      Draft Investigation Report prepared under the AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.

1878   16-Oct-10   Spreadsheet   DWH Investigation   Chart regarding cementing issues prepared       AC/   Withheld   N/A
                                 Team                under the supervision of counsel and in         WP
                                                     anticipation of litigation.
1879   21-Feb-11   Spreadsheet   DWH Investigation   Check list for draft report prepared under      AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1880   22-Nov-10   Adobe         DWH Investigation   Work order for GL Noble Denton report to be     AC/   Withheld   N/A
                   Acrobat       Team                prepared under supervision of counsel and in    WP
                   Document                          anticipation of litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 161 of 277
1881   4-Aug-10    Microsoft      DWH Investigation   Update on internal investigation to             AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation.
1882   1-Feb-11    Microsoft      DWH Investigation   Update on internal investigation to             AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation.
1883   25-Oct-10   Word           DWH Investigation   Draft OSC Submission prepared under the         AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.
1884   24-Sep-10   Word           Michael Fry         Document regarding BOP issues prepared          AC/   Withheld   N/A
                                                      under supervision of counsel to assist with     WP
                                                      ongoing litigation.
1885   14-Oct-10   Word           Michael Fry         Document regarding BOP issues prepared          AC/   Withheld   N/A
                                                      under supervision of counsel to assist with     WP
                                                      ongoing litigation.

1886   12-Nov-10   Spreadsheet    DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                  Team                the supervision of counsel and in anticipation
                                                      of litigation.
1887   12-Nov-10   Spreadsheet    DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                  Team                the supervision of counsel and in anticipation
                                                      of litigation.
1888   12-Nov-10   Spreadsheet    DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                  Team                the supervision of counsel and in anticipation
                                                      of litigation.
1889   18-Jan-11   Spreadsheet    DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                  Team                the supervision of counsel and in anticipation
                                                      of litigation.
1890   2-Nov-10    Spreadsheet    Jana Judkins        Index of Cameron documents prepared under WP          Withheld   N/A
                                                      the supervision of counsel and in anticipation
                                                      of litigation.
1891   5-Nov-10    Spreadsheet    DWH Investigation   Index of Cameron documents prepared under WP          Withheld   N/A
                                  Team                the supervision of counsel and in anticipation
                                                      of litigation.
1892   26-Oct-10   Word           DWH Investigation   Draft OSC submission prepared under            AC/    Withheld   N/A
                                  Team                supervision of counsel and in anticipation of WP
                                                      litigation.

1893   8-Feb-11    Spreadsheet    Tami Scrudder       Checklist for draft report prepared under       AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1894   10-Feb-11   Spreadsheet    Tami Scrudder       Checklist for draft report prepared under       AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1895   28-Oct-10   Word           Ryan Smith          Draft report prepared under supervision of      AC/   Withheld   N/A
                                                      counsel and in anticipation of litigation.      WP
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 162 of 277
1896   11-Feb-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1897   28-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1898   29-Nov-10   Word          Ryan Smith          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1899   27-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1900   10-Feb-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1901   11-Feb-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1902   3-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1903   29-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1904   3-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1905   3-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1906   3-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1907   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1908   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1909   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 163 of 277
1910   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1911   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1912   28-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
1913   4-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1914   3-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1915   30-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation
1916   1-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1917   2-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1918   29-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1919   28-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1920   24-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1921   25-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 164 of 277
1922   25-Jan-11   Spreadsheet    DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1923   26-Jan-11   Spreadsheet    DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1924   27-Jan-11   Spreadsheet    DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1925   26-Jan-11   Spreadsheet    DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1926   9-Dec-10    Spreadsheet    DWH Investigation   Draft report prepared under supervision of      AC/   Withheld   N/A
                                  Team                counsel and in anticipation of litigation.      WP

1927   25-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under the         AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.
1928   4-Aug-10    Microsoft      DWH Investigation   Update on internal investigation prepared for   AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation.
1929   21-Oct-10   Word           DWH Investigation   Index of documents prepared under               AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of   WP
                                                      litigation.

1930   19-Oct-10   Word           John Carroll        Index of documents prepared under               AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation.

1931   16-Jul-10   Microsoft      DWH Investigation   Update on investigation prepared for            AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation.
1932   4-Aug-10    Microsoft      DWH Investigation   Update on investigation prepared for            AC/   Withheld   N/A
                   PowerPoint     Team                management and counsel in anticipation of       WP
                   Presentation                       litigation.

1933   14-Oct-10   Adobe          DWH Investigation   Draft OSC submission prepared by Prospect       AC/   Withheld   N/A
                   Acrobat        Team                under the supervision of counsel and in         WP
                   Document                           anticipation of litigation.
1934   29-Oct-10   Word           Bill Ambrose        Draft OSC submission prepared under             AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of   WP
                                                      litigation
                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 165 of 277
1935   26-Oct-10   Spreadsheet   Robert Tiano           Summary of BOP maintenance for             AC/        Withheld   N/A
                                                        OSC hearings prepared under supervision of WP
                                                        counsel and in anticipation of litigation


1936   12-Oct-10   Adobe         DWH Investigation      Comments on draft OSC report made to            AC/   Withheld   N/A
                   Acrobat       Team                   assist counsel in anticipation of litigation    WP
                   Document
1937   17-Feb-11   Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation

1938   8-Mar-11    Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1939   14-Feb-11   Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1940   11-Feb-11   Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1941   11-Feb-11   Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1942   11-Feb-11   Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1943   10-Feb-11   Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1944   10-Feb-11   Spreadsheet   Christopher Shifflet   Checklist for draft report prepared under       AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation
1945   23-Oct-10   Word          Bill Ambrose           Draft OSC submission prepared under             AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation.
1946   5-Oct-10    Word          Stephanie Butefish     OSC planning document prepared under            AC/   Withheld   N/A
                                                        supervision of counsel and in anticipation of   WP
                                                        litigation.
1947   7-Sep-10    Spreadsheet   DWH Investigation      Timeline index of BP and Haliburton             WP    Withheld   N/A
                                 Team                   documents prepared under supervision of
                                                        counsel and in anticipation of litigation
                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 166 of 277
1948   7-Sep-10    Spreadsheet   DWH Investigation     Timeline index of BP and Haliburton             WP    Withheld   N/A
                                 Team                  documents prepared under supervision of
                                                       counsel and in anticipation of litigation


1949   6-Sep-10    Spreadsheet   DWH Investigation     Timeline index of BP and Haliburton             WP    Withheld   N/A
                                 Team                  documents prepared under supervision of
                                                       counsel and in anticipation of litigation


1950   13-Oct-10   Word          Bill Ambrose          Draft OSC submission prepared under             AC/   Withheld   N/A
                                                       supervision of counsel and in anticipation of   WP
                                                       litigation.
1951   4-Feb-11    Word          Rachael Dsane-Selby   Draft report prepared under supervision of      AC/   Withheld   N/A
                                                       counsel and in anticipation of litigation       WP

1952   24-Oct-10   Word          DWH Investigation     Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                  supervision of counsel and in anticipation of   WP
                                                       litigation

1953   22-Oct-10   Word          DWH Investigation     Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                  supervision of counsel and in anticipation of   WP
                                                       litigation
1954   22-Nov-10   Word          DWH Investigation     Draft OSC submission prepared under             AC/   Withheld   N/A
                                 Team                  supervision of counsel and in anticipation of   WP
                                                       litigation
1955   22-Jun-10   Spreadsheet   Bill Ambrose          Production index prepared under supervision     WP    Withheld   N/A
                                                       of counsel and in anticipation of litigation


1956   22-Jun-10   Spreadsheet   Bill Ambrose          Production index prepared under supervision WP        Withheld   N/A
                                                       of counsel and in anticipation of litigation

1957   22-Jun-10   Spreadsheet   Bill Ambrose          Production index prepared under supervision WP        Withheld   N/A
                                                       of counsel and in anticipation of litigation

1958   30-Jun-10   Spreadsheet   Bill Ambrose          Production index prepared under supervision WP        Withheld   N/A
                                                       of counsel and in anticipation of litigation

1959   30-Jun-10   Spreadsheet   Bill Ambrose          Production index prepared under supervision WP        Withheld   N/A
                                                       of counsel and in anticipation of litigation

1960   2-Jul-10    Spreadsheet   Bill Ambrose          Production index prepared under supervision WP        Withheld   N/A
                                                       of counsel and in anticipation of litigation
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 167 of 277
1961   26-Jul-10   Spreadsheet    Bill Ambrose        Production index prepared under supervision WP           Withheld   N/A
                                                      of counsel and in anticipation of litigation

1962   6-Aug-10    Microsoft      DWH Investigation   Update on internal investigation prepared    AC/         Withheld   N/A
                   PowerPoint     Team                under supervision of counsel and in          WP
                   Presentation                       anticipation of litigation
1963   27-Jul-10   Spreadsheet    Bill Ambrose        Production index prepared under supervision WP           Withheld   N/A
                                                      of counsel and in anticipation of litigation

1964   17-Aug-10   Spreadsheet    Bill Ambrose        Production index prepared under supervision WP           Withheld   N/A
                                                      of counsel and in anticipation of litigation

1965   17-Aug-10   Spreadsheet    Bill Ambrose        Production index prepared under supervision WP           Withheld   N/A
                                                      of counsel and in anticipation of litigation

1966   11-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under the AC/     Withheld   N/A
                                  Team                supervision of counsel and in anticipation of WP
                                                      litigation.
1967   11-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under the AC/     Withheld   N/A
                                  Team                supervision of counsel and in anticipation of WP
                                                      litigation.

1968   11-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under the   AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of      WP
                                                      litigation.
1969   15-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under the   AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of      WP
                                                      litigation.
1970   15-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under the   AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of      WP
                                                      litigation.
1971   15-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under the   AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of      WP
                                                      litigation.
1972   15-Feb-11   JPEG Image     DWH Investigation   Illustration for draft report prepared under the   AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of      WP
                                                      litigation.
1973   4-Feb-11    JPEG Image     DWH Investigation   Illustration for draft report prepared under the   AC/   Withheld   N/A
                                  Team                supervision of counsel and in anticipation of      WP
                                                      litigation.
1974   4-Feb-11    Word           Joe Hoang           Illustration for draft report prepared under the   AC/   Withheld   N/A
                                                      supervision of counsel and in anticipation of      WP
                                                      litigation.
1975   8-Mar-11    Adobe          DWH Investigation   Illustration for draft report prepared under the   AC/   Withheld   N/A
                   Acrobat        Team                supervision of counsel and in anticipation of      WP
                   Document                           litigation.
                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 168 of 277
1976   2-Aug-10    Spreadsheet   DWH Investigation   Index of Halliburton documents prepared         WP    Withheld   N/A
                                 Team                under supervision of counsel and in
                                                     anticipation of litigation.
1977   24-Oct-10   Word          Bill Ambrose        Draft OSC submssion prepared under              AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.
1978   22-Oct-10   Word          Bill Ambrose        Draft OSC submssion prepared under              AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1979   25-Oct-10   Word          Bill Ambrose        Draft OSC submssion prepared under              AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

1980   28-Oct-10   Word          DWH Investigation   Draft OSC submssion prepared under              AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1981   28-Oct-10   Word          DWH Investigation   Draft OSC submssion prepared under              AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

1982   3-Aug-10    Adobe         DWH Investigation   List of pending document requests prepared      WP    Withheld   N/A
                   Acrobat       Team                under supervision of counsel to assist with
                   Document                          ongoing litigation
1983   27-Sep-10   Spreadsheet   DWH Investigation   List of sources provided in response to         WP    Withheld   N/A
                                 Team                request from counsel to assist with ongoing
                                                     litigation.
1984   28-Sep-10   Spreadsheet   DWH Investigation   Index of documents provided in response to      WP    Withheld   N/A
                                 Team                request from counsel to assist in preparation
                                                     for USCG proceedings and in anticipation of
                                                     litigation.

1985   9-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation.
1986   9-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation.

1987   10-Nov-10   Spreadsheet   DWH Investigation   Index of Cameron productions prepared           WP    Withheld   N/A
                                 Team                under supervision of counsel and in
                                                     anticipation of litigation.
1988   10-Nov-10   Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation.

1989   10-Nov-10   Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 169 of 277
1990   22-Nov-10   Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation.

1991   3-Nov-10    Spreadsheet   Jana Judkins        Index of Cameron documents prepared in          WP    Withheld   N/A
                                                     anticipation of litigation
1992   10-Nov-10   Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation

1993   2-Dec-10    Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation
1994   3-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation

1995   3-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation

1996   3-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron productions prepared           WP    Withheld   N/A
                                 Team                under supervision of counsel and in
                                                     anticipation of litigation
1997   3-Nov-10    Spreadsheet   DWH Investigation   Index of Cameron documents prepared in          WP    Withheld   N/A
                                 Team                anticipation of litigation

1998   11-Mar-11   Spreadsheet   Tami Scrudder       Draft list of sources for report prepared under AC/   Withheld   N/A
                                                     supervision of counsel in anticipation of       WP
                                                     litigation.
1999   11-Mar-11   Spreadsheet   Tami Scrudder       Draft list of sources for report prepared under AC/   Withheld   N/A
                                                     supervision of counsel in anticipation of       WP
                                                     litigation.

2000   17-Aug-10   Spreadsheet   DWH Investigation   Document list prepared for counsel in           WP    Withheld   N/A
                                 Team                anticipation of litigation
2001   16-Aug-10   Spreadsheet   DWH Investigation   Checklist of witness statements prepared for    WP    Withheld   N/A
                                 Team                counsel in anticipation of litigation

2002   12-Mar-11   Spreadsheet   Tami Scrudder       Draft list of sources for report prepared under AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.

2003   11-Mar-11   Spreadsheet   Tami Scrudder       Draft list of sources for report prepared under AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.

2004   11-Mar-11   Spreadsheet   Tami Scrudder       Draft list of sources for report prepared under AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 170 of 277
2005   30-Dec-10   Spreadsheet   DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation

2006   31-Dec-10   Spreadsheet   DWH Investigation   Document index prepared under supervision       WP    Withheld   N/A
                                 Team                of counsel and in anticipation of litigation.

2007   28-Feb-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2008   29-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

2009   18-Feb-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2010   11-Feb-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel in anticipation of       WP
                                                     litigation.

2011   3-Feb-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel in anticipation of       WP
                                                     litigation.


2012   31-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel in anticipation of       WP
                                                     litigation.


2013   30-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel in anticipation of       WP
                                                     litigation.

2014   9-Dec-10    Spreadsheet   DWH Investigation   Review of draft reports prepared under          AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

2015   9-Dec-10    Spreadsheet   DWH Investigation   Review of draft reports prepared under          WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
2016   10-Mar-11   Spreadsheet   Robert Jeter        Draft list of sources for report prepared under AC/   Withheld   N/A
                                                     supervision of counsel in anticipation of       WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 171 of 277
2017   18-Feb-11   Word          Theresa Parker      Draft report prepared under supervision of      AC/   Withheld   N/A
                                                     counsel and in anticipation of litigation       WP

2018   14-Mar-11   Spreadsheet   Tami Scrudder       Document list for draft report prepared under AC/     Withheld   N/A
                                                     supervision of counsel and in anticipation of WP
                                                     litigation.

2019   22-Feb-11   Spreadsheet   Tami Scrudder       Cite check for draft report prepared under      AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.

2020   26-Oct-10   Word          DWH Investigation   Format for citations in report prepared under   AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.

2021   22-Jul-10   Spreadsheet   Janis Richards      Summary of JIT exhibits prepared to assist      WP    Withheld   N/A
                                                     counsel and in anticipattion of litigation.

2022   6-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2023   8-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2024   9-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2025   13-Dec-10   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2026   6-Jan-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2027   7-Jan-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2028   7-Jan-11    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2029   11-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2030   21-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 172 of 277
2031   21-Jan-11   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2032   1-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2033   2-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2034   2-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2035   2-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2036   3-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2037   3-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2038   3-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2039   3-Dec-10    Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2040   30-Nov-10   Spreadsheet   DWH Investigation   Checklist for draft report prepared under       AC/   Withheld   N/A
                                 Team                supervision of counsel and in anticipation of   WP
                                                     litigation.
2041   3-Nov-10    Spreadsheet   DWH Investigation   Document generated to assist counsel in         WP    Withheld   N/A
                                 Team                reviewing draft OSC submissions prepared in
                                                     anticipation of litigation.
2042   3-Aug-10    Word          DWH Investigation   Index of documents prepared under               WP    Withheld   N/A
                                 Team                supervision of counsel and in anticipation of
                                                     litigation.
2043   29-Jan-11   Spreadsheet   Tami Scrudder       Checklist for draft report prepared under       AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.
2044   2-Mar-11    Word          Tami Scrudder       Checklist for draft report prepared under       AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.
2045   2-Feb-11    Word          Tami Scrudder       Checklist for draft report prepared under       AC/   Withheld   N/A
                                                     supervision of counsel and in anticipation of   WP
                                                     litigation.
                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 173 of 277
2046   15-Jul-10   Spreadsheet   DWH Investigation       Index of documents prepared under             WP    Withheld   N/A
                                 Team                    supervision of counsel and in anticipation of
                                                         litigation.
2047   7-Jan-11    Spreadsheet   DWH Investigation       Index of documents prepared under             WP    Withheld   N/A
                                 Team                    supervision of counsel and in anticipation of
                                                         litigation.
2048   2-Sep-10    Final         Derek Hart, Diane       Final Memo of Interview with Amy Broussard, AC      Withheld   N/A
                   Interview     Willey                  Branch Manager, Lafayette Office, Shuman
                   Memo                                  Consulting, containing legal advice regarding
                                                         Macondo response

2049   7-Sep-10    Final         Derek Hart, Stephanie   Final Memo of Interview with Allen Forbis,   AC     Withheld   N/A
                   Interview     Butefish                Coordinator III, Risk, Shuman Consulting,
                   Memo                                  containing legal advice regarding Macondo
                                                         response
2050   3-Sep-10    Final         Derek Hart, Diane       Final Memo of Interview with David Gautreux, AC     Withheld   N/A
                   Interview     Willey                  Assistant Manager, New Orleans Office,
                   Memo                                  Shuman Consulting, containing legal advice
                                                         regarding Macondo response

2051   8-Aug-10    Final         Derek Hart, Stephanie   Final Memo of Interview with Graham          AC     Withheld   N/A
                   Interview     Butefish                Kenyon, Manager of Risk Management,
                   Memo                                  Transocean, containing legal advice
                                                         regarding Macondo response

2052   2-Sep-10    Final         Derek Hart, Diane       Final Memo of Interview with Martin Lowe,     AC    Withheld   N/A
                   Interview     Willey                  Manager, New Orleans Office, Shuman
                   Memo                                  Consulting, containing legal advice regarding
                                                         Macondo response
2053   2-Sep-10    Handwritten   Derek Hart, Diane       Handwritten interview notes and drafts of     AC    Withheld   N/A
                   interview     Willey                  interview memo for Amy Broussard, Branch
                   notes and                             Manager, Lafayette Office, Shuman
                   drafts of                             Consulting, containing legal advice regarding
                   interview                             Macondo response
                   memo
2054   7-Sep-10    Handwritten   Derek Hart, Stephanie   Handwritten interview notes and drafts of      AC   Withheld   N/A
                   interview     Butefish                interview memo for Allen Forbis, Coordinator
                   notes and                             III, Risk, Shuman Consulting, containing legal
                   drafts of                             advice regarding Macondo response
                   interview
                   memo
2055   2-Sep-10    Handwritten   Derek Hart, Diane       Handwritten interview notes and drafts of     AC    Withheld   N/A
                   interview     Willey                  interview memo for David Gautreux, Assistant
                   notes and                             Manager, New Orleans Office, Shuman
                   drafts of                             Consulting, containing legal advice regarding
                   interview                             Macondo response
                   memo
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 174 of 277
2056   31-Aug-10   Handwritten   Derek Hart, Stephanie   Handwritten interview notes and drafts of      AC      Withheld   N/A
                   interview     Butefish                interview memo for Graham Kenyon,
                   notes and                             Manager of Risk Management, Transocean,
                   drafts of                             containing legal advice regarding risk
                   interview                             management and Macondo response
                   memo
2057   2-Sep-10    Handwritten   Derek Hart, Diane       Handwritten interview notes and drafts of      AC      Withheld   N/A
                   interview     Willey                  interview memo for Martin Lowe, Manager,
                   notes and                             New Orleans Office, Shuman Consulting,
                   drafts of                             containing legal advice regarding Macondo
                   interview                             response
                   memo
2058   30-Aug-10   Control       Art Nordholm            Control Message Form memorializing             AC      Withheld   N/A
                   Message                               attorney-client communications with Paul
                   Form                                  King, Rig Manager, Discoverer Enterprise,
                                                         regarding Macondo response

2059   10-Sep-10   Control       Bjoern Ritter           Control Message Form memorializing             AC      Withheld   N/A
                   Message                               attorney-client communications with Andrea
                   Form                                  Fleytas regarding rig operations

2060   22-Jul-10   Control       Art Nordholm            Control Message Form containing attorney       AC/WP   Withheld   N/A
                   Message                               work product analyzing Leo Lindner's JIT
                   Form                                  testimony and additional information from
                                                         Lindner regarding final displacement

2061   31-Aug-10   Final         Derek Hart, Stephanie   Final Memo of Interview with Keith Avery,      AC      Redacted   N/A
                   Interview     Butefish                Director, Risk Management, Transocean,
                   Memo                                  containing legal advice regarding Macondo
                                                         response and insurance issues

2062   31-Aug-10   Final         Derek Hart, Diane       Final Memo of Interview with Arnaud Bobillier, AC      Redacted   N/A
                   Interview     Willey                  Executive Vice President, Asset &
                   Memo                                  Performance, Transocean, containing legal
                                                         advice regarding Macondo response

2063   26-Aug-10   Final         Derek Hart, Stephanie   Final Memo of Interview with Guy Cantwell,     AC      Redacted   N/A
                   Interview     Butefish                Director of Communications, Transocean,
                   Memo                                  containing legal advice regarding Macondo
                                                         response

2064   27-Jul-10   Final         Chad Crain, Diane       Final Memo of Interview with Janelle Daniel,   AC      Redacted   N/A
                   Interview     Willey                  Manager, Global Mobility, Transocean,
                   Memo                                  containing legal advice regarding Macondo
                                                         response
                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 175 of 277
2065   25-Aug-10   Final       Derek Hart, Diane        Final Memo of Interview with Todd Jordan,       AC   Redacted   N/A
                   Interview   Willey                   Assistant Treasurer II, Transocean,
                   Memo                                 containing legal advice regarding Macondo
                                                        response
2066   27-Jul-10   Final       Chad Crain, Diane        Final Memo of Interview with Tracey Marsh,      AC   Redacted   N/A
                   Interview   Willey                   Director, Offshore Talent Management,
                   Memo                                 Transocean, containing legal advice
                                                        regarding Macondo response

2067   24-Aug-10   Final       Derek Hart, Diane        Final Memo of Interview with Larry McMahan, AC       Redacted   N/A
                   Interview   Willey                   Vice President, Performance Operations,
                   Memo                                 Transocean, containing legal advice
                                                        regarding Macondo response

2068   25-Aug-10   Final       Chad Crain, Stephanie    Final Memo of Interview with Mark Monroe,       AC   Redacted   N/A
                   Interview   Butefish                 Managing Director, Marketing, Transocean,
                   Memo                                 containing legal advice regarding Macondo
                                                        response
2069   5-Aug-10    Final       Derek Hart, Diane        Final Memo of Interview with Daniel             AC   Redacted   N/A
                   Interview   Willey                   Reudelheuber, Division Manager, Assets,
                   Memo                                 Transocean, containing legal advice
                                                        regarding Macondo response
2070   24-Aug-10   Final       Derek Hart, Diane        Final Memo of Interview with Adrian Rose,       AC   Redacted   N/A
                   Interview   Willey                   Vice President, QHS&E, Transocean,
                   Memo                                 containing legal advice regarding Macondo
                                                        response
2071   9-Sep-10    Final       Dan Farr, Diane Willey   Final Memo of Interview with Billy              AC   Redacted   N/A
                   Interview                            Stringfellow, Specialist III, Technical Field
                   Memo                                 Support, Transocean, containing legal advice
                                                        regarding Macondo response

2072   31-Aug-10   Final       Derek Hart, Stephanie    Handwritten interview notes and drafts of       AC   Redacted   N/A
                   Interview   Butefish                 interview memo for Keith Avery, Director,
                   Memo                                 Risk Management, Transocean, containing
                                                        legal advice regarding Macondo response

2073   31-Aug-10   Final       Derek Hart, Diane        Handwritten interview notes and drafts of       AC   Redacted   N/A
                   Interview   Willey                   interview memo for Arnaud Bobillier,
                   Memo                                 Executive Vice President, Asset &
                                                        Performance, Transocean, containing legal
                                                        advice regarding Macondo response

2074   26-Aug-10   Final       Derek Hart, Stephanie    Handwritten interview notes and drafts of    AC      Redacted   N/A
                   Interview   Butefish                 interview memo for Guy Cantwell, Director of
                   Memo                                 Communications, Transocean, containing
                                                        legal advice regarding Macondo response
                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 176 of 277
2075   27-Jul-10   Final       Chad Crain, Diane                       Handwritten interview notes and drafts of     AC      Redacted   N/A
                   Interview   Willey                                  interview memo for Janelle Daniel, Manager,
                   Memo                                                Global Mobility, Transocean, containing legal
                                                                       advice regarding Macondo response

2076   25-Aug-10   Final       Derek Hart, Diane                       Handwritten interview notes and drafts of        AC   Redacted   N/A
                   Interview   Willey                                  interview memo for Todd Jordan, Assistant
                   Memo                                                Treasurer II, Transocean, containing legal
                                                                       advice regarding Macondo response

2077   27-Jul-10   Final       Chad Crain, Diane                       Handwritten interview notes and drafts of        AC   Redacted   N/A
                   Interview   Willey                                  interview memo for Tracey Marsh, Director,
                   Memo                                                Offshore Talent Management, Transocean,
                                                                       containing legal advice regarding Macondo
                                                                       response
2078   24-Aug-10   Final       Derek Hart, Diane                       Handwritten interview notes and drafts of        AC   Redacted   N/A
                   Interview   Willey                                  interview memo for Larry McMahan, Vice
                   Memo                                                President, Performance Operations,
                                                                       Transocean, containing legal advice
                                                                       regarding Macondo response

2079   25-Aug-10   Final       Chad Crain, Stephanie                   Handwritten interview notes and drafts of        AC   Redacted   N/A
                   Interview   Butefish                                interview memo for Mark Monroe, Managing
                   Memo                                                Director, Marketing, Transocean, containing
                                                                       legal advice regarding Macondo response

2080   5-Aug-10    Final       Derek Hart, Diane                       Handwritten interview notes and drafts of        AC   Redacted   N/A
                   Interview   Willey                                  interview memo for Daniel Reudelheuber,
                   Memo                                                Division Manager, Assets, Transocean,
                                                                       containing legal advice regarding Macondo
                                                                       response
2081   24-Aug-10   Final       Derek Hart, Diane                       Handwritten interview notes and drafts of        AC   Redacted   N/A
                   Interview   Willey                                  interview memo for Adrian Rose, Vice
                   Memo                                                President, QHS&E, Transocean, containing
                                                                       legal advice regarding Macondo response

2082   9-Sep-10    Final       Dan Farr, Diane Willey                  Handwritten interview notes and drafts of        AC   Redacted   N/A
                   Interview                                           interview memo for Billy Stringfellow,
                   Memo                                                Specialist III, Technical Field Support,
                                                                       Transocean, containing legal advice
                                                                       regarding Macondo response
2083   22-Oct-10   .wmv        Alistair Gill            Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                                       proceedings and in anticipation of litigation.

2084   22-Oct-10   .wmv        Alistair Gill            Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                                       proceedings and in anticipation of litigation.
                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 177 of 277
2085   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2086   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2087   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2088   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2089   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2090   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2091   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2092   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2093   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2094   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2095   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2096   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2097   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2098   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.

2099   22-Oct-10   .wmv   Alistair Gill   Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                         proceedings and in anticipation of litigation.
                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 178 of 277
2100   22-Oct-10   .wmv         Alistair Gill       Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                                   proceedings and in anticipation of litigation.

2101   22-Oct-10   .wmv         Alistair Gill       Bill Ambrose   Draft animation to assist counsel in OSC         WP   Withheld   N/A
                                                                   proceedings and in anticipation of litigation.

2102   7-May-10    PowerPoint   DWH Investigation                  Powerpoint presentation regarding internal       AC   Withheld   N/A
                                Team                               investigation to management and counsel          WP
                                                                   prepared to facilitate rendition of legal
                                                                   advice and in anticipation of litigation.

2103   6-Jun-10    PowerPoint   DWH Investigation                  Draft presentation prepared at the request of    AC   Withheld   N/A
                                Team                               counsel to assist with Congressional             WP
                                                                   proceedings and in anticipation of litigation.

2104   7-Jun-10    PowerPoint   DWH Investigation                  Draft presentation prepared at the request of    AC   Withheld   N/A
                                Team                               counsel to assist with Congressional             WP
                                                                   proceedings and in anticipation of litigation.

2105   7-Jun-10    PowerPoint   DWH Investigation                  Draft presentation prepared at the request of    AC   Withheld   N/A
                                Team                               counsel to assist with Congressional             WP
                                                                   proceedings and in anticipation of litigation

2106   8-Jun-10    PowerPoint   DWH Investigation                  Draft presentation prepared at the request of    AC   Withheld   N/A
                                Team                               counsel to assist with Congressional             WP
                                                                   proceedings and in anticipation of litigation

2107   8-Jun-10    PowerPoint   DWH Investigation                  Draft presentation prepared at the request of    AC   Withheld   N/A
                                Team                               counsel to assist with Congressional             WP
                                                                   proceedings and in anticipation of litigation

2108   9-Jun-10    Word         DWH Investigation                  Draft testimony reflecting legal advice      AC       Withheld   N/A
                                Team                               and prepared at the request of counsel to    WP
                                                                   assist with Congressional proceedings and in
                                                                   anticipation of litigation.

2109   6-Jun-10    PowerPoint   DWH Investigation                  Draft presentation prepared at the request of    AC   Withheld   N/A
                                Team                               counsel to assist with Congressional             WP
                                                                   proceedings and in anticipation of litigation.


2110   18-May-10   Adobe        DWH Investigation                  Agreement with third party consultant,           WP   Withheld   N/A
                                Team                               Bullfighter Design, for work to be prepared
                                                                   under the direction of counsel in connection
                                                                   with ongoing litigation.
                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 179 of 277
2111   8-Jun-10     Spreadsheet   DWH Investigation                                                  Index of documents requested from BP             WP   Withheld   N/A
                                  Team                                                               prepared under the direction of counsel in
                                                                                                     connection with ongoing litigation.

2112   9-Jun-10     Word          DWH Investigation                                                  Draft testimony reflecting legal advice and      WP   Withheld   N/A
                                  Team                                                               prepared at the request of counsel to assist
                                                                                                     with Congressional proceedings and in
                                                                                                     anticipation of litigation.


2113   6-Jun-10     Email         DWH Investigation   Wesley Bell                                    Email regarding draft Congressional              AC   Withheld   N/A
                                  Team                Perrin Roller                                  presentation prepared under supervision of       WP
                                                                                                     counsel and in anticipation of litigation

2114   22-May-10    Email         DWH Investigation   Steven Newman                                  Weekly investigation update sent to              AC   Withheld   N/A
                                  Team                                                               management and counsel to facilitate             WP
                                                                                                     rendition of legal advice and in anticipation of
                                                                                                     litigation and followup emails.

2115   9-Jun-10     Email         DWH Investigation   Arnaud Bobillier                               Weekly investigation update sent to              AC   Withheld   N/A
                                  Team                                                               management and counsel to facilitate             WP
                                                                                                     rendition of legal advice and in anticipation of
                                                                                                     litigation and followup emails.


2116   7-Jun-2010   Email         Bill Ambrose        Georgianne Johnson                             Email string with attached invoice from third    WP   Withheld   Yes
       8-Jun-2010                                                                                    party consultant, Bullfighter Design, for work
                                                                                                     done under supervision of counsel and in
                                                                                                     connection with ongoing litigation.

2117   7-Jun-2010   Adobe                                                                            Invoice from third party consultant, Bullfighter WP   Withheld   N/A
       8-Jun-2010                                                                                    Design, for work done under supervision of
                                                                                                     counsel and in connection with ongoing
                                                                                                     litigation
2118   20-May-10    Email         Michael Markey      Bill Ambrose; Michael Llewellyn                Email communication re work to be done by WP          Withheld   N/A
                                                                                                     Bullfighter Design under supervision of
                                                                                                     counsel and in anticipation of litigation.

2119   20-May-10    Email         Bill Ambrose        Markey, Michael; Jewel Revis; Michael Llewellyn Email communication re work to be done by       WP   Withheld   Yes
                                                                                                      Bullfighter Design under supervision of
                                                                                                      counsel and in anticipation of litigation.


2120   17-May-10    Word                                                                             Draft agreement re: consultant services,         WP   Withheld   N/A
                                                                                                     reflecting legal advice and prepared in
                                                                                                     anticipation of litigation.
                                                                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 180 of 277
2121   17-May-10   Email        Oliver Diaz    Bill Ambrose       Communication regarding proposal from           WP    Withheld   Yes
                                                                  Bullfighter Design for work to be done under
                                                                  supervision of counsel and in anticipation of
                                                                  litigation.

2122   17-May-10   Adobe                                           Proposal from Bullfighter Design for work to   WP    Withheld   N/A
                                                                  be done under supervision of counsel and in
                                                                  anticipation of litigation.

2123   30-Apr-10   Email        Adrian Rose    Bill Ambrose       Weekly investigation update sent to              AC   Withheld   N/A
                                               Arnaud Bobillier   management and counsel to facilitate             WP
                                                                  rendition of legal advice and in anticipation of
                                                                  litigation and followup emails.


2124   26-May-10   Email        Bill Ambrose   Vicki Garza        Communication forwarding legal advice of        AC    Withheld   N/A
                                                                  counsel, John Beisner*, regarding upcoming      WP
                                                                  Congressional proceedings, prepared in
                                                                  anticipation of litigation.

2125   26-May-10   Email        Bill Ambrose   James Kent         Email communication reflecting legal advice     AC    Withheld   N/A
                                                                  and providing information to assist counsel     WP
                                                                  with ongoing litigation and JIT proceedings.

2126   17-May-10   Email        Simon Watson   Bill Ambrose       Communication re BOP issues to assist       WP        Withheld   Yes
                                                                  counsel in Congressional proceedings and in
                                                                  anticipation of litigation.

2127   17-May-10   PowerPoint   Simon Watson   Bill Ambrose       Draft presentation re: upcoming testimony       WP    Withheld   N/A
                                                                  prepared at request of counsel to assist with
                                                                  Congressional proceedings and in
                                                                  anticipation of litigation.

2128   17-May-10   PowerPoint   Simon Watson   Bill Ambrose       Draft presentation re: upcoming testimony       WP    Withheld   N/A
                                                                  prepared at request of counsel to assist with
                                                                  Congressional proceedings and in
                                                                  anticipation of litigation.

2129   17-May-10   PowerPoint   Simon Watson   Bill Ambrose       Draft presentation re: upcoming testimony       WP    Withheld   N/A
                                                                  prepared at request of counsel to assist with
                                                                  Congressional proceedings and in
                                                                  anticipation of litigation.
                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 181 of 277
2130   17-May-10   PowerPoint   Simon Watson       Bill Ambrose                            Draft presentation re: upcoming testimony        WP   Withheld   N/A
                                                                                           prepared at request of counsel to assist with
                                                                                           Congressional proceedings and in
                                                                                           anticipation of litigation.

2131   17-May-10   PowerPoint   Simon Watson       Bill Ambrose                            Draft presentation re: upcoming testimony        WP   Withheld   N/A
                                                                                           prepared at request of counsel to assist with
                                                                                           Congressional proceedings and in
                                                                                           anticipation of litigation.

2132   17-May-10   PowerPoint   Simon Watson       Bill Ambrose                            Draft presentation re: upcoming testimony        WP   Withheld   N/A
                                                                                           prepared at request of counsel to assist with
                                                                                           Congressional proceedings and in
                                                                                           anticipation of litigation.

2133   5-May-10    Email        Rodney Manning     Bill Ambrose                            Email string gathering information requested     WP   Withheld   N/A
                                                   Jean Paul Buisine                       by counsel to assist with Congressional
                                                   Paul Tranter                            proceedings and in anticipation of litigation.

2134   26-May-10   Email        Minh Vu            Linda Wetherell; Bill Ambrose; Rodney   Email communication reflecting legal advice      AC   Withheld   N/A
                                                   Barretto                                and providing information to assist counsel      WP
                                                                                           with ongoing litigation and JIT proceedings.

2135   10-May-10   Email        Samantha Cohen     Bill Ambrose; Guy Cantwell              Communication re media reports provided          AC   Withheld   N/A
                                                                                           under supervision of counsel to facilitate legal WP
                                                                                           advice and in anticipation of litigation.

2136   18-May-10   Email        Bill Ambrose       Oliver Diaz                             Communication with third party consultant,       WP   Withheld   Yes
                                                                                           Bullfighter Design re: work to be done under
                                                                                           the direction of counsel and in connection
                                                                                           with ongoing litigation.

2137   18-May-10   Adobe                                                                   Agreement with third party consultant,           WP   Withheld   N/A
                                                                                           Bullfighter Design re: work to be done under
                                                                                           the direction of counsel and in connection
                                                                                           with ongoing litigation.
2138   6-Jun-10    PowerPoint                                                              Draft presentation prepared at request of        WP   Withheld   N/A
                                                                                           counsel to assist with Congressional
                                                                                           proceedings and in anticipation of litigation.

2139   24-May-10   Email        Arnaud Bobillier   Bill Ambrose                            Weekly investigation update sent to              AC   Withheld   N/A
                                                                                           management and counsel to facilitate             WP
                                                                                           rendition of legal advice and in anticipation of
                                                                                           litigation and followup emails.
                                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 182 of 277
2140   24-May-10   Email        Bill Ambrose    Arnaud Bobillier                   Weekly investigation update sent to              AC   Withheld   N/A
                                                                                   management and counsel to facilitate             WP
                                                                                   rendition of legal advice and in anticipation of
                                                                                   litigation and followup emails.


2141   26-May-10   Email        Steven Newman   Bill Ambrose                       Weekly investigation update to management AC          Withheld   N/A
                                                Arnaud Bobillier                   and counsel prepared to facilitate rendition of WP
                                                                                   legal advice and in anticipation of litigation

2142   20-May-10   Email        Derek Hart      Wesley Bell                        Email string re: information needed by          WP    Withheld   N/A
                                                Roibert Scott; Bill Ambrose        counsel at upcoming JIT proceedings in
                                                                                   anticipation of litigation.
2143   30-Apr-10   Email        Bill Ambrose    Arnaud Bobillier                   Weekly investigation update to management AC          Withheld   N/A
                                                Adrian Rose                        and counsel prepared to facilitate rendition of WP
                                                                                   legal advice and in anticipation of litigation

2144   24-May-10   Email        Bill Ambrose    Arnaud Bobillier                   Weekly investigation update sent to              AC   Withheld   N/A
                                                                                   management and counsel to facilitate             WP
                                                                                   rendition of legal advice and in anticipation of
                                                                                   litigation and followup emails.


2145   10-May-10   Email        Larry McMahan   Bill Ambrose                       Email string re: DWH information needed to       WP   Withheld   N/A
                                                Jean Paul Buisine                  assist counsel in Congressional proceedings
                                                                                   and in anticipation of litigation.

2146   10-May-10   Email        Bill Ambrose    Jean Paul Buisine; Larry McMahan   Email string re: DWH information needed to       WP   Withheld   N/A
                                                                                   assist counsel in Congressional proceedings
                                                                                   and in anticipation of litigation.

2147   17-May-10   Email        Adrian Rose     Bill Ambrose                       Communication re: agreements with third          WP   Withheld   N/A
                                                                                   party consultant, Bullfighter Design, for work
                                                                                   to be done under supervision of counsel and
                                                                                   in anticipation of litigation.

2148   19-May-10   Email        Ian Hudson      Bill Ambrose; Larry McMahan;       Email re: procedures to secure marine debris AC       Withheld   Yes
                                                Adrian Rose                        reflecting legal advice of counsel and       WP
                                                                                   prepared in connection with ongoing JIT
                                                                                   proceedings and litigation.

2149   19-May-10   JPEG Image                                                      Photograph provided to counsel to facilitate     AC   Withheld   N/A
                                                                                   rendition of legal advice in connection with     WP
                                                                                   ongoing JIT proceedings and litigation.
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 183 of 277
2150   19-May-10   JPEG Image                                   Photograph provided to counsel to facilitate     AC   Withheld   N/A
                                                                rendition of legal advice in connection with     WP
                                                                ongoing JIT proceedings and litigation.

2151   17-May-10   Email         Oliver Diaz    Bill Ambrose    Communication with third party consultant,    WP      Withheld   Yes
                                                                Bullfighter Design, for work to be done under
                                                                supervision of counsel and in anticipation of
                                                                litigation.
2152   17-May-10   Adobe                                        Agreement with third party consultant,        WP      Withheld   N/A
                                                                Bullfighter Design, for work to be done under
                                                                supervision of counsel and in anticipation of
                                                                litigation.

2153   6-Jun-10    Email         Bill Ambrose   Wesley Bell     Email attaching draft presentation reflecting    AC   Withheld   Yes
                                                Perrin Roller   legal advice and prepared under supervision      WP
                                                                of counsel to assist with Congressional
                                                                proceedings and in anticipation of litigation.


2154   6-Jun-10    PowerPoint                                   Draft presentation reflecting legal advice and AC     Withheld   N/A
                                                                prepared under supervision of counsel to       WP
                                                                assist with Congressional proceedings and in
                                                                anticipation of litigation.

2155   7-Jun-10    Email         Bill Ambrose   Brian Kennedy   Email attaching draft                            AC   Withheld   Yes
                                                                Congressional presentation reflecting legal      WP
                                                                advice and prepared under supervision of
                                                                counsel and in anticipation of litigation.


2156   7-Jun-10    PowerPoint                                   Draft Congressional presentation reflecting      AC   Withheld   N/A
                                                                legal advice and prepared under supervision      WP
                                                                of counsel and in anticipation of litigation.


2157   9-Jun-10    Email         Bill Ambrose   Wesley Bell     Email providing information regarding cement AC       Withheld   Yes
                                                Perrin Roller   issues to assist counsel with JIT proceedings WP
                                                                and in anticipation of litigation

2158   9-Jun-10    Spreadsheet                                  Spreadsheet re cement issues prepared to         AC   Withheld   N/A
                                                                facilitate rendition of legal advice and in      WP
                                                                anticipation of litigation.
2159   26-May-10   Email         Bill Ambrose   James Kent      Email string providing information requested     AC   Withheld   N/A
                                                                by counsel, Michael Huneycutt*, in               WP
                                                                connection with ongoing JIT proceedings.
                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 184 of 277
2160   17-May-10   Email        Bill Ambrose    Adrian Rose                    Email re work with third party consultant,         WP   Withheld   Yes
                                                                               Bullfighter Design to be done under the
                                                                               direction of counsel and in anticipation of
                                                                               litigation.
2161   17-May-10   Adobe                                                       Agreement with third party consultant,             WP   Withheld   N/A
                                                                               Bullfighter Design to be done under the
                                                                               direction of counsel and in anticipation of
                                                                               litigation.

2162   17-May-10   Adobe                                                       Agreement with third party consultant,             WP   Withheld   N/A
                                                                               Bullfighter Design to be done under the
                                                                               direction of counsel and in anticipation of
                                                                               litigation.
2163   17-May-10   Adobe                                                       Agreement with third party consultant,             WP   Withheld   N/A
                                                                               Bullfighter Design to be done under the
                                                                               direction of counsel and in anticipation of
                                                                               litigation.
2164   21-May-10   Email        Bill Ambrose    Steven Newman                  Weekly investigation update sent to                AC   Withheld   N/A
                                                Arnaud Bobillier               management and counsel to facilitate               WP
                                                                               rendition of legal advice and in anticipation of
                                                                               litigation.
2165   7-Jun-10    Email        Bill Ambrose    Wesley Bell                    Communication attaching draft presentation         AC   Withheld   Yes
                                                Perrin Roller                  prepared at the request of counsel to assist       WP
                                                                               with Congressional hearings and in
                                                                               anticipation of litigation.

2166   7-Jun-10    PowerPoint                                                   Draft presentation reflecting legal advice and AC      Withheld   N/A
                                                                               prepared in anticipation of litigation to assist WP
                                                                               with Congressional hearings.

2167   4-May-2010 Email         Bill Ambrose    oliver@bullfighterdesign.com   Communication with third party vendor,        WP        Withheld   Yes
       14-May-                                                                 Bullfighter Design, re work to be done under
       2010                                                                    supervision of counsel and in anticipation of
                                                                               litigation.
2168   4-May-2010 Word                                                         Draft agreement with third party vendor,      WP        Withheld   N/A
       14-May-                                                                 Bullfighter Design, re work to be done under
       2010                                                                    supervision of counsel and in anticipation of
                                                                               litigation.
2169   4-May-2010 Adobe                                                        Draft agreement with third party vendor,      WP        Withheld   N/A
       14-May-                                                                 Bullfighter Design, re work to be done under
       2010                                                                    supervision of counsel and in anticipation of
                                                                               litigation.
2170   6-Jun-10    Email        Perrin Roller   Bill Ambrose                   Communication re draft presentation to assist WP        Withheld   Yes
                                                Wesley Bell                    counsel with Congressional proceedings and
                                                                               in anticipation of litigation.
                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 185 of 277
2171   6-Jun-10     PowerPoint                                             Draft presentation prepared to assist counsel WP      Withheld   N/A
                                                                           with Congressional proceedings and in
                                                                           anticipation of litigation.

2172   2-Jun-10     Email        Ian Clydesdale       Bill Ambrose         Communication re: records collected in           WP   Withheld   N/A
                                                                           connection with ongoing litigation.

2173   3-Jun-2010   Email        Bill Ambrose         Wesley Bell          Email string with attached                       AC   Withheld   N/A
       4-Jun-2010                                     Perrin Roller        documents providing information and              WP
                                                      Vicki Garza          reflecting legal advice of counsel in
                                                                           connection with JIT proceedings.

2174   7-Jun-2010   Email        Bill Ambrose         Georgianne Johnson   Communication with attached invoice of           WP   Withheld   Yes
       8-Jun-2010                                                           third party consultant, Bullfighter Design, for
                                                                           work to be done under supervision of counsel
                                                                           and in anticipation of litigation.

2175   7-Jun-2010   Adobe                                                  Invoice of third party consultant, Bullfighter   WP   Withheld   N/A
       8-Jun-2010                                                          Design, for work to be done under
                                                                           supervision of counsel and in anticipation of
                                                                           litigation
2176   17-May-10    Email        legal04@deepwater.co Bill Ambrose         Email attaching agreement with third party       WP   Withheld   Yes
                                 m                                         consultant, Bullfighter Design, for work to be
                                                                           done under supervision of counsel and in
                                                                           anticipation of litigation.

2177   17-May-10    Adobe                                                  Agreement with third party consultant,         WP     Withheld   N/A
                                                                           Bullfighter Design, for work to be done under
                                                                           supervision of counsel and inticipation of
                                                                           litigation.
2178   17-May-10    Email        legal04@deepwater.co Bill Ambrose         Email attaching agreement with third party     WP     Withheld   Yes
                                 m                                         consultant, Bullfighter Design, for work to be
                                                                           done under supervision of counsel and in
                                                                           anticipation of litigation.


2179   17-May-10    Adobe                                                  Agreement with third party consultant,         WP     Withheld   N/A
                                                                           Bullfighter Design, for work to be done under
                                                                           supervision of counsel and in anticipation of
                                                                           litigation.
2180   18-May-10    Email        legal04@deepwater.co Bill Ambrose         Email attaching agreement with third party     WP     Withheld   Yes
                                 m                                         consultant, Bullfighter Design, for work to be
                                                                           done under supervision of counsel and in
                                                                           anticipation of litigation.
                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 186 of 277
2181   18-May-10   Adobe                                         Agreement with third party consultant,        WP     Withheld   N/A
                                                                 Bullfighter Design, for work to be done under
                                                                 counsel and in anticipation of litigation.

2182   4-Jun-10    Email   Vicki Garza      Bill Ambrose         Email communication reflecting legal advice   AC     Withheld   N/A
                                                                 and providing information regarding well      WP
                                                                 operations to assist counsel with ongoing
                                                                 litigation and JIT proceedings.

2183   2-Jun-10    Email   Bill Ambrose     Ian Clydesdale       Communication re: records collected in        WP     Withheld   N/A
                                                                 connection with ongoing litigation.

2184   19-May-10   Email   Michael Markey   Bill Ambrose         Email string forwarding communication with      WP   Withheld   N/A
                                                                 third party consultant, Bullfighter Design, re:
                                                                 work to be done under supervision of counsel
                                                                 and in anticipation of litigation.

2185   20-May-10   Email   Michael Markey   Bill Ambrose         Email string forwarding communication with      WP   Withheld   N/A
                                            Michael Llewellyn    third party consultant, Bullfighter Design, re:
                                                                 work to be done under supervision of counsel
                                                                 and in anticipation of litigation.


2186   20-May-10   Email   Bill Ambrose     Oliver Diaz          Communication with third party consultant,    WP     Withheld   N/A
                                            Georgianne Johnson   Bullfighter Design, re: work to be done under
                                            Michael Markey       supervision of counsel and in anticipation of
                                            Jewel Revis          litigation.


2187   20-May-10   Email   Bill Ambrose     Michael Markey       Email string forwarding communication with      WP   Withheld   N/A
                                            Jewel Revis          third party consultant, Bullfighter Design, re:
                                            Michael Llewellyn    work to be done under supervision of counsel
                                                                 and in anticipation of litigation.

2188   17-May-10   Email   Bill Ambrose     Adrian Rose          Communication re: attached agreements with WP        Withheld   Yes
                                                                 third party consultant, Bullfighter Design, for
                                                                 work to be done under the direction of
                                                                 counsel and in anticipation of litigation.

2189   17-May-10   Adobe                                         Agreement with third party consultant,          WP   Withheld   N/A
                                                                 Bullfighter Design, for work to be done under
                                                                 the direction of counsel and in anticipation of
                                                                 litigation.
                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 187 of 277
2190   17-May-10   Adobe                                                                           Agreement with third party consultant,          WP    Withheld   N/A
                                                                                                   Bullfighter Design, for work to be done under
                                                                                                   the direction of counsel and in anticipation of
                                                                                                   litigation.
2191   17-May-10   Adobe                                                                           Agreement with third party consultant,          WP    Withheld   N/A
                                                                                                   Bullfighter Design, for work to be done under
                                                                                                   the direction of counsel and in anticipation of
                                                                                                   litigation.
2192   6-Jun-10    Email         Perrin Roller        Bill Ambrose                                 Email attaching draft presentation prepared to WP     Withheld   Yes
                                                      Wesley Bell                                  assist counsel with Congressional proceeding
                                                                                                   and in anticipation of litigation.

2193   6-Jun-10    PowerPoint                                                                      Draft presentation prepared at request of        WP   Withheld   N/A
                                                                                                   counsel to assist with Congressional
                                                                                                   proceedings and in anticipation of litigation.

2194   6-Jun-10    Email         Bill Ambrose         Bill Ambrose                                 Email attaching draft presentation prepared at WP     Withheld   Yes
                                                                                                   request of counsel to assist with
                                                                                                   Congressional proceedings and in
                                                                                                   anticipation of litigation.


2195   6-Jun-10    PowerPoint                                                                      Draft presentation prepared at request of        AC   Withheld   N/A
                                                                                                   counsel to assist with Congressional             WP
                                                                                                   proceedings and in anticipation of litigation


2196   10-Jun-10   Email         Georgianne Johnson   oliver@bullfighterdesign.com; Bill Ambrose   Communication with third party consultant,       WP   Withheld   Yes
                                                                                                   Bullfighter Design, under the supervision of
                                                                                                   counsel for work to be done and in
                                                                                                   anticipation of litigation.
2197   10-Jun-10   Spreadsheet                                                                     Form provided to third party vendor,             WP   Withheld   N/A
                                                                                                   Bullfighter Design, regarding work to be done
                                                                                                   under the supervision of counsel and in
                                                                                                   anticipation of litigation
2198   10-Jun-10   Email         Georgianne Johnson   Bill Ambrose                                 Email re: form for third party consultant,       WP   Withheld   Yes
                                                                                                   Bullfighter Design, for work to be done under
                                                                                                   the supervision of counsel and in
                                                                                                   anticipation of litigation
2199   10-Jun-10   Spreadsheet                                                                     Form for third party consultant, Bullfighter     WP   Withheld   N/A
                                                                                                   Design, for work to be done under the
                                                                                                   supervision of counsel to assist with ongoing
                                                                                                   litigation.
2200   4-Jun-10    Email         Hannah Sloane        Bill Ambrose                                 Email communication providing crew               AC   Withheld   N/A
                                                      Guy Cantwell                                 information to assist counsel in connection      WP
                                                                                                   with JIT proceedings and in anticipation of
                                                                                                   litigation.
                                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 188 of 277
2201   11-Jun-10   PowerPoint   Draft presentation to Congress reflecting legal AC   Withheld   N/A
                                advice and prepared under supervision of        WP
                                counsel and in anticipation of litigation.

2202   14-May-10   Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation

2203   8-Jun-10    Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation

2204   9-Jun-10    Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation

2205   18-May-10   Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation

2206   19-May-10   Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation

2207   17-May-10   Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation

2208   17-May-10   Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation

2209   20-May-10   Email        Communication with third party consultant,    WP     Withheld   N/A
                                Bullfighter Design, regarding work to be done
                                under supervision of counsel and in
                                anticipation of litigation
                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 189 of 277
2210   18-May-10   Email   Communication with third party consultant,    WP      Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation

2211   7-Jun-10    Email   Communication with third party consultant,    WP      Withheld   Yes
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation

2212   7-Jun-10    Adobe   Invoice from third party consultant, Bullfighter WP   Withheld   N/A
                           Design, related to work conducted under the
                           supervision of counsel and in anticipation of
                           litigation

2213   18-May-10   Email   Communication with third party consultant,    WP      Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation

2214   19-May-10   Email   Communication with third party consultant,    WP      Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2215   18-May-10   Email   Communication with third party consultant,    WP      Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2216   17-May-10   Email   Communication with third party consultant,    WP      Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2217   18-May-10   Email   Communication with third party consultant,    WP      Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation
                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 190 of 277
2218   9-Jun-10    Email   Communication with third party consultant,    WP     Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2219   8-Jun-10    Email   Communication with third party consultant,    WP     Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2220   19-May-10   Email   Communication with third party consultant,    WP     Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2221   18-May-10   Email   Communication with third party consultant,    WP     Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2222   17-May-10   Email   Communication with third party consultant,    WP     Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2223   17-May-10   Email   Communication with third party consultant,    WP     Withheld   N/A
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2224   7-Jun-10    Email   Communication with third party consultant,    WP     Withheld   Yes
                           Bullfighter Design, regarding work to be done
                           under supervision of counsel and in
                           anticipation of litigation


2225   7-Jun-10    Adobe   Invoice provided by third party consultant,     WP   Withheld   N/A
                           Bullfighter Design, for work conducted under
                           supervision of counsel to assist with ongoing
                           litigation
                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 191 of 277
2226   18-May-10   Email                                     Communication with third party consultant,    WP    Withheld   N/A
                                                             Bullfighter Design, regarding work to be done
                                                             under supervision of counsel and in
                                                             anticipation of litigation


2227   18-May-10   Email                                     Communication with third party consultant,    WP    Withheld   N/A
                                                             Bullfighter Design, regarding work to be done
                                                             under supervision of counsel and in
                                                             anticipation of litigation


2228   19-May-10   Email                                     Communication with third party consultant,    WP    Withheld   N/A
                                                             Bullfighter Design, regarding work to be done
                                                             under supervision of counsel and in
                                                             anticipation of litigation


2229   18-May-10   Email                                     Communication with third party consultant,    WP    Withheld   N/A
                                                             Bullfighter Design, regarding work to be done
                                                             under supervision of counsel and in
                                                             anticipation of litigation


2230   17-May-10   Email                                     Communication with third party consultant,    WP    Withheld   N/A
                                                             Bullfighter Design, regarding work to be done
                                                             under supervision of counsel and in
                                                             anticipation of litigation

2231   16-Nov-10   Email   Philip Zhang     Geoff Boughton   Draft analysis for OSC proceedings prepared WP      Withheld   Yes
                                            Dan Farr         to facilitate legal advice and in anticipation of
                                            Bill Ambrose     litigation
                                            Jim Brekke
                                            Doug Kennedy

2232   16-Nov-10   Word    Darrell Pelley                    Draft analysis for OSC proceedings prepared WP      Withheld   N/A
                                                             to facilitate legal advice and in anticipation of
                                                             litigation

2233   19-Oct-10   Email   Bill Ambrose     Dan Farr         Draft analysis for OSC proceedings prepared WP      Withheld   Yes
                                            Philip Zhang     to facilitate legal advice and in anticipation of
                                            Geoff Boughton   litigation
                                            Doug Kennedy
                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 192 of 277
2234   12-Nov-10   Word    Bob Walsh                                     Minutes of DWH investigation team weekly     AC      05.        N/A
                                                                         technical group meeting reflecting advice of WP      Redacted
                                                                         counsel and work done to assist counsel with         for
                                                                         OSC proceedings and in anticipation of               Production
                                                                         litigation


2235   15-Oct-10   Word    Bob Walsh                                     Minutes of DWH investigation team weekly     AC      05.        Attachment
                                                                         technical group meeting reflecting advice of WP      Redacted
                                                                         counsel and work done to assist counsel with         for
                                                                         OSC proceedings and in anticipation of               Production
                                                                         litigation

2236   11-Nov-10   Email   Geoff Boughton   Dan Farr                     Email string re draft analysis for             WP    Withheld   N/A
                                            Philip Zhang; Bill Ambrose   OSC proceedings prepared to facilitate legal
                                            Jim Brekke                   advice and in anticipation of litigation
                                            Doug Kennedy

2237   19-Oct-10   Email   Dan Farr         Philip Zhang; Bill Ambrose   Email string re draft analysis for OSC         WP    Withheld   N/A
                                            Geoff Boughton               submissions prepared to facilitate legal
                                            Doug Kennedy                 advice and in anticipation of litigation

2238   7-Dec-10    Email   Dan Farr         Steven Newman                Weekly investigation update to management AC         Withheld   N/A
                                            Bill Ambrose                 and counsel provided to facilitate rendition of WP
                                            Arnaud Bobillier             legal advice and in anticipation of litigation
                                            Rachel Clingman, Esq.
                                            Dan Farr
                                            Adrian Rose

2239   16-Nov-10   Email   Philip Zhang     Geoff Boughton               Analysis prepared for OSC proceedings          WP    Withheld   Yes
                                            Dan Farr                     under supervision of counsel and in
                                            Bill Ambrose                 anticipation of litigation
                                            Jim Brekke
                                            Doug Kennedy

2240   16-Nov-10   Word    Darrell Pelley                                Analysis prepared for OSC proceedings          WP    Withheld   N/A
                                                                         under supervision of counsel and in
                                                                         anticipation of litigation

2241   12-Nov-10   Email   Dan Farr         Steven Newman                Weekly investigation update to management AC         Withheld   N/A
                                            Bill Ambrose                 and counsel provided to facilitate rendition of WP
                                            Arnaud Bobillier             legal advice and in anticipation of itigation
                                            Rachel Clingman, Esq.
                                            Dan Farr
                                            Adrian Rose
                                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 193 of 277
2242   5-Nov-10    Email   Wesley Bell                                  Communication with third party consultant,      WP   Withheld   N/A
                                                                        Bullfighter Design, regarding work done at
                                         oliver@bullfighterdesign.com   request of counsel to assist with OSC
                                         Bill Ambrose                   proceedings and in anticipation of litigation
                                         Perrin Roller

2243   5-Nov-10    Email   Derek Hart    Bill Ambrose                   Communication with third party consultant,      AC   Withheld   Yes
                                         Dan Farr                       Prospect, regarding work done at request of     WP
                                         David Baay, Esq.               counsel to assist with OSC proceedings and
                                         Steven Sparling, Esq.          in anticipation of litigation
                                         Mark Thibodeaux, Esq.

2244   5-Nov-10    Adobe                                                Draft presentation from third party          WP      Withheld   N/A
                                                                        consultant, Prospect, for OSC proceedings
                                                                        prepared under supervision of counsel and in
                                                                        anticipation of litigation


2245   29-Oct-2010 Email   Buddy Fojt    Michael Bagdon                 Email communication with attached              AC    Withheld   Yes
       5-Nov-2010                        Todd White                     draft presentation reflecting legal advice and WP
                                         Bill Ambrose                   providing information to assist counsel with
                                         Dan Farr                       ongoing OSC proceedings and in anticipation
                                                                        of litigation


2246   29-Oct-2010 Word                                                 Draft OSC presentation attached to email      AC     Withheld   N/A
       5-Nov-2010                                                       communication providing information to assist WP
                                                                        counsel with ongoing OSC proceedings and
                                                                        in anticipation of litigation


2247   5-Nov-10    Email   Ryan Smith    Bill Ambrose                   Email communication with attached draft      AC      Withheld   N/A
                                         Wesley Bell                    OSC submission prepared under supervision WP
                                         Perrin Roller                  of counsel and in anticipation of litigation

2248   5-Nov-10    Email   Ryan Smith    Oliver Diaz                    Communication with third party consultant,      WP   Withheld   Yes
                                         Bill Ambrose                   Bullfighter Design, regarding work done at
                                         Wesley Bell                    request of counsel to assist with OSC
                                                                        proceedings and in anticipation of litigation
                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 194 of 277
2249   5-Nov-10   Adobe                                        Revisions to draft presentation by third party WP    Withheld   N/A
                                                               consultant, Bullfighter Design, prepared at the
                                                               request of counsel to assist with OSC
                                                               proceedings and in anticipation of litigation




2250   4-Nov-10   Email          Ryan Smith    Oliver Diaz     Communication with third party consultant,      WP   Withheld   Yes
                                               Bill Ambrose    Bullfighter Design, regarding work done at
                                               Wesley Bell     request of counsel to assist with OSC
                                                               proceedings and in anticipation of litigation




2251   4-Nov-10   Adobe                                        Revisions to draft presentation by third party WP    Withheld   N/A
                                                               consultant, Bullfighter Design, prepared at the
                                                               request of counsel to assist with OSC
                                                               proceedings and in anticipation of litigation




2252   4-Nov-10   Email          Wesley Bell   Bill Ambrose    Communication regarding various draft           WP   Withheld   N/A
                                                               presentations to OSC proceedings prepared
                                                               under supervision of counsel and in
                                                               anticipation of litigation

2253   4-Nov-10   Email          Oliver Diaz   Bill Ambrose    Communication with third party consultant,      WP   Withheld   N/A
                                               Wesley Bell     Bullfighter Design, regarding work done at
                                               Ryan Smith      request of counsel to assist with OSC
                                                               proceedings and in anticipation of litigation




2254   4-Nov-10   Email          Dan Farr      Bill Ambrose    Email communication with attached testing     AC     Withheld   Yes
                                               Dan Farr        presentation reflecting information prepared WP
                                               Brian Kennedy   at the direction of counsel to assist counsel
                                                               with ongoing litigation and OSC proceedings.


2255   4-Nov-10   Microsoft                                    Testing presentation attached to email          AC   Withheld   N/A
                  Office                                        reflecting information prepared at the         WP
                  PowerPoint                                   direction of counsel to assist counsel with
                  2007                                         ongoing litigation and OSC proceedings.
                  Presentation
                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 195 of 277
2256   4-Nov-10   Email          Michael Bagdon   Bill Ambrose; Brian Kennedy   Email reflecting legal advice re: attached      AC    Withheld   Yes
                                                                                slides prepared at request of counsel to assist WP
                                                                                with OSC proceedings and ongoing litigation.

2257   4-Nov-10   Microsoft                                                     Slides prepared at request of counsel to         AC   Withheld   N/A
                  Office                                                        assist with OSC proceedings and ongoing          WP
                  PowerPoint                                                    litigation attached to email reflecting legal
                  2007                                                          advice re: same.
                  Presentation
2258   3-Nov-2010 Email          Dan Farr         Bill Ambrose                  Email string regarding BOP testing prepared      AC   Withheld   Yes
       4-Nov-2010                                 Brian Kennedy                 at the request of counsel in connection with     WP
                                                                                OSC proceedings and in anticipation of
                                                                                litigation.
2259   3-Nov-2010 Email          Dan Farr         Bill Ambrose                  Email string regarding BOP testing prepared      AC   Withheld   N/A
       4-Nov-2010                                 Geoff Boughton                at the request of counsel in connection with     WP
                                                  Ewen Florence                 OSC proceedings and in anticipation of
                                                  Steve Myers                   litigation.
                                                  Bob Walsh

2260   3-Nov-2010 Word           Mika Reed                                      Chart regarding BOP testing prepared at the      AC   Withheld   N/A
       4-Nov-2010                                                               request of counsel in connection with OSC        WP
                                                                                proceedings and in anticipation of litigation.

2261   3-Nov-2010 VSD File       Harshal Patil                                  Chart regarding testing prepared at the          AC   Withheld   N/A
       4-Nov-2010                                                               request of counsel in connection with OSC        WP
                                                                                proceedings

2262   3-Nov-2010 Microsoft                                                     Draft presentation regarding BOP testing         AC   Withheld   N/A
       4-Nov-2010 Office                                                        prepared at the request of counsel in            WP
                  PowerPoint                                                    connection with OSC proceedings and in
                  2007                                                          anticipation of litigation.
                  Presentation
2263   4-Nov-10   Email          Brian Kennedy    Bill Ambrose                  Email string providing information for the       AC   Withheld   N/A
                                                  Dan Farr                      purpose of obtaining legal advice re: slide      WP
                                                                                prepared at request of counsel to assist with
                                                                                OSC proceedings and in anticipation of
                                                                                litigation.


2264   4-Nov-10   Email          Dan Farr         Bill Ambrose                  Email string providing information for the     AC     Withheld   Yes
                                                  Dan Farr                      purpose of obtaining legal advice re: attached WP
                                                  Brian Kennedy                 slide prepared at request of counsel to assist
                                                                                with OSC proceedings and in anticipation of
                                                                                litigation.
                                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 196 of 277
2265   4-Nov-10   Microsoft                                               Slice prepared at request of counsel to assist AC    Withheld   N/A
                  Office                                                  with OSC proceedings and in anticipation of WP
                  PowerPoint                                              litigation attached to email string providing
                  2007                                                    information for the purpose of obtaining legal
                  Presentation                                            advice re: same

2266   4-Nov-10   Email          Dan Farr         Bill Ambrose            Email string re draft OSC presentation       AC      Withheld   N/A
                                                  Dan Farr                prepared under supervision of counsel and in WP
                                                  Brian Kennedy           anticipation of litigation
                                                  Geoff Boughton
                                                  Ewen Florence
                                                  Steve Myers
                                                  Bob Walsh

2267   4-Nov-10   Email          Oliver Diaz      Bill Ambrose            Communication with third party consultant,      WP   Withheld   N/A
                                                  Ryan Smith              Bullfighter Design, regarding work done at
                                                                          request of counsel to assist with OSC
                                                                          proceedings and in anticipation of litigation




2268   3-Nov-10   Email          Michael Bagdon   Bill Ambrose            Email with attached graphic reflecting legal AC      Withheld   Yes
                                                                          advice re: same in connection with upcoming WP
                                                                          OSC proceedings and ongoing litigation.

2269   3-Nov-10   Microsoft                                               Graphic attached to email reflecting legal  AC       Withheld   N/A
                  Office                                                  advice re: same in connection with upcoming WP
                  PowerPoint                                              OSC proceedings and ongoing litigation.
                  2007
                  Presentation
2270   3-Nov-10   Email          Wesley Bell      Bill Ambrose            Communication regarding draft OSC               WP   Withheld   Yes
                                                                          submission prepared under supervision of
                                                                          counsel and in anticipation of litigation

2271   3-Nov-10   Word                                                    Draft OSC submission prepared under             AC   Withheld   N/A
                                                                          supervision of counsel and in anticipation of   WP
                                                                          litigation

2272   3-Nov-10   Email          Dan Farr         Steven Newman           Weekly investigation update to management       AC   Withheld   N/A
                                                  Bill Ambrose            and counsel to facilitate rendition of legal    WP
                                                  Arnaud Bobillier        advice and in anticipation of litigation
                                                  Rachel Clingman, Esq.
                                                  Adrian Rose
                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 197 of 277
2273   3-Nov-10   Email          Derek Hart      Alistair Gill   Communication with third party consultant,   WP         Withheld   N/A
                                                 Bill Ambrose    Prospect, regarding draft presentation for
                                                 Dan Farr        OSC proceedings prepared under supervision
                                                 Bjoern Ritter   of counsel and in anticipation of litigation

2274   2-Nov-10   Email          Brian Kennedy   Bill Ambrose    Email with attached chart prepared at request AC        Withheld   Yes
                                                                 of counsel to assist with OSC proceedings          WP
                                                                 and in anticipation of litigation reflecting legal
                                                                 advice re same.

2275   2-Nov-10   Microsoft                                      Chart prepared at request of counsel to assist AC       Withheld   N/A
                  Office                                         with OSC proceedings and in anticipation of WP
                  PowerPoint                                     litigation attached to email reflecting legal
                  2007                                           advice re same.
                  Presentation
2276   2-Nov-10   Email          Brian Kennedy   Bill Ambrose    Email attaching draft presentations to OSC       AC     Withheld   Yes
                                                                 and prior email provided under the direction     WP
                                                                 of counsel and reflecting legal advice
                                                                 regarding same prepared and/or gathered to
                                                                 assist with the OSC proceedings

2277   2-Nov-10   Microsoft                                      Draft OSC submission prepared under              AC     Withheld   N/A
                  Office                                         supervision of counsel and in anticipation of    WP
                  PowerPoint                                     litigation
                  2007
                  Presentation
2278   2-Nov-10   Microsoft                                      Draft OSC submission prepared under              AC     Withheld   N/A
                  Office                                         supervision of counsel and in anticipation of    WP
                  PowerPoint                                     litigation
                  2007
                  Presentation
2279   1-Nov-10   Email          Bjoern Ritter   Bill Ambrose    Communication regarding draft Prospect           WP     Withheld   N/A
                                                 Dan Farr        presentation for OSC proceedings prepared
                                                 Chad Crain      under supervision of counsel and in
                                                 Derek Hart      anticipation of litigation

2280   1-Nov-10   Email          Bjoern Ritter   Bill Ambrose    Communication regarding draft Prospect           WP     Withheld   N/A
                                                 Dan Farr        presentation for OSC proceedings prepared
                                                 Chad Crain      under supervision of counsel and in
                                                 Derek Hart      anticipation of litigation


2281   1-Nov-10   Email          Oliver Diaz     Bill Ambrose    Communication with third party consultant,       WP     Withheld   Yes
                                                 Wesley Bell     Bullfighter Design, regarding draft OSC
                                                                 presentation prepared under supervision of
                                                                 counsel and in anticipation of litigation
                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 198 of 277
2282   1-Nov-10    Microsoft   dkluk                                   Graphics for draft OSC submissions prepared AC       Withheld   N/A
                   Excel                                               under supervision of counsel and in          WP
                   Worksheet                                           anticipation of litgation
2283   1-Nov-10    Adobe                                               Graphics for draft OSC submission prepared AC        Withheld   N/A
                                                                       under supervision of counsel and in          WP
                                                                       anticipation of litigation
2284   1-Nov-10    Email       Derek Hart      Bill Ambrose            Communication regarding Prospect             WP      Withheld   N/A
                                               Alistair Gill           draft presentation for OSC proceedings
                                               Dan Farr                prepared under supervision of counsel and in
                                               Bjoern Ritter           anticipation of litigation

2285   31-Oct-10   Email       Perrin Roller   Wesley Bell             Email regarding draft OSC submission            AC   Withheld   Yes
                                               Bill Ambrose            reflecting legal advice of counsel and          WP
                                               Steven Sparling, Esq.   prepared at the direction of counsel in
                                               Mark Thibodeaux, Esq.   anticipation of litigation.

2286   31-Oct-10   Word                                                Draft OSC submission reflecting legal advice AC      Withheld   N/A
                                                                       of counsel and prepared at the direction of  WP
                                                                       counsel in anticipation of litigation.

2287   29-Oct-10   Email       Dan Farr        Bill Ambrose            Communication regarding draft OSC               WP   Withheld   Yes
                                                                       submission prepared under supervision of
                                                                       counsel and in anticipation of litigation

2288   29-Oct-10   Word                                                Draft to OSC submission prepared under          AC   Withheld   N/A
                                                                       supervision of counsel and in anticipation of   WP
                                                                       litigation
2289   22-Oct-2010 Email       Perrin Roller   Bill Ambrose            Email with attached draft OSC submission        AC   Withheld   Yes
       29-Oct-2010                             Steven Sparling, Esq.   prepared at the direction of counsel and in     WP
                                               Wesley Bell             anticipation of litigation.

2290   22-Oct-2010 Word                                                Draft OSC submission prepared at the            AC   Withheld   N/A
       29-Oct-2010                                                     direction of counsel and in anticipation of     WP
                                                                       litigation.

2291   29-Oct-10   Email       Perrin Roller   Bill Ambrose            Communication regarding work done by third WP        Withheld   Yes
                                               Steven Sparling, Esq.   party consultant, George Birch to assist
                                               Wesley Bell             counsel in OSC proceedings and in
                                               Rachael Dsane-Selby     anticipation of litigation
                                               Ryan Smith
                                               Mark Thibodeaux, Esq.
                                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 199 of 277
2292   29-Oct-10   Word                                                  Summary of cementing issues prepared by          WP   Withheld   N/A
                                                                         third party consultant, George Birch to assist
                                                                         counsel in OSC proceedings and in
                                                                         anticipation of litigation


2293   29-Oct-10   Email        Oliver Diaz      Bill Ambrose            Communication with third party consultant,       WP   Withheld   N/A
                                                                         Bullfighter Design, regarding draft
                                                                         presentation to OSC prepared under
                                                                         supervision of counsel and in anticipation of
                                                                         litigation
2294   29-Oct-10   Email        Bob Walsh        Bill Ambrose            Email string attaching email string providing    AC   Withheld   Yes
                                                 Dan Farr                information on BOP issues to assist counsel      WP
                                                 David Baay, Esq.        with OSC proceedings and in anticipation of
                                                 Ewen Florence           litigation.
                                                 Ryan McIntosh
                                                 Steve Myers
                                                 Steven Sparling, Esq.

2295   29-Oct-10   Email        Owen Mcwhorter   Bob Walsh               Email string attached to email string providing AC    Withheld   N/A
                                                                         information on BOP issues to assist counsel WP
                                                                         with OSC proceedings and in anticipation of
                                                                         litigation.


2296   29-Oct-10   Email        Bob Walsh        Bill Ambrose            Email string providing attached information on AC     Withheld   Yes
                                                 Dan Farr                control panels to assist counsel with ongoing WP
                                                 David Baay, Esq.        litigation and OSC proceedings.
                                                 Ewen Florence
                                                 Ryan McIntosh
                                                 Steve Myers
                                                 Steven Sparling, Esq.

2297   29-Oct-10   JPEG Image                                            Photo provided to assist counsel with ongoing AC      Withheld   N/A
                                                                         litigation and OSC proceedings.               WP

2298   28-Oct-10   Email        Dan Farr         Bill Ambrose            Communication providing information for the      AC   Withheld   Yes
                                                 Mark Thibodeaux, Esq.   purpose of obtaining legal advice regarding      WP
                                                                         draft OSC presentation.

2299   28-Oct-10   Adobe                                                 Draft preserntation for OSC proceedings          WP   Withheld   N/A
                                                                         prepared in anticipation of litigation.
                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 200 of 277
2300   28-Oct-10   Email   Bjoern Ritter              Alistair Gill              Communication with third party                  WP    Withheld   N/A
                                                      Bill Ambrose               consultant, Prospect, re draft presentation for
                                                      Chad Crain                 OSC proceedings prepared in anticpation of
                                                      Derek Hart                 litigation.

2301   27-Oct-10   Email   Dan Farr                   Bill Ambrose               Communication re: BOP testing prepared         WP     Withheld   Yes
                                                      Steve Myers                under direction of counsel to assist with OSC
                                                      Chris Tolleson             proceedings and in anticipation of litigation.

2302   27-Oct-10   Word    Mika Reed                                             Procedure re: BOP testing prepared at            WP   Withheld   N/A
                                                                                 request of counsel to assist with OSC
                                                                                 proceedings and in anticipation of litigation.

2303   27-Oct-10   Email   Leif Nelson                Bill Ambrose               Email communication reflecting legal advice      AC   Withheld   N/A
                                                                                 of counsel regarding draft OSC submissions       WP
                                                                                 and seeking information in anticipation o of
                                                                                 litigation
2304   26-Oct-10   Email   Alistair Gill (Prospect)   Derek Hart                 Communicaton with third party consultant,        WP   Withheld   N/A
                                                      Bill Ambrose               Prospect, re: draft presentation to OSC
                                                      Bjoern Ritter              prepared under supervision of counsel in
                                                      Steve Howell (Prospect)    anticipation of litigation.

2305   26-Oct-10   Email   Dan Farr                   To: Bill Ambrose           Draft of weekly investigation update sent to     AC   Withheld   N/A
                                                                                 management and counsel to facilitate             WP
                                                                                 rendition of legal advice and in anticipation of
                                                                                 litigation.
2306   26-Oct-10   Email   Alistair Gill (Prospect)   Bill Ambrose               Communicaton with third party consultant,        WP   Withheld   N/A
                                                      Glen Mitchell (Prospect)   Prospect, re: draft presentation to OSC
                                                      Derek Hart                 prepared under supervision of counsel and in
                                                      Bjoern Ritter              anticipation of litigation.
                                                      Steve Howell (Prospect)

2307   26-Oct-10   Email   Alistair Gill (Prospect)   Bill Ambrose               Communicaton with third party consultant,    WP       Withheld   N/A
                                                      Derek Hart                 Prospect, re: draft presentation to OSC
                                                                                 prepared under supervision of counsel and in
                                                                                 anticipation of litigation.


2308   26-Oct-10   Email   Alistair Gill (Prospect)   Bill Ambrose               Communicaton with third party consultant,    WP       Withheld   N/A
                                                                                 Prospect, re: draft presentation to OSC
                                                                                 prepared under supervision of counsel and in
                                                                                 anticipation of litigation.
                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 201 of 277
2309   25-Oct-10   Email          Alistair Gill (Prospect)   Bill Ambrose               Communicaton with third party consultant,    WP       Withheld   N/A
                                                             Derek Hart                 Prospect, re: draft presentation to OSC
                                                                                        prepared under supervision of counsel and in
                                                                                        anticipation of litigation.


2310   25-Oct-10   Email          Oliver Diaz                Bill Ambrose               Communication with third party consultant,       WP   Withheld   N/A
                                                                                        Bullfighter Design, re draft presentation to
                                                                                        OSC prepared under supervision of counsel
                                                                                        and in anticipation of litigation.

2311   25-Oct-10   Email          Derek Hart                 Bill Ambrose               Communication re: work of third party            WP   Withheld   N/A
                                                             Alistair Gill (Prospect)   consultant, Prospect, re draft presentation to
                                                             Dan Farr                   OSC prepared under supervision of counsel
                                                                                        and in anticipation of litigation.


2312   22-Oct-2010 Email          Dan Farr                   Adrian Rose                Request from counsel re BOP information      AC       Withheld   N/A
       23-Oct-2010                                           Bill Ambrose               and information obtained in response thereto WP
                                                                                        and in anticipation of litigation

2313   22-Oct-10   Email          Alistair Gill (Prospect)   Bill Ambrose               Communicaton with third party consultant,    WP       Withheld   N/A
                                                             Derek Hart                 Prospect, re: draft presentation to OSC
                                                                                        prepared under supervision of counsel and in
                                                                                        anticipation of litigation.

2314   22-Oct-10   Email          Michael Bagdon             Bill Ambrose               Email with attached slides reflecting legal      AC   Withheld   Yes
                                                                                        advice re: same prepared at request of           WP
                                                                                        counsel to assist with OSC proceedings and
                                                                                        in anticipation of litigation.

2315   22-Oct-10   Microsoft                                                            Slides attached to email reflecting legal        AC   Withheld   N/A
                   Office                                                               advice re: same prepared at request of           WP
                   PowerPoint                                                           counsel to assist with OSC proceedings and
                   2007                                                                 in anticipation of litigation.
                   Presentation
2316   22-Oct-10   Word           Bob Walsh                                             Minutes of DWH investigation team weekly         AC   Withheld   N/A
                                                                                        technical group meeting reflecting legal         WP
                                                                                        advice of counsel and work done to assist in
                                                                                        OSC proceedings and in anticipation of
                                                                                        litigation.
                                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 202 of 277
2317   21-Sep-     Email       Michael Bagdon   Bill Ambrose   Email attaching draft timeline reflecting legal   AC   Withheld   Yes
       2009                                                    advice re: draft OSC submission prepared          WP
       20-Oct-2009                                             under supervision of counsel and in
       22-Oct-2009                                             anticipation of litigation.
       30-Oct-2009
       4-Nov-2009
       17-Nov-
       2009
       21-Oct-2010




2318   21-Sep-     Microsoft                                   Draft timeline attached to email reflecting  AC        Withheld   N/A
       2009        Excel                                       legal advice re: draft OSC submission        WP
       20-Oct-2009 Worksheet                                   prepared under supervision of counsel and in
       22-Oct-2009                                             anticipation of litigation.
       30-Oct-2009
       4-Nov-2009
       17-Nov-
       2009
       21-Oct-2010




2319   21-Oct-10   Adobe                                       File atached to email string providing            AC   Withheld   N/A
                                                               information requested by counsel for the          WP
                                                               purpose of rendering legal advice in
                                                               connection with OSC proceedings and in
                                                               anticipation of litigation.

2320   21-Oct-10   Adobe                                       File atached to email string providing            AC   Withheld   N/A
                                                               information requested by counsel for the          WP
                                                               purpose of rendering legal advice in
                                                               connection with OSC proceedings and in
                                                               anticipation of litigation.
2321   21-Oct-10   Email       Stephen Ward     Bill Ambrose   Email string re: draft OSC submission             WP   Withheld   N/A
                                                               prepared under supervision of counsel and in
                                                               anticipation of litigation.
2322   18-Oct-10   Email       Brian Kennedy    Bill Ambrose   Communication reflecting legal advice             AC   Withheld   Yes
                                                               re: attached notes prepared at the request of     WP
                                                               counsel to assist with OSC proceedings and
                                                               in anticipation of litigation.
                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 203 of 277
2323   18-Oct-10   Word                                                 Notes prepared at the request of counsel to        AC   Withheld   N/A
                                                                        assist with OSC proceedings and in                 WP
                                                                        anticipation of litigation attached to
                                                                        communication reflecting legal advice
                                                                        re: same.

2324   15-Oct-10   Word           Bob Walsh                             DWH Investigation weekly technical group     AC         Withheld   N/A
                                                                        update reflecting legal advice and work done WP
                                                                        in anticipation of litigation.

2325   15-Oct-10   Email          Steve Myers   Bill Ambrose            Communication outlining draft OSC             WP        Withheld   N/A
                                                Dan Farr                submission to be prepared under supervision
                                                                        of counsel and in anticipation of litigation.

2326   14-Oct-10   Email          Dan Farr      Bill Ambrose            Email communication providing information to AC         Withheld   N/A
                                                                        assist counsel with JIT proceedings and in   WP
                                                                        anticipation of litigation .

2327   2-Aug-2010 Email           Dan Farr      Dan Farr                Email string with attached draft presentation      AC   Withheld   Yes
       14-Oct-2010                              Steve Myers             prepared at the request of counsel to assist       WP
                                                Bob Walsh               with Congressional proceedings and in
                                                Bill Ambrose            anticipation of litigation providing information
                                                Mark Thibodeaux, Esq.   for the purpose of obtaining legal advice
                                                                        re: same.

2328   2-Aug-2010 Microsoft                                             Draft presentation prepared at the request of AC        Withheld   N/A
       14-Oct-2010 Office                                               and forwarded to counsel to assist with         WP
                   PowerPoint                                           Congressional proceedings and in
                   2007                                                 anticipation of litigation attached to email
                   Presentation                                         string providing information for the purpose of
                                                                        obtaining legal advice re: same.



2329   14-Oct-10   Email          Dan Farr      Chad Crain              Email communication providing information to AC         Withheld   N/A
                                                Bill Ambrose            assist counsel with OSC proceedings and in WP
                                                Steve Myers             anticipation of litigation
                                                Mark Thibodeaux, Esq.
                                                Bob Walsh

2330   14-Oct-10   Email          Dan Farr      Chad Crain              Email communication providing information to AC         Withheld   N/A
                                                Bill Ambrose            assist counsel with OSC proceedings.         WP
                                                Steve Myers
                                                Mark Thibodeaux, Esq.
                                                Bob Walsh
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 204 of 277
2331   14-Oct-10   Email   Dan Farr        Chad Crain              Email communication providing information to AC       Withheld   N/A
                                           Bill Ambrose            assist counsel with OSC proceedings and in WP
                                           Steve Myers             anticipation of litigation.
                                           Mark Thibodeaux, Esq.
                                           Bob Walsh

2332   14-Oct-10   Email   Dan Farr        Chad Crain              Email communication providing information to AC       Withheld   N/A
                                           Bill Ambrose            assist counsel with OSC proceedings and in WP
                                           Steve Myers             anticipation of litigation.
                                           Mark Thibodeaux, Esq.
                                           Bob Walsh

2333   14-Oct-10   Email   Derek Hart      Bill Ambrose            Email re draft OSC presentation prepared         WP   Withheld   Yes
                                           Chad Crain              by third party consultant Prospect, to assist
                                           Bjoern Ritter           counsel with the OSC proceedings and in
                                                                   anticipation of litigation.

2334   14-Oct-10   Adobe                                           Draft presentation from third party consultant, WP    Withheld   N/A
                                                                   Prospect, prepared to assist counsel with
                                                                   the OSC proceedings and in anticipation of
                                                                   litigation.

2335   12-Oct-10   Email   Steven Newman   Bill Ambrose            Weekly investigation update to management AC          Withheld   N/A
                                           Dan Farr                and counsel prepared to faciliatate rendition WP
                                                                   of legal advice and in anticipation of litigation
                                                                   and follow-up emails

2336   9-Oct-10    Email   Derek Hart      Bill Ambrose            Communication re: draft OSC presentation by WP        Withheld   Yes
                                           Bjoern Ritter           third party consultant, Prospect, prepared
                                                                   under supervision of counsel and in
                                                                   anticipation of litigation.

2337   9-Oct-10    Adobe                                           Report of third party consultant, GL Noble       WP   Withheld   N/A
                                                                   Denton, prepared under supervision of
                                                                   counsel and in anticipation of litigation.

2338   8-Oct-10    Email   Dan Farr        Bill Ambrose            Weekly investigation update to management AC          Withheld   N/A
                                                                   and counsel prepared to faciliatate rendition WP
                                                                   of legal advice and in anticipation of litigation
                                                                   and follow-up email


2339   6-Oct-10    Email   George Birch    Perrin Roller           Email with attached list providing information   AC   Withheld   Yes
                                           Bill Ambrose            requested by counsel for the purpose of          WP
                                           Wesley Bell             rendering legal advice re JIT proceedings
                                           Rachael Dsane-Selby     and in anticipation of litigation.
                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 205 of 277
2340   6-Oct-10    Word                                                     Draft questions for JIT proceedings prepared     AC   Withheld   N/A
                                                                            under supervision of counsel and in              WP
                                                                            anticipation of litigation
2341   5-Oct-10    Email   Butefish, Stephanie   To: Bill Ambrose           Email re OSC work to be done under               WP   Withheld   Yes
                           (DWH Proj)                                       supervision of counsel and in anticipation of
                                                                            litigation.
2342   5-Oct-10    Word                                                     OSC planner prepared under supervision of        WP   Withheld   N/A
                                                                            counsel and in anticipation of litigation.

2343   4-Oct-10    Email   Derek Hart            Bill Ambrose               update on work done by Prospect for OSC          WP   Withheld   N/A
                                                                            proceedings to assist counsel in rendering
                                                                            legal advice and in anticipation of litigation

2344   30-Sep-10   Email   George Birch          Perrin Roller              Communication including counsel, Mark            AC   Withheld   Yes
                                                 Bill Ambrose               Thibodeaux*, re: cement issues to assist         WP
                                                 Wesley Bell                counsel in OSC proceedings and in
                                                 Rachael Dsane-Selby        anticipation of litigation.

2345   30-Sep-10   Word                                                     Slide comment on cement issues prepared to AC         Withheld   N/A
                                                                            assist counsel in OSC proceedings and in   WP
                                                                            anticipation of litigation attached to
                                                                            communication including counsel, Mark
                                                                            Thibodeaux*.

2346   30-Sep-10   Email   Dan Farr              Geoff Boughton             Email string regarding BOP testing protocols     AC   Withheld   N/A
                                                 Greg Childs                reflecting legal advice and providing            WP
                                                 Ewen Florence              information to assist counsel with JIT
                                                 Robert Phillips            proceedings and ongoing litigation
                                                 Bill Ambrose

2347   29-Sep-10   Email   John Lane             Bill Ambrose; Derek Hart   Communication with third party consultant,       WP   Withheld   Yes
                                                                            GL Noble Denton re work done under
                                                                            supervision of counsel and in anticipation of
                                                                            litigation.
2348   29-Sep-10   Adobe                                                    Report from third party consultant, GL Noble     WP   Withheld   N/A
                                                                            Denton, prepared under supervision of
                                                                            counsel and in anticipation of litigation.

2349   29-Sep-10   Adobe                                                    Transmittal from third party consultant, GL   WP      Withheld   N/A
                                                                            Noble Denton, of report prepared under
                                                                            supervision of counsel and in anticipation of
                                                                            litigation.
2350   28-Sep-10   Email   Oliver Diaz           Bill Ambrose               Communication with third party consultant,    WP      Withheld   N/A
                                                 Wesley Bell                Bullfighter Design, re draft OSC presentation
                                                                            prepared under supervision of counsel and in
                                                                            anticipation of litigation.
                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 206 of 277
2351   27-Sep-10   Email          Wesley Bell         Bill Ambrose   Email string re communication with third party WP    Withheld   Yes
                                                                     consultant, Bullfighter Design, re draft
                                                                     OSC presentation prepared under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
2352   27-Sep-10   Word           DWH Investigation                  Outline of draft OSC presentation by third     WP    Withheld   N/A
                                  Team                               party consultant, Bullfighter Design, prepared
                                                                     under supervision of counsel and in
                                                                     anticipation of litigation.
2353   27-Sep-10   Email          Oliver Diaz         Bill Ambrose   Communication with third party consultant,     WP    Withheld   N/A
                                                                     Bullfighter Design, re draft of
                                                                     OSC presentation prepared under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.

2354   25-Sep-10   Email          Arnaud Bobillier    Bill Ambrose   Weekly investigation update to management AC         Withheld   N/A
                                                                     and counsel provided to facilitate legal advice WP
                                                                     and in anticipation of litigation.

2355   23-Sep-10   Email          Perrin Roller       Bill Ambrose   Email with attached draft report prepared to    WP   Withheld   Yes
                                                      Dan Farr       assist counsel with OSC proceedings and in
                                                                     anticipation of litigation.


2356   23-Sep-10   Microsoft                                         Draft report prepared to assist counsel with    WP   Withheld   N/A
                   Office                                            OSC proceedings and in anticipation of
                   PowerPoint                                        litigation.
                   2007
                   Presentation
2357   22-Sep-10   Email          John Lane           Bill Ambrose   Communication with third party consultant,      WP   Withheld   Yes
                                                                     GL Noble Denton, regarding report prepared
                                                                     under supervision of counsel and in
                                                                     anticipation of litigation.

2358   22-Sep-10   Adobe                                             Transmittal from third party consultant, GL     WP   Withheld   N/A
                                                                     Noble Denton of report prepared under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
2359   22-Sep-10   Adobe                                             Report from third party consultant, GL Noble    WP   Withheld   N/A
                                                                     Denton, prepared under supervision of
                                                                     counsel and in anticipation of litigation.

2360   22-Sep-10   Email          Bill Lamport        Bill Ambrose   Communication with third party consultant,      WP   Withheld   N/A
                                                                     GL Noble Denton, re report prepared under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 207 of 277
2361   20-Sep-10   Email        Oliver Diaz   Bill Ambrose       Communication with third party consultant,    WP     Withheld   Yes
                                                                 Bullfighter Design, re draft OSC presentation
                                                                 prepared under supervision of counsel and in
                                                                 anticipation of litigation.

2362   17-Sep-10   PowerPoint                                    Draft OSC presentation prepared under           WP   Withheld   N/A
                                                                 supervision of counsel and in anticipation of
                                                                 litigation.
2363   17-Sep-10   Email        John Lane     Bill Ambrose       Communication with third party consultant,      WP   Withheld   Yes
                                                                 GL Noble Denton, re report prepared under
                                                                 supervision of counsel and in anticipation of
                                                                 litigation.
2364   17-Sep-10   Adobe                                         Transmittal from third party consultant, GL     WP   Withheld   N/A
                                                                 Noble Denton, of report prepared under
                                                                 supervision of counsel and in anticipation of
                                                                 litigation.
2365   17-Sep-10   Adobe                                         Letter from third party consultant, GL Noble    WP   Withheld   N/A
                                                                 Denton, re report prepared under supervision
                                                                 of counsel and in anticipation of litigation.

2366   14-Sep-10   Email        Derek Hart    Bill Ambrose       Email string re communication with third party WP    Withheld   Yes
                                                                 consultant, GL Noble Denton, re report
                                                                 prepared under supervision of counsel and in
                                                                 anticipation of litigation.

2367   14-Sep-10   Adobe                                         Transmittal from third party consultant, GL     WP   Withheld   N/A
                                                                 Noble Denton, re report prepared under
                                                                 supervision of counsel and in anticipation of
                                                                 litigation.
2368   14-Sep-10   Adobe                                         Work Order for third party consultant, GL       WP   Withheld   N/A
                                                                 Noble Denton, for report to be prepared
                                                                 under supervision of counsel and in
                                                                 anticipation of litigation.
2369   14-Sep-10   Email        Derek Hart    Bill Lamport       Communication with third party consultant,      WP   Withheld   N/A
                                              Bill Ambrose       GL Noble Denton, re report prepared under
                                              Chad Crain         supervision of counsel and in anticipation of
                                              Doug Hobbs         litigation.
                                              John Lane
                                              Nancy Cone

2370   10-Sep-10   Email        Dan Farr      Paul Tranter       Communication with attached diagram           AC     Withheld   Yes
                                              Bill Ambrose       providing information for the purpose of      WP
                                              Arnaud Bobillier   obtaining legal advice from counsel, re: BOP
                                              Eddy Redd          issues to assist with ongoing JIT proceedings
                                                                 and in anticiptation of litigation.
                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 208 of 277
2371   10-Sep-10   Adobe                                              Diagram prepared at the request of counsel        AC   Withheld   N/A
                                                                      to assist with JIT proceedings in anticipation    WP
                                                                      of litigation attached to email re same.

2372   10-Sep-10   Adobe                                              Draft BOP test procedure prepared at request AC        Withheld   N/A
                                                                      of counsel in connection with ongoing JIT    WP
                                                                      proceedings and in anticipation of
                                                                      litigation attached to email re same.

2373   8-Sep-10    Email   Derek Hart         Bill Ambrose            Email string forwarding communication with        AC   Withheld   Yes
                                              Mark Thibodeaux, Esq.   third party consultant, GL Noble Denton re        WP
                                                                      proposal for work to be done under
                                                                      supervision of counsel and in anticipation of
                                                                      litigation.

2374   8-Sep-10    Adobe                                              Proposal from third party consultant, DNV,        AC   Withheld   N/A
                                                                      provided at request of counsel in connection      WP
                                                                      with ongoing litigation and hearings attached
                                                                      to email string forwarding same for the
                                                                      purpose of obtaining legal advice.

2375   3-Sep-10    Email   Arnaud Bobillier   Bill Ambrose            Weekly investigation update to management         AC   Withheld   N/A
                                                                      and counsel to facilitate rendition of legal of   WP
                                                                      legal advice and in anticipation of litigation.

2376   2-Sep-10    Email   Dan Farr           Bill Ambrose            Email communication reflecting legal advice       AC   Withheld   N/A
                                                                      of counsel regarding USCG testimony in            WP
                                                                      connection with ongoing litigation and JIT
                                                                      proceedings.
2377   2-Sep-10    Email   Dan Farr           David Baay, Esq.        Email string providing information requested      AC   Withheld   Yes
                                              Bill Ambrose            by counsel for the purpose of rendering and       WP
                                              Geoff Boughton          reflecting legal advice re: attached draft
                                              Ewen Florence           preservation procedures prepared at request
                                              Buddy Fojt              of counsel to assist with JIT proceedings.
                                              Bob Walsh

2378   2-Sep-10    Adobe                                              Draft preservation procedures prepared at         AC   Withheld   N/A
                                                                      request of counsel to assist with JIT             WP
                                                                      proceedings attached to email string re:
                                                                      same.
2379   1-Sep-2010 Email    Perrin Roller      Bill Ambrose            Email attaching memorandum reflecting legal       AC   Withheld   Yes
       2-Sep-2010                                                     advice re: ongoing JIT proceedings and in         WP
                                                                      anticipation of litigation.

2380   1-Sep-2010 Word                                                Memorandum reflecting legal advice re:        AC       Withheld   N/A
       2-Sep-2010                                                     ongoing JIT proceeding and in anticipation of WP
                                                                      litigation.
                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 209 of 277
2381   31-Aug-10   Email       Kuhan.Sivathasan@dn Dan Farr                     Communication with third party consultant,      WP   Withheld   N/A
                               v.com               Bill Ambrose                 DNV, re: maintenance review prepared under
                                                   David.McKay@dnv.com          supervision of counsel and in anticipation of
                                                                                litigation.
2382   30-Aug-10   Email       Steven Newman        Bill Ambrose                Weekly investigation update to management AC         Withheld   N/A
                                                                                and counsel prepared to facilitate rendition of WP
                                                                                legal advice and in anticipation of litigation.

2383   24-Aug-10   Email       Kuhan.Sivathasan@dn Bill Ambrose                 Communication with third party consultant, WP        Withheld   Yes
                               v.com               Dan Farr                     DNV, re: maintenance review to be prepared
                                                                                under supervision of counsel and in
                                                                                anticipation of litigation.

2384   22-Aug-10   Adobe                                                        Drawing prepared to respond to                 WP    Withheld   N/A
                                                                                Congressional inquiries and in anticipation of
                                                                                litigation attached to email reflecting legal
                                                                                advice re: same.

2385   20-Aug-10   Email       Steven Newman        Bill Ambrose                Weekly investigation update to management AC         Withheld   N/A
                                                                                and counsel prepared to facilitate legal advice WP
                                                                                and in anticipation of litigation.


2386   19-Aug-10   Email       Tami Scrudder        Bill Ambrose                Email communication reflecting legal advice    AC    Withheld   Yes
                                                    David.Baay@sutherland.com   and providing information to assist counsel    WP
                                                    Steven Sparling, Esq.       with ongoing litigation and JIT proceedings.
                                                    Mark Thibodeaux, Esq.
                                                    Mark Thibodeaux, Esq.

2387   19-Aug-10   Microsoft   IT                                               List providing information to assist counsel   AC    Withheld   N/A
                   Excel                                                        with ongoing litigation and JIT proceedings.   WP
                   Worksheet
2388   18-Aug-10   Email       Kuhan.Sivathasan@dn Bill Ambrose                 Communication with third party consultant,    WP     Withheld   Yes
                               v.com               Dan Farr                     DNV, re: maintenance review prepared under
                                                   Charles.McHardy@dnv.com      supervision of counsel and in anticipation of
                                                   David.McKay@dnv.com          litigation.

2389   18-Aug-10   Adobe                                                        Work Order for third party consultant, DNV,   WP     Withheld   N/A
                                                                                re: maintenance review prepared under
                                                                                supervision of counsel and in anticipation of
                                                                                litigation.
2390   18-Aug-10   Email       Kuhan.Sivathasan@dn Bill Ambrose                 Communication with third party consultant,    WP     Withheld   Yes
                               v.com               Charles.McHardy@dnv.com      DNV, re: maintenance review prepared under
                                                   David.McKay@dnv.com          supervision of counsel and in anticipation of
                                                   Dan Farr                     litigation.
                                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 210 of 277
2391   18-Aug-10   Adobe                                                          Work Order for third party consultant, DNV,    WP      Withheld   N/A
                                                                                  re: maintenance review prepared under
                                                                                  supervision of counsel and in anticipation of
                                                                                  litigation.
2392   18-Aug-10   Adobe                                                          Proposal from third party consultant, DNV, re: WP      Withheld   N/A
                                                                                  maintenance review to be prepared under
                                                                                  supervision of counsel and in anticipation of
                                                                                  litigation.
2393   17-Aug-10   Email   David.McKay@dnv.co   Alexandra.Vila@dnv.com            Communication with third party consultant,     WP      Withheld   N/A
                           m                    Bill Ambrose                      DNV, re: maintenance review prepared under
                                                Jennifer.Timms@dnv.com            supervision of counsel and in anticipation of
                                                Kim.Alexander.Jorgensen@dnv.com   litigation.
                                                Kuhan.Sivathasan@dnv.com
                                                Runar.Jorgensen@dnv.com
                                                Charles.McHardy@dnv.com
                                                Dan Farr



2394   16-Aug-10   Email   David.McKay@dnv.co   Bill Ambrose                      Communication with third party consultant,    WP       Withheld   Yes
                           m                    Charles.McHardy@dnv.com           DNV, re: maintenance review prepared under
                                                Dan Farr                          supervision of counsel and in anticipation of
                                                Kuhan.Sivathasan@dnv.com          litigation.

2395   13-Aug-10   Word    Bob Walsh                                              Minutes of DWH investigation team weekly        AC     Withheld   N/A
                                                                                  Technical Group meeting reflecting legal        WP
                                                                                  advice and work done to assess in ongoing
                                                                                  litgation and hearings.

2396   12-Aug-10   Email   David.McKay@dnv.co   Bill Ambrose                      Communication with third party consultant,      AC     Withheld   Yes
                           m                    Charles.McHardy@dnv.com           DNV, re: maintenance review conducted at        WP
                                                Dan Farr                          request of counsel to assist with ongoing
                                                                                  litigation and hearings.


2397   12-Aug-10   Adobe                                                          Agreement with third party consultant, DNV, WP         Withheld   N/A
                                                                                  re: maintenance review to be prepared under
                                                                                  supervision of counsel and in anticipation of
                                                                                  litigation.
2398   6-Aug-10    Email   Dan Farr             Bill Ambrose                      Communication with counsel providing              AC   Withheld   Yes
                                                David Baay, Esq.                  information on post-incident subsea               WP
                                                Mark Thibodeaux, Esq.             observations to facilitate the rendition of legal
                                                                                  advice and in anticipation of litigation

2399   6-Aug-10    Adobe                                                          Summary of post-incident subsea                 AC     Withheld   N/A
                                                                                  observations prepared to assist counsel in      WP
                                                                                  providing legal advice and in anticipation of
                                                                                  litigation
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 211 of 277
2400   6-Aug-10    Word    DWH Investigation                                      Notes of post incident subsea                      AC   Withheld   N/A
                           Team                                                   observations prepared at request of counsel        WP
                                                                                  to facilitate rendition of legal advice and in
                                                                                  anticipation of litigation
2401   29-Jul-10   Word    DWH Investigation                                      Draft of weekly investigation update sent to       AC   Withheld   N/A
                           Team                                                   management and counsel to facilitate               WP
                                                                                  rendition of legal advice and in anticipation of
                                                                                  litigation.
2402   28-Jul-10   Email   Larry McMahan       Dan Farr                           Email regarding drafts prepared under              AC   Withheld   Yes
                                               Bill Ambrose                       direction of counsel to assist counsel with        WP
                                               Michael Markey                     Congressional presentation and in
                                                                                  anticipation of litigation
2403   24-Jul-2010 Email   Robert Tiano        Dan Farr                           Email string re rig operations prepared to         AC   Withheld   N/A
       27-Jul-2010                             Larry McMahan                      facilitate the rendition of legal advice and to    WP
                                               Pharr Smith                        assist with JIT proceedings and ongoing
                                                                                  litigation
2404   25-Jul-10   Email   Derek Hart          Bill Ambrose                       Email communication with summary of JIT            AC   Withheld   N/A
                                               Dan Farr                           proceedings prepared to assist counsel in          WP
                                               Derek Hart                         rendering legal advice and in anticipation of
                                               Steve Myers                        litigation
                                               Perrin Roller
                                               'steven.sparling@sutherland.com'
                                               Mark Thibodeaux, Esq.



2405   24-Jul-10   Email   Dan Farr            Bill Ambrose                       Email string providing information re: rig         WP   Withheld   N/A
                                                                                  systems requested by counsel in connection
                                                                                  with JIT proceedings and in anticipation of
                                                                                  litigation.
2406   24-Jul-10   Email   Dan Farr            Larry McMahan                      Email string providing information re: rig         WP   Withheld   N/A
                                               Robert Tiano                       systems requested by counsel in connection
                                               Bill Ambrose                       with JIT proceedings and in anticipation of
                                               Pharr Smith                        litigation.

2407   24-Jul-10   Email   Dan Farr            Larry McMahan                      Email string providing information requested       AC   Withheld   N/A
                                               Bill Ambrose                       by and reflecting legal advice rig operations      WP
                                               Terry Loftis                       to assist in JIT proceedings

2408   24-Jul-10   Email   Derek Hart          Perrin Roller                      Email communication providing information          AC   Withheld   N/A
                                               Bill Ambrose                       to assist counsel in JIT proceedings.              WP
                                               Wesley Bell
                                               Rachael Dsane-Selby
                                               Mark Thibodeaux, Esq.
                                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 212 of 277
2409   23-Jul-10   Email   Paul Johnson     Keelan Adamson                      Email string requesting and providing            AC   Withheld   N/A
                                            Bill Ambrose                        information to assist counsel in                 WP
                                            'Brian.Kennedy@fticonsulting.com'   JIT proceedings and in anticipation of
                                            Larry McMahan                       litigation.
                                            Eddy Redd
                                            Adrian Rose
                                            Bill Sannan
                                            Pharr Smith
                                            Ian Hudson
                                            'lou.colasuonno@fd.com'
                                            Jimmy Moore



2410   22-Jul-10   Email   Steve Myers      Bill Ambrose                        Email string forwarding bi-weekly                AC   Withheld   N/A
                                                                                investigation update to management and           WP
                                                                                counsel prepared to facilitate rendition of
                                                                                legal advice and in anticipation of litigation

2411   22-Jul-10   Email   Lou Colasuonno   Guy Cantwell                        Communication with counsel reflecting legal      AC   Withheld   N/A
                                            Bill Ambrose                        advice re: media and ongoing litigation.         WP
                                            Todd Jordan
                                            James Kent
                                            mark.thibodeaux@sutherland.com
                                            Gregory Panagos
                                            Adrian Rose
                                            Bob Walsh



2412   14-Jul-2010 Email   Dan Farr         Bill Ambrose                        Correspondence re drafting letter to         AC       Withheld   N/A
       21-Jul-2010                                                              OSC prepared under supervision of counsel WP
                                                                                and in anticipation of litigation
2413   19-Jul-10   Email   Brian Kennedy    Bill Ambrose                        Communication with FD re issues in           AC       Withheld   N/A
                                            Dan Farr                            JIT proceedings under supervision of counsel WP
                                                                                and in anticipation of litigation
2414   19-Jul-10   Email   Brian Kennedy    Bill Ambrose                        Communication with FD re issues in JIT       AC       Withheld   N/A
                                            Dan Farr                            proceedings under supervision of counsel     WP
                                                                                and in anticipation of litigation

2415   16-Jul-10   Email   Brian Kennedy    Bill Ambrose                        Email communication regarding BOP issues AC           Withheld   N/A
                                                                                requesting information to facilitate the        WP
                                                                                rendition of legal advice and assist in ongoing
                                                                                litigation.
2416   12-Jul-10   Email   Perrin Roller    To: Bill Ambrose                    Email communication with attached witness AC          Withheld   Yes
                                            Mark Thibodeaux, Esq.               list reflecting legal advice and providing      WP
                                                                                information to assist counsel with ongoing
                                                                                litigation and JIT proceedings.
                                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 213 of 277
2417   12-Jul-10   Word                                                   draft questions for JIT proceedings prepared    AC   Withheld   N/A
                                                                          to assist counsel in rendering legal advice     WP
                                                                          and in anticipation of litigation.

2418   17-Jun-10   Email   Michael Curtis    Bill Ambrose                 Communication re: third party vendor,           WP   Withheld   N/A
                                                                          Bullfighter Design, re work prepared under
                                                                          supervision of counsel and in anticipation of
                                                                          litigation.

2419   17-Jun-10   Email   Michael Curtis    Bill Ambrose                 Communication re: third party vendor,           WP   Withheld   N/A
                                                                          Bullfighter Design, re work prepared under
                                                                          supervision of counsel and in anticipation of
                                                                          litigation.
2420   16-Jun-10   Email   Michael Curtis    Georgianne Johnson           Communication re: third party vendor,           WP   Withheld   N/A
                                             Bill Ambrose                 Bullfighter Design, re work prepared under
                                                                          supervision of counsel and in anticipation of
                                                                          litigation.
2421   16-Jun-10   Email   Dan Reudelhuber   Bill Ambrose                 Email communication reflecting legal advice     AC   Withheld   N/A
                                             Eddy Redd                    and providing information to assist counsel     WP
                                                                          with Congressional hearings and anticipated
                                                                          litigation.
2422   11-Jun-10   Email   Adrian Rose       Bill Ambrose                 Email communication reflecting information      AC   Withheld   N/A
                                             'brian.kennedy@fd.com'       prepared to assist counsel with ongoing         WP
                                                                          litigation.

2423   11-Jun-10   Email   Bill Sannan       TMacDonald, John (Houston)   Email communication reflecting information      AC   Withheld   N/A
                                             Mills, Larry (Houston)       prepared to assist counsel with ongoing         WP
                                             Adrian Rose                  litigation.
                                             CC: Keelan Adamson
                                             Bill Ambrose
                                             Avery, Keith (Houston)
                                             Paul Johnson
                                             Jordan, Todd (Houston)
                                             Keeton, John (Houston)
                                             James Kent
                                             Larry McMahan
                                             Eddy Redd
                                             Walker, Steven (Houston)
                                             Weaver, Warren (Houston)
                                             Winslow, Daun (Houston)


2424   11-Jun-10   Email   Oliver Diaz       Georgianne Johnson           Communication with third party consultant,      WP   Withheld   N/A
                                             Bill Ambrose                 Bullfighter Design, re work prepared under
                                                                          supervision of counsel and in anticipation of
                                                                          litigation.
                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 214 of 277
2425   11-Jun-10   Email          Oliver Diaz          Georgianne Johnson                 Communication with third party consultant,         WP   Withheld   Yes
                                                       Bill Ambrose                       Bullfighter Design, re work prepared under
                                                                                          supervision of counsel and in anticipation of
                                                                                          litigation.
2426   11-Jun-10   Word                                                                   Draft testimony reflecting legal advice of         AC   Withheld   N/A
                                                                                          counsel and prepared in connection with            WP
                                                                                          Congressional hearings and in anticipation of
                                                                                          litigation
2427   10-Jun-10   Email          Georgianne Johnson                                      Communication with third party consultant          WP   Withheld   Yes
                                                       oliver@bullfighterdesign.com;      Bullfighter Design, re work prepared under
                                                       Bill Ambrose                       supervision of counsel and in anticipation of
                                                                                          litigation.
2428   10-Jun-10   Microsoft                                                              Supplier form for third party consultant           WP   Withheld   N/A
                   Excel                                                                  Bullfighter Design re work prepared under
                   Worksheet                                                              supervision of counsel and in anticipation of
                                                                                          litigation.
2429   7-Jun-10    Email          Oliver Diaz          Bill Ambrose                       Communication with third party consultant,         WP   Withheld   Yes
                                                                                          Bullfighter Design, re work prepared under
                                                                                          supervision of counsel and in anticipation of
                                                                                          litigation.
2430   7-Jun-10    Adobe                                                                  Invoice from third party consultant, Bullfighter   WP   Withheld   N/A
                                                                                          Design, re work prepared under supervision
                                                                                          of counsel and in anticipation of litigation.

2431   6-Jun-10    Email          Bill Ambrose         Bill Ambrose                       Email providing information from counsel           AC   Withheld   Yes
                                                                                          refecting legal advice and prepared in             WP
                                                                                          anticipation of litigation.
2432   6-Jun-10    Microsoft                                                              Draft presentation to Congress prepared            AC   Withheld   N/A
                   Office                                                                 under supervision of counsel and in                WP
                   PowerPoint                                                             anticipation of litigation.
                   2007
                   Presentation
2433   31-May-10   Email          Derek Hart           To: Bill Ambrose                   Email with attached JIT summary prepared           AC   Withheld   N/A
                                                       Wesley Bell                        under supervision of counsel and in                WP
                                                       MacDonald, John (Houston)          anticipation of litigation.
                                                       Steve Myers
                                                       Scott, Robert (Houston)
                                                       Watson, Simon (DWH Proj)
                                                       CC: Derek Hart
                                                       Ramsay, David (DWH Proj)
                                                       'steven.sparling@sutherland.com'
                                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 215 of 277
2434   28-May-10   Email          Derek Hart            Bill Ambrose                       Email with attached JIT summary prepared         AC   Withheld   Yes
                                                        Wesley Bell                        under supervision of counsel and in              WP
                                                        MacDonald, John (Houston)          anticipation of litigation.
                                                        Steve Myers
                                                        Scott, Robert (Houston)
                                                        Watson, Simon (DWH Proj)
                                                        CC: Ramsay, David (DWH Proj)
                                                        'steven.sparling@sutherland.com'




2435   28-May-10   Word           IT                                                       Summary of JIT proceedings prepared under        AC   Withheld   N/A
                                                                                           supervision of counsel and in anticipation of    WP
                                                                                           litigation.
2436   25-May-10   Email          Scrudder, Tami (DWH   Bill Ambrose                       Email with attached document log prepared        AC   Withheld   Yes
                                  Proj)                                                    at the direction of counsel in anticipation of   WP
                                                                                           litigation.
2437   25-May-10   Microsoft                                                               Tracking log prepared at the direction of        AC   Withheld   N/A
                   Office Excel                                                            counsel in anticipation of litigation.           WP
                   2007
                   Workbook
2438   19-May-10   Email          Oliver Diaz           To: Bill Ambrose                   Communication with third party consultant,       WP   Withheld   N/A
                                                        CC: Georgianne Johnson             Bullfighter Design, re work prepared under
                                                        Michael Markey                     supervision of counsel and in anticipation of
                                                        Jewel Revis                        litigation.

2439   18-May-10   Email          Oliver Diaz           To: Bill Ambrose                   Communication with third party consultant,    WP      Withheld   N/A
                                                                                           Bullfighter Design, re work prepared under
                                                                                           supervision of counsel and in anticipation of
                                                                                           litigation.
2440   18-May-10   Email          Oliver Diaz           To: Bill Ambrose                   Communication with third party consultant,    WP      Withheld   N/A
                                                                                           Bullfighter Design, re work prepared under
                                                                                           supervision of counsel and in anticipation of
                                                                                           litigation.
2441   17-May-10   Email          Adrian Rose           To: Bill Ambrose                   Communication re: agreements with third       WP      Withheld   N/A
                                                                                           party consultant, Bullfighter Design, re work
                                                                                           prepared under supervision of counsel and in
                                                                                           anticipation of litigation.

2442   17-May-10   Email          Oliver Diaz           To: Bill Ambrose                   Communication with third party consultant,       WP   Withheld   Yes
                                                                                           Bullfighter Design, regarding work prepared
                                                                                           under supervision of counsel and in
                                                                                           anticipation of litigation
                                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 216 of 277
2443   17-May-10   Adobe                                                    Agreement with third party consultant,          WP    Withheld   N/A
                                                                            Bullfighter Design, regarding work prepared
                                                                            under supervision of counsel and in
                                                                            anticipation of litigation
2444   17-May-10   Email          Oliver Diaz          To: Bill Ambrose     Communication with third party consultant,      WP    Withheld   N/A
                                                                            Bullfighter Design, regarding work prepared
                                                                            under supervision of counsel and in
                                                                            anticipation of litigation

2445   19-Nov-10   Email          Bill Ambrose         Dan Farr             Email regarding well operations information     WP    Withheld   N/A
                                                                            prepared for OSC proceedings under
                                                                            supervision of counsel and in anticipation of
                                                                            litigation

2446   22-Oct-2010 Email          Bill Ambrose         Dan Farr             Email attaching spreadsheet re well              AC   Withheld   Yes
       18-Nov-                                                              operations prepared to assist counsel in         WP
       2010                                                                 OSC proceedings and in anticipation of
                                                                            litigation
2447   22-Oct-2010 Microsoft                                                Spreadsheet re well operations prepared          AC   Withheld   N/A
       18-Nov-     Office Excel                                             under supervision of counsel to assist with      WP
       2010        2007                                                     OSC proceedings and in anticipation of
                   Workbook                                                 litigation
2448   18-Nov-10 Email            Dan Farr             Bill Ambrose         Communication requesting information             AC   Withheld   N/A
                                                       Leif Nelson          regarding OSC proceedings to assist counsel WP
                                                       Adrian Rose          in rendering legal advice and in anticipation of
                                                                            litigation.

2449   13-Sep-     Email          Bill Ambrose         Georgianne Johnson   Email string forwarding work order for third AC       Withheld   Yes
       2010                                                                 party consultant, GL Noble Denton, regarding WP
       15-Nov-                                                              report prepared at request of counsel in
       2010                                                                 connection with ongoing litigation and
                                                                            hearings.
2450   13-Sep-     Word                                                     Work order for third party consultant, GL    WP       Withheld   N/A
       2010                                                                 Noble Denton, regarding report prepared
       15-Nov-                                                              under supervision of counsel and in
       2010                                                                 anticipation of litigation.
2451   15-Nov-10   Email          Georgianne Johnson   Bill Ambrose         Email discussing work order for third party  WP       Withheld   N/A
                                                                            consultant, GL Noble Denton, regarding
                                                                            report prepared under supervision of counsel
                                                                            and in anticipation of litigation.

2452   11-Nov-10   Email          Geoff Boughton       To: Dan Farr         Analysis for OSC proceedings prepared           WP    Withheld   N/A
                                                       Philip Zhang         under supervision of counsel and in
                                                       CC: Bill Ambrose     anticipation of litigation
                                                       Jim Brekke
                                                       Doug Kennedy
                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 217 of 277
2453   11-Nov-10   Email   Parker, Theresa (DWH To: Dan Farr                      Email regarding preparation of draft        WP   Withheld   N/A
                           Proj)                Steve Myers                       OSC submission under supervision of
                                                CC: Bill Ambrose                  counsel and in anticipation of litigation

2454   10-Nov-10   Email   Parker, Theresa (DWH To: Bill Ambrose                  Email regarding preparation of draft OSC    WP   Withheld   N/A
                           Proj)                Steve Myers                       submission under supervision of counsel and
                                                                                  in anticipation of litigation

2455   10-Nov-10   Email   Bill Ambrose          To: Parker, Theresa (DWH Proj)   Email regarding preparation of draft OSC    WP   Withheld   Yes
                                                 steve.myer@deepwater.com         submission under supervision of counsel and
                                                                                  in anticipation of litigation


2456   10-Nov-10   Email   Bill Ambrose          To: Parker, Theresa (DWH Proj)   Email regarding preparation of draft OSC    WP   Withheld   N/A
                                                 steve.myer@deepwater.com         submission under supervision of counsel and
                                                                                  in anticipation of litigation


2457   10-Nov-10   Email   Parker, Theresa (DWH To: Bill Ambrose                  Email regarding preparation of draft OSC    WP   Withheld   N/A
                           Proj)                steve.myer@deepwater.com          submission under supervision of counsel and
                                                                                  in anticipation of litigation

2458   9-Nov-10    Email   Brian Kennedy         To: Bill Ambrose                 Email communication reflecting information  AC   Withheld   N/A
                                                                                  prepared to assist counsel with ongoing     WP
                                                                                  litigation.
2459   5-Nov-10    Email   Bob Walsh             To: Bill Ambrose                 Email regarding preparation of draft OSC    WP   Withheld   N/A
                                                 Dan Farr                         submission under supervision of counsel and
                                                 CC: Buddy Fojt                   in anticipation of litigation

2460   5-Nov-10    Email   Buddy Fojt            To: Bill Ambrose                 Email regarding preparation of draft OSC    WP   Withheld   N/A
                                                 Dan Farr                         submission under supervision of counsel and
                                                                                  in anticipation of litigation

2461   5-Nov-10    Email   Bill Ambrose          To: Steve Myers                  Email regarding preparation of draft OSC    AC   Withheld   N/A
                                                                                  submission under supervision of counsel and WP
                                                                                  in anticipation of litigation

2462   5-Nov-10    Email   Steve Myers           To: Bill Ambrose                 Email regarding preparation of draft OSC    WP   Withheld   N/A
                                                                                  submission under supervision of counsel and
                                                                                  in anticipation of litigation

2463   5-Nov-10    Email   Parker, Theresa (DWH To: Bill Ambrose                  Email regarding preparation of draft OSC    WP   Withheld   N/A
                           Proj)                CC: Dan Farr                      submission under supervision of counsel and
                                                Steve Myers                       in anticipation of litigation
                                                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 218 of 277
2464   5-Nov-10   Email   Bill Ambrose   To: Parker, Theresa (DWH Proj)       Email regarding preparation of draft OSC    WP    Withheld   N/A
                                         CC: Dan Farr                         submission under supervision of counsel and
                                         Steve Myers                          in anticipation of litigation


2465   5-Nov-10   Email   Buddy Fojt     To: Bill Ambrose                     Email regarding preparation of draft OSC    WP    Withheld   N/A
                                                                              submission under supervision of counsel and
                                                                              in anticipation of litigation

2466   5-Nov-10   Email   Bill Ambrose   To: Oliver Diaz                      Communication with third party consultant,   WP   Withheld   N/A
                                         Ryan Smith                           Bullfighter Design, regarding draft OSC
                                         CC: Wesley Bell                      presentation prepared under supervision of
                                         Dan Farr                             counsel and in anticipation of litigation

2467   5-Nov-10   Email   Bill Ambrose   To: Dan Farr                         Email regarding preparation of draft OSC    WP    Withheld   N/A
                                         Buddy Fojt                           submission under supervision of counsel and
                                                                              in anticipation of litigation

2468   5-Nov-10   Email   Ryan Smith     To: Bill Ambrose                     Communication with third party consultant,   WP   Withheld   N/A
                                         'Oliver Diaz'                        Bullfighter Design, regarding draft OSC
                                         CC: Wesley Bell                      presentation prepared under supervision of
                                                                              counsel and in anticipation of litigation


2469   5-Nov-10   Email   Oliver Diaz    To: Bill Ambrose                     Communication with third party consultant,   WP   Withheld   N/A
                                         Ryan Smith                           Bullfighter Design, regarding draft OSC
                                         CC: Wesley Bell                      presentation prepared under supervision of
                                                                              counsel and in anticipation of litigation


2470   5-Nov-10   Email   Ryan Smith     To: Bill Ambrose                     Communication with third party consultant,   WP   Withheld   N/A
                                         CC: Wesley Bell                      Bullfighter Design, regarding draft OSC
                                         'Oliver Diaz'                        presentation prepared under supervision of
                                                                              counsel and in anticipation of litigation


2471   5-Nov-10   Email   Bill Ambrose   To: 'oliver@bullfighterdesign.com'   Email regarding preparation of draft OSC    WP    Withheld   N/A
                                         Ryan Smith                           submission under supervision of counsel and
                                         CC: Wesley Bell                      in anticipation of litigation
                                         Dan Farr


2472   5-Nov-10   Email   Oliver Diaz    To: Ryan Smith                       Email regarding preparation of draft OSC    WP    Withheld   N/A
                                         CC: Bill Ambrose                     submission under supervision of counsel and
                                         Wesley Bell                          in anticipation of litigation
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 219 of 277
2473   5-Nov-10   Email      Brian Kennedy   To: Bill Ambrose     Email regarding preparation of draft OSC    AC     Withheld   N/A
                                             CC: Michael Bagdon   submission under supervision of counsel and WP
                                                                  in anticipation of litigation

2474   5-Nov-10   Email      Oliver Diaz     To: Ryan Smith       Email regarding preparation of draft OSC    WP     Withheld   N/A
                                             CC: Bill Ambrose     submission under supervision of counsel and
                                                                  in anticipation of litigation

2475   5-Nov-10   Email      Bill Ambrose    To: Brian Kennedy    Email regarding preparation of draft OSC    AC     Withheld   N/A
                                             CC: Michael Bagdon   submission under supervision of counsel and WP
                                                                  in anticipation of litigation

2476   5-Nov-10   Email      Bill Ambrose    To: Ryan Smith       Email regarding preparation of draft OSC    WP     Withheld   N/A
                                                                  submission under supervision of counsel and
                                                                  in anticipation of litigation

2477   5-Nov-10   Email      Oliver Diaz     To: Bill Ambrose     Email regarding preparation of draft OSC    AC     Withheld   N/A
                                             CC: Wesley Bell      submission under supervision of counsel and WP
                                             Dan Farr             in anticipation of litigation
                                             Ryan Smith

2478   5-Nov-10   Email      Ryan Smith      To: Bill Ambrose     Email regarding preparation of draft OSC    AC     Withheld   N/A
                                             CC: 'Oliver Diaz'    submission under supervision of counsel and WP
                                                                  in anticipation of litigation

2479   5-Nov-10   Email      Bill Ambrose    To: Dan Farr         Email regarding preparation of draft OSC    AC     Withheld   Yes
                                                                  submission under supervision of counsel and WP
                                                                  in anticipation of litigation

2480   5-Nov-10   SWF File                                        Graphics for OSC submission prepared under AC      Withheld   N/A
                                                                  supervision of counsel and in anticipation of WP
                                                                  litigation.
2481   4-Nov-2010 Email      Bill Ambrose    To: Dan Farr         Email regarding preparation of draft OSC      AC   Withheld   N/A
       5-Nov-2010                                                 submission under supervision of counsel and WP
                                                                  in anticipation of litigation

2482   5-Nov-10   Email      Bill Ambrose    To: Michael Bagdon   Email regarding preparation of draft OSC    AC     Withheld   N/A
                                             Brian Kennedy        submission under supervision of counsel and WP
                                                                  in anticipation of litigation

2483   5-Nov-10   Email      Oliver Diaz     To: Ryan Smith       Email regarding preparation of draft OSC    AC     Withheld   N/A
                                             CC: Bill Ambrose     submission under supervision of counsel and WP
                                             Wesley Bell          in anticipation of litigation
                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 220 of 277
2484   4-Nov-10    Email          Oliver Diaz           To: Ryan Smith     Email regarding preparation of draft OSC    AC       Withheld   N/A
                                                        CC: Bill Ambrose   submission under supervision of counsel and WP
                                                        Wesley Bell        in anticipation of litigation

2485   4-Nov-10    Email          Wesley Bell           To: Bill Ambrose   Email regarding preparation of draft OSC    WP       Withheld   N/A
                                                                           submission under supervision of counsel and
                                                                           in anticipation of litigation

2486   4-Nov-10    Email          Brian Kennedy         To: Bill Ambrose   Email regarding preparation of draft OSC    AC       Withheld   N/A
                                                        Michael Bagdon     submission under supervision of counsel and WP
                                                                           in anticipation of litigation

2487   3-Nov-10    Email          hoangjoseph@yahoo.c To: Bill Ambrose     Email regarding preparation of draft OSC    AC       Withheld   N/A
                                  om                                       submission under supervision of counsel and WP
                                                                           in anticipation of litigation

2488   3-Nov-10    Email          Brian Kennedy         To: Bill Ambrose   Email string with attached draft OSC            AC   Withheld   Yes
                                                                           presentation prepared at the request of         WP
                                                                           counsel and in anticipation of litigation.

2489   3-Nov-10    Microsoft                                               Draft OSC submission prepared under             AC   Withheld   N/A
                   Office                                                  supervision of counsel and in anticipation of   WP
                   PowerPoint                                              litigation.
                   2007
                   Presentation
2490   3-Nov-10    Email          Adrian Rose           To: Bill Ambrose   Email string regarding preparations for OSC     WP   Withheld   N/A
                                                                           proceedings in anticipation of litigation

2491   3-Nov-10    Email          Adrian Rose           To: Bill Ambrose   Email regarding preparations for OSC            WP   Withheld   N/A
                                                                           proceedings in anticipation of litigation

2492   2-Nov-10    Email          Rachael Dsane-Selby   To: Wesley Bell    Email regarding draft OSC presentation       WP      Withheld   N/A
                                                        CC: Bill Ambrose   prepared under supervision of counsel and in
                                                                           anticipation of litigation

2493   1-Nov-10    Email          Oliver Diaz           To: Bill Ambrose   Email communication reflecting information      AC   Withheld   N/A
                                                                           prepared to assist counsel with ongoing         WP
                                                                           litigation and OSC proceedings.

2494   30-Oct-10   Email          Brian Kennedy         To: Bill Ambrose   Communication to assist in draft              AC     Withheld   N/A
                                                                           OSC submission prepared under supervision WP
                                                                           of counsel and in anticipation of litigation.

2495   29-Oct-10   Email          Oliver Diaz           To: Bill Ambrose   Communication to assist in draft OSC            AC   Withheld   N/A
                                                                           submission prepared under supervision of        WP
                                                                           counsel and in anticipation of litigation.
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 221 of 277
2496   29-Oct-10   Email   Bill Ambrose               To: Oliver Diaz                       Communication to assist in draft OSC             AC   Withheld   N/A
                                                                                            submission prepared under supervision of         WP
                                                                                            counsel and in anticipation of litigation.

2497   29-Oct-10   Email   Bill Ambrose               To: Oliver Diaz                       Communication to assist in draft OSC             AC   Withheld   N/A
                                                      CC: Wesley Bell                       submission prepared under supervision of         WP
                                                                                            counsel and in anticipation of litigation.

2498   29-Oct-10   Email   Oliver Diaz                To: Bill Ambrose                      Communication to assist in draft OSC             AC   Withheld   N/A
                                                                                            submission prepared under supervision of         WP
                                                                                            counsel and in anticipation of litigation.

2499   29-Oct-10   Email   Bill Ambrose               To: Wesley Bell                       Communication to assist in draft OSC             AC   Withheld   N/A
                                                      Oliver Diaz                           submission prepared under supervision of         WP
                                                                                            counsel and in anticipation of litigation.

2500   29-Oct-10   Email   Oliver Diaz                To: Bill Ambrose                      Communication to assist in draft OSC             AC   Withheld   N/A
                                                      Wesley Bell                           submission prepared under supervision of         WP
                                                                                            counsel and in anticipation of litigation.

2501   28-Oct-10   Email   Brian Kennedy              To: Bill Ambrose                      Email communication with FD providing            AC   Withheld   N/A
                                                                                            information to facilitate legal advice for       WP
                                                                                            OSC proceedings and in anticipation of
                                                                                            litigation
2502   27-Oct-10   Email   Alistair Gill (Prospect)   To: Bill Ambrose                      Email communication reflecting information       AC   Withheld   N/A
                                                      CC: Derek Hart                        prepared to assist counsel with OSC              WP
                                                      Bjoern Ritter                         proceedings and in anticipation of litigation.

2503   25-Oct-2010 Email   Dan Farr                   To: Bill Ambrose                      Email communication providing information to AC       Withheld   N/A
       27-Oct-2010                                    CC: Steve Myers                       assist counsel with ongoing litigation and   WP
                                                      'Steven Sparling, Esq.'               OSC proceedings and in anticipation of
                                                                                            litigation.

2504   26-Oct-10   Email   Derek Hart                 To: 'alastair.gill@prospect-fs.com'   Email communication reflecting information       AC   Withheld   N/A
                                                      CC: Bill Ambrose                      prepared to assist counsel with OSC              WP
                                                      Bjoern Ritter                         proceedings and in anticipation of litigation.
                                                      'Steve.Howell@prospect-fs.com'




2505   26-Oct-10   Email   Bill Ambrose               To: Alistair Gill (Prospect)          Email communication reflecting information       AC   Withheld   N/A
                                                                                            prepared to assist counsel with OSC              WP
                                                                                            proceedings and in anticipation of litigation.
                                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 222 of 277
2506   26-Oct-10   Email   Bill Ambrose               To: 'Alistair Gill (Prospect)'   Email communication reflecting information        AC     Withheld   N/A
                                                      CC: Derek Hart                   prepared to assist counsel with OSC               WP
                                                      Bjoern Ritter                    proceedings and in anticipation of litigation.

2507   26-Oct-10   Email   Bill Ambrose               To: Alistair Gill (Prospect)     Email communication reflecting information        AC     Withheld   N/A
                                                                                       prepared to assist counsel with OSC               WP
                                                                                       proceedings and in anticipation of litigation.

2508   26-Oct-10   Email   Bill Ambrose               To: Alistair Gill (Prospect)     Email communication reflecting information        AC     Withheld   N/A
                                                                                       prepared to assist counsel with OSC               WP
                                                                                       proceedings and in anticipation of litigation.

2509   25-Oct-2010 Email   Alistair Gill (Prospect)   To: Bill Ambrose                 Communication with third party consultant,   WP          Withheld   N/A
       26-Oct-2010                                                                     Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation

2510   25-Oct-2010 Email   Alistair Gill (Prospect)   To: Bill Ambrose                 Communication with third party consultant,   WP          Withheld   N/A
       26-Oct-2010                                                                     Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation


2511   25-Oct-10   Email   Bill Ambrose               To: Alistair Gill (Prospect)     Email communication reflecting information        AC     Withheld   N/A
                                                                                       prepared to assist counsel with OSC               WP
                                                                                       proceedings and in anticipation of litigation.

2512   25-Oct-10   Email   Bill Ambrose               To: Kam, John (DWH Proj)         Email string with attached draft report of        AC     Withheld   Yes
                                                      CC: Dan Farr                     internal investigation reflecting legal advice of WP
                                                      Mark Thibodeaux, Esq.            counsel and prepared at the direction of
                                                                                       counsel in anticipation of litigation.

2513   25-Oct-10   Word                                                                Draft report of internal investigation reflecting AC     Withheld   N/A
                                                                                       legal advice of counsel and prepared at the         WP
                                                                                       direction of counsel in anticipation of litigation.

2514   25-Oct-10   Email   Bill Ambrose               To: Alistair Gill (Prospect)     Email communication reflecting information        AC     Withheld   N/A
                                                      CC: Dan Farr                     prepared to assist counsel with OSC               WP
                                                                                       proceedings and in anticipation of litigation.

2515   25-Oct-10   Email   Oliver Diaz                To: Bill Ambrose                 Email communication reflecting information        AC     Withheld   N/A
                                                      CC: Wesley Bell                  prepared to assist counsel with OSC               WP
                                                                                       proceedings and in anticipation of litigation.
                                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 223 of 277
2516   25-Oct-10   Email   Bill Ambrose          To: Oliver Diaz                  Email communication reflecting information       AC   Withheld   N/A
                                                                                  prepared to assist counsel with OSC              WP
                                                                                  proceedings and in anticipation of litigation.

2517   23-Oct-10   Email   Bill Ambrose          To: Oliver Diaz                  Email communication reflecting information       AC   Withheld   N/A
                                                                                  prepared to assist counsel with OSC              WP
                                                                                  proceedings and in anticipation of litigation.

2518   23-Oct-10   Email   Oliver Diaz           To: Bill Ambrose                 Email communication reflecting information       AC   Withheld   N/A
                                                                                  prepared to assist counsel with OSC              WP
                                                                                  proceedings and in anticipation of litigation.

2519   22-Oct-10   Email   Parker, Theresa (DWH To: Bill Ambrose                  Email communication regarding draft OSC          AC   Withheld   N/A
                           Proj)                                                  submission prepared under supervision of         WP
                                                                                  counsel and in anticipation of litigation.

2520   22-Oct-10   Email   Bill Ambrose          To: Parker, Theresa (DWH Proj)   Email communication regarding draft OSC          AC   Withheld   N/A
                                                                                  submission prepared under supervision of         WP
                                                                                  counsel and in anticipation of litigation.

2521   22-Oct-10   Email   Parker, Theresa (DWH To: Bill Ambrose                  Email communication regarding draft OSC          AC   Withheld   N/A
                           Proj)                                                  submission prepared under supervision of         WP
                                                                                  counsel and in anticipation of litigation.

2522   22-Oct-10   Email   Richards, Ramsey      To: Irwin, Nathan (Houston)      Email string discussing tests to be performed WP      Withheld   N/A
                           (Houston)             Bob Walsh                        under direction of counsel in connection with
                                                 CC: Bill Ambrose                 upcoming OSC proceedings and in
                                                 DD3, OIM (DD3)                   anticipation of litigation.
                                                 DD3, SrToolpusher (DD3)
                                                 Dan Farr
                                                 Bill Sannan
                                                 Robert Tiano

2523   22-Oct-10   Email   Bob Walsh             To: Irwin, Nathan (Houston)      Email string discussing tests to be performed WP      Withheld   N/A
                                                 Richards, Ramsey (Houston)       under the direction of counsel in connection
                                                 CC: Bill Ambrose                 with upcoming OSC proceedings and in
                                                 Dan Farr                         anticipation of litigation.
                                                 Bill Sannan
                                                 Robert Tiano

2524   22-Oct-10   Email   Parker, Theresa (DWH To: Bill Ambrose                  Email communication regarding draft OSC          AC   Withheld   N/A
                           Proj)                                                  submission prepared under supervision of         WP
                                                                                  counsel and in anticipation of litigation.
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 224 of 277
2525   22-Oct-10   Email   Derek Hart            To: Bill Ambrose                 Email regarding draft OSC presentation       WP      Withheld   N/A
                                                 CC: Alistair Gill (Prospect)     prepared under supervision of counsel and in
                                                 Dan Farr                         anticipation of litigation.

2526   22-Oct-10   Email   Bill Ambrose          To: Parker, Theresa (DWH Proj)   Email communication regarding draft OSC         AC   Withheld   N/A
                                                                                  submission prepared under supervision of        WP
                                                                                  counsel and in anticipation of litigation.

2527   22-Oct-10   Email   Parker, Theresa (DWH To: Bill Ambrose                  Email regarding draft OSC presentation       WP      Withheld   N/A
                           Proj)                                                  prepared under supervision of counsel and in
                                                                                  anticipation of litigation.
                                                                                  .

2528   22-Oct-10   Email   Bill Ambrose          To: Parker, Theresa (DWH Proj)   Email regarding draft OSC presentation       WP      Withheld   N/A
                                                                                  prepared under supervision of counsel and in
                                                                                  anticipation of litigation.


2529   22-Oct-10   Email   Parker, Theresa (DWH To: Bill Ambrose                  Email regarding draft OSC presentation       WP      Withheld   N/A
                           Proj)                                                  prepared under supervision of counsel and in
                                                                                  anticipation of litigation.


2530   21-Oct-10   Email   Cooper, Douglas       To: Bill Ambrose                 Email regarding draft OSC presentation       WP      Withheld   N/A
                           (Houston)                                              prepared under supervision of counsel and in
                                                                                  anticipation of litigation.


2531   21-Oct-10   Email   Brian Kennedy         To: Bill Ambrose                 Email communication regarding draft OSC         AC   Withheld   N/A
                                                                                  submission prepared under supervision of        WP
                                                                                  counsel and in anticipation of litigation.

2532   21-Oct-10   Email   Brian Kennedy         To: Bill Ambrose                 Communication with FD re schematics for         AC   Withheld   N/A
                                                                                  draft OSC submission prepared under             WP
                                                                                  supervision of counsel and in anticipation of
                                                                                  litigation
2533   20-Oct-10   Email   Bill Ambrose          To: Brian Kennedy                Communication re draft OSC submission           AC   Withheld   N/A
                                                                                  prepared under supervision of counsel and in    WP
                                                                                  anticipation of litigation.

2534   19-Oct-10   Email   Michael Bagdon        To: Bill Ambrose                 Email chain requesting information for the    AC     Withheld   N/A
                                                                                  purpose of providing legal advice re: draft   WP
                                                                                  OSC submission prepared under supervision
                                                                                  of counsel and in anticipation of litigation.
                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 225 of 277
2535   18-Oct-10   Email     Bill Ambrose         To: Wesley Bell    Email communication re: draft OSC              AC    Withheld   N/A
                                                  Oliver Diaz        presentation prepared under supervision of     WP
                                                                     counsel and in anticipation of litigation.


2536   18-Oct-10   Email     Oliver Diaz          To: Bill Ambrose   Email regarding draft OSC presentation         WP    Withheld   N/A
                                                  Wesley Bell        prepared by Bullfighter under supervision of
                                                                     counsel and in anticipation of litigation.


2537   15-Oct-10   Email     Brian Kennedy        To: Bill Ambrose   Email communication re: draft OSC              AC    Withheld   N/A
                                                                     presentation prepared under supervision of     WP
                                                                     counsel and in anticipation of litigation.

2538   14-Oct-10   Email     Bill Ambrose         To: Bill Ambrose   Email with Financial Dynamics forwarding        AC   Withheld   N/A
                                                  Brian Kennedy      handwritten chart, prepared to facilitate legal WP
                                                                     advice to assist with OSC proceedings and in
                                                                     anticipation of litigation.

2539   14-Oct-10   Email     Oliver Diaz          To: Bill Ambrose   Email regarding draft diagram prepared by      WP    Withheld   Yes
                                                  Wesley Bell        Bullfighter under supervision of counsel and
                                                                     in anticipation of litigation.

2540   14-Oct-10   Adobe                                             Draft diagram prepared by Bullfighter under   WP     Withheld   N/A
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.
2541   13-Oct-10   Email     Dan Farr             To: Adrian Rose    Email communication providing information to AC      Withheld   N/A
                                                  CC: Bill Ambrose   assist counsel with CSB investigation.        WP

2542   13-Oct-10   Email     Perrin Roller        To: Bob Walsh      Email regarding draft OSC presentation       WP      Withheld   N/A
                                                  CC: Bill Ambrose   prepared under supervision of counsel and in
                                                                     anticipation of litigation.


2543   6-Oct-10    Email     Hoang, Joseph (DWH   To: Bill Ambrose   Email regarding draft OSC presentation       WP      Withheld   N/A
                             Proj)                                   prepared under supervision of counsel and in
                                                                     anticipation of litigation.


2544   5-Oct-10    Outlook   Hoang, Joseph (DWH   To: Bill Ambrose   Notice of meeting to prepare for OSC         WP      Withheld   N/A
                   Receipt   Proj)                                   proceedings presentation with counsel and in
                                                                     anticipation of litigation.
                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 226 of 277
2545   4-Oct-10     Email   Oliver Diaz    To: Bill Ambrose    Communication with third party consultant,   WP    Withheld   Yes
                                           Wesley Bell         Bullfighter Design re draft OSC presentation
                                           Oliver Diaz         prepared under supervision of counsel and in
                                                               anticipation of litigation.


2546   30-Sep-      Word                                       Comments on cementing issues prepared to AC        Withheld   N/A
       2010                                                    assist counsel in ongoing litigation and     WP
       4-Oct-2010                                              OSC proceedings
2547   27-Sep-      Email   Bill Ambrose   To: Oliver Diaz     Email communication providing information to AC    Withheld   N/A
       2010                                                    assist counsel with OSC proceedings.         WP
       28-Sep-
       2010
2548   24-Sep-10    Email   Bill Ambrose   To: Derek Hart      Email string forwarding communication with   WP    Withheld   N/A
                                                               third party consultant, GL Noble Denton,
                                                               prepared under supervision of counsel and in
                                                               anticipation of litigation.

2549   17-Sep-      Email   Bill Ambrose   To: Bjoern Ritter   Email string forwarding communication with   WP    Withheld   Yes
       2010                                CC: Derek Hart      third party consultant, GL Noble Denton, re
       23-Sep-                                                 report prepared under supervision of counsel
       2010                                                    and in anticipation of litigation.


2550   17-Sep-      Adobe                                      Transmittal forwarding communication with    WP    Withheld   N/A
       2010                                                    third party consultant, GL Noble Denton, re
       23-Sep-                                                 report prepared under supervision of counsel
       2010                                                    and in anticipation of litigation.


2551   17-Sep-      Adobe                                      Letter with third party consultant, GL Noble  WP   Withheld   N/A
       2010                                                    Denton, re report prepared under supervision
       23-Sep-                                                 of counsel and in anticipation of litigation.
       2010
2552   23-Sep-10    Email   Derek Hart     To: Chad Crain      Email regarding draft OSC presentation       WP    Withheld   N/A
                                           Bjoern Ritter       prepared under supervision of counsel and in
                                           CC: Bill Ambrose    anticipation of litigation.

2553   23-Sep-10    Email   Bill Ambrose   To: Bill Lamport    Communication with third party consultant,   WP    Withheld   N/A
                                                               GL Noble Denton, regarding analysis
                                                               prepared under supervision of counsel and in
                                                               anticipation of litigation
                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 227 of 277
2554   22-Sep-10   Email   Bill Ambrose    To: Greg Childs     Email regarding draft OSC submission         WP         Withheld   N/A
                                           CC: Dan Farr        prepared under supervision of counsel and in
                                           Ewen Florence       anticipation of litigation


2555   22-Sep-10   Email   Bill Ambrose    To: Oliver Diaz     Communication with third party consultant,        WP    Withheld   N/A
                                                               Bullfighter Design, regarding draft
                                                               OSC presentation prepared under
                                                               supervision of counsel and in anticipation of
                                                               litigation
2556   16-Sep-10   Email   Bill Ambrose    To: Brian Kennedy   Communication re media issues made under AC             Withheld   N/A
                                                               supervision of counsel to facilitate rendition of WP
                                                               legal advice and in anticipation of litigation.

2557   15-Sep-10   Email   Brian Kennedy   To: Bill Ambrose    Email communication with attached chart            AC   Withheld   Yes
                                                               prepared to assist facilitate rendition of legal   WP
                                                               advice and in anticipation of litigation.

2558   13-Sep-10   Adobe                                       Proposal from third party consultant, GL           WP   Withheld   N/A
                                                               Noble Denton, for report to be prepared
                                                               under supervision of counsel and in
                                                               anticipation of litigation
2559   13-Sep-10   Adobe                                       GLND Work Order for report to be prepared          AC   Withheld   N/A
                                                               under supervision of counsel and in                WP
                                                               anticipation of litigation.
2560   13-Sep-10   Email   Bill Ambrose    To: Derek Hart      Email with attached work order for third party     WP   Withheld   Yes
                                                               consultant, GL Noble Denton, for report to be
                                                               prepared under supervision of counsel and
                                                               in anticipation of litigation

2561   13-Sep-10   Adobe                                       Work order for third party consultant, GL         WP    Withheld   N/A
                                                               Noble Denton, for report to be prepared
                                                               under supervision of counsel and in
                                                               anticipation of litigation
2562   13-Sep-10   Adobe                                       GLND Work Order for report to be prepared AC            Withheld   N/A
                                                               under supervision of counsel and in               WP
                                                               anticipation of litigation.
2563   10-Sep-10   Email   Bill Ambrose    To: Brian Kennedy   Communication re rig operations made under AC           Withheld   N/A
                                                               supervision of counsel to facilitate rendition of WP
                                                               legal advice and in anticipation of litigation.

2564   10-Sep-10   Email   Bill Ambrose    To: Brian Kennedy   Email communication re media issues made AC             Withheld   Yes
                                                               under supervision of counsel to faciliatate      WP
                                                               rendition of legal advice and in anticipation of
                                                               litigation.
                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 228 of 277
2565   10-Sep-10   Adobe                                                        GLND Work Order for report to be prepared AC           Withheld   N/A
                                                                                under supervision of counsel and in               WP
                                                                                anticipation of litigation.
2566   10-Sep-10   Email   Brian Kennedy        To: Bill Ambrose                Communication re rig operations made under AC          Withheld   N/A
                                                                                supervision of counsel to facilitate rendition of WP
                                                                                legal advice and in anticipation of litigation.

2567   10-Sep-10   Email   Bill Ambrose         To: Brian Kennedy               Communication re rig operations made under AC          Withheld   N/A
                                                                                supervision of counsel to facilitate rendition of WP
                                                                                legal advice and in anticipation of litigation.

2568   10-Sep-10   Email   Brian Kennedy        To: Bill Ambrose                Communication re rig operations made under AC          Withheld   N/A
                                                                                supervision of counsel to facilitate rendition of WP
                                                                                legal advice and in anticipation of litigation.

2569   10-Sep-10   Email   Perrin Roller        To: Bill Ambrose                Email regarding draft OSC submission         WP        Withheld   N/A
                                                                                prepared under supervision of counsel and in
                                                                                anticipation of litigation.

2570   8-Sep-10    Email   Brian Kennedy        To: Bill Ambrose                Communication re rig operations made under AC          Withheld   Yes
                                                                                supervision of counsel to facilitate rendition of WP
                                                                                legal advice and in anticipation of litigation.

2571   2-Sep-2010 Word                                                          Agenda attached to email communication          AC     Withheld   N/A
       8-Sep-2010                                                               with counsel providing information to assist    WP
                                                                                counsel with ongoing OSC proceedings and
                                                                                in anticipation of litigation.


2572   7-Sep-10    Email   David.McKay@dnv.co   To: Bill Ambrose                Communication with third party consultant,   WP        Withheld   N/A
                           m                    Dan Farr                        DNV, regarding maintenance review
                                                CC: Kuhan.Sivathasan@dnv.com    prepared under supervision of counsel and in
                                                                                anticipation of litigation

2573   17-Aug-    Email    Dan Farr             To: Manning, Rodney (Houston)   Email string forwarding communication with      AC     Withheld   Yes
       2010                                     Bob Walsh                       third party consultant, DNV, re: maintenance    WP
       7-Sep-2010                               CC: Bill Ambrose                review conducted at request of counsel in
                                                Mark Thibodeaux, Esq.           connection with ongoing litigation and
                                                                                hearings and requesting legal advice re:
                                                                                same.

2574   17-Aug-    Email    Bill Ambrose         To: David.McKay@dnv.com         Communication with third party consultant,   WP        Withheld   N/A
       2010                                     Kuhan.Sivathasan@dnv.com        DNV, regarding maintenance
       7-Sep-2010                               CC: Charles.McHardy@dnv.com     review prepared under supervision of counsel
                                                Dan Farr                        and in anticipation of litigation
                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 229 of 277
2575   17-Aug-    Adobe                                                         Work order for third party consultant, DNV,      WP   Withheld   N/A
       2010                                                                     regarding maintenance review prepared
       7-Sep-2010                                                               under supervision of counsel and in
                                                                                anticipation of litigation
2576   6-Sep-10   Email     Oliver Diaz          To: Bill Ambrose               Communication with third party consultant,       WP   Withheld   N/A
                                                                                Bullfighter Design, conducted at request of
                                                                                counsel in connection with ongoing litigation
                                                                                and hearings.

2577   6-Sep-10   Email     Bill Ambrose         To: Oliver Diaz                Communication with third party consultant,       WP   Withheld   N/A
                                                                                Bullfighter Design, conducted at request of
                                                                                counsel in connection with ongoing litigation
                                                                                and hearings.


2578   2-Sep-10   Email     Bill Ambrose         To: Michael Markey             Email string discussing files needed for         WP   Withheld   N/A
                                                 CC: Hoang, Joseph (DWH Proj)   presentation in connection
                                                                                with OSC proceedings and in anticipation of
                                                                                litigation
2579   2-Sep-10   Email     Hoang, Joseph (DWH   To: Bill Ambrose               Graphics for draft OSC submission preapred       AC   Withheld   N/A
                            Proj)                                               under supervision of counsel and in              WP
                                                                                anticipation of litigation.
2580   1-Sep-10   Outlook   Bill Ambrose         To: Sims, Ansell               Meeting notice with third party consultant, GL   WP   Withheld   N/A
                  Receipt                                                       Noble Denton, regarding report prepared
                                                                                under supervision of counsel and in
                                                                                anticipation of litigation

2581   1-Sep-10   Outlook   Sims, Ansell         To: Bill Ambrose               Response to meeting notice with third party  WP       Withheld   N/A
                  Receipt                        Derek Hart                     consultant, GL Noble Denton, regarding
                                                 Lamport, Bill                  report prepared under supervision of counsel
                                                                                and in anticipation of litigation.

2582   1-Sep-10   Email     Sims, Ansell         To: Derek Hart                 Communication with third party consultant,       WP   Withheld   N/A
                                                 CC: Bill Ambrose               GL Noble Denton, regarding report prepared
                                                 Lamport, Bill                  under supervision of counsel and in
                                                                                anticipation of litigation

2583   1-Sep-10   Email     Derek Hart           To: Sims, Ansell               Communication with third party consultant,       WP   Withheld   N/A
                                                 CC: Bill Ambrose               GL Noble Denton, regarding report prepared
                                                                                under supervision of counsel and in
                                                                                anticipation of litigation

2584   1-Sep-10   Email     Bill Ambrose         To: Brian Kennedy              Email with attached testimony and notes       AC      Withheld   N/A
                                                                                providing information for the purpose of      WP
                                                                                obtaining legal advice re: same in connection
                                                                                with ongoing JIT proceedings.
                                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 230 of 277
2585   31-Aug-10   Email   Chris.Boylan@dnv.com To: Derek Hart                 Email string regarding possible third party       WP   Withheld   N/A
                                                CC: Bill Ambrose               report prepared in anticipation of litigation.

2586   31-Aug-10   Email   Derek Hart           To: Chris.Boylan@dnv.com       Email string regarding possible third party       WP   Withheld   N/A
                                                CC: Bill Ambrose               report prepared in anticipation of litigation.

2587   31-Aug-10   Email   Brian Kennedy        To: Bill Ambrose               Communication re rig operations made under AC          Withheld   N/A
                                                                               supervision of counsel to facilitate rendition of WP
                                                                               legal advice and in anticipation of litigation.

2588   31-Aug-10   Email   Brian Kennedy        To: Bill Ambrose               Communication re rig operations made under AC          Withheld   N/A
                                                                               supervision of counsel to facilitate rendition of WP
                                                                               legal advice and in anticipation of litigation.

2589   30-Aug-10   Email   Brian Kennedy        To: Bill Ambrose               Communication providing information to            AC   Withheld   N/A
                                                                               facilitate in legal advice under supervision of   WP
                                                                               counsel re JIT proceedings and in
                                                                               anticipation of litigation.

2590   27-Aug-10   Email   Oliver Diaz          To: Bill Ambrose               Communication with third party consultant,        WP   Withheld   N/A
                                                                               Bullfighter Design, regarding draft OSC
                                                                               presentation prepared under supervision of
                                                                               counsel and in anticipation of litigation


2591   27-Aug-10   Email   Bill Ambrose         To: Oliver Diaz                Communication with third party consultant,    WP       Withheld   N/A
                                                                               Bullfighter Design, re draft OSC presentation
                                                                               prepared under supervision of counsel and in
                                                                               anticipation of litigation.

2592   24-Aug-10   Email   Dan Farr             To: Bill Ambrose               Communication with third party consultant,   WP        Withheld   N/A
                                                Kuhan.Sivathasan@dnv.com       DNV, re: maintenance review presentation
                                                                               prepared under supervision of counsel and in
                                                                               anticipation of litigation.

2593   24-Aug-10   Email   Bill Ambrose         To: Kuhan.Sivathasan@dnv.com   Communication with third party consultant,   WP        Withheld   N/A
                                                                               DNV, re: maintenance review presentation
                                                                               prepared under supervision of counsel and in
                                                                               anticipation of litigation.

2594   23-Aug-10   Email   Judkins, Jana (DWH   To: Bill Ambrose               Email, with attached list, reflecting legal       AC   Withheld   Yes
                           Proj)                Perrin Roller                  advice re: same in connection with on-going       WP
                                                CC: Steven Sparling, Esq.      litigation and hearings.
                                                                                                                                                       Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 231 of 277
2595   23-Aug-10   Microsoft   IT                                                      List re cement issues attached to email        AC      Withheld   N/A
                   Excel                                                               reflecting legal advice re: same in connection WP
                   Worksheet                                                           with on-going litigation and hearings.


2596   19-Aug-10   Email       Scrudder, Tami (DWH   To: Bill Ambrose                  Email with attached list re JIT exhibits       AC      Withheld   Yes
                               Proj)                 CC: 'David.Baay@sutherland.com'   reflecting legal advice re: same in connection WP
                                                     Steven Sparling, Esq.             with on-going litigation and hearings.
                                                     Mark Thibodeaux, Esq.
                                                     Mark Thibodeaux, Esq.


2597   19-Aug-10   Microsoft   IT                                                      List re JIT exhibits attached to email reflecting AC   Withheld   N/A
                   Excel                                                               legal advice re: same in connection with on- WP
                   Worksheet                                                           going litigation and hearings.


2598   19-Aug-10   Email       Leach, Gary (Houston) To: Bill Ambrose                  Email string responding to request for          AC     Withheld   N/A
                                                     Canducci, Jerry (Houston)         information from legal team in connection       WP
                                                     Hand, Steve (Houston)             with upcoming JIT proceedings and in
                                                     Ian Hudson                        anticipation of litigation
                                                     Lawson, Mike (Houston)
                                                     Terry Loftis
                                                     MacDonald, John (Houston)
                                                     Larry McMahan
                                                     Jimmy Moore
                                                     Munoz, Dan (Houston)
                                                     Pelley, Darrel (Houston)
                                                     Eddy Redd
                                                     Adrian Rose
                                                     Bill Sannan
                                                     Pharr Smith
                                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 232 of 277
2599   19-Aug-10   Email   Munoz, Dan (Houston) To: Bill Ambrose                        Email communication regarding JIT Hearings WP      Withheld   N/A
                                                Canducci, Jerry (Houston)               reflecting information prepared to assist
                                                Hand, Steve (Houston)                   counsel and in anticipation of litigation.
                                                Ian Hudson
                                                Lawson, Mike (Houston)
                                                Leach, Gary (Houston)
                                                Terry Loftis
                                                MacDonald, John (Houston)
                                                Larry McMahan
                                                Jimmy Moore
                                                Pelley, Darrel (Houston)
                                                Eddy Redd
                                                Adrian Rose
                                                Bill Sannan
                                                Pharr Smith



2600   19-Aug-10   Email   Bill Ambrose         To: 'Brian.Kennedy@fticonsulting.com'   Communication re: DWH investigation           AC   Withheld   N/A
                                                                                        prepared under supervision of counsel         WP
                                                                                        to facilitate rendition of legal advice and
                                                                                        in anticipation of litigation.

2601   19-Aug-10   Email   Brian Kennedy        To: Bill Ambrose                        Communication re: DWH investigation           AC   Withheld   N/A
                                                                                        prepared under supervision of counsel to      WP
                                                                                        facilitate rendition of legal advice and in
                                                                                        anticipation of litigation.

2602   19-Aug-10   Email   Bill Ambrose         To: 'Brian.Kennedy@fticonsulting.com'   Communication re: DWH investigation           AC   Withheld   N/A
                                                                                        prepared under supervision of counsel to      WP
                                                                                        facilitate rendition of legal advice and in
                                                                                        anticipation of litigation.

2603   19-Aug-10   Email   Brian Kennedy        To: Bill Ambrose                        Communication re: DWH investigation           AC   Withheld   N/A
                                                                                        prepared under supervision of counsel to      WP
                                                                                        facilitate rendition of legal advice and in
                                                                                        anticipation of litigation.
                                                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 233 of 277
2604   19-Aug-10   Email   Bill Sannan    To: Bill Ambrose            Email string responding to request for        AC    Withheld   N/A
                                          Canducci, Jerry (Houston)   information to assist counsel with upcoming   WP
                                          Hand, Steve (Houston)       JIT proceedings and in anticipation of
                                          Ian Hudson                  litigation.
                                          Lawson, Mike (Houston)
                                          Leach, Gary (Houston)
                                          Terry Loftis
                                          MacDonald, John (Houston)
                                          Larry McMahan
                                          Jimmy Moore
                                          Munoz, Dan (Houston)
                                          Pelley, Darrel (Houston)
                                          Eddy Redd
                                          Adrian Rose
                                          Pharr Smith



2605   18-Aug-10   Email   Bill Ambrose   To: Georgianne Johnson      Email string forwarding communication with   WP     Withheld   Yes
                                                                      third party consultant, DNV, re: maintenance
                                                                      review prepared under supervision of counsel
                                                                      and in anticipation of litigation.

2606   18-Aug-10   Adobe                                              Work order for maintenance review from third WP     Withheld   N/A
                                                                      party consultant, DNV, prepared under
                                                                      supervision of counsel and in anticipation of
                                                                      litigation.
2607   18-Aug-10   Email   Adrian Rose    To: Bill Ambrose            Email string responding to request for         AC   Withheld   N/A
                                          Canducci, Jerry (Houston)   information to assist counsel with JIT         WP
                                          Hand, Steve (Houston)       proceedings and in anticipation of litigation.
                                          Ian Hudson
                                          Lawson, Mike (Houston)
                                          Leach, Gary (Houston)
                                          Terry Loftis
                                          MacDonald, John (Houston)
                                          Larry McMahan
                                          Jimmy Moore
                                          Munoz, Dan (Houston)
                                          Pelley, Darrel (Houston)
                                          Eddy Redd
                                          Bill Sannan
                                          Pharr Smith
                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 234 of 277
2608   18-Aug-10   Email   Lawson, Mike   To: Bill Ambrose            Email string responding to request for       WP       Withheld   Yes
                           (Houston)      Canducci, Jerry (Houston)   information from counsel in connection with
                                          Hand, Steve (Houston)       upcoming JIT proceedings and in anticipation
                                          Ian Hudson                  of litigation.
                                          Leach, Gary (Houston)
                                          Terry Loftis
                                          MacDonald, John (Houston)
                                          Larry McMahan
                                          Jimmy Moore
                                          Munoz, Dan (Houston)
                                          Pelley, Darrel (Houston)
                                          Eddy Redd
                                          Adrian Rose
                                          Bill Sannan
                                          Pharr Smith



2609   18-Aug-10   Adobe                                              Work order for maintenance review from third WP       Withheld   N/A
                                                                      party consultant, DNV, prepared under
                                                                      supervision of counsel and in anticipation of
                                                                      litigation.

2610   18-Aug-10   Email   Adrian Rose    To: Bill Ambrose            Email string responding to request for           AC   Withheld   N/A
                                                                      information to assist counsel with JIT           WP
                                                                      proceedings and in anticipation of litigation.


2611   18-Aug-10   Email   Bill Ambrose   To: Adrian Rose             Email communication regarding JIT Hearings WP         Withheld   N/A
                                                                      reflecting information prepared to assist
                                                                      counsel and in anticipation of litigation.
                                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 235 of 277
2612   18-Aug-10   Email   Adrian Rose     To: Bill Ambrose            Email communication reflecting information        AC   Withheld   N/A
                                           Canducci, Jerry (Houston)   prepared to assist counsel with JIT               WP
                                           Hand, Steve (Houston)       proceedings and in anticipation of litigation.
                                           Ian Hudson
                                           Lawson, Mike (Houston)
                                           Leach, Gary (Houston)
                                           Terry Loftis
                                           MacDonald, John (Houston)
                                           Larry McMahan
                                           Jimmy Moore
                                           Munoz, Dan (Houston)
                                           Pelley, Darrel (Houston)
                                           Eddy Redd
                                           Bill Sannan
                                           Pharr Smith



2613   17-Aug-10   Email   Derek Hart      To: Bill Ambrose            Email string re support needed to assist          WP   Withheld   N/A
                                                                       counsel in JIT hearings and in anticipation of
                                                                       litigation.
2614   17-Aug-10   Email   Bill Ambrose    To: Derek Hart              Email string re support needed to assist          WP   Withheld   N/A
                                                                       counsel in JIT hearings and in anticipation of
                                                                       litigation.

2615   16-Aug-10   Email   Brian Kennedy   To: Bill Ambrose            Email communication reflecting information re AC       Withheld   N/A
                                                                       testing procedures prepared to facilitate     WP
                                                                       rendition of legal advice and assist counsel
                                                                       with ongoing litigation.

2616   16-Aug-10   Email   Brian Kennedy   To: Bill Ambrose            Email requesting information for the purpose      AC   Withheld   N/A
                                                                       of providing legal advice re: testing             WP
                                                                       procedures in connection with ongoing
                                                                       litigation and hearings.
2617   3-Aug-10    Email   Bill Ambrose    To: Steve Myers             Weekly investigation update to management         AC   Withheld   N/A
                                                                       and counsel prepared to facilitate rendition of   WP
                                                                       legal advice and in anticipation of
                                                                       litigation and follow up emails

2618   2-Aug-10    Email   Steve Myers     To: Bill Ambrose            Weekly investigation update to management AC           Withheld   N/A
                                                                       and counsel prepared to facilitate rendition of WP
                                                                       legal advice and in anticipation of litigation
                                                                       and follow up emails
                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 236 of 277
2619   2-Aug-10    Email   Steve Myers     To: Steven Newman                  Weekly investigation update to management AC          Withheld   N/A
                                           CC: Bill Ambrose                   and counsel prepared to facilitate rendition of WP
                                                                              legal advice and in anticipation of litigation
                                                                              and follow up emails


2620   2-Aug-10    Email   Steven Newman   To: Steve Myers                    Weekly investigation update to management AC          Withheld   N/A
                                           CC: Bill Ambrose                   and counsel prepared to facilitate rendition of WP
                                                                              legal advice and in anticipation of litigation
                                                                              and follow up emails


2621   2-Aug-10    Email   Steve Myers     To: Bill Ambrose                   Weekly investigation update to management AC          Withheld   N/A
                                           Steven Newman                      and counsel prepared to facilitate rendition of WP
                                                                              legal advice and in anticipation of litigation
                                                                              and follow up emails


2622   2-Aug-10    Email   Bill Ambrose    To: Steve Myers                    Weekly investigation update to management AC          Withheld   N/A
                                                                              and counsel prepared to facilitate rendition of WP
                                                                              legal advice and in anticipation of litigation
                                                                              and follow up emails


2623   1-Aug-10    Email                   To: Steven Newman                  Weekly investigation update to management AC          Withheld   Yes
                                           CC: Arnaud Bobillier               and counsel prepared to facilitate rendition of WP
                                           'rachel.clingman@sutherland.com'   legal advice and in anticipation of litigation
                                           Steven Sparling, Esq.


2624   1-Aug-10    Word                                                       Diagram regarding cementing issues               AC   Withheld   N/A
                                                                              prepared to assist counsel in connection with WP
                                                                              ongoing proceedings and in anticipation of
                                                                              litigation
2625   31-Jul-10   Email   Bill Ambrose    To: Pharr Smith                    Email re legal staffing needs in anticipation of WP   Withheld   N/A
                                                                              litgation

2626   27-Jul-10   Email   Steven Newman   To: Bill Ambrose                   Weekly investigation update to management AC          Withheld   N/A
                                                                              and counsel prepared to facilitate rendition of WP
                                                                              legal advice and in anticipation of litigation
                                                                              and follow up emails
                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 237 of 277
2627   26-Jul-10   Email   Lou Colasuonno   To: Bill Ambrose   Email communication reflecting information    AC     Withheld   N/A
                                                               prepared to assist counsel in connection with WP
                                                               ongoing proceedings and in anticipation of
                                                               litigation.

2628   26-Jul-10   Email   Terry Loftis     To: Bill Ambrose   Email string providing information regarding    AC   Withheld   N/A
                                            CC: Dan Farr       rig operations to assist counsel in JIT         WP
                                                               proceedings and in anticipation of litigation

2629   26-Jul-10   Email   Bill Ambrose     To: Dan Farr       Email string providing information regarding    AC   Withheld   N/A
                                                               rig operations to assist counsel in JIT         WP
                                                               proceedings and in anticipation of litigation


2630   26-Jul-10   Email   Bill Ambrose     To: Terry Loftis   Email string providing information regarding    AC   Withheld   N/A
                                            CC: Dan Farr       rig operations to assist counsel in JIT         WP
                                                               proceedings and in anticipation of litigation




2631   24-Jul-10   Email   Terry Loftis     To: Dan Farr       Email string providing information regarding    AC   Withheld   N/A
                                            Larry McMahan      rig operations to assist counsel in JIT         WP
                                            CC: Bill Ambrose   proceedings and in anticipation of litigation


2632   24-Jul-10   Email   Larry McMahan    To: Dan Farr       Email string providing information regarding    AC   Withheld   N/A
                                            CC: Bill Ambrose   rig operations to assist counsel in JIT         WP
                                            Terry Loftis       proceedings and in anticipation of litigation


2633   24-Jul-10   Email   Bill Ambrose     To: Dan Farr       Email string providing information regarding    AC   Withheld   N/A
                                                               rig operations to assist counsel in JIT         WP
                                                               proceedings and in anticipation of litigation


2634   24-Jul-10   Email   Steven Newman    To: Dan Farr       Email string providing information on rig       WP   Withheld   N/A
                                            CC: Bill Ambrose   systems at request of counsel in connection
                                            Paul Tranter       with JIT proceedings and in anticipation of
                                                               litigation.
2635   24-Jul-10   Email   Pharr Smith      To: Bill Ambrose   Email string providing information on rig       WP   Withheld   N/A
                                                               systems at request of counsel in connection
                                                               with JIT proceedings and in anticipation of
                                                               litigation.
                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 238 of 277
2636   15-Jul-2010 Email   Bill Ambrose    To: Steve Myers                         Weekly investigation update to management AC          Withheld   N/A
       22-Jul-2010                                                                 and counsel prepared to facilitate rendition of WP
                                                                                   legal advice and in anticipation of litigation
                                                                                   and followup emails.

2637   21-Jul-10   Email   Steven Newman   To: Bill Ambrose                        Weekly investigation update to management AC          Withheld   N/A
                                                                                   and counsel prepared to facilitate rendition of WP
                                                                                   legal advice and in anticipation of litigation
                                                                                   and followup emails.


2638   20-Jul-10   Email   Bill Ambrose    To: Steven Newman                       Weekly investigation update to management AC          Withheld   N/A
                                                                                   and counsel prepared to facilitate rendition of WP
                                                                                   legal advice and in anticipation of litigation
                                                                                   and followed emails.


2639   20-Jul-10   Email   Steven Newman   To: Bill Ambrose                        Weekly investigation update to management AC          Withheld   N/A
                                           CC: Arnaud Bobillier                    and counsel prepared to facilitate rendition of WP
                                           'Steven C. Sparlling'                   legal advice and in anticipation of litigation
                                                                                   and followed emails.


2640   19-Jul-10   Email   Brian Kennedy   To: Bill Ambrose                        Communication to facilitate rendition of legal   AC   Withheld   N/A
                                                                                   advice re rig operations made under              WP
                                                                                   supervision of counsel and in anticipation of
                                                                                   litigation

2641   16-Jul-10   Email   Bill Ambrose    To: 'Brian.Kennedy@fticonsulting.com'   Communication to facilitate rendition of legal   AC   Withheld   N/A
                                                                                   advice re rig operations made under              WP
                                                                                   supervision of counsel and in anticipation of
                                                                                   litigation

2642   16-Jul-10   Email   Brian Kennedy   To: Bill Ambrose                        Communication to facilitate rendition of legal AC     Withheld   N/A
                                                                                   advice re rig operations made under            WP
                                                                                   supervision of counsel and in anticipation of
                                                                                   litigation
2643   5-Jul-10    Email   Perrin Roller   To: Bill Ambrose                        Email communication reflecting information re AC      Withheld   N/A
                                                                                   well control operations provided to assist     WP
                                                                                   counsel with ongoing litigation.
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 239 of 277
2644   30-Jun-10   Email   Adrian Rose    To: Keelan Adamson                 Communication re rig operations made to         AC   Withheld   N/A
                                          Bill Ambrose                       facilitate rendition of legal advice under      WP
                                          Ian Hudson                         supervision of counsel and in anticipation of
                                          Johnson, Tony (Houston)            litigation
                                          Larry McMahan
                                          Jimmy Moore
                                          Munoz, Dan (Houston)



2645   29-Jun-10   Email   Bill Ambrose   To: Perrin Roller                  Email communication reflecting legal advice     AC   Withheld   N/A
                                                                             and providing information on cement issues      WP
                                                                             to assist counsel with ongoing litigation and
                                                                             JIT proceedings.
2646   29-Jun-10   Email   Oliver Diaz    To: Bill Ambrose                   Communication with third party consultant,      WP   Withheld   N/A
                                          Oliver Diaz                        Bullfighter Design, re work to be done under
                                          CC: Georgianne Johnson             supervision of counsel and in anticipation of
                                                                             litigation.
2647   29-Jun-10   Email   Oliver Diaz    To: Bill Ambrose                   Communication with third party consultant,      WP   Withheld   Yes
                                          CC: Georgianne Johnson             Bullfighter Design, re work to be done under
                                                                             supervision of counsel and in anticipation of
                                                                             litigation.

2648   29-Jun-10   Adobe                                                     Communication with third party consultant,      WP   Withheld   N/A
                                                                             Bullfighter Design, re work to be done under
                                                                             supervision of counsel and in anticipation of
                                                                             litigation.

2649   28-Jun-10   Email   Bob Walsh      To: Watson, Simon (DWH Proj)       Email communication reflecting legal advice     AC   Withheld   N/A
                                          CC: Bill Ambrose                   of counsel regarding testing of Riser in        WP
                                          Ewen Florence                      connection with ongoing litigation.


2650   28-Jun-10   Email   Bob Walsh      To: Bill Ambrose                   Email communication reflecting legal advice     AC   Withheld   N/A
                                          Ewen Florence                      of counsel regarding testing of Riser in        WP
                                          Watson, Simon (DWH Proj)           connection with ongoing litigation


2651   26-Jun-10   Email   Bill Ambrose   To: Guy Cantwell                   Email communication reflecting information    AC     Withheld   N/A
                                          'Chris.Tucker@fticonsulting.com'   regarding DWH investigation prepared under WP
                                          Keener, Chip (Houston)             supervision of counsel to assist with ongoing
                                          Larry McMahan                      litigation.
                                          Perez, David (Houston)
                                          Adrian Rose
                                          CC: 'Transocean@fd.com'
                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 240 of 277
2652   21-Jun-10   Email   Michael Curtis       To: Bill Ambrose                Communication with third party consultant,      WP   Withheld   N/A
                                                Georgianne Johnson              Bullfighter Design, re work to be done under
                                                Mackey, Dalinda (Houston)       supervision of counsel and in anticipation of
                                                                                litigation.

2653   8-Jun-2010 Email    Georgianne Johnson   To: Michael Curtis              Communication with third party consultant,      WP   Withheld   Yes
       15-Jun-2010                              Mackey, Dalinda (Houston)       Bullfighter Design, re work to be done under
       21-Jun-2010                              CC: Bill Ambrose                supervision of counsel and in anticipation of
                                                                                litigation.

2654   8-Jun-2010 Email    Georgianne Johnson   To: Flores, Sally (Houston)     Communication with third party consultant,      WP   Withheld   N/A
       15-Jun-2010                              CC: Michael Curtis              Bullfighter Design, re work to be done under
       21-Jun-2010                                                              supervision of counsel and in anticipation of
                                                                                litigation.

2655   8-Jun-2010 Adobe                                                         Communication with third party consultant,      WP   Withheld   N/A
       15-Jun-2010                                                              Bullfighter Design, re work to be done under
       21-Jun-2010                                                              supervision of counsel and in anticipation of
                                                                                litigation.

2656   8-Jun-2010 Adobe                                                         Communication with third party consultant,      WP   Withheld   N/A
       15-Jun-2010                                                              Bullfighter Design, re work to be done under
       21-Jun-2010                                                              supervision of counsel and in anticipation of
                                                                                litigation.

2657   21-Jun-10   Email   Bill Ambrose         To: Michael Curtis              Communication with third party consultant,      WP   Withheld   N/A
                                                Georgianne Johnson              Bullfighter Design, re work to be done under
                                                Mackey, Dalinda (Houston)       supervision of counsel and in anticipation of
                                                                                litigation.

2658   21-Jun-10   Email   Mackey, Dalinda      To: Michael Curtis              Communication with third party consultant,      WP   Withheld   N/A
                           (Houston)            CC: Bill Ambrose                Bullfighter Design, re work to be done under
                                                                                supervision of counsel and in anticipation of
                                                                                litigation.

2659   21-Jun-10   Email   Bill Ambrose         To: Mackey, Dalinda (Houston)   Communication with third party consultant,      WP   Withheld   N/A
                                                                                Bullfighter Design, re work to be done under
                                                                                supervision of counsel and in anticipation of
                                                                                litigation.

2660   21-Jun-10   Email   Mackey, Dalinda      To: Bill Ambrose                Communication with third party consultant,      WP   Withheld   Yes
                           (Houston)                                            Bullfighter Design, re work to be done under
                                                                                supervision of counsel and in anticipation of
                                                                                litigation.
                                                                                                                                                      Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 241 of 277
2661   21-Jun-10   Adobe                                                Communication with third party consultant,      WP   Withheld   N/A
                                                                        Bullfighter Design, re work to be done under
                                                                        supervision of counsel and in anticipation of
                                                                        litigation.

2662   11-Jun-10   Email   Bill Ambrose    To: 'brian.kennedy@fd.com'   Email communication reflecting information re AC     Withheld   N/A
                                           Adrian Rose                  personnel and licensing issues prepared to    WP
                                                                        facilitate rendition of legal advice and in
                                                                        anticipation of litigation.

2663   11-Jun-10   Email   Bill Ambrose    To: 'brian.kennedy@fd.com'   Email communication reflecting information re AC     Withheld   N/A
                                           Adrian Rose                  personnel and licensing issues prepared to    WP
                                                                        facilitate rendition of legal advice and in
                                                                        anticipation of litigation.


2664   11-Jun-10   Email   Bill Ambrose    To: Oliver Diaz              Communication with third party consultant,      WP   Withheld   N/A
                                           CC: Georgianne Johnson       Bullfighter Design, re work to be done under
                                                                        supervision of counsel and in anticipation of
                                                                        litigation.

2665   11-Jun-10   Email   Oliver Diaz     To: Bill Ambrose             Communication with third party consultant,      WP   Withheld   N/A
                                           CC: Georgianne Johnson       Bullfighter Design, re work to be done under
                                                                        supervision of counsel and in anticipation of
                                                                        litigation.

2666   10-Jun-10   Email   Doug Epperson   To: Bill Ambrose             Email communication reflecting legal advice     AC   Withheld   N/A
                                                                        regarding document preservation in              WP
                                                                        connection with ongoing litigation.


2667   10-Mar-2008 Email   Bill Ambrose    To: Derek Hart               Email communication reflecting information re AC     Withheld   N/A
       9-Apr-2008                          CC: Mark Thibodeaux, Esq.    personnel and licensing issues prepared to    WP
       26-Mar-2009                                                      facilitate rendition of legal advice and in
       23-Sep-                                                          anticipation of litigation.
       2009
       9-Mar-2010
       8-Jun-2010
       9-Jun-2010



2668   9-Jun-10    Email   Oliver Diaz     To: Bill Ambrose             Communication with third party consultant,      WP   Withheld   N/A
                                                                        Bullfighter Design, re work to be done under
                                                                        supervision of counsel and in anticipation of
                                                                        litigation.
                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 242 of 277
2669   10-Mar-2008 Email    Larry McMahan   To: Bill Ambrose         Email communication reflecting information re AC      Withheld   N/A
       9-Apr-2008                                                    personnel and licensing issues prepared to    WP
       26-Mar-2009                                                   facilitate rendition of legal advice and in
       23-Sep-                                                       anticipation of litigation.
       2009
       9-Mar-2010
       8-Jun-2010
       9-Jun-2010



2670   8-Jun-10     Email   Bill Ambrose    To: Steven Newman        Email string providing information for the       AC   Withheld   N/A
                                                                     purpose of obtaining legal advice in             WP
                                                                     connection with ongoing Congressional
                                                                     proceedings and in anticipation of litigation.

2671   8-Jun-10     Email   Steven Newman   To: Bill Ambrose         Email string providing information for the       AC   Withheld   N/A
                                                                     purpose of obtaining legal advice in             WP
                                                                     connection with ongoing Congressional
                                                                     proceedingsand in anticipation of litigation.

2672   8-Jun-10     Email   Bill Ambrose    To: Oliver Diaz          Communication with third party consultant,       WP   Withheld   N/A
                                                                     Bullfighter Design, re work to be done under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.

2673   7-Jun-2010   Email   Bill Ambrose    To: Georgianne Johnson   Communication with third party consultant,       WP   Withheld   Yes
       8-Jun-2010                                                    Bullfighter Design, re work to be done under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.

2674   7-Jun-2010   Adobe                                            Communication with third party consultant,       WP   Withheld   N/A
       8-Jun-2010                                                    Bullfighter Design, re work to be done under
                                                                     supervision of counsel and in anticipation of
                                                                     litigation.

2675   6-Jun-10     Email   Wesley Bell     To: Bill Ambrose         Email string providing information at request    WP   Withheld
                                                                     of counsel to assist with Congressional
                                                                     proceedings and in anticipation of litigation.

2676   20-May-10    Email   Bill Ambrose    To: Michael Markey       Email string forwarding communication with       WP   Withheld   N/A
                                            Jewel Revis              third party consultant, Bullfighter Design, re
                                            CC: Michael Llewellyn    work to be prepared under supervision of
                                                                     counsel and in anticipation of litigation.
                                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 243 of 277
2677   20-May-10   Email      Michael Markey   To: Bill Ambrose         Email string forwarding communication with       WP   Withheld   N/A
                                               CC: Michael Llewellyn    third party consultant, Bullfighter Design, re
                                                                        work to be prepared under supervision of
                                                                        counsel and in anticipation of litigation.

2678   20-May-10   Email      Bill Ambrose     To: Oliver Diaz          Communication with third party consultant,       WP   Withheld   N/A
                                               CC: Georgianne Johnson   Bullfighter Design, re work to be prepared
                                               Michael Markey           under supervision of counsel and in
                                               Jewel Revis              anticipation of litigation.

2679   19-May-10   Email      Jewel Revis      To: Bill Ambrose         Email string forwarding communication with       WP   Withheld   N/A
                                                                        third party consultant, Bullfighter Design, re
                                                                        work to be prepared under supervision of
                                                                        counsel and in anticipation of litigation.

2680   19-May-10   Email      Vicki Garza      To: Bill Ambrose         Email communication reflecting information to AC      Withheld   N/A
                                                                        assist counsel regarding chain of             WP
                                                                        custody issues in connection with ongoing
                                                                        litigation and proceedings.

2681   19-May-10   Email      Michael Markey   To: Bill Ambrose         Email string forwarding communication with       WP   Withheld   N/A
                                                                        third party consultant, Bullfighter Design, re
                                                                        work to be prepared under supervision of
                                                                        counsel and in anticipation of litigation.

2682   17-May-10   Email      Oliver Diaz      To: Bill Ambrose         Communication with third party consultant,       WP   Withheld   N/A
                                               CC: Michael Markey       Bullfighter Design re work to be prepared
                                                                        under supervision of counsel and in
                                                                        anticipation of litigation.
2683   17-May-10   Email      Bill Ambrose     To: Oliver Diaz          Communication with third party consultant,       WP   Withheld   N/A
                                                                        Bullfighter Design, re work to be prepared
                                                                        under supervision of counsel and in
                                                                        anticipation of litigation.

2684   14-May-10   Email      Oliver Diaz      To: Bill Ambrose         Proposal re work to be done by, Bullfighter      WP   Withheld   N/A
                                                                        Design, prepared under supervision of
                                                                        counsel and in anticipation of litigation.

2685   26-Oct-10   Outlook                                              Detailed meeting notice re: BOP issues to        WP   Withheld   N/A
                   Calendar                                             assist counsel in OSC proceedings and in
                                                                        anticipation of litigation.

2686   19-Oct-10   Outlook                                              Detailed meeting notice re draft OSC             WP   Withheld   N/A
                   Calendar                                             presentation prepared under supervision of
                                                                        counsel and in anticipation of litigation.
                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 244 of 277
2687   19-Oct-10   Outlook                                   Detailed meeting notice re draft OSC          WP     Withheld   N/A
                   Calendar                                  presentation prepared under supervision of
                                                             counsel and in anticipation of litigation.

2688   15-Oct-10   Outlook                                   Detailed meeting notice regarding draft OSC   WP     Withheld   N/A
                   Calendar                                  submissions prepared under supervision of
                                                             counsel and in anticipation of litigation

2689   12-Oct-10   Outlook                                   Detailed meeting notice regarding draft OSC   WP     Withheld   N/A
                   Calendar                                  presentation prepared under supervision of
                                                             counsel and in anticipation of litigation.

2690   5-Oct-10    Outlook                                   Meeting notice regarding draft OSC            WP     Withheld   N/A
                   Calendar                                  presentation prepared under supervision of
                                                             counsel and in anticipation of litigation.

2691   1-Sep-10    Outlook                                   Meeting notice regarding draft OSC            WP     Withheld   N/A
                   Calendar                                  presentation prepared under supervision of
                                                             counsel and in anticipation of litigation.

2692   1-Sep-10    Outlook                                   Meeting notice regarding draft OSC            WP     Withheld   N/A
                   Calendar                                  presentation prepared under supervision of
                                                             counsel and in anticipation of litigation.

2693   5-Nov-10    Email      To: Oliver Diaz                Communication with third party consultant,    WP     Withheld   N/A
                              Ryan Smith                     Bullfighter Design, regarding draft OSC
                              CC: Wesley Bell                presentation prepared under supervision of
                              Dan Farr                       counsel and in anticipation of litigation.

2694   29-Oct-10   Email      To: Oliver Diaz                Communication with third party consultant,    WP     Withheld   N/A
                                                             Bullfighter Design, regarding draft OSC
                                                             presentation prepared under supervision of
                                                             counsel and in anticipation of litigation.

2695   22-Oct-10   Email      To: Alistair Gill (Prospect)   Communication with third party consultant,   WP      Withheld   N/A
                              CC: Dan Farr                   Prospect regarding draft OSC presentation
                              Derek Hart                     prepared under supervision of counsel and in
                                                             anticipation of litigation.

2696   25-Sep-10   Email      To: Arnaud Bobillier           Weekly investigation update to management AC         Withheld   N/A
                              CC: 'Steven Sparling, Esq.'    and counsel prepared to facilitate rendition of WP
                                                             legal advice and in anticipation of litigation
                                                             and followup emails
                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 245 of 277
2697   6-Jul-2010 Email    To: Theresa.Parker@deepwater.com    Email providing information for drafting of     AC   Withheld   N/A
       9-Aug-2010                                              report under supervision of counsel and in      WP
       7-Sep-2010                                              anticipation of litigation
       14-Sep-
       2010
2698   3-Sep-10   Email    To: DWN, OIM (Deepwater Nautilus)   Email communication with attached agenda        AC   Withheld   Yes
                           Park, Graham (Houston)              providing information to assist counsel in      WP
                           CC: 'Rachel Clingman, Esq.'         OSC proceedings and in anticipation of
                           Bill Sannan                         litigation.
                           'Steven Sparling, Esq.'
                           Wright, Mike (Houston)



2699   3-Sep-10    Word                                        Agenda attached to email communication          AC   Withheld   N/A
                                                               with counsel providing information to assist    WP
                                                               counsel in OSC proceedings and in
                                                               anticipation of litigation.


2700   30-Aug-10   Email   To: Steven Newman                   Weekly investigation update to management AC         Withheld   N/A
                                                               and counsel prepared to facilitate rendition of WP
                                                               legal advice and in anticipation of litigation
                                                               and followup emails


2701   18-Aug-10   Email   To: Kuhan.Sivathasan@dnv.com        Communication with third party consultant,      WP   Withheld   N/A
                           CC: Charles.McHardy@dnv.com         DNV, regarding
                           David.McKay@dnv.com                 maintenance review prepared under
                           Dan Farr                            supervision of counsel and in anticipation of
                                                               litigation.


2702   11-Aug-10   Email   To: David.McKay@dnv.com             Communication with third party consultant,      WP   Withheld   N/A
                           CC: Dan Farr                        DNV, re: maintenance review prepared under
                                                               supervision of counsel and in anticipation of
                                                               litigation.
2703   9-Aug-10    Email   To: Steven Newman                   Weekly investigation update to management AC         Withheld   N/A
                                                               and counsel prepared to facilitate rendition of WP
                                                               legal advice and in anticipation of litigation
                                                               and followup emails


2704   26-Jul-10   Email   To: Dan Farr                        Email communication regarding draft letter     AC    Withheld   N/A
                                                               with respect to BOP testing protocol prepared WP
                                                               at the direction of counsel in connection with
                                                               ongoing litigation.
                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 246 of 277
2705   21-Jun-10   Email          To: Michael Curtis          Communication re: invoice from third party       WP   Withheld   N/A
                                  Georgianne Johnson          consultant, Bullfighter Design, for work to be
                                  Mackey, Dalinda (Houston)   done under supervision of counsel and in
                                                              anticipation of litigation.

2706   11-Jun-10   Email          To: Oliver Diaz             Communication with third party consultant,      WP    Withheld   N/A
                                  CC: Georgianne Johnson      Bullfighter Design, for work to be done under
                                                              supervision of counsel and in anticipation of
                                                              litigation
2707   9-Jun-10    Email          To: Arnaud Bobillier        Weekly investigation update to management AC          Withheld   N/A
                                                              and counsel prepared to facilitate rendition of WP
                                                              legal advice and in anticipation of litigation
                                                              and follow-up emails

2708   20-May-10   Email          To: Oliver Diaz             Communication with third party consultant,       WP   Withheld   N/A
                                  CC: Georgianne Johnson      Bullfighter Design, conducted at the request
                                  Michael Markey              of counsel to assist with ongoing litigation and
                                  Jewel Revis                 hearings.


2709   18-May-10   Email          To: Oliver Diaz             Communication with third party consultant,    WP      Withheld   N/A
                                  CC: Georgianne Johnson      Bullfighter Design, for work to be done under
                                  Michael Markey              supervision of counsel and in anticipation of
                                  Jewel Revis                 litigation

2710   25-May-10   Outlook Task                               Bi-weekly investigation report to be submitted AC     Withheld   N/A
                                                              to management and counsel to facilitate legal WP
                                                              advice and in connection with ongoing
                                                              litigation and hearings.


2711   15-Jun-10   Outlook Task                               Bi-weekly investigation report to be submitted AC     Withheld   N/A
                                                              to management and counsel to facilitate legal WP
                                                              advice and in connection with ongoing
                                                              litigation and hearings.

2712   9-Jul-10    Outlook Task                               Draft of investigation update to be sent to      AC   Withheld   N/A
                                                              management and counsel to facilitate             WP
                                                              rendition of legal advice and in anticipation of
                                                              litigation
2713   13-Jul-10   Outlook Task                               Bi-weekly investigation report to be submitted AC     Withheld   N/A
                                                              to management and counsel to facilitate legal WP
                                                              advice and in connection with ongoing
                                                              litigation and hearings.
                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 247 of 277
2714   15-Jul-2010 Outlook Task                                    Draft of investigation update to be sent to      AC   Withheld   N/A
       16-Jul-2010                                                 management and counsel to facilitate             WP
                                                                   rendition of legal advice and in anticipation of
                                                                   litigation
2715   17-Aug-10   Outlook Task                                    Bi-weekly investigation report to be submitted AC     Withheld   N/A
                                                                   to management and counsel to facilitate legal WP
                                                                   advice and in connection with ongoing
                                                                   litigation and hearings.

2716   27-Aug-10   Outlook Task                                    Draft of investigation update to be sent to      AC   Withheld   N/A
                                                                   management and counsel to facilitate             WP
                                                                   rendition of legal advice and in anticipation of
                                                                   litigation

2717   31-Aug-10   Outlook Task                                    Bi-weekly investigation update to be             AC   Withheld   N/A
                                                                   submitted to management and counsel to           WP
                                                                   facilitate legal advice and in connection with
                                                                   ongoing litigation and hearings.

2718   3-Sep-10    Outlook Task                                    Bi-weekly investigation update to be             AC   Withheld   N/A
                                                                   submitted to management and counsel to           WP
                                                                   facilitate legal advice and in connection with
                                                                   ongoing litigation and hearings.

2719   7-Sep-10    Outlook Task                                    Bi-weekly investigation update to be             AC   Withheld   N/A
                                                                   submitted to management and counsel to           WP
                                                                   facilitate legal advice and in connection with
                                                                   ongoing litigation and hearings.

2720   10-Sep-10   Outlook Task                                    Bi-weekly investigation update to be             AC   Withheld   N/A
                                                                   submitted to management and counsel to           WP
                                                                   facilitate legal advice and in connection with
                                                                   ongoing litigation and hearings.

2721   5-Nov-10    Email          Bill Ambrose   To: Oliver Diaz   Communication with third party consultant,       WP   Withheld   N/A
                                                 Ryan Smith        Bullfighter Design, regarding draft OSC
                                                 CC: Wesley Bell   presentation prepared under supervision of
                                                 Dan Farr          counsel and in anticipation of litigation .

2722   4-Nov-10    Email          Bill Ambrose   To: Wesley Bell   Email string regarding draft OSC presentation WP      Withheld   N/A
                                                                   prepared under supervision of counsel and in
                                                                   anticipation of litigation
                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 248 of 277
2723   4-Nov-10   Email       Bill Ambrose   To: 'brian.kennedy@fd.com'        Email string forwarding communication with      AC   Withheld   N/A
                                                                               third party consultant, Bullfighter Design,     WP
                                                                               regarding draft OSC presentation prepared
                                                                               under supervision of counsel and in
                                                                               anticipation of litigation

2724   4-Nov-10   Email       Bill Ambrose   To: Oliver Diaz                   Communication with third party consultant,      WP   Withheld   N/A
                                             Ryan Smith                        Bullfighter Design, regarding draft OSC
                                                                               presentation prepared under supervision of
                                                                               counsel and in anticipation of litigation

2725   3-Nov-2010 Email       Bill Ambrose   To: Dan Farr                      Communication regarding graphics prepared AC         Withheld   N/A
       4-Nov-2010                                                              to assist counsel in connection with OSC      WP
                                                                               proceedings and in anticipation of litigation

2726   3-Nov-10   Email       Bill Ambrose   To: Keelan Adamson                Email string regarding draft OSC presentation WP     Withheld   N/A
                                                                               prepared under supervision of counsel and in
                                                                               anticipation of litigation

2727   3-Nov-10   Email       Bill Ambrose   To: Keelan Adamson                Email string regarding draft OSC presentation WP     Withheld   N/A
                                                                               prepared under supervision of counsel and in
                                                                               anticipation of litigation

2728   3-Nov-10   Email       Bill Ambrose   To: Salgado, Camila (DWH Proj.)   Communication regarding draft                AC      Withheld   N/A
                                                                               OSC submission prepared under supervision WP
                                                                               of counsel and in anticipation of litigation

2729   1-Nov-2010 Email       Bill Ambrose   To: Michael Bagdon                Email string with attached charts regarding     WP   Withheld   Yes
       3-Nov-2010                                                              draft OSC presentation prepared under
                                                                               supervision of counsel and in anticipation of
                                                                               litigation
2730   1-Nov-2010 Microsoft   dkluk                                            Chart prepared regarding draft OSC              WP   Withheld   N/A
       3-Nov-2010 Excel                                                        presentation prepared under supervision of
                  Worksheet                                                    counsel and in anticipation of litigation

2731   1-Nov-2010 Adobe                                                        Chart regarding draft OSC presentation       WP      Withheld   N/A
       3-Nov-2010                                                              prepared under supervision of counsel and in
                                                                               anticipation of litigation

2732   3-Nov-10   Email       Bill Ambrose   To: Adrian Rose                   Email string regarding upcoming                 WP   Withheld   N/A
                                                                               OSC proceedings prepared in anticipation of
                                                                               litigation
                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 249 of 277
2733   1-Nov-2010 Email          Bill Ambrose   To: Brian Kennedy                    Email string forwarding communication with       WP   Withheld   N/A
       2-Nov-2010                                                                    third party consultant, Bullfighter Design,
                                                                                     regarding draft OSC presentation prepared
                                                                                     under supervision of counsel and in
                                                                                     anticipation of litigation

2734   1-Nov-10    Email         Bill Ambrose   To: Bjoern Ritter                    Email string re draft Prospect presentation to WP     Withheld   N/A
                                                                                     OSC prepared under supervision of counsel
                                                                                     and in anticipation of litigation.

2735   1-Nov-10    Email         Bill Ambrose   To: Dan Farr                         Email string re draft Prospect presentation to WP     Withheld   N/A
                                                Bjoern Ritter                        OSC prepared under supervision of counsel
                                                CC: Chad Crain                       and in anticipation of litigation.
                                                Derek Hart

2736   1-Nov-10    Email         Bill Ambrose   To: 'oliver@bullfighterdesign.com'   Communication with third party consultant,    WP      Withheld   N/A
                                                                                     Bullfighter Design, re draft OSC presentation
                                                                                     prepared under supervision of counsel and in
                                                                                     anticipation of litigation.

2737   22-Oct-10   Email         Bill Ambrose   To: Alistair Gill (Prospect)         Communication with third party consultant,   WP       Withheld   N/A
                                                CC: Dan Farr                         Prospect, re draft OSC presentation prepared
                                                Derek Hart                           under supervision of counsel and in
                                                                                     anticipation of litigation.

2738   22-Oct-10   Email         Bill Ambrose   To: Dan Farr                         Email string re draft Prospect presentation to WP     Withheld   N/A
                                                                                     OSC prepared under supervision of counsel
                                                                                     and in anticipation of litigation.

2739               Email                                                             Email string re draft Prospect presentation to        Withheld   N/A
                                                                                     OSC prepared under supervision of counsel
                                                                                     and in anticipation of litigation.

2740               Email                                                             Email string re draft Prospect presentation to        Withheld   Yes
                                                                                     OSC prepared under supervision of counsel
                                                                                     and in anticipation of litigation.




2741   22-Oct-10   Windows                                                           Draft Prospect presentation to OSC prepared WP        Withheld   N/A
                   Media                                                             under supervision of counsel and in
                   Audio/Video                                                       anticipation of litigation.
                   file
                                                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 250 of 277
2742   14-Oct-10   Email          Bill Ambrose   To: Wesley Bell         Communication regarding draft Prospect           WP   Withheld   N/A
                                                 Derek Hart              presentation to OSC prepared under
                                                 CC: Chad Crain          supervision of counsel and in anticipation of
                                                 Dan Farr                litigation.
                                                 Bjoern Ritter

2743   13-Oct-10   Email          Bill Ambrose   To: Steven Newman       Email with attached draft report prepared at     AC   Withheld   N/A
                                                 CC: Dan Farr            request of counsel to assist with OSC            WP
                                                 Steven Sparling, Esq.   proceedings providing information for the
                                                                         purpose of obtaining legal advice re: same.

2744   26-Sep-10   Email          Bill Ambrose   To: Wesley Bell         Communication with third party consultant,    WP      Withheld   Yes
                                                 CC: Oliver Diaz         Bullfighter Design, regarding draft
                                                                         OSC submission prepared under supervision
                                                                         of counsel and in anticipation of litigation.

2745   26-Sep-10   Microsoft                                             Draft graphics summary provided to third       WP     Withheld   N/A
                   Office Excel                                          party consultant, Bullfighter Design, prepared
                   2007                                                  to assist counsel in OSC proceedings and in
                   Workbook                                              anticipation of litigation.


2746   20-Sep-10   Email          Bill Ambrose   To: Wesley Bell         Email regarding CFR regs prepared to assist      WP   Withheld   N/A
                                                                         counsel in connection with ongoing JIT
                                                                         proceedings and in anticipation of litigation.

2747   15-Sep-10   Email          Bill Ambrose   To: Steven Newman       Weekly investigation update to management AC          Withheld   N/A
                                                 CC: Arnaud Bobillier    and counsel prepared to facilitate rendition of WP
                                                 Rachel Clingman, Esq.   legal advice and in anticipation of litigation
                                                 Steven Sparling, Esq.

2748   11-Sep-10   Email          Bill Ambrose   To: Steven Newman       Weekly investigation update to management AC          Withheld   N/A
                                                 CC: Arnaud Bobillier    and counsel prepared to facilitate rendition of WP
                                                 Rachel Clingman, Esq.   legal advice and in anticipation of litigation
                                                 Steven Sparling, Esq.

2749   10-Sep-10   Email          Bill Ambrose   To: Derek Hart          Email string forwarding communication with       WP   Withheld   Yes
                                                                         third party consultant, GL Noble
                                                                         Denton, regarding work to be done under
                                                                         supervision of counsel and in anticipation of
                                                                         litigation.

2750   10-Sep-10   Adobe                                                 Work order for third party consultant, GL        WP   Withheld   N/A
                                                                         Noble Denton, for report to be prepared
                                                                         under supervision of counsel and in
                                                                         anticipation of litigation.
                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 251 of 277
2751   7-Sep-10    Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier          and counsel prepared to facilitate rendition of WP
                                          'Rachel Clingman, Esq.'       legal advice and in anticipation of litigation
                                          Steven Sparling, Esq.

2752   3-Sep-10    Email   Bill Ambrose   To: Winslow, Daun (Houston)   Email regarding rig visit prepared to assist    WP   Withheld   N/A
                                                                        counsel with OSC proceedings and in
                                                                        anticipation of litigation.
2753   3-Sep-10    Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier          and counsel prepared to facilitate rendition of WP
                                          'Rachel Clingman, Esq.'       legal advice and in anticipation of litigation
                                          'Steven Sparling, Esq.'

2754   1-Sep-10    Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier          and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.         legal advice and in anticipation of litigation
                                          Steven Sparling, Esq.

2755   30-Aug-10   Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                                                        and counsel prepared to facilitate rendition of WP
                                                                        legal advice and in anticipation of litigation


2756   28-Aug-10   Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier          and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.         legal advice and in anticipation of litigation
                                          'Steven Sparling, Esq.'

2757   24-Aug-10   Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier          and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.         legal advice and in anticipation of litigation.
                                          Steven Sparling, Esq.

2758   22-Aug-10   Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier          and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.         legal advice and in anticipation of litigation.
                                          Steven Sparling, Esq.

2759   20-Aug-10   Email   Bill Ambrose   To: Steven Newman             Weekly investigation update to management AC         Withheld   N/A
                                                                        and counsel prepared to facilitate rendition of WP
                                                                        legal advice and in anticipation of litigation
                                                                        and follow-up emails.
                                                                                                                                              Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 252 of 277
2760   18-Aug-10   Email   Bill Ambrose   To: Kuhan.Sivathasan@dnv.com   Communication with third party consultant,   WP      Withheld   Yes
                                          CC: Charles.McHardy@dnv.com    DNV, regarding maintenance review
                                          David.McKay@dnv.com            prepared under supervision of counsel and in
                                          Dan Farr                       anticipation of litigation.




2761   18-Aug-10   Adobe                                                 Work order for third party consultant, DNV,   WP     Withheld   N/A
                                                                         regarding maintenance review prepared
                                                                         under supervision of counsel and in
                                                                         anticipation of litigation.

2762   18-Aug-10   Email   Bill Ambrose   To: Steven Newman              Weekly investigation update to management AC         Withheld   Yes
                                          CC: Arnaud Bobillier           and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.          legal advice and in anticipation of litigation.
                                          Steven Sparling, Esq.

2763   16-Jan-2009 Adobe                                                 Flow chart attached to email string providing AC     Withheld   N/A
       12-Aug-                                                           requested information for the purpose of       WP
       2009                                                              obtaining legal advice re: media coverage of
       2-Mar-2010                                                        well control issues in connection with ongoing
       3-Mar-2010                                                        litigation and hearings.
       4-Mar-2010
       12-Jul-2010
       13-Jul-2010
       16-Aug-
       2010

2764   14-Aug-10   Email   Bill Ambrose   To: Steven Newman              Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier           and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.          legal advice and in anticipation of litigation.
                                          Steven Sparling, Esq.

2765   13-Aug-10   Email   Bill Ambrose   To: David.McKay@dnv.com        Communication with third party consultant,   WP      Withheld   N/A
                                          CC: Charles.McHardy@dnv.com    DNV, regarding maintenance review
                                          Dan Farr                       prepared under supervision of counsel and in
                                                                         anticipation of litigation.

2766   11-Aug-10   Email   Bill Ambrose   To: David.McKay@dnv.com        Communication with third party consultant,   WP      Withheld   N/A
                                          CC: Dan Farr                   DNV, regarding maintenance review
                                                                         prepared under supervision of counsel and in
                                                                         anticipation of litigation.
                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 253 of 277
2767   11-Aug-10   Email   Bill Ambrose   To: Steven Newman                  Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier               and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.              legal advice and in anticipation of litigation.
                                          Steven Sparling, Esq.

2768   9-Aug-10    Email   Bill Ambrose   To: Steven Newman                  Weekly investigation update to management AC         Withheld   N/A
                                                                             and counsel prepared to facilitate rendition of WP
                                                                             legal advice and in anticipation of litigation
                                                                             and follow-up emails.


2769   7-Aug-10    Email   Bill Ambrose   To: Steven Newman                  Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier               and counsel prepared to facilitate rendition of WP
                                          Rachel Clingman, Esq.              legal advice and in anticipation of litigation
                                          Steven Sparling, Esq.              and follow-up emails.


2770   3-Aug-10    Email   Bill Ambrose   To: Steven Newman                  Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier               and counsel prepared to facilitate rendition of WP
                                          'rachel.clingman@sutherland.com'   legal advice in anticipation of litigation.
                                          Steven Sparling, Esq.


2771   1-Aug-10    Email   Bill Ambrose   To: Steven Newman                  Weekly investigation update to management AC         Withheld   N/A
                                          CC: Arnaud Bobillier               and counsel prepared to facilitate rendition of WP
                                          'rachel.clingman@sutherland.com'   legal advice in anticipation of litigation.
                                          Steven Sparling, Esq.


2772   31-Jul-10   Email   Bill Ambrose   To: Steve Myers                    Weekly investigation update to management AC         Withheld   N/A
                                                                             and counsel prepared to facilitate rendition of WP
                                                                             legal advice in anticipation of litigation and
                                                                             follow-up emails.


2773   29-Jul-10   Email   Bill Ambrose   To: Steve Myers                    Email communication providing information     AC     Withheld   N/A
                                                                             prepared to assist counsel with ongoing       WP
                                                                             litigation.

2774   27-Jul-10   Email   Bill Ambrose   To: Steven Newman                  Weekly investigation update to management AC         Withheld   N/A
                                                                             and counsel prepared to facilitate rendition of WP
                                                                             legal advice and in anticipation of litigation
                                                                             and follow-up emails.
                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 254 of 277
2775   26-Jul-10   Email          Bill Ambrose   To: Steven Newman       Weekly investigation update to management AC           Withheld   N/A
                                                 CC: Arnaud Bobillier    and counsel prepared to facilitate rendition of WP
                                                 Steven Sparling, Esq.   legal advice and in anticipation of litigation.


2776   26-Jul-10   Email          Bill Ambrose   To: Dan Farr            Email communication regarding draft letter     AC      Withheld   N/A
                                                                         with respect to BOP testing protocol prepared WP
                                                                         at the direction of counsel in connection with
                                                                         ongoing litigation.


2777   19-Jul-10   Email          Bill Ambrose   To: Brian Kennedy       Communication regarding rig operations         AC      Withheld   N/A
                                                                         made under supervision of counsel to           WP
                                                                         facilitate rendition of legal advice and in
                                                                         anticipation of litigation.
2778   11-Jun-2010 Email          Bill Ambrose   To: Brian Kennedy       Communication regarding rig operations         AC      Withheld   Yes
       16-Jul-2010                                                       made under supervision of counsel to           WP
                                                                         facilitate rendition of legal advice and in
                                                                         anticipation of litigation.
2779   13-Jul-10   Microsoft                                             Draft presentation on internal                 AC      Withheld   N/A
                   Office                                                investigation prepared at direction of counsel WP
                   PowerPoint                                            and in anticipation of litigation.
                   2007
                   Presentation
2780   11-Jul-10   Email          Bill Ambrose   To: Steven Newman       Weekly investigation update to management AC           Withheld   N/A
                                                 CC: Arnaud Bobillier    and counsel prepared to facilitate rendition      WP
                                                 Steven Sparling, Esq.   of legal advice and in anticipation of litigation

2781   6-Jul-10    Email          Bill Ambrose   To: Steven Newman       Weekly investigation update to management AC           Withheld   N/A
                                                 CC: Arnaud Bobillier    and counsel prepared to facilitate rendition of WP
                                                 Steven Sparling, Esq.   legal advice and in anticipation of litigation


2782   3-Jul-10    Email          Bill Ambrose   To: Steven Newman       Weekly investigation update to management AC           Withheld   N/A
                                                 CC: Arnaud Bobillier    and counsel prepared to facilitate rendition of WP
                                                 Steven Sparling, Esq.   legal advice and in anticipation of litigation


2783   29-Jun-2010 Email          Bill Ambrose   To: Steven Newman       Weekly investigation update to management AC           Withheld   N/A
       30-Jun-2010                               CC: Arnaud Bobillier    and counsel prepared to facilitate rendition of WP
                                                 Steven Sparling, Esq.   legal advice and in anticipation of litigation
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 255 of 277
2784   29-Jun-10   Email          Bill Ambrose   To: Georgianne Johnson   Email string forwarding communication with       WP   Withheld   Yes
                                                                          third party consultant, Bullfighter Design for
                                                                          work prepared under supervision of counsel
                                                                          and in anticipation of litigation.

2785   29-Jun-10   Adobe                                                  Invoice from third party consultant, Bullfighter WP   Withheld   N/A
                                                                          Design for work prepared under supervision
                                                                          of counsel and in anticipation of litigation.

2786   11-Jun-10   Email          Bill Ambrose   To: Oliver Diaz          Communication with third party consultant,    WP      Withheld   N/A
                                                 CC: Georgianne Johnson   Bullfighter Design, for work prepared under
                                                                          supervision of counsel and in anticipation of
                                                                          litigation.
2787   7-Jun-10    Email          Bill Ambrose   To: 'Brian Kennedy'      Email forwarding draft presentation prepared AC       Withheld   Yes
                                                                          at request of counsel to assist with ongoing  WP
                                                                          Congressional proceedings.

2788   7-Jun-10    Microsoft                                              Draft presentation prepared at request of      AC     Withheld   N/A
                   Office                                                 counsel to assist with ongoing Congressional WP
                   PowerPoint                                             proceedings and in anticipation of litigation.
                   2007
                   Presentation
2789   7-Jun-10    Microsoft                                              Draft presentation to Congress prepared          AC   Withheld   N/A
                   Office                                                 under supervision of counsel and in              WP
                   PowerPoint                                             anticipation of litigation.
                   2007
                   Presentation
2790   6-Jun-10    Email          Bill Ambrose   To: Wesley Bell          Email forwarding draft presentation prepared AC       Withheld   N/A
                                                 Perrin Roller            at request of counsel to assist with ongoing WP
                                                                          Congressional proceedings.

2791   6-Jun-10    Email          Bill Ambrose   To: Wesley Bell          Email re draft presentation to Congress          WP   Withheld   N/A
                                                 Perrin Roller            prepared at request of counsel and in
                                                                          anticipation of litigation.

2792   18-May-10   Email          Bill Ambrose   To: Oliver Diaz          Communication with third party consultant,   WP       Withheld   Yes
                                                 CC: Georgianne Johnson   Bullfighter Design,regarding work to be
                                                 Michael Markey           prepared under supervision of counsel and in
                                                 Jewel Revis              anticipation of litigation.

2793   17-May-     Adobe                                                  Agreement with third party consultant,       WP       Withheld   N/A
       2010                                                               Bullfighter Design,regarding work to be
       18-May-                                                            prepared under supervision of counsel and in
       2010                                                               anticipation of litigation.
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 256 of 277
2794   4-Aug-10    PowerPoint                                             Draft presentation to Congress prepared         AC    Withheld   N/A
                                                                          under supervision of counsel and in             WP
                                                                          anticipation of litigation.
2795   6-Jun-10    Email          Perrin Roller   To: Bill Ambrose        Email re attached draft presentations to assist WP    Withheld   Yes
                                                  CC: Wesley Bell         counsel with Congressional proceedings and
                                                                          in anticipation of litigation.
                                                                           .

2796   6-Jun-10    PowerPoint     IT                                      Draft presentation to Congress prepared        AC     Withheld   N/A
                                                                          under supervision of counsel and in            WP
                                                                          anticipation of litigation.

2797   4-Feb-11    Email          Bill Ambrose    To: Steven Newman       Email with attached presentation to              WP   Withheld   Yes
                                                                          management and counsel in anticipation of
                                                                          litigation
2798   4-Feb-11    Microsoft                                              Presentation in internal investigation           WP   Withheld   N/A
                   Office                                                 to management and counsel prepared in
                   PowerPoint                                             anticipation of litigation and attached to email
                   2007                                                   re same.
                   Presentation
2799   11-Mar-11   Email          Dan Farr        To: Steven Newman       Weekly investigation update to management AC          Withheld   Yes
                                                  CC: Bill Ambrose        and counsel prepared to facilitate rendition of WP
                                                  Arnaud Bobillier        legal advice and in anticipation of litigation
                                                  Brown, Eric (Geneva)
                                                  Rachel Clingman, Esq.
                                                  Dan Farr
                                                  Adrian Rose
                                                  Steven Sparling, Esq.

2800   11-Mar-11   Adobe                                                  List attached to weekly investigation report    AC    Withheld   N/A
                                                                          reflecting legal advice re: various matters and WP
                                                                          prepared in connection with ongoing litigation
                                                                          and hearings.


2801   5-Mar-11    Email          Dan Farr        To: Bill Ambrose        Weekly investigation update and follow-up      AC     Withheld   N/A
                                                                          emails to management and counsel prepared WP
                                                                          to facilitate rendition of legal advice and in
                                                                          anticipation of litigation
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 257 of 277
2802   5-Mar-11    Email          Dan Farr   To: Steven Newman           Weekly investigation report to management       AC   Withheld   N/A
                                             CC: Bill Ambrose            and counsel prepared to facilitate rendition of WP
                                             Arnaud Bobillier            legal advice and in anticipation of litigation.
                                             Brown, Eric (Geneva)
                                             Rachel Clingman, Esq.
                                             Adrian Rose
                                             Steven Sparling, Esq.

2803   25-Feb-11   Email          Dan Farr   To: Steven Newman           Weekly investigation report to management       AC   Withheld   N/A
                                             CC: Bill Ambrose            and counsel prepared to facilitate rendition of WP
                                             Arnaud Bobillier            legal advice and in anticipation of litigation.
                                             Brown, Eric (Geneva)
                                             Dan Farr
                                             Rachel Clingman
                                             Adrian Rose
                                             Steven Sparling, Esq.

2804   10-Feb-11   Email          Dan Farr   To: Bill Ambrose            Email string providing information requested    WP   Withheld   N/A
                                                                         by counse to assist with OSC
                                                                         proceedings and in anticipation of litigation


2805   3-Feb-11    Email          Dan Farr   To: Bill Ambrose            Communication with counsel re attached draft AC      Withheld   Yes
                                             CC: Steven Sparling, Esq.   presentation to management and counsel to WP
                                                                         assist in rendering legal advice and in
                                                                         anticipation of litigation.


2806   3-Feb-11    Microsoft                                             Draft presentation to management and            AC   Withheld   N/A
                   Office                                                counsel attached to email string prepared at    WP
                   PowerPoint                                            the request of counsel to assist in rendering
                   2007                                                  legal advice in connection with on-going
                   Presentation                                          litigation and hearings.


2807   21-Jan-11   Email          Dan Farr   To: Steven Newman           Weekly investigation update to management AC         Withheld   N/A
                                             CC: Bill Ambrose            and counsel prepared to facilitate rendition of WP
                                             Arnaud Bobillier            legal advice and in anticipation of litigation
                                             Brown, Eric (Geneva)
                                             'Rachel Clingman, Esq.'
                                             Dan Farr
                                             Adrian Rose
                                             Steven Sparling, Esq.
                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 258 of 277
2808   4-Feb-11    Email          Bill Ambrose         To: Dan Farr                  Communication with counsel re attached draft AC       Withheld   Yes
                                                       CC: 'Steven Sparling, Esq.'   presentation to management and counsel to WP
                                                                                     assist in rendering legal advice and in
                                                                                     anticipation of litigation.


2809   4-Feb-11    Microsoft                                                         Draft presentation to management and           AC     Withheld   N/A
                   Office                                                            counsel attached to email string prepared to   WP
                   PowerPoint                                                        assist in rendering legal advice and in
                   2007                                                              anticipation of litigation.
                   Presentation
2810   3-Feb-11    Email          Bill Ambrose         To: Dan Farr                  Communication with counsel re attached draft AC       Withheld   Yes
                                                       CC: Steven C. Sparlling       presentation to management and counsel to WP
                                                                                     assist in rendering legal advice and in
                                                                                     anticipation of litigation.

2811   3-Feb-11    Microsoft                                                         Draft presentation to management and             AC   Withheld   N/A
                   Office                                                            counsel attached to email prepared to assist WP
                   PowerPoint                                                        in rendering legal advice and in anticipation of
                   2007                                                              litigation
                   Presentation
2812   4-Feb-2011 Email           Bill Ambrose         To: Lefort, Fabienne (Zug)    Email string with attached presentation to     WP     Withheld   Yes
       18-Feb-2011                                                                   management and counsel to facilitate legal
                                                                                     advice and in anticipation of litigation

2813   4-Feb-2011 Microsoft                                                          Update on investigation presented to           WP     Withheld   N/A
       18-Feb-2011 Office                                                            management and counsel to facilitate legal
                   PowerPoint                                                        advice and in anticipation of litigation
                   2007
                   Presentation
2814   31-Jan-11   Email          Bill Ambrose         To: David.McKay@dnv.com       Communication with third party consultant,    WP      Withheld   N/A
                                                       CC: Dan Farr                  DNV, re: maintenance review prepared under
                                                       Joyce.Dodds@dnv.com           supervision of counsel and in anticipation of
                                                       Kuhan.Sivathasan@dnv.com      litigation
                                                       Sandy.Jones@dnv.com

2815   31-Jan-11   Email          David.McKay@dnv.co   To: Bill Ambrose              Communication with third party consultant,    WP      Withheld   N/A
                                  m                    CC: Dan Farr                  DNV, re: maintenance review prepared under
                                                       Joyce.Dodds@dnv.com           supervision of counsel and in anticipation of
                                                       Kuhan.Sivathasan@dnv.com      litigation
                                                       Sandy.Jones@dnv.com
                                                                                                                                                            Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 259 of 277
2816   5-Nov-10   Email   Bill Ambrose    To: Oliver Diaz                      Communication with third party consultant,    WP   Withheld   N/A
                                          Ryan Smith                           Bullfighter Design, conducted under the
                                          CC: Wesley Bell                      supervision of counsel to assist with the OSC
                                          Dan Farr                             proceedings and in anticipation of litigation


2817   5-Nov-10   Email   Ryan Smith      To: Bill Ambrose                     Communication with third party consultant,    WP   Withheld   N/A
                                          'Oliver Diaz'                        Bullfighter Design, conducted under the
                                          CC: Wesley Bell                      supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation


2818   5-Nov-10   Email   Oliver Diaz     To: Bill Ambrose                     Communication with third party consultant,    WP   Withheld   N/A
                                          Ryan Smith                           Bullfighter Design, conducted under the
                                          CC: Wesley Bell                      supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation




2819   5-Nov-10   Email   Ryan Smith      To: Bill Ambrose                     Communication with third party consultant,    WP   Withheld   N/A
                                          CC: Wesley Bell                      Bullfighter Design, conducted under the
                                          'Oliver Diaz'                        supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation




2820   5-Nov-10   Email   Bill Ambrose    To: 'oliver@bullfighterdesign.com'   Communication with third party consultant,    WP   Withheld   N/A
                                          Ryan Smith                           Bullfighter Design, conducted under the
                                          CC: Wesley Bell                      supervision of counsel to assist with the OSC
                                          Dan Farr                             proceedings and in anticipation of litigation




2821   5-Nov-10   Email   Oliver Diaz     To: Ryan Smith                       Communication with third party consultant,    WP   Withheld   N/A
                                          CC: Bill Ambrose                     Bullfighter Design, conducted under the
                                          Wesley Bell                          supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation




2822   5-Nov-10   Email   Brian Kennedy   To: Bill Ambrose                     Email string reflecting legal advice re:      AC   Withheld   N/A
                                          CC: Michael Bagdon                   communication with third party consultant,    WP
                                                                               Bullfighter Design, conducted under the
                                                                               supervision of counsel to assist with the OSC
                                                                               proceedings.
                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 260 of 277
2823   5-Nov-10   Email   Bill Ambrose   To: Brian Kennedy            Email string reflecting legal advice re:      AC   Withheld   N/A
                                         CC: Michael Bagdon           communication with third party consultant,    WP
                                                                      Bullfighter Design, conducted under the
                                                                      supervision of counsel to assist with the OSC
                                                                      proceedings.

2824   5-Nov-10   Email   Bill Ambrose   To: Ryan Smith               Email string forwarding communication with    WP   Withheld   N/A
                                                                      third party consultant, Bullfighter Design,
                                                                      conducted under the supervision of counsel
                                                                      to assist with the OSC proceedings and in
                                                                      anticipation of litigation


2825   5-Nov-10   Email   Ryan Smith     To: Bill Ambrose             Communication with third party consultant,    WP   Withheld   N/A
                                         CC: 'Oliver Diaz'            Bullfighter Design, conducted under the
                                                                      supervision of counsel to assist with the OSC
                                                                      proceedings and in anticipation of litigation


2826   5-Nov-10   Email   Bill Ambrose   To: Dan Farr                 Email string forwarding communication with    WP   Withheld   N/A
                                                                      third party consultant, Bullfighter Design,
                                                                      conducted under the supervision of counsel
                                                                      to assist with the OSC proceedings and in
                                                                      anticipation of litigation


2827   5-Nov-10   Email   Oliver Diaz    To: Ryan Smith               Communication with third party consultant,    WP   Withheld   N/A
                                         CC: Bill Ambrose             Bullfighter Design, conducted under the
                                         Wesley Bell                  supervision of counsel to assist with the OSC
                                                                      proceedings and in anticipation of litigation


2828   4-Nov-10   Email   Bill Ambrose   To: 'brian.kennedy@fd.com'   Email string forwarding Brian Kennedy         AC   Withheld   N/A
                                                                      communication with third party consultant,    WP
                                                                      Bullfighter Design, conducted under the
                                                                      supervision of counsel to assist with the OSC
                                                                      proceedings.

2829   4-Nov-10   Email   Oliver Diaz    To: Bill Ambrose             Communication with third party consultant,    WP   Withheld   N/A
                                         Wesley Bell                  Bullfighter Design, conducted under the
                                         Ryan Smith                   supervision of counsel to assist with the OSC
                                                                      proceedings and in anticipation of litigation
                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 261 of 277
2830   4-Nov-10    Email   Bill Ambrose   To: Oliver Diaz                      Communication with third party consultant,    WP   Withheld   N/A
                                          Ryan Smith                           Bullfighter Design, conducted under the
                                                                               supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation


2831   1-Nov-2010 Email    Bill Ambrose   To: Brian Kennedy                    Email string forwarding                      AC    Withheld   N/A
       2-Nov-2010                                                              regarding communication with third party     WP
                                                                               consultant, Bullfighter Design, conducted
                                                                               under the supervision of counsel to assist
                                                                               with the OSC proceedings.

2832   1-Nov-10    Email   Oliver Diaz    To: Bill Ambrose                     Communication with third party consultant,    WP   Withheld   N/A
                                                                               Bullfighter Design, conducted under the
                                                                               supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation




2833   1-Nov-10    Email   Bill Ambrose   To: 'oliver@bullfighterdesign.com'   Communication with third party consultant,    WP   Withheld   N/A
                                                                               Bullfighter Design, conducted under the
                                                                               supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation


2834   29-Oct-10   Email   Oliver Diaz    To: Bill Ambrose                     Communication with third party consultant,    AC   Withheld   N/A
                                                                               Bullfighter Design, conducted under the       WP
                                                                               supervision of counsel to assist with the OSC
                                                                               proceedings.


2835   29-Oct-10   Email   Bill Ambrose   To: Oliver Diaz                      Communication with third party consultant,    WP   Withheld   N/A
                                                                               Bullfighter Design, conducted under the
                                                                               supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation


2836   29-Oct-10   Email   Bill Ambrose   To: Oliver Diaz                      Communication with third party consultant,    WP   Withheld   N/A
                                          CC: Wesley Bell                      Bullfighter Design, conducted under the
                                                                               supervision of counsel to assist with the OSC
                                                                               proceedings and in anticipation of litigation
                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 262 of 277
2837   29-Oct-10   Email   Oliver Diaz                To: Bill Ambrose                      Communication with third party consultant,    WP   Withheld   N/A
                                                                                            Bullfighter Design, conducted under the
                                                                                            supervision of counsel to assist with the OSC
                                                                                            proceedings and in anticipation of litigation




2838   29-Oct-10   Email   Bill Ambrose               To: Wesley Bell                       Communication with third party consultant,    WP   Withheld   N/A
                                                      Oliver Diaz                           Bullfighter Design, conducted under the
                                                                                            supervision of counsel to assist with the OSC
                                                                                            proceedings and in anticipation of litigation




2839   29-Oct-10   Email   Oliver Diaz                To: Bill Ambrose                      Communication with third party consultant,    WP   Withheld   N/A
                                                      Wesley Bell                           Bullfighter Design, conducted under the
                                                                                            supervision of counsel to assist with the OSC
                                                                                            proceedings and in anticipation of litigation




2840   27-Oct-10   Email   Alistair Gill (Prospect)   To: Bill Ambrose                      Communication with third party consultant,   WP    Withheld   N/A
                                                      CC: Derek Hart                        Prospect, regarding draft OSC presentation
                                                      Bjoern Ritter                         prepared under supervision of counsel and in
                                                                                            anticipation of litigation

2841   26-Oct-10   Email   Derek Hart                 To: 'alastair.gill@prospect-fs.com'   Communication with third party consultant,   WP    Withheld   N/A
                                                      CC: Bill Ambrose                      Prospect, regarding draft OSC presentation
                                                      Bjoern Ritter                         prepared under supervision of counsel and in
                                                      'Steve.Howell@prospect-fs.com'        anticipation of litigation

2842   26-Oct-10   Email   Bill Ambrose               To: Alistair Gill (Prospect)          Communication with third party consultant,   WP    Withheld   N/A
                                                                                            Prospect, regarding draft OSC presentation
                                                                                            prepared under supervision of counsel and in
                                                                                            anticipation of litigation


2843   26-Oct-10   Email   Bill Ambrose               To: 'Alistair Gill (Prospect)'        Communication with third party consultant,   WP    Withheld   N/A
                                                      CC: Derek Hart                        Prospect, regarding draft OSC presentation
                                                      Bjoern Ritter                         prepared under supervision of counsel and in
                                                                                            anticipation of litigation
                                                                                                                                                                Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 263 of 277
2844   26-Oct-10   Email     Bill Ambrose               To: Alistair Gill (Prospect)   Communication with third party consultant,   WP   Withheld   N/A
                                                                                       Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation


2845   26-Oct-10   Email     Alistair Gill (Prospect)   To: Bill Ambrose               Communication with third party consultant,   WP   Withheld   N/A
                                                        CC: Derek Hart                 Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation

2846   26-Oct-10   Email     Alistair Gill (Prospect)   To: Bill Ambrose               Communication with third party consultant,   WP   Withheld   N/A
                                                                                       Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation
2847   26-Oct-10   Email     Bill Ambrose               To: Alistair Gill (Prospect)   Communication with third party consultant,   WP   Withheld   N/A
                                                                                       Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation
2848   25-Oct-10   Email     Alistair Gill (Prospect)   To: Bill Ambrose               Communication with third party consultant,   WP   Withheld   N/A
                                                                                       Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation
2849   25-Oct-10   Email     Alistair Gill (Prospect)   To: Bill Ambrose               Communication with third party consultant,   WP   Withheld   N/A
                                                                                       Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation

2850   25-Oct-10   Email     Bill Ambrose               To: Alistair Gill (Prospect)   Communication with third party consultant,   WP   Withheld   N/A
                                                                                       Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation

2851   25-Oct-10   Outlook   Bill Ambrose               To: Geoff Boughton             Notice of meeting regarding OSC preparation WP    Withheld   N/A
                   Receipt                              Greg Childs                    to assist counsel and in anticipation of
                                                        Dan Farr                       litigation
                                                        Ewen Florence
                                                        Manning, Rodney (Houston)
                                                        Ryan McIntosh
                                                        Steve Myers
                                                        Robert Tiano
                                                        Chris Tolleson
                                                        Bob Walsh
2852   25-Oct-10   Email     Bill Ambrose               To: Alistair Gill (Prospect)   Communication with third party consultant,   WP   Withheld   N/A
                                                        CC: Dan Farr                   Prospect, regarding draft OSC presentation
                                                                                       prepared under supervision of counsel and in
                                                                                       anticipation of litigation
                                                                                                                                                          Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 264 of 277
2853   25-Oct-10   Email   Oliver Diaz    To: Bill Ambrose   Communication with third party consultant,      WP   Withheld   N/A
                                          CC: Wesley Bell    Bullfighter Design, regarding draft OSC
                                                             presentation prepared under supervision of
                                                             counsel and in anticipation of litigation

2854   25-Oct-10   Email   Bill Ambrose   To: Oliver Diaz    Communication with third party consultant,      WP   Withheld   N/A
                                                             Bullfighter Design, regarding draft OSC
                                                             presentation prepared under supervision of
                                                             counsel and in anticipation of litigation

2855   23-Oct-10   Email   Bill Ambrose   To: Oliver Diaz    Communication with third party consultant,      WP   Withheld   N/A
                                                             Bullfighter Design, regarding draft OSC
                                                             presentation prepared under supervision of
                                                             counsel and in anticipation of litigation

2856   23-Oct-10   Email   Oliver Diaz    To: Bill Ambrose   Communication with third party consultant,    WP     Withheld   N/A
                                                             Bullfighter Design, re draft OSC presentation
                                                             prepared under supervision of counsel and in
                                                             anticipation of litigation.

2857   22-Oct-10   Email   Bill Ambrose   To: Dan Farr       Communication with third party consultant,    WP     Withheld   N/A
                                                             Bullfighter Design, re draft OSC presentation
                                                             prepared under supervision of counsel and in
                                                             anticipation of litigation.


2858   18-Oct-10   Email   Bill Ambrose   To: Wesley Bell    Communication with third party consultant,    WP     Withheld   N/A
                                          Oliver Diaz        Bullfighter Design, re draft OSC presentation
                                                             prepared under supervision of counsel and in
                                                             anticipation of litigation.
2859   18-Oct-10   Email   Oliver Diaz    To: Bill Ambrose   Communication with third party consultant,    WP     Withheld   N/A
                                          Wesley Bell        Bullfighter Design, re draft OSC presentation
                                                             prepared under supervision of counsel and in
                                                             anticipation of litigation.
2860   14-Oct-10   Email   Oliver Diaz    To: Bill Ambrose   Communication with third party consultant,   WP      Withheld   Yes
                                          Wesley Bell        Bullfighter Design, re: attached diagram
                                                             prepared under supervision of counsel and in
                                                             anticipation of litigation.

2861   14-Oct-10   Adobe   Bullfighter                       Diagram from third party consultant,            WP   Withheld   N/A
                                                             Bullfighter Design, prepared under
                                                             supervision of counsel and in anticipation of
                                                             litigation.
                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 265 of 277
2862   5-Oct-10    Outlook   Bill Ambrose    To: Wesley Bell               Detailed meeting notice to assist with draft     WP   Withheld   N/A
                   Receipt                   Rachael Dsane-Selby           OSC presentation prepared under
                                             Dan Farr                      supervision of counsel and in anticipation of
                                             Ewen Florence                 litigation.
                                             Hoang, Joseph (DWH Proj)
                                             Oliver Diaz
                                             Salgado, Camila (DWH Proj.)
                                             Ryan Smith

2863   4-Oct-10    Email     Oliver Diaz     To: Bill Ambrose              Email string forwarding communication with       WP   Withheld   Yes
                                             Wesley Bell                   third party consultant, Bullfighter Design, re
                                             Oliver Diaz                   draft OSC presentation prepared under
                                                                           supervision of counsel and in anticipation of
                                                                           litigation.

2864   28-Sep-10   Outlook   Oliver Diaz     To: Bill Ambrose              Notice re: meeting to to assist with draft OSC WP     Withheld   N/A
                   Receipt                   Hoang, Joseph (DWH Proj)      presentation prepared under supervision of
                                                                           counsel and in anticipation of litigation.

2865   22-Sep-10   Email     Bill Ambrose    To: Oliver Diaz               Communication with third party consultant,    WP      Withheld   N/A
                                                                           Bullfighter Design, re draft OSC presentation
                                                                           prepared under supervision of counsel and in
                                                                           anticipation of litigation.
2866   20-Sep-10   Email     Oliver Diaz     To: Bill Ambrose              Communication with third party consultant,    WP      Withheld   N/A
                                                                           Bullfighter Design, re draft OSC presentation
                                                                           prepared under supervision of counsel and in
                                                                           anticipation of litigation.
2867   10-Sep-10   Email     Brian Kennedy   To: Bill Ambrose              Communication regarding rig operations           AC   Withheld   N/A
                                                                           made under supervision of counsel to             WP
                                                                           facilitate rendition of legal advice and in
                                                                           anticipation of litigation.
2868   10-Sep-10   Email     Bill Ambrose    To: Brian Kennedy             Communication regarding rig operations           AC   Withheld   N/A
                                                                           made under supervision of counsel to             WP
                                                                           facilitate rendition of legal advice and in
                                                                           anticipation of litigation.
2869   10-Sep-10   Email     Brian Kennedy   To: Bill Ambrose              Communication regarding rig operations           AC   Withheld   N/A
                                                                           made under supervision of counsel to             WP
                                                                           facilitate rendition of legal advice and in
                                                                           anticipation of litigation.
2870   10-Sep-10   Email     Bill Ambrose    To: Brian Kennedy             Communication regarding rig operations           AC   Withheld   N/A
                                                                           made under supervision of counsel to             WP
                                                                           facilitate rendition of legal advice and in
                                                                           anticipation of litigation.
2871   10-Sep-10   Email     Brian Kennedy   To: Bill Ambrose              Communication regarding rig operations           AC   Withheld   N/A
                                                                           made under supervision of counsel to             WP
                                                                           facilitate rendition of legal advice and in
                                                                           anticipation of litigation.
                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 266 of 277
2872   10-Sep-10   Email   Brian Kennedy    To: Bill Ambrose     Communication regarding rig operations            AC   Withheld   N/A
                                                                 made under supervision of counsel to              WP
                                                                 facilitate rendition of legal advice and in
                                                                 anticipation of litigation.
2873   10-Sep-10   Email   Brian Kennedy    To: Bill Ambrose     Communication regarding rig operations            AC   Withheld   N/A
                                                                 made under supervision of counsel to              WP
                                                                 facilitate rendition of legal advice and in
                                                                 anticipation of litigation.
2874   10-Sep-10   Email   Bill Ambrose     To: Brian Kennedy    Communication regarding rig operations            AC   Withheld   N/A
                                                                 made under supervision of counsel to              WP
                                                                 facilitate rendition of legal advice and in
                                                                 anticipation of litigation.
2875   10-Sep-10   Email   Brian Kennedy    To: Bill Ambrose     Communication regarding rig operations            AC   Withheld   N/A
                                                                 made under supervision of counsel to              WP
                                                                 facilitate rendition of legal advice and in
                                                                 anticipation of litigation.
2876   10-Sep-10   Email   Lou Colasuonno   To: Bill Ambrose     Communication regarding rig operations            AC   Withheld   N/A
                                                                 made under supervision of counsel to              WP
                                                                 facilitate rendition of legal advice and in
                                                                 anticipation of litigation.
2877   10-Sep-10   Email   Bill Ambrose     To: Lou Colasuonno   Communication regarding rig operations            AC   Withheld   N/A
                                                                 made under supervision of counsel to              WP
                                                                 facilitate the rendition of legal advice and in
                                                                 anticipation of litigation.
2878   9-Sep-10    Email   Lou Colasuonno   To: Bill Ambrose     Communication regarding rig operations            AC   Withheld   N/A
                                                                 made under supervision of counsel to              WP
                                                                 facilitate the rendition of legal advice and in
                                                                 anticipation of litigation.
2879   8-Sep-10    Email   Guy Cantwell     To: Bill Ambrose     Communication regarding BOP issues made AC             Withheld   N/A
                                            'Lou Colasuonno'     under supervision of counsel to facilitate the WP
                                                                 rendition of legal advice and in anticipation of
                                                                 litigation.
2880   8-Sep-10    Email   Lou Colasuonno   To: Bill Ambrose     Communication regarding BOP issues made AC             Withheld   N/A
                                            Guy Cantwell         under supervision of counsel to facilitate the WP
                                                                 rendition of legal advice and in anticipation of
                                                                 litigation.
2881   8-Sep-10    Email   Bill Ambrose     To: Guy Cantwell     Communication regarding BOP issues made AC             Withheld   N/A
                                            'Lou Colasuonno'     under supervision of counsel to facilitate the WP
                                                                 rendition of legal advice and in anticipation of
                                                                 litigation.
2882   8-Sep-10    Email   Guy Cantwell     To: Bill Ambrose     Communication regarding BOP issues made           AC   Withheld   N/A
                                            Lou Colasuonno       under supervision of counsel to facilitate        WP
                                                                 the rendition of legal advice and in
                                                                 anticipation of litigation.
                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 267 of 277
2883   7-Sep-10    Email       Brian Kennedy       To: Bill Ambrose                        Communication regarding BOP issues made AC             Withheld   N/A
                                                                                           under supervision of counsel to facilitate the WP
                                                                                           rendition of legal advice and in anticipation of
                                                                                           litigation.
2884   17-Aug-    Email        Dan Farr            To: Manning, Rodney (Houston)           Email string with attached email string and  AC        Withheld   Yes
       2010                                        Bob Walsh                               work order forwarding communications with    WP
       7-Sep-2010                                  CC: Bill Ambrose                        third party consultant, DNV, re: maintenance
                                                   Mark Thibodeaux, Esq.                   review and requesting legal advice re: same.


2885   17-Aug-    Email        Bill Ambrose        To: 'David.Mckay@dnv.com'               Email string attached to email string            WP    Withheld   N/A
       2010                                        'Kuhan.Sivathasan@dnv.com'              forwarding communications with third party
       7-Sep-2010                                  CC: 'Charles.McHardy@dnv.com'           consultant, DNV, re: maintenance review
                                                   Dan Farr                                prepared in anticipation of litigation and under
                                                                                           supervision of counsel

2886   1-Sep-10    Outlook     Sims, Ansell        To: Bill Ambrose                        Meeting notice with third party consultant,   WP       Withheld   N/A
                   Receipt                         Derek Hart                              GL Noble Denton, regarding report prepared
                                                   Lamport, Bill                           under supervision of counsel and in
                                                                                           anticipation of litigation.
2887   27-Aug-10   Email       Oliver Diaz         To: Bill Ambrose                        Communication with third party consultant,    WP       Withheld   Yes
                                                                                           Bullfighter Design, re draft OSC presentation
                                                                                           prepared under supervision of counsel and in
                                                                                           anticipation of litigation.
2888   19-Aug-10   Microsoft   DWH Investigation                                           Index of documents annotated at request of        WP   Withheld   N/A
                   Excel       Team                                                        counsel to assist with OSC proceedings and
                   Worksheet                                                               in anticipation of litigation.
2889   16-Aug-10   Email       Bill Ambrose        To: Derek Hart                          Email regarding information needed to assist      WP   Withheld   N/A
                                                                                           counsel in JIT proceedings in order to
                                                                                           facilitate the rendition of legal advice and in
                                                                                           anticipation of litigation.
2890   19-Jul-10   Email       Brian Kennedy       To: Bill Ambrose                        Communication regarding rig operations            AC   Withheld   N/A
                                                                                           made under supervision of counsel to              WP
                                                                                           facilitate legal advice and in anticipaiton of
                                                                                           litigation.
2891   16-Jul-10   Email       Brian Kennedy       To: Bill Ambrose                        Communication regarding rig operations            AC   Withheld   N/A
                                                                                           made under supervision of counsel to              WP
                                                                                           facilitate legal advice and in anticipaiton of
                                                                                           litigation.

2892   16-Jul-10   Email       Bill Ambrose        To: 'Brian.Kennedy@fticonsulting.com'   Communication regarding rig operations            AC   Withheld   N/A
                                                                                           made under supervision of counsel to              WP
                                                                                           facilitate legal advice and in anticipaiton of
                                                                                           litigation
                                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 268 of 277
2893   29-Jun-10   Email   Oliver Diaz       To: Bill Ambrose                Communication with third party consultant,       WP   Withheld   N/A
                                             Oliver Diaz                     Bullfighter Design, re work to be prepared
                                             CC: Georgianne Johnson          under supervision of counsel and in
                                                                             connection with ongoing litigation and
                                                                             hearings.
2894   29-Jun-10   Email   Oliver Diaz       To: Bill Ambrose                Communication with third party consultant,       WP   Withheld   Yes
                                             CC: Georgianne Johnson          Bullfighter Design, re work done under
                                                                             supervision of counsel and in anticipation of
                                                                             litigation.
2895   29-Jun-10   Adobe   Bullfighter                                       Invoice from third party consultant, Bullfighter WP   Withheld   N/A
                                                                             Design, re work done under supervision of
                                                                             counsel and in connection with ongoing
                                                                             litigation and hearings.

2896   21-Jun-10   Email   Michael Curtis    To: Bill Ambrose                Communication re: invoice from third party      WP    Withheld   N/A
                                             Georgianne Johnson              consultant, Bullfighter Design, re work done
                                             Mackey, Dalinda (Houston)       under supervision of counsel and in
                                                                             anticipation of litigation.

2897   21-Jun-10   Email   Bill Ambrose      To: Michael Curtis              Communication re: invoice from third party      WP    Withheld   N/A
                                             Georgianne Johnson              consultant, Bullfighter Design, for work done
                                             Mackey, Dalinda (Houston)       under supervision of counsel and to assist
                                                                             with ongoing hearings and litigation.


2898   21-Jun-10   Email   Mackey, Dalinda   To: Michael Curtis              Communication re: attached invoice of third     WP    Withheld   N/A
                           (Houston)         CC: Bill Ambrose                party vendor, Bullfighter Design, for work
                                                                             done under supervision of counsel and to
                                                                             assist with ongoing hearings and litigation.

2899   21-Jun-10   Email   Bill Ambrose      To: Mackey, Dalinda (Houston)   Communication re: invoice from third party      WP    Withheld   N/A
                                                                             consultant, Bullfighter Design, for work done
                                                                             under supervision of counsel and to assist
                                                                             with ongoing hearings and litigation.

2900   21-Jun-10   Email   Mackey, Dalinda   To: Bill Ambrose                Communication re: attached invoice of third     WP    Withheld   Yes
                           (Houston)                                         party vendor, Bullfighter Design, for work
                                                                             done under supervision of counsel and to
                                                                             assist with ongoing hearings and litigation.

2901   21-Jun-10   Adobe   Bullfighter                                       Invoice of third party vendor, Bullfighter      WP    Withheld   N/A
                                                                             Design, for work done under supervision of
                                                                             counsel and to assist with ongoing hearings
                                                                             and litigation.
                                                                                                                                                    Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 269 of 277
2902   11-Jun-10    Email   Oliver Diaz      To: Bill Ambrose         Communication re: invoice from third party      WP    Withheld   N/A
                                             CC: Georgianne Johnson   consultant, Bullfighter Design, for work done
                                                                      under supervision of counsel and to assist
                                                                      with ongoing hearings and litigation.

2903   9-Jun-10     Email   Oliver Diaz      To: Bill Ambrose         Communication re: invoice from third party      WP    Withheld   N/A
                                                                      consultant, Bullfighter Design, re work done
                                                                      under supervision of counsel and to assist
                                                                      with ongoing hearings and litigation.

2904   8-Jun-10     Email   Bill Ambrose     To: Oliver Diaz          Communication with third party consultant,      WP    Withheld   N/A
                                                                      Bullfighter Design, re work done under
                                                                      supervision of counsel and to assist with
                                                                      ongoing hearings and litigation.

2905   7-Jun-2010   Email   Bill Ambrose     To: Georgianne Johnson   Email string forwarding communication with      WP    Withheld   Yes
       8-Jun-2010                                                     third party consultant, Bullfighter Design,
                                                                      re work done under supervision of counsel
                                                                      and to assist with ongoing hearings and
                                                                      litigation.

2906   7-Jun-2010   Adobe   Bullfighter                               Invoice from third party consultant, Bullfighter WP   Withheld   N/A
       8-Jun-2010                                                     Design, re work done under supervision of
                                                                      counsel and to assist with ongoing hearings
                                                                      and litigation.
2907   20-May-10    Email   Bill Ambrose     To: Michael Markey       Email string forwarding communication with       WP   Withheld   N/A
                                             Jewel Revis              third party consultant, Bullfighter Design, re
                                             CC: Michael Llewellyn    work done under supervision of counsel and
                                                                      to assist with ongoing hearings and litigation.


2908   20-May-10    Email   Michael Markey   To: Bill Ambrose         Email string forwarding communication with      WP    Withheld   N/A
                                             CC: Michael Llewellyn    third party consultant, Bullfighter Design, re
                                                                      work done under supervision of counsel and
                                                                      to assist with ongoing hearings and litigation.




2909   20-May-10    Email   Bill Ambrose     To: Oliver Diaz          Email string forwarding communication with      WP    Withheld   N/A
                                             CC: Georgianne Johnson   third party consultant, Bullfighter Design, re
                                             Michael Markey           work done under supervision of counsel and
                                             Jewel Revis              to assist with ongoing hearings and litigation.
                                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 270 of 277
2910   19-May-10   Email   Jewel Revis    To: Bill Ambrose               Email string forwarding communication with      WP   Withheld   N/A
                                                                         third party consultant, Bullfighter Design, re
                                                                         work done under supervision of counsel and
                                                                         to assist with ongoing hearings and litigation.

2911   18-May-10   Email   Bill Ambrose   To: Oliver Diaz                Email string forwarding communication with      WP   Withheld   N/A
                                                                         third party consultant, Bullfighter Design, re
                                                                         work done under supervision of counsel and
                                                                         to assist with ongoing hearings and litigation.

2912   17-May-10   Email   Oliver Diaz    To: Bill Ambrose               Communication with third party consultant,     WP    Withheld   N/A
                                          CC: Michael Markey             Bullfighter Design, re work to be done under
                                                                         supervision of counsel and to assist with
                                                                         ongoing hearings and litigation.


2913   17-May-10   Email   Bill Ambrose   To: Oliver Diaz                Communication with third party consultant,     WP    Withheld   N/A
                                                                         Bullfighter Design, re: agreements and
                                                                         proposal for work to be done under the
                                                                         supvervision of counsel and to assist with
                                                                         ongoing litigation and hearings.

2914   5-Nov-10    Email   Bill Ambrose   To: Oliver Diaz                Communication with third party consultant,    WP     Withheld   N/A
                                          Ryan Smith                     Bullfighter Design, re draft OSC presentation
                                          CC: Wesley Bell                prepared under supervision of counsel and in
                                          Dan Farr                       anticipation of litigation.

2915   28-Apr-10   Email   Bill Ambrose   To: Taylor, Sherri (Houston)   Email string providing information requested AC      Withheld   N/A
                                          Paul Tranter                   by counsel regarding rig survey in connection WP
                                                                         with anticipated litigation and hearings.

2916   11-Jun-10   Email   Oliver Diaz    To: Bill Ambrose               Communication with third party consultant,     WP    Withheld   N/A
                                          CC: Georgianne Johnson         Bullfighter Design, re work done under
                                                                         supervision of counsel and to assist with
                                                                         ongoing litigation and hearings.

2917   11-Jun-10   Email   Bill Ambrose   To: Oliver Diaz                Communication with third party consultant,     WP    Withheld   N/A
                                          CC: Georgianne Johnson         Bullfighter Design, re work done under
                                                                         supervision of counsel and to assist with
                                                                         ongoing litigation and hearings.

2918   19-May-10   Email   Oliver Diaz    To: Bill Ambrose               Communication with third party consultant,     WP    Withheld   N/A
                                          CC: Georgianne Johnson         Bullfighter Design, re work done under
                                          Michael Markey                 supervision of counsel and to assist with
                                          Jewel Revis                    ongoing litigation and hearings.
                                                                                                                                               Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 271 of 277
2919   18-May-10   Email   Bill Ambrose   To: Oliver Diaz                    Communication with third party consultant,    WP   Withheld   N/A
                                          CC: Georgianne Johnson             Bullfighter Design, re work done under
                                          Michael Markey                     supervision of counsel and to assist with
                                          Jewel Revis                        ongoing litigation and hearings.

2920   18-May-10   Email   Oliver Diaz    To: Bill Ambrose                   Communication with third party consultant,    WP   Withheld   N/A
                                                                             Bullfighter Design, re work done under
                                                                             supervision of counsel and to assist with
                                                                             ongoing litigation and hearings.

2921   18-May-10   Email   Oliver Diaz    To: Bill Ambrose                   Communication with third party consultant,    WP   Withheld   N/A
                                                                             Bullfighter Design, re work done under
                                                                             supervision of counsel and to assist with
                                                                             ongoing litigation and hearings.

2922   17-May-10   Email   Oliver Diaz    To: Bill Ambrose                   Communication with third party consultant,    WP   Withheld   Yes
                                                                             Bullfighter Design, re: work done under
                                                                             supervision of counsel and to assist with
                                                                             ongoing litigation and hearings.

2923   17-May-10   Adobe   Bullfighter                                       Agreement with third party consultant,        WP   Withheld   N/A
                                                                             Bullfighter Design, re work done under
                                                                             supervision of counsel and to assist with
                                                                             ongoing litigation and hearings.
2924   4-May-2010 Email    Bill Ambrose   To: oliver@bullfighterdesign.com   Communication with third party consultant,    WP   Withheld   Yes
       14-May-                                                               Bullfighter Design, re work done under
       2010                                                                  supervision of counsel and in connection with
                                                                             ongoing litigation and hearings.

2925   4-May-2010 Word     Bullfighter                                       Agreement proposed to third party consultant, WP   Withheld   N/A
       14-May-                                                               Bullfighter Design, re work to be done under
       2010                                                                  supervision of counsel and to assist with
                                                                             ongoing litigation and hearings.

2926   4-May-2010 Adobe    Bullfighter                                       Agreement proposed to third party consultant, WP   Withheld   N/A
       14-May-                                                               Bullfighter Design, re work to be done under
       2010                                                                  supervision of counsel and to assist with
                                                                             ongoing litigation and hearings.

2927   14-Sep-10   Email   Derek Hart     To: Bill Ambrose                   Email string forwarding communication with    WP   Withheld   Yes
                                                                             third party consultant, GL Noble Denton, re
                                                                             work done under supervision of counsel and
                                                                             in connection with ongoing litigation and
                                                                             hearings.
                                                                                                                                                 Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 272 of 277
2928   14-Sep-10   Adobe   GL Noble Denton                            Transmittal from third party consultant, GL   WP      Withheld   N/A
                                                                      Noble Denton, re work done under
                                                                      supervision of counsel and in connection with
                                                                      ongoing litigation and hearings.

2929   14-Sep-10   Adobe   GL Noble Denton                            Work Order for third party consultant, GL      WP     Withheld   N/A
                                                                      Noble Denton, re work to be done under
                                                                      supervision of counsel in connection with
                                                                      ongoing litigation and hearings.

2930   13-Sep-10   Email   Bill Ambrose      To: Derek Hart           Email string discussing work order for third     WP   Withheld   N/A
                                                                      party consultant, GL Noble Denton, re work
                                                                      done under supervision of counsel in
                                                                      connection with ongoing litigation and
                                                                      hearings.
2931   29-Jun-10   Email   Bill Ambrose      To: Georgianne Johnson   Email string forwarding communication            WP   Withheld   Yes
                                                                      with third party consultant, Bullfighter Design,
                                                                      re work done under supervision of counsel
                                                                      and in connection with ongoing litigation and
                                                                      hearings.

2932   29-Jun-10   Adobe   Bullfighter                                Invoice from third party consultant, Bullfighter WP   Withheld   N/A
                                                                      Design, re work done under supervision of
                                                                      counsel and in connection with ongoing
                                                                      litigation and hearings.

2933   11-Jun-10   Email   Oliver Diaz       To: Bill Ambrose         Communication with third party consultant,     WP     Withheld   N/A
                                             CC: Georgianne Johnson   Bullfighter Design, re work done under
                                                                      supervision of counsel and to assist with
                                                                      ongoing litigation and hearings.

2934   7-Jun-10    Email   Oliver Diaz       To: Bill Ambrose         Communication with third party consultant,    WP      Withheld   Yes
                                                                      Bullfighter Design, re work done under
                                                                      supervision of counsel and in connection with
                                                                      ongoing litigation and hearings.

2935   7-Jun-10    Adobe   Bullfighter                                Invoice from third party consultant, Bullfighter WP   Withheld   N/A
                                                                      Design, re work done under supervision of
                                                                      counsel and in connection with ongoing
                                                                      litigation and hearings.


2936   16-Nov-10   Word    Darrell Pelley                             Analysis for OSC proceedings prepared          WP     Withheld   N/A
                                                                      under supervision of counsel and in
                                                                      anticipation of litigation.
                                                                                                                                             Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 273 of 277
2937   5-Nov-10    Email   Wesley Bell                To: mailto:oliver@bullfighterdesign.com   Communication with third party consultant,    WP    Withheld   N/A
                                                      CC: Bill Ambrose                          Bullfighter Design, re draft OSC presentation
                                                      Perrin Roller                             prepared under supervision of counsel and in
                                                                                                anticipation of litigation.


2938   4-Nov-10    Email   Ryan Smith                 To: 'Oliver Diaz'                         Communication with third party consultant,    WP    Withheld   Yes
                                                      CC: Bill Ambrose                          Bullfighter Design, re draft OSC presentation
                                                      Wesley Bell                               prepared under supervision of counsel and in
                                                                                                anticipation of litigation.

2939   4-Nov-10    Adobe                                                                        Revisions sent to third party consultant,     WP    Withheld   N/A
                                                                                                Bullfighter Design, re draft OSC presentation
                                                                                                prepared under supervision of counsel and in
                                                                                                anticipation of litigation.

2940   26-Oct-10   Email   Alistair Gill (Prospect)   To: Derek Hart                            Communicaton with third party consultant,    WP     Withheld   N/A
                                                      CC: Bill Ambrose                          Prospect, re draft OSC presentation prepared
                                                      Bjoern Ritter                             under supervision of counsel and in
                                                      Steve Howell (Prospect)                   anticipation of litigation.

2941   25-Jul-10   Email   Steven Newman              To: Dan Farr                              Email string with attached chart re rig      WP     Withheld   N/A
                                                      CC: Bill Ambrose                          systems prepared at request of counsel to
                                                      Paul Tranter                              assist with ongoing JIT proceedings and in
                                                                                                anticipation of litigation.


2942   24-Jul-10   Email   Dan Farr                   To: Steven Newman                         Email string with attached chart re rig      WP     Withheld   N/A
                                                      CC: Bill Ambrose                          systems prepared at request of counsel to
                                                      Paul Tranter                              assist with ongoing JIT proceedings and in
                                                                                                anticipation of litigation.

2943   29-Oct-2010 Email   Buddy Fojt                 To: Michael Bagdon                        Email communication with attached draft      AC     Withheld   Yes
       5-Nov-2010                                     Todd.White@FTIConsulting.com              OSC presentation by Prospect providing       WP
                                                      CC: Bill Ambrose                          information to assist counsel with ongoing
                                                      Dan Farr                                  litigation and OSC proceedings.


2944   29-Oct-2010 Word                                                                         Draft OSC presentation prepared under          AC   Withheld   N/A
       5-Nov-2010                                                                               supervision of counsel and in anticipation of WP
                                                                                                litigation.
2945   5-Nov-10    Email   Derek Hart                 To: Bill Ambrose                          Email string forwarding communication with     AC   Withheld   Yes
                                                      Dan Farr                                  third party consultant, Prospect, and attached WP
                                                      CC: David Baay, Esq.                      draft OSC presentation prepared to assist
                                                      Steven Sparling, Esq.                     counsel in OSC proceedings and in
                                                      Mark Thibodeaux, Esq.                     anticipation of litigation
                                                                                                                                                                     Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 274 of 277
2946   5-Nov-10    Adobe                                                             Draft OSC presentation prepared under         AC     Withheld   N/A
                                                                                     supervision of counsel and in anticipation of WP
                                                                                     litigation.
2947   3-Nov-10    Email   Derek Hart                 To: Alistair Gill (Prospect)   Communication with third party consultant,    WP     Withheld   N/A
                                                      CC: Bill Ambrose               Prospect, re draft OSC presentation prepared
                                                      Dan Farr                       under supervision of counsel and in
                                                      Bjoern Ritter                  anticipation of litigation.

2948   26-Oct-10   Email   Alistair Gill (Prospect)   To: Bill Ambrose               Communicaton with third party consultant,    WP      Withheld   N/A
                                                      CC: Glen Mitchell (Prospect)   Prospect, re draft OSC presentation prepared
                                                      Derek Hart                     under supervision of counsel and in
                                                      Bjoern Ritter                  anticipation of litigation.
                                                      Steve Howell (Prospect)

2949   25-Oct-10   Email   Alistair Gill (Prospect)   To: Bill Ambrose               Communicaton with third party consultant,    WP      Withheld   N/A
                                                      CC: Derek Hart                 Prospect, re draft OSC presentation prepared
                                                                                     under supervision of counsel and in
                                                                                     anticipation of litigation.

2950   22-Oct-10   Email   Bill Ambrose               To: Alistair Gill (Prospect)   Draft OSC presentation prepared under           AC   Withheld   N/A
                                                      CC: Dan Farr                   supervision of counsel and in anticipation of   WP
                                                      Derek Hart                     litigation.

2951   22-Oct-10   Email   Alistair Gill (Prospect)   To: Bill Ambrose               Communicaton with third party consultant,    WP      Withheld   N/A
                                                      CC: Derek Hart                 Prospect, re draft OSC presentation prepared
                                                                                     under supervision of counsel and in
                                                                                     anticipation of litigation.

2952   14-Sep-10   Email   Derek Hart                 To: Bill Lamport               Email string forwarding communication with      WP   Withheld   N/A
                                                      CC: Bill Ambrose               third party consultant, GL Noble Denton, re
                                                      Chad Crain                     work done under supervision of counsel and
                                                      Hobbs, Doug                    in anticipation of litigation.
                                                      John Lane
                                                      Nancy Cone

2953   11-Jun-10   Email   Bill Ambrose               To: Oliver Diaz                Communication with third party consultant,    WP     Withheld   N/A
                                                      CC: Georgianne Johnson         Bullfighter Design, re work done under
                                                                                     supervision of counsel and in anticipation of
                                                                                     litigation.
2954   28-Sep-10   Email   Oliver Diaz                To: Bill Ambrose               Communication with third party consultant,    WP     Withheld   N/A
                                                      Wesley Bell                    Bullfighter Design, re draft OSC presentation
                                                                                     prepared under supervision of counsel and in
                                                                                     anticipation of litigation.
                                                                                                                                                           Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 275 of 277
2955   16-Jul-10   Email   Bill Ambrose    To: 'peter.mcateer@sysmax.com'   Email communication providing information to AC       Withheld   N/A
                                           CC: 'Steven Sparling, Esq.'      assist counsel with ongoing litigation and JIT WP
                                                                            proceedings.

2956   18-May-10   Email   Bill Ambrose    To: 'Oliver Diaz'                Communication with third party consultant,    WP      Withheld   Yes
                                                                            Bullfighter Design, re attached agreement for
                                                                            work to be done under supervision of counsel
                                                                            and in anticipation of litigation.

2957   18-May-10   Adobe                                                    Agreement with third party consultant,           WP   Withheld   N/A
                                                                            Bullfighter Design, re work to be done under
                                                                            supervision of counsel and to assist with
                                                                            ongoing litigation and hearings.

2958   17-May-10   Email   Adrian Rose     To: Bill Ambrose                 Communication re: agreements with third         WP    Withheld   Yes
                                                                            party consultant, Bullfighter Design, re work
                                                                            to be done under supervision of counsel and
                                                                            to assist with ongoing litigation and hearings.

2959   17-May-10   Adobe   Bullfighter                                      Agreement with third party consultant,           WP   Withheld   N/A
                                                                            Bullfighter Design, re work to be done under
                                                                            supervision of counsel and to assist with
                                                                            ongoing litigation and hearings.


2960   17-May-10   Adobe   Bullfighter                                      Agreement with third party consultant,           WP   Withheld   N/A
                                                                            Bullfighter Design, re work to be done under
                                                                            supervision of counsel and to assist with
                                                                            ongoing litigation and hearings.


2961   17-May-10   Adobe   Bullfighter                                      Agreement with third party consultant,           WP   Withheld   N/A
                                                                            Bullfighter Design, re work to be done under
                                                                            supervision of counsel and to assist with
                                                                            ongoing litigation and hearings.

2962   11-Jun-2010 Email   Bill Ambrose    To: Brian Kennedy                Communication re rig operations prepared to      AC   Withheld   N/A
       16-Jul-2010                                                          facilitate legal advice and in anticipation of   WP
                                                                            litigation.
2963   25-Jun-10   Email   Hannah Sloane   To: Bill Ambrose                 Email communication with attached chart          AC   Withheld   Yes
                                           CC: Guy Cantwell                 regarding rig personnel providing information    WP
                                           Ellen Barry                      to facilitate the rendition of legal advice of
                                           Mark Thibodeaux, Esq.            counsel prepared in connection with JIT
                                           TO Media                         proceedings and in anticipation of litigation.
                                                                                                                                                   Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 276 of 277
2964   25-Jun-10     Microsoft                                                                           Chart regarding rig personnel attached to        AC     Withheld   N/A
                     Office Excel                                                                        email providing information to facilitate the    WP
                     2007                                                                                rendition of legal advice of counsel prepared
                     Workbook                                                                            in connection with JIT proceedings and in
                                                                                                         anticipation of litigation.

2965   9-Jun-10      Email          Hannah Sloane         To: Bill Ambrose                               Email communication with attached chart        AC       Withheld   N/A
                                                          CC: Ellen Barry                                regarding rig personnel providing information WP
                                                          Guy Cantwell                                   to facilitate the rendition of legal advice of
                                                          Mark Thibodeaux, Esq.                          counsel prepared in connection with JIT
                                                          TO Media                                       proceedings and in anticipation of litigation.

2966   30-Apr-10     Email          Bill Ambrose          To: Arnaud Bobillier                           Weekly investigation update to management AC            Withheld   N/A
                                                          Adrian Rose                                    and counsel prepared to facilitate rendition of WP
                                                                                                         legal advice and in anticipation of litigation

2967   4-Nov-10      Email          Oliver Diaz           To: Bill Ambrose                               Communication with third party consultant,    WP        Withheld   N/A
                                                          Ryan Smith                                     Bullfighter Design, re draft OSC presentation
                                                                                                         prepared under supervision of counsel and in
                                                                                                         anticipation of litigation.

2968   1-Nov-10      Email          Oliver Diaz           To: Bill Ambrose                               Communication with third party consultant,    WP        Withheld   N/A
                                                          Wesley Bell                                    Bullfighter Design, re draft OSC presentation
                                                                                                         prepared under supervision of counsel and in
                                                                                                         anticipation of litigation.

2969   25-Oct-10     Email          Oliver Diaz           To: Bill Ambrose                               Communication with third party                   WP     Withheld   Yes
                                                                                                         consultant, Bullfighter Design, re draft OSC
                                                                                                         presentation prepared under supervision of
                                                                                                         counsel and in anticipation of litigation.

2970   14-Apr-11     Adobe                                                                               draft report re unrelated incident prepared in   AC     Withheld   N/A
                                                                                                         anticipation of litigation                       WP

2971   25-Apr-11     Email          Brian Kennedy         To: Bill Ambrose                               Email communication providing information to AC         Withheld   N/A
                                                                                                         assist counsel with JIT proceedings and in   WP
                                                                                                         anticipation of litigation.

2972   1-Sep-10      Outlook        GL Noble Denton                                                      Notice of meeting with third party consultant, WP       Withheld   Yes
                     Calendar                                                                            GL Noble Denton, re report prepared under
                                                                                                         supervision of counsel and in connection with
                                                                                                         ongoing litigation and hearings.

2973   Oct. 2010     Draft Reports DWH Investigation                                                         Draft reports communicated to counsel for   AC/WP   Withheld   N/A
       - Jan. 2011                 Team                                                                      purposes of rendering legal advice and
                                                                                                             prepared in anticipation of litigation.*
       * Transocean has not individually logged drafts of the Macondo Well Incident Transocean Investigation Report reviewed by or commented on by attorneys.
                                                                                                                                                                                  Case 2:10-md-02179-CJB-DPC Document 3788-3 Filed 08/22/11 Page 277 of 277
